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February 15, 2022

Hon. Amit P. Mehta
U.S. District Court for the District of Columbia
E. Barrett Prettyman Courthouse
333 Constitution Ave. NW
Washington, DC 20001

Dear Judge Mehta,

        I am writing to you in support of my friend and colleague, Edward Vallejo. My name is Adam
Kokesh and I am the chair of a nonprofit called Homefront Battle Buddies. Our primary purpose is to
host retreats for US military veterans at my homestead in the mountains of northern Arizona. Edward
is our Program Director and one full time staff member. He is the engine of our organization. When
Edward was arrested, we were building the facility to host retreats and supervising a team of veteran
interns here. Edward and I recently attended a safeTALK suicide awareness training that we drove to
Bozeman, Montana to attend. He is critical to our organization and passionate about our mission.
        I have known Edward for about 14 years going back to our involvement in the Ron Paul
campaigns and activism around it. Edward has always been a positive presence in the activism
community in Arizona. He has always been kind and generous to everyone he works with. He has
also been a powerful force of de-escalation of conflict, using his age to get younger activists to stay
calm and see the bigger picture.
        Edward is highly motivated by his principles and his big picture is a world where everyone is
free because everyone gets along. While I am not now, nor have I ever been a Trump supporter,
unlike my friend Edward, and so had nothing to do with anything supporting Trump, I respected his
decision to go to DC for what I know to be his principled intention to protect people and help serve
food. The real reason he wasn’t doing so many of the things he has been accused of is that it was
never his intent and out of line with his truly gentlemanly character. I can’t imagine him being a
threat to the community in any way, whether that is our community of veterans, activists, or the
people of Arizona.
        When we went to the suicide awareness training, we had to sleep in his truck without heat in a
freezing church parking lot because all the motels were sold out for a big football game. Because we
barely slept, we sat in the front row in order to stay alert. While I was just trying to keep the coffee
coming, he was the most energetic student in the class. He always had his hand raised and was the
first to volunteer for every exercise. It was borderline embarrassing, but everyone in the class fell in
love with him. I wish you could appreciate his energy the way that we who know him do.
        Having not been detained since the January 6th events, we were shocked to learn of his
detention. The government was originally correct to see that he was no threat. They are incorrect in
demanding his detention now. Our organization has mostly fallen apart without him. His friends miss
him. The world, our country, and the veterans community needs more men like Ed, not less. We want
him free to continue his righteous work with us and I humbly beg you grant his motion for pretrial
release.

Sincerely,




Adam Kokesh




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                                                                                             February 16th, 2022

Hon. Amit P. Mehta
U.S. District Court for the District of Columbia
E. Barrett Prettyman Courthouse
333 Constitution Ave. NW
Washington, DC 20001


Dear Judge Mehta,

        I am writing on behalf of my friend and someone I’d consider family, Mr. Edward Vallejo. My Name is
Joie Leigh and I am a full time resident at Adam Kokesh’s property which serves as the staging grounds
for his veterans non-profit, Homefront Battle Buddies(HBB) of which Mr. Vallejo is the Program Director. I
have known Ed for just under a year since he set up camp on the property in Ash Fork, Arizona during
the spring/summer of 2021. While I am not directly affiliated with HBB I am witness to the work that goes
into its organization on a daily basis.
        Ed is an incredibly motivated individual and his motivation from what I’ve observed is primarily to
help others. When he stays at the property he wakes up every morning and gleefully begins doing light
work around the property. He cares for the animals on the property as if they were his own children which
mirrors his interactions with the people he comes in contact with on a daily basis. This is just one of the
many galant character traits that Ed possesses which makes him a perfect fit for Program Director of
HBB in working directly with veterans who feel lost and are looking for a compassionate ear.
        Ed was there for me when my 16 year old cattle dog was suffering from 3rd degree burns all over
her body. He literally pulled her from the fire she stumbled into and saved her life then took her and I to
the vet an hour away from the property. It was Ed’s compassionate words on the way to the vet that
calmed me down from the state of shock and fear I was in watching her suffer. Ed has helped me repair
my vehicle, helped me build things around the property, he’s been here when Adam is traveling just so
that I don’t have to be alone. I could go on for a few more paragraphs on the many ways Ed has been
there to assist me without ever being asked or ever asking anything in return.
        In all my many interactions with Ed over the past year I’ve never seen him get angry, act violent or
speak ill to me or of others. Ed maintains principles of peace and non-agression in everything he does
and for him to be considered a threat to the public or any living creature for that matter is simply
outrageous from what I know of him.
        While I understand the courts concern in bringing the participants of the events on January 6th to
trial in order to get to the bottom of their motives I do not think that holding Ed in a concrete cell until that
time is needed. Ed has expressed even prior to his arrest that he wants to cooperate with the
investigation and even drove to the FBI field office in Phoenix voluntarily in order to do just that. Not
having Ed around feels like a family member is missing as he is a staple to this property and all the
charitable efforts coming out of it.
        Please consider allowing Ed the basic comfort of being home with his immediate and extended
family until his trial date as he has never been a threat to anyone from what I’ve observed. While Ed may
be passionate about his political views that are sometimes different from mine, his passions have always
been expressed with undertones of charity and good will. His friends and family need him.

Sincerely,




Joie Leigh



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April 17, 2022
Hon. Amit P. Mehta
U.S. District Court for the District of Columbia
E. Barrett Prettyman Courthouse
333 Constitution Ave. NW
Washington, DC 20001


Dear Judge Mehta,
I write in support of my good friend of several decades, Edward Vallejo. I’m a successful
businessman in the Phoenix Valley (semi-retired), a former EMT and lifelong student of the
Liberal Arts.
The last time I saw Ed, we were headed out to have lunch. I was driving. Suddenly Ed starts
screaming at me to pull over and stop the car. Ed leaps out of the car before it stops moving. I
figured he was going to come back with a kitten or an injured bird. This time it was somebody’s
lost wallet. I thought to myself, “Typical. Just typical.”
Right then I knew two things:
1. The juicy burger I so wanted for lunch just wasn’t gonna happen.
2. We were going to spend the rest of the afternoon tracking down the owner of this wallet to
hand deliver it personally. No matter what it took.
And that’s what happened. At Ed’s insistence, we asked passersby and stopped into every store
and shop. Finally, we found somebody with vague directions up a dirt road. We canvassed the
neighbors and eventually found an old guy whose face lit up with pure joy when we handed him
back his wallet.
He said, “I’d have been glad to get it back without the money in it.” Nope, it’s all there. Cash,
cards, license, everything. You have a nice day Sir! Ed was so happy you’d think he’d won the
lottery.
The sun was dipping low when I got home and decided that it was finally time to have lunch. I
wanted a good burger but I ended up opening a can of tuna. I wasn’t really happy about this but
this is what it’s like having Ed for a friend. People come first. Animals come first. Any living and
sentient being comes first. Generous? Ferociously so I would say.
Ed is a true man of passion, but his tools are an abundance of love, sunshine and gratitude to
God for giving him a chance to prove it by helping people.
Some of us have known Ed for decades. There are no witnesses, stories or recollection of Ed
ever using violence against anyone. What he does do, like many combat trained soldiers, is
frame things in military terms. A morning walk is “recon”, breakfast is “the chow line”, the day’s
activity is the “detail”. These guys communicate in this lingo to identify and maintain their bonds
of brotherhood.
Just before his arrest, Ed was close to realizing his decades long dream of completing new
care facilities for veterans of our armed forces. These are complete care facilities that include




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housing, treatment and rehabilitation. Ed has racked up an impressive array of certifications and
credentials as a care-giver and counselor. These are donations-driven projects that are
supporting patients right now. Veteran volunteers and patients have taken an active role in
building these facilities.
Unfortunately these volunteers lack the credentials, experience and personal growth to continue
their treatment. Interruption in this treatment is having a severe negative impact on patients. In
short, veterans are a brotherhood, they only trust other veterans and building trust takes time
and consistency. Right now they feel abandoned. This is an at-risk population with staggeringly
high rates of suicide, divorce rates, substance abuse and an inability to overcome their
experiences and physical injuries without qualified help.
I am sure that if released, Ed will continue to build his patient care facilities and try to regain
time lost with patients. He will continue this activity until he passes from this Earth. Until then he
will keep an eye out for at-risk inmates and he will figure out how to minister to them. I tell you
this with all the certainty of the sun rising in the morning. It’s just what he does.
Thanks for your time. Greetings from warm and sunny Arizona!


Trevor J Osgood
Prescott AZ




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Hon. Amit P. Mehta
U.S. District Court for the District of Columbia
E. Barrett Prettyman Courthouse
333 Constitution Ave. NW
Washington, DC 20001

Dear Judge Mehta,

My name is Debbie Vallejo and I am Ed's wife. We have been happily married for 34
years. We meet when working a courier service and became fast friends. I think this is
the secret to our relationship. We trust and respect one another.

The past year Ed has gotten involved in a non-profit organization whose mission is to
help veterans with PTSD and depression. The compound is outside of Ash Fork, AZ.
The property belongs to Adam Kokesh. They are building dormitories and rec center to
house vets during their stay using recycled materials. On Nov.12, 2021 my husband
and Adam drove to Bozeman, Montana for a suicide prevention training class at E-Free
church of Bozeman. In Dec 2021 Ed attended another suicide prevention course here
in Phoenix given by Brain Injury Alliance of Arizona. He graduated from the course with
a certificate of completion. He told me taking the courses broke a lot of myths about
suicide and how to identify and help a person in trouble.

Since the weather turned colder up north, my husband started spending the majority of
his time here in Phoenix with me. We started to plan for my retirement for the first of
year. Ed has been looking for the right housing for me to be comfortable in, where he
would still be close enough to continue he's work at the complex. My husband has
always wanted to help vets in some capacity and when this opportunity came along he
jumped on it.

Ed also has been sober for about 37 years and has sponsored many people over the
years. He helped me understand my ex-husband and helped me to take the blame off of
myself for his actions. I am a much better and happier person because of my husband. I
have always stated God gave him to me because I sure couldn't have found him by
myself. I love him and miss him terribly.

I am willing to do what ever it takes to have him released and brought home. I will follow
all the courts conditions. I don't drink or smoke and I'm a home body. I do work 40 hours
a week at a job I have had for 23 1/2 years. If need be I can take time off with a
seasonal leave of absence for up to a year. I hope this gives you the info you need for
the appeal. If you need anything else please let me know.

Sincerely,
Debbie




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January 6th, 2021 Podcast Transcription



HOST:        [RC] (Intro) Alright special guest, special guest, special guest…friend          is in
             Washington D.C.         can you hear us?

   :         I can hear you.

HOST:        Okay let's uh, you know, crank this up. Um, go ahead and uh tell us what's going
             on there... to see... I think I got good volume on. You go ahead.

   :         Alright well yesterday we arrived around noon. We hooked up with the Oath
             Keepers and we bivouacked [PH] with them uh in Arlington. Uh then we
             unloaded what we could. We got into D.C. as quickly as possible. We went to uh
             a gathering at the Supreme Court building, completely peaceful, very calm, lots of
             police but they were all calm and everything was fine. Uh, then we decided to go
             to another venue which was supposed to be bigger which it was at freedom
             pavilion, uh, or whatever they call it here, but it's a, you know, it's an air park area
             basically and its near the Washington Monument. We went down there and there
             were a lot more people and you know they had set up a complete you know media
             set up. We had speakers. It was completely peaceful. Uh we worked as security to
             get some high profile people, couple of generals, some other speakers, um that
             came in and addressed the crowd. And everybody was up lifted and excited but no
             violence whatsoever...very calm, no police interference. They were all good,
             everything was fine. They were around but there wasn't any interference.

HOST:        Well you didn't have any counter protesting somebody... something…

   :         There was but it was isolated to an area which is actually now renamed BLM park
             or whatever it's their area. And it's really only about five or six blocks from I
             mean you could walk there in two minutes you know.

HOST:        Well how many, how many people in the counter BLM protest area?

   :         There were maybe a couple of hundreds. Um a lot of police. They had like forty
             police right there with dozens of cars. So, um, yeah it was an amazing. It was it
             was weird because there were almost no police near us and the ones that were,
             were very calm and [UI] but there, they were wearing yellow, you know, highway
             like jackets for high visibility and there were lots of cars. I mean we we actually
             walked there to get somewhere else and so we got we got to walk right through it.
             I mean we didn’t walk through it in a in an aggressive way we just walked on the

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             expectation that that's going to be quick. There are hundreds of thousands of
             people showing up. There are caravans from all over the nation coming in. We
             just happened to get here early.

HOST:        Yeah, no, this we're here earlier at Wesley Bolin and we had to come in early one
             for the show and uh and make sure we found a place to park with the bus and um
             so that you know it doesn't blend. But um, you know, we're on the, uh god what is
             it, the uh, southeast corner of Wesley Bolin parking lot. So we're got it kinda
             sideways you know overlooking the whole thing. And they're just now starting to
             arrive and just to like the five ten minutes ago I guess… what time is…I guess it's
             seven thirty was the time I guess…so there's a bunch of people coming.

   :         Yeah. So, I mean the thing is is there are all kind of things being played… [OV]

HOST:        Hold on, hold on, hold on a second…okay yeah…yeah…yeah, it's just a setting
             on the commrex is that I got to find out which button to turn down here when
             you're... We didn't get the rejoiner coming in so we went over but uh, um so that's
             all right. The uh…anyway we got this setup I need um wonder (pause) if there's a
             two way...

   :         I'm gonna put you on mute for just a second but I’ll be listening for ya…

HOST:        Alright, cool.

             [RC]

             Welcome back, welcome back, welcome back. Uh, we're talking to         , good
             friend uh from the valley here. He and another gentleman uh went there…um is
             Ed with you,       ?

   :         Ed is with me but he's indisposed at the moment.

HOST:        That's... that's fine. You know, Ed Vallejo was head of the meet up. He kinda ran
             that for the Ron Paul uh love-olution in 08 [UI] so he's well known by a lot of
             people. He's... he's all man…ooo man, he’s he's amped up, gonna get some. He's
             not quiet either so I'm sure if somebody needs yellin’ he'll take care of it for em.
             but uh,        , you know he's uh you know IT guy more logic and reason and we
             just reason we need to be in Washington D.C…what prompted you to go?


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             we had generals coming in. We even... and for, to me for a lesser extent, but
             maybe for others, Aex Jones spoke and some other individuals. [UI] Um and oh
             Ed's here and I'll let him continue in a second but basically the idea is, look; we're
             here. We're applying as much pressure as we can. The only uh and obvious next
             step is to uh go into armed conflict but hoping very much that that doesn't happen.

HOST:        Now is that is that a possibility? Is that on the table? I mean, you know, it's uh,
             we're gonna…

   :         Well everything's on the table.

HOST:        Well I mean, you know, is everybody…we're going to protest and we're going to
             be really really you know really mad…you know we're going to be really…you
             know gosh darn it. [OV] I didn't like it until…if you don't have a credible threat.
             Then…

EV:          Right.

HOST:        I mean you know its tar and featherin’ time at least what…[OV]

EV:          Go away or I will [UI] a second time right.

HOST:        I'm sorry...?

EV:          Said it's the the old uh Monty Python go away or I shall taunt you a second time.

HOST:        Right.

   :         Um but, but, the fact is that um there are people here who are prepared have the
             will, have the facilities, to do more than taunt. The question is, you know, is there
             a shot heard ’round the world moment? The possibility...definitely exists.

HOST:        You know, this is one thing it reminded me I, I asked [UI] we have more sign
             templates coming and uh one of them is, you know, it has a hyperdermic you
             know like we have in some of our signs. And the slogan is, “the shot heard H. E.
             R. D. around the world”.

   :         [UI] Nice pun.


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HOST:        You know, so I'm going, you know, that is, I, I don't know of a better motivator, a
             launch of what's gonna happen. And you know the shot, you know, heard h. e. r.
             d., in capital letters around the world I, I'm, I think people go whoa…that…whoa,
             whoa. And that's, you know, kind of the impact, but then, but then, what you you
             gonna fight em back with another hyperdermic? I mean, I’m, at some point this
             is…it's a test, you know…the…this is a test for humanity. This is a test and in
             Washington,[OV] I'm sorry, go ahead.

   :         I think we cannot…I think we cannot fail. We have to stand and pass that test.
             [OV] That's why people are here. That is why people are here. You know um they
             are normally um very even tempered, uh, professionals and individuals, educated
             people. You know we're not a bunch of yahoo white supremacist skinheads. We
             are, we are doctors,, lawyers mothers, fathers, you know, people who are the core
             backbone of the United States. And we are here to say you're not going to get
             away with this.

HOST:        In, in what way? I mean, you know, so we're gonna taunt ya a fifth time…what,
             what, uh,[OV] well let me explain to the audience what you're talking about.
             There's um, uh search for the holy grail. It’s a Monty Python movie that was kind
             it was...you know the...you know the...english guy goes up to the castle and the
             french are up there. “You'll go… [UI] I will taunt you a second time.” uh, you
             know and it was just and that's what he's talking about. It's like, you know, what
             are you gonna do to me? Well I'm gonna, I'm gonna yell at ya again, you know,
             they…

EV:          I'm going too far in your general direction

HOST:        Yeah.

   :         [UI]

HOST:        So this is…I'm looking at um, this. It can't keep being like that and I, and I see a
             lot of our activities and activism over last thirty years has really clearly articulated
             this including election fraud. Here in Arizona and Maricopa County in particular,
             we knew this was coming. We been, you know...

   :         Well its a tinderbox and this right now, what we've seen, I mean, we have a little
             bit of inside information with the powers that would oppose the powers that be.
             Um but this is a tinderbox it just is a question of what is the precipitating event.

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HOST:          You know, this is just…I know Ed knows uh [UI] lone prairie out in the middle of
               the whatever but I mean you're out in the middle of the whatever I mean damn. so
               um it's I, I see what's coming I've known that this is going to be coming and like
                       says, there is a time that you can't keep backing up. No don't cross this
               line…okay, wait, wait, wait, this line. No, no, no, wait, wait, wait, this line. And
               everybody's got to have their line and mine was door to door uh gun confiscation
               was going to tell me what I need to know and I think that's coming. Then there's
               um uh drafting my children into somebody's war. Well, now they're their own
               adults and now it's like my grandkids into some war and I, I think I'm gonna have
               to put on the list foreseen notions and potions from the crown into our flesh. You
               know, if we don't get in..informed consent, you know, that is, that,man that was
               warned by all kinds of biblical and founding fathers and, you know, patriots and
               you know from throughout history are going woah, woah,woah. when they can
               force you to take this elixir. Yeah, you got issues and that's that's my that's a,
               that's a hill to die on for me. And I'm just, I'm not going to associate with other
               people that, you know, that fake it, that say they're going to but not. It's too
               dangerous. You know when, when you do something, I don't even want to be part
               of it, I'm, I’m the lone-wolf. You can't infiltrate a militia of one, you know…

   :           (Laughing) Right.

HOST:          …you know             's gonna go hey, look at this story. I'm gonna go ah man, that's
               that's interesting, you know…when you did it, you know what I mean, I'm just…

EV:            Right.

HOST:          …I, I'm not trusting of any any of these groups or organizations or a new party
               and they're not addressing the core problem. It's the election fraud. We don't have
               a say. I've been screaming this forever and gee, where and detailed it and where is
               it one of the worst in the nation, uh…Maricopa County. I'm so shocked.

EV:            Yeah,        . There's one thing I would like to say okay…my, my gut feeling, and
               that's the one I'm gonna go with, is we're going to be told…the American people
               are going to be told today that we have uh liberty and justice for all or they're
               gonna be told fuck you…okay…and if, and if they're told fuck you, that's going to
               be the declaration of a guerrilla war.

HOST: You know that's what I, I, just, you, you always hear me say it and I just want them to
            say it. Say it! You know, they go, you're not going to win. I go, I don't care. I just

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             want them to say it. You know, well I think they're prepared to say it and do it and
             they… [OV]

EV:          Well, I don't know. I'm, I'm just praying to God that Trump has his head on
             fucking straight and he knows what he's doing. He's got the machinations behind
             him, he's got all the proof in the world and he's gonna bring the fucking hammer
             down.

HOST:        I hope so. But I…I… [OV]

EV:          You know, that’s the only that’s our only, only hope. Thats it. If that doesn't
             happen, then shit is on.

HOST:        I, I hope so that he actually does because I'm not, I, I, I'm, my biggest concern is
             everybody um depending on somebody else to fix it for em. You know let’s get…

   :         Well we're not gonna, we're not… [OV]

EV:          Well that’s fine…no that's fine         , because I am the motherfucker that's gonna
             fix it for them. If they tell me today it's broken…

HOST:        Well I, I don't need Ed to fix it for me either…

   :              ,      !

HOST:        …but you fix it for, you know, go fix it for you.[OV] Well let, let       speak.

EV:          You know what I've been tellin’ people? You know what I’ve been telling people,
                 ?

HOST:        What?

EV:          I’ve been telling people this for years. I'm the guy that everybody said no, Ed, you
             can't shoot ‘em yet, it’s too soon. No, Ed, you can't shoot the bastard yet, it's too
             soon. Well I've been telling them about five six months ago…they quit telling me.

HOST:        Yep, no, I'm, I'm, I'm, I understand the sentiment.       before I gotta get the next
             hour go ahead, what you want to say?


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   :          Yeah, I had one last thought and that is that this is, as we say, that, that moment of
              truth. Um, it may take a few days to, to, come to pass but I, I believe that the
              world has not significantly changed since the Romans and what I believe in that is
              that the people who controlled Rome controlled the Army, okay, they controlled
              the military. If you have the loyalty of the military, then the rest doesn't matter
              and we can make anything pretty and modern about it but that brutal truth is still
              the, the determining factor about who controls what. So, if he has the military
              behind him, Trump will win. If he does not, he won't.

HOST:         Well what do you think?

   :          I don't have enough inside information to know but um my inclination is that he
              probably does.

HOST:         [OV] Well certainly you'd, you'd hope the troops...this is going to be…this is the,
              the, the beginning is nigh, alright, that's my, my point. The beginning is nigh.
              Alright, I gotta get my next hour man. Thanks for coming on guys. This was
              awesome. I really appreciate it and let me know what happens. We'll get you back
              on.         will contact you, okay?

   :          Okay.

EV:           I hope we meet again.

HOST:         Yeah, alright, peace guys. Bye.

   :          Peace.

[End of conversation]




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             you were already behind that long line you could move freely but you couldn't
             drive in there and I had to drive around the circumference of that and I could see
             this million more or more people moving in the direction of the Capitol.

             (Music starts playing)

   :         Uh the thing is is that there was no getting in uh at that point maybe…

HOST:        Okay [UI] [OV] music has started and I wanna not miss any of this so when we
             come back we'll start with after the speech then the movement of people because I
             saw this in Ukraine. This is what they did. Hey go over here and they all got shot,
             you know. [UI] and now we’re involved in a war in Ukraine. And it was just it
             was organized, manipulated…we'll find out when we come back.

             [RC]

HOST:        And         and Ed in Washington D.C…alright we're picking up right where we
             left off. The speech uh we had it. Uh we were doing the live show from the
             Arizona state Capitol yesterday and after we got done at uh 10:00 our time noon
             was when I guess he was speaking so as we're finish up the Trump report
                                       and I [UI] were just yackin’ it and then ah Trump started
             the speech. So we went ahead and just streamed it and put it up and included it in
             the show. And uh it wasn't too long, you know. He went on about you know,
             'Murica, you know freedom and stop the steel kind of thing and then he's done.
             And that was in front of the White House. So, when he was done with the speech,
                    and Ed said okay, then something happened, you know, people started
             going they were directed uh Pied Pipered to something. So,          go ahead tell me
             what happened.

   :         So that's a pretty good Segway. So at the end of the speech people started moving
             and it was a calm uh motion and I anticipated or I interpreted it that they were
             basically leaving to go back to their hotels or go home or do whatever they were
             going to do the rest of the day. But then, the stream and the tenor of the stream of
             people changed and we weren’t in that crowd. We were not in that stream. We
             were observing from the outside. And when the tenor changed uh the next thing
             we knew there were first of all dozens of uh police cars were racing toward the
             Capitol um crossing our path uh and we said wow something must be going on.
             And then, at that point, we had gotten reports that they had, the crowd, had taken
             the Capitol building…where there were not reports yet that anyone had gone

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             inside but that they had surrounded the Capitol building…and um…

HOST:        [OV] Were they already pre-staged there or did they have time to walk there?

   :         I'm sorry…could you repeat that?

HOST:        Were they already pre-staged there at the Capitol?

   :         No they had to walk there. It took a good 20 minutes to get from the place where
             the people were listening to the speech to uh to the actual Capitol building and
             that's about how long it would take at reasonable pace to walk it, so uh…but but
             like I said the tenor of the crowd changed um and there was def- definitely more
             boisterous movement that we could only observed from afar because we were not
             allowed to go past the barriers of the spokes to the wheel of the center city at that
             point...the center of the Capitol itself um and then basically we were relegated to
             driving out of the city because the police and everyone were directing all that
             traffic out of the city and there was really know where to turn because they had
             blocked off all turns left or right and you basically had one path out of the city. At
             that point then we were watching all the reports… [OV]

EV:          We saw police [UI] when we exited D.C., we saw the on ramp up above was
             blocked

   :         [OV] …it was blocked nobody was…

EV:          …not allowing anyone into D.C.…

   :         …nobody was…

EV:          all the outlets were blocked off. Nobody was allowed to come in and and help
             with what was going on because it must have been declared... [UI] [OV]

HOST:        Okay so all of the exits that go into the city were blocked and getting' out, get out.

   :         Yeah and the thing is is that this happened really in short order . I do not think this
             could not have been planned. It pretty much I think those individuals who were
             blocking and driving the traffic where it needed to go were pre-placed.

EV:          I disagree, I disagree personally. Okay. There were so many Antifas that were

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             infiltrated into the people and into the crowd that I'll tell you what   , remem-
             in in Animal House where the the the the parade is going on and the marching
             band is going and the the guy throws the baton in the air and [UI] runs out pushes
             him and grabs the baton and takes [UI] down the alley. That's exactly what
             happened here. They had so many Antifas in there that they were mixed in there
             and they were agitated, okay… the people took the Capitol, surrounded the
             Capitol building but weren't gonna go in, weren't going to do anything. [OV]
             They were just there to make sure that those inside knew they were surrounded by
             all these people that wanted them to do the right thing.

HOST:        Okay. So yeah, you know, it doesn't it didn’t seem, you know in uh character for
             Trump supporters that I've ever seen any kind of anything that they're like you
             know [OV] pushing up against shields and stuff.

EV:          I'll send you the video of the the people surrounding the building. A young kid,
             right, with Trump stuff on and he's got something in his hand looked like a sack
             okay or you know a a a blackjack and he's beatin’ on one of the windows and to
             and to try and break it but it just kinda kind of crackles because it won't break and
             the crowd jumps this guy and holds him to the ground and one guy says nobody's
             breaking anything here. Then they held him down and they stopped him from
             breaking in. Okay? That's what was going on upstairs. Downstairs on one of the
             lower windows there's a group of Antifa…we know they're Antifa, we can
             identify them as Antifa with Trump stuff on…they've got two by fours okay,
             breaking the window in. Now, day before yesterday when we got here, it was
             reports where they came up with stashes of two by fours and propane tanks just
             like the brick stashes from Thoros. Okay? So they had stuff prepositioned here.
             They knew they that that people were gon- [OV]

HOST:        Yeah so this is you know alright...

EV:          [UI] They hijacked it.

HOST:        Okay let me let me let me ask         this.      ,

EV:          [OV] Sure.

HOST:        I, I, I wanna, I wanna get a impression from you. Was there Antifa staging? You
             know did it seem like there were, you know, little younger, you know, little uh
             you know darker kind of uh you know got the black pants on and the you know

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             shirt [UI] camoufla- We're all wearing Trump flags now. That was one thing,
             Trump, they were kinda I I didn't see Trump flags on a a bunch of dreadlock uh
             you know didn't wash guys before. I mean, you know, it just seemed, seemed like
             um tea party and they all dressed as Indians you know what i mean [laughing]
             so…

   :         Well we were um had treated to that uh the night before. We were at Freedom
             Plaza and there were groups of younger individuals coming through um and they
             would, they were wearing a mixture of what I would consider to be the kind of
             garb that you would see on an Antifa group combined with you know Trump gear
             and I I got the feeling that there was something amiss even the night before. So
             yes there are um there were those groups of individuals mixed in. We got reports
             that there were individuals bussed in the night before as well. And, if you look at
             the video, you can get a sense that these are not your standard uh I don't want to
             be insulting but, you know, middle aged individuals who are you know they
             generally vote Republican and they uh you know they they they take care of their
             grandkids you know…these were not [OV] rioters.

EV:          The group that attacked the Black Lives Matter Plaza night before last were not
             white conservative [OV] old men. I'll tell you that.

   :         They were not. You can't you just can't imagine the incongruity of those
             individuals being accused of even attempting to cross a police line to attack any
             group. It just that's just unconscionable. [OV] I can't even imagine it and I knew it
             the moment it was reported that was not, if you want to say us. It was not (music
             playing) uh a group of uh patriots or…

HOST:        But it had the impact…

   :         of Trump supporters.

HOST:        ...it had the impact of stopping you know the the steel evidence of information
             getting in when everybody's paying attention. It had the impact of optics to the
             rest of the world of Trump people see there they're a bunch of militia gotta be
             disarmed. It it it had the impact ( : [inaudible]) of whatever they wanted [OV]

EV:          No it's...

HOST:        Alright we'll...[OV]

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EV:          It's like you said domestic terrorism.

HOST:        ...we'll get more detail when we come back in just a little bit.

             [RC]

HOST:        Ed and       ... Okay, you know there was uh people made it into the House
             Chambers and I remember watching it live and they're doing the presentation of
             evidence and all that which went out the window…that oh oh we're not doing that
             anymore that uh we kinda you know it...who does it serve? Well it definitely
             served [UI] what happens. So they make sure it happens. That's just how it works.
             So then they said alright everybody you know you know...This is not a drill!
             Missiles inbound! You know get...anyway, so they get into some basement uh
             panic room or something and then the people actually make it into the House
             Chamber. Well they're walking around sittin’ smokin’ other people's cigars
             whatever and then uh we find out that 3:45 this morning uh Biden's confirmed.
             You know Biden you know he he's presidente elect now. Now it's kind you know
             it's ah I mean get over it. Well they did that late at night then you're saying that
             National Guard or somebody went in and cleared him out so they can go in the
             chambers. So you're saying that the activists, you know, protesters, whatever,
             they were in the Congressional House uh on the floor Congress until then or not
             or what what? Who's going to tell me?

   :         We don’t know when they cleared them out. But they cleared them out before the
             Representatives uh all took their uh what do you wanna call it [UI] on their
             positions to do whatever deeds they were gonna do. And there were some
             speeches but essentially it was a roll call as to whether or not uh individuals were
             gonna rebuke the vote and they were going to support uh uh you know fraud and
             to re- to uh object to the electors. And there were a couple of speeches, which I
             barely could watch, they made me so sick, because there were people who were
             committed to doing that who then said, well I was going to do this but now...
             [OV]

EV:          [UI] Georgia.

HOST:        Yep, yep.
  :          ...now I'm not going to do that.

HOST:        Yep, yep.

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HOST:        …she's got a...okay, well. [OV]

EV:          …her name is Babbitt.

HOST:        This is a but yeah how come? I thought she was only sixteen?

EV:          Um [OV] somehow she was shot through a a a door by a window. I guess she
             looked in the window and was shot through it by one of whoever it was. We got
             pictures of who the [UI]...

HOST:        Yeah that's what I saw. The door it was it had a glass door and he shot her through
             a glass door. That was just I that's some weird stuff I…what the heck that was
             about and um so the woman that was shot she was a a veteran.

EV:          Yes.

HOST:        Okay let me go ahead and you know              's got it up here on the front page.
             (Reading from website) [UI] News confirms identity. A woman shot and killed
             inside U.S. Capitol.” I don't know, when I saw her laying down she looked quite
             younger than this. Okay, um... (reading from website) The woman who was shot
             and killed inside U.S. Capitol during the protest was from the San Diego area.
             Uh... talked to her husband. The woman is Ashley Babbitt, a fourteen year veteran
             who served four tours with the U.S. Air Force and was high level security official
             throughout her time in the service. Her husband said she was a strong supporter of
             President Trump and was a great patriot to all that knew her. The Metropolitan
             Police Department says investigation of her death continues blah blah blah okay
             so um yeah so she's Trump person. She was there and military and [UI] whatever
             and boom. Got killed. This is um, you know, this is why I always take the advice
             of three weeks. You know you don't yeah you whatever happens right then you
             can get live footage of whatever you know that's one thing and then you know,
             hell that get’s doctored too, but um it's three weeks later and we're looking at by
             the end of January we're all going to be going ahh…Now we know what a lot
             closer to what really happened and uh manipulation it had on the process and uh
             not getting... So now are we election fraud uh that's just not an issue anymore that
             goes away... Are we done?
EV:          You-you're asking me?! [laughing]

   :         Well, at this point I mean…


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EV:          I'm never done.

   :         You know, we're sitting here in, you know our digs if you will, ruminating over
             the events and trying to calculate what next steps are.

EV:          Yeah I'm waiting for orders from Stewart Rhodes.

HOST:        Ha, yeah Ed tha- that's Ed. You know that's one thing…        , get Stewart
             Rhodes on. Yeah go ahead and call yeah we haven't talked to Stewart in a while.
             Alright well Oath Keepers, Stewart Rhodes, they they got a plan.

EV:          [OV] I should set up a three way call right now and put him on.

HOST:        Uh it's too late now but um we'll we'll we'll get him on. The um so go ahead and
             give me…what do you think is gonna happen now,             ? You know, you're
             saying you're just uh starting to talk about, you know, what now? What's your
             what now?

   :         Well uh you know here's the thing. We're here prepared in all aspects to support
             the Constitution and and honor our oaths that we took. I mean we’re we wanna
             support the Constitution. The the issue here then is what mechanism do we have
             to do that. Are there more people coming? If they do, what's gonna happen? Is it's
             not really plausible to non-violently protest anymore because the entire area is
             closed off and cordoned and curfewed uh... So the question becomes when we
             realize that this wrong has been done uh, what are the next steps? I mean is this
             this the shot heard 'round the world moment? I don't know. I don't know. I don't
             have omnipotent, omniscient, excuse me, omniscient intel on what the situation is.
             We are here uh because we wanna know what develops. We're staying here to
             allow these things to develop so that we can you know judge our position relative
             to what uh political events occur…what, what happens. Um this relies on a lot of
             things. How angry are people? Did they successfully manage to get this done
             without any real reaction from the American public because a few guys here who
             want to maintain the Constitution aren't going to do anything. America has to get
             mad and if America doesn't get mad then we're utterly useless.

HOST:        Hell I'm hoping for Arizona to get mad. I'm just like you know I Washington D-
             don't mean nothing to me. I I'm I'm not worried about the galloping Chinese hoard
             of the Islamo fascist something more than I am my own freaking federal
             government. I mean you know they're not the ones that you know beat me down

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             Horizon went from god two three dollars now it's like fifteen sixteen or something
             you know and I bought more at like four eight or whatever like that 'cause I knew
             why. 'Cause they were focusing on privacy, you know. This is what's going to be
             the future and it's gonna be cryptocurrencies that are private and they can't track
             it. It's pirate communication.

   :         Hmm, well that's the interesting thing is that cryptocurrency is yes a um medium
             or a a unit of value. But it also is a means to communicate. Uh I mean ultimately
             it's all about transactions. I mean the underlying technologies, block chain, and
             the we've only begun to scratch the surface of what we can do with block chain.
             But, yes. It is the only true effective weapon that we have against the powers that
             be who…[UI] [OV]…yeah and and I mean the thing is is that the Federal Reserve
             is on a crash course unless something is done with the the remainder of what used
             to be the United States. Uh, that...it's over. It is an end game that that will happen.
             Uh, don't know exactly when [music playing] alright,we're already on that crash
             course…

HOST:        You know when when you…

   :         [OV] and that's why bitcoin.

HOST:        …yeah no we need to talk more when you guys come back. Ed when you coming
             back man?

EV:          Um when am I coming back to [UI] Arizona?

HOST:        Yeah.

   :         At this point we don't know. [OV] We don't know.

HOST:        We- well I got work…

   :         We don't know if there's anything left to do.

HOST:        I got sign stuff. I've I got some you know some uh you know refreshments for ya,
             you know I got I got some money I got some uh I need some…Ed you know
                    and the guy and the activist do some butt whippin’... you know 'cause uh
             while we're here…


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EV:                 we gotta find out what happens on the... We gotta find out what happens on
              the 20th 'cause if Joe Biden gets installed as President we will have gone from a
              nation of laws to a nation of myths.

HOST:         Well I we're going to be a nation of activists as far as I have anything to do with
              it, so I got plenty to do. You guys stay in to...hold on we'll talk a little bit more in
              the after show, but I'll tell ya, you know, uh, uh, we've been building up [UI]
              now.

[End of conversation]




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       25ÿ25ÿ5225 ÿ25ÿ1ÿ21560ÿ42ÿÿÿ46 ÿ25ÿ024ÿ21560ÿ12ÿ2 ÿ16262ÿ5ÿ52516
       53ÿ'56021232156ÿ46 ÿ53ÿ4ÿ5ÿ17
97ÿÿÿ?MNOMÿPQOÿNRPRÿSOTUONVÿÿ&303462ÿ25ÿ242ÿ54 42156ÿ5 ÿ)W'W*ÿ46 ÿ52 ÿ2302 ÿ 1124
36120ÿ25ÿ01Xÿ4ÿ424400ÿ5ÿ2 ÿ'#9ÿYZ#ÿ)9ÿ[#ÿ2ÿ46 ÿ2 ÿ50ÿ ÿÿ4ÿ0242ÿ254
002 0ÿ46 ÿ4 1610242507ÿÿ96 ÿ5 ÿ2 ÿ25ÿ24Iÿ50000156ÿ5ÿ46 ÿ0ÿ4ÿ1 6ÿ5ÿ2
16032156J 156J53ÿ ÿ12ÿ10ÿ530 ÿ5ÿ ÿ46 ÿ25ÿ5362ÿ46 ÿ0300ÿ46ÿ422 2ÿÿ2
160321561020ÿ25ÿ62ÿ2 ÿ01X16ÿ5ÿ2 ÿ4247
Z7ÿ?MNOMÿRÿ\RSSÿNO]^RSST_T]RPT̀aÿ̀_ÿPQOÿNTMPbÿSO]MOPSVÿÿÿW ÿ)W'W*ÿ#621 6ÿ510ÿ46
52 ÿ2302 ÿ46 ÿ54ÿ42152ÿ1621 6ÿ510ÿ25ÿ4ÿ532ÿ53ÿ5 0ÿ25ÿ 400116ÿ9ccÿ2 ÿ12
020ÿ46 ÿ1 6ÿ5ÿ1 0ÿÿ4ÿ2 ÿ532ÿ46 ÿ5 5 10 ÿ120ÿK16ÿ52ÿ 45ÿ4210Lÿ25
  "50ÿ2 ÿ4ÿ46 ÿ0 14ÿ25ÿ"50ÿ2 1ÿ24056ÿ46 ÿ2 1ÿ116ÿ01ÿ25ÿ5 36102ÿ164ÿ46
52 ÿ516ÿ5 0ÿ40ÿ010ÿ4 620ÿ46 ÿ3 207ÿÿWÿ530ÿ250ÿ54ÿ1621 6ÿ510ÿ053
652ÿ 4001ÿ46 ÿ1050ÿ424ÿ242ÿ53ÿ32ÿ42ÿ10Iÿ54ÿ9 146ÿ5 4210ÿ46 ÿ410ÿ16ÿ516
6421560ÿ 5ÿ4ÿ56ÿ12142ÿ 1001560ÿ242ÿ4ÿ42 ÿ25ÿ53ÿ12142ÿ6421564ÿ1620207ÿÿW6
  1050ÿ424ÿ56ÿ241250ÿ46 ÿ2 1ÿ240567
'7ÿÿ-1216ÿ4ÿ242ÿ424ÿ1ÿ ÿ2 ÿ1 6ÿ6 ÿ25ÿ"50ÿ2 ÿ52ÿ43 ÿ46 ÿ 5ÿ10ÿ 16 ÿ12ÿ40ÿ 
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           Case 1:22-cr-00015-APM      Document 102-1      Filed 04/18/22   Page 37 of 337
0112324567ÿ93
   ÿÿÿÿÿÿÿ!ÿ"ÿ0ÿ#$ÿ455ÿ%9ÿ&2'(ÿ693'96ÿ01ÿ%9
30)#'0)269&ÿ95296ÿ0*ÿ&26#54(ÿ0ÿ%9ÿ+)9'234*ÿ#90#59ÿÿ,%069ÿ693'96ÿ4'9ÿ%9ÿ-9'(ÿ.6/4)#ÿ/49'0ÿ%4
 %9ÿ1ÿ6/4)#ÿ3'94$'96ÿ6/2)ÿ2*ÿÿ,%069ÿ&2'(ÿ693'96ÿ20%ÿ30*'05ÿ4*&ÿ6%295&ÿ%9)ÿ455ÿÿÿ,%'0/ÿ%9
&00'6ÿ0#9*7ÿ4*&ÿ&$)#ÿ455ÿ%9ÿ639590*6ÿ0$ÿ01ÿ%9ÿ350696ÿ4*&ÿ0*0ÿ%9ÿ6'996ÿ10'ÿ455ÿ%9ÿ#90#59ÿ0ÿ6997
4*&ÿ10'ÿ455ÿ%9ÿ/0'5&ÿ0ÿ699
4ÿÿ567ÿ7ÿ8ÿ97ÿ:7;ÿ4*&ÿ463ÿ%2)ÿ0ÿ46626ÿ2*ÿ%26ÿ)4662-9ÿ&44<&$)#ÿ#$2523
&263506$'9ÿÿ=9ÿ26ÿ4ÿ%9'0ÿ/%0ÿ%46ÿ&9&2349&ÿ%26ÿ5219ÿ0ÿ24 52*>ÿ%9ÿ&99#ÿ649ÿ4*&ÿ&969'-9ÿ0$'ÿ%4*36
4*&ÿ4ÿ3%4*39ÿ0ÿ69'-9ÿ*0ÿ?$6ÿ+)9'2347ÿ2$ÿ455ÿ%$)4*2(ÿ2(ÿ466262*>ÿ2*ÿ%26ÿ>'94ÿ34$69
@ÿÿAÿBÿ7ÿ6ÿCÿ86ÿ688ÿ!ÿDE5F:GHIÿBÿCÿ;7Jÿÿ7
6ÿ!KÿÿF67LÿÿCÿ7ÿCÿ6ÿ6ÿ7ÿÿ!ÿ6Mÿÿ,%9ÿ'9#5439)9*ÿ6%0$5&
*0ÿ30)9ÿ1'0)ÿ/2%2*ÿ%9ÿ295/4(
N0$ÿ)$6ÿ4##02*ÿ4ÿO4+Pÿ#4'20ÿ+ 0'*9(ÿQ9*9'45ÿ/%0ÿ/255ÿ43$455(ÿ12>%ÿ4*&ÿ43$455(ÿ3594*ÿ%0$69ÿÿ
P003ÿ0$62&9ÿ%9ÿ295/4(ÿ10'ÿ4ÿ'945ÿ#4'20 ÿÿR9ÿ/255ÿ%95#ÿ(0$ÿ12*&ÿ0*9ÿ/%0ÿ/255ÿ43$455(ÿ12>%ÿ10'ÿ%9
O9#$2523ÿÿ,%26ÿ26ÿ4ÿ#0#$526ÿ)0-9)9*7ÿ4*&ÿ%9ÿ#90#59ÿ4'9ÿ6255ÿ292*>ÿ50339&ÿ0$7ÿ/%23%ÿ26ÿ/%(ÿ(0$ÿ399#
>9 2*>ÿ29'4(9&ÿ0-9'ÿ4*&ÿ0-9'ÿÿÿ+##02*ÿO4+Pÿ#4'206ÿ/%0ÿ4'9ÿ0$62&9'6
4ÿ:67ÿÿÿ66ÿ7ÿÿ86Kÿÿ,%9ÿ*9/ÿ+ 0'*9(ÿQ9*9'45ÿ6%0$5&ÿ4##02*ÿ4ÿ6#93245
#'0693$0'ÿ/2%ÿ4ÿ1$55ÿ463ÿ10'39ÿ0ÿ2*-962>49ÿ4*&ÿ2*&23ÿ455ÿ%069ÿ2*-05-9&ÿ2*ÿ%9ÿ-09ÿ1'4$&ÿ4*&ÿ0ÿ>0
419'ÿ%9ÿ99#ÿS49ÿ1'0)ÿ0#ÿ0ÿ20 0)7ÿ2*35$&2*>ÿ/2%2*ÿ%9ÿTU7ÿ#'0693$2*>ÿ455ÿ'420'6ÿ2*ÿ455ÿ2'4*3%967
4*&ÿ455ÿ59-9567ÿ0ÿ'00ÿ0$ÿ455ÿ/%0ÿ4'9ÿ432-95(ÿ30))22*>ÿ'9460*7ÿ4*&ÿ/%0ÿ%4-9ÿ299*ÿ30)#'0)269&7
25433)4259&7ÿ0'ÿ20$>%ÿ0$ÿ2(ÿ10))$*26ÿ1%2*4ÿ4*&V0'ÿ0%9'ÿ10'92>*ÿ9*9)296
@ÿÿAÿ!ÿ7ÿÿÿ6ÿ7ÿÿÿABWÿF6ÿ0ÿ3594*ÿ%0$69ÿ2*ÿ%9ÿ@XYÿ4*&ÿ0ÿ43$455(ÿ&0
 %92'ÿ?026
ZKÿÿÿCÿEK[Kÿ\!ÿ6ÿ;6ÿ6ÿF867ÿZJÿ6ÿ7ÿF867ÿ]Jÿ6ÿ87ÿ6ÿ767ÿ86
^7ÿCÿ_Cÿ_ÿÿCÿ77ÿ767KÿÿÿYÿ26ÿ2)#9'42-9ÿ%4ÿ/9ÿ)42*42*ÿ6'23
30*'05ÿ01ÿ0$'ÿ*$3594'ÿ4'69*45ÿ2*ÿ#4'20ÿ%4*&6ÿ4*&ÿ%4ÿ0$'ÿ4')9&ÿ10'396ÿ64*&ÿ'94&(ÿ0ÿ'9#95ÿ10'92>*
4 433ÿ4*&ÿ2*9'19'9*39ÿ/%259ÿ/9ÿ%4*&59ÿ%26ÿ*939664'25(ÿ&'4623ÿ&0)9623ÿ%0$69ÿ3594*2*>
`ÿÿaÿCÿÿ76ÿ8ÿKÿÿÿÿb$'6$4*ÿ0ÿ(0$ÿ#0/9'6ÿ46ÿ10))4*&9'<2*<1%291ÿ0ÿ3455ÿ10'%
 %9ÿ)252247ÿ3455ÿ$#ÿ455ÿc420*45ÿQ$4'&ÿ$*26ÿ2*0ÿ19&9'45ÿ69'-2397ÿ4*&ÿ5239/269ÿ3455ÿ$#ÿ455ÿ)2524'(ÿ-99'4*6
$#ÿ0ÿ4>9ÿdeÿ2*0ÿ19&9'45ÿ69'-239ÿ46ÿ%9ÿ)25224ÿ0ÿ46626ÿ2*ÿ399#2*>ÿ%9ÿ#9439ÿ%9'9ÿ4ÿ%0)9ÿÿÿ+560ÿ3455ÿ$#
455ÿ4259<20&29&ÿ+)9'234*6ÿ29/99*ÿ%9ÿ4>96ÿ01ÿfg<heÿ/%0ÿ4'9ÿ6255ÿ50(45ÿ0ÿ%9ÿ10*62$20*ÿ0ÿ5239/269
'9#0'ÿ10'ÿ&$(7ÿ294'2*>ÿ%92'ÿ0/*ÿ4')6ÿÿÿN0$ÿ%4-9ÿ%9ÿ#0/9'ÿ0ÿ30))4*&ÿ%9)ÿ4*&ÿ0'&9'ÿ%9)ÿ0ÿ'9#0'
          Case 1:22-cr-00015-APM   Document 102-1   Filed 04/18/22   Page 38 of 337
012ÿ4567ÿ86ÿ69 2ÿ 82 6ÿ6827ÿ8 ÿ12ÿ861 8ÿ5824ÿ82127ÿÿ69 2ÿ686ÿÿÿÿ10ÿ69 ÿ81ÿ8ÿ69
68ÿ8 ÿ ÿ5 4ÿ61ÿ ÿ69 ÿ 8ÿÿ152ÿ18ÿ8 4ÿ686ÿ15 6 ÿ5 4 2ÿ7152ÿ426ÿ18 4
61ÿ52 ÿ69 ÿ 64ÿ216ÿ62212ÿ8 4ÿ82 4ÿ 52261 ÿ7ÿ69 ÿ2848ÿ06ÿÿ69 ÿ 64ÿ686
91ÿ98ÿ ÿ82 4ÿ8 4ÿ5 4ÿ012ÿ1 69ÿ1ÿ7ÿ152ÿ012 ÿ8 4ÿ41 6ÿ  !
"#ÿÿ%&'()%*ÿ+ÿ%,-+'ÿ-,-%*.&'/%,-+'ÿ)0ÿ&)1ÿ%&11)0*-(ÿ+'(ÿ%&201&2.3-(
-,-%*.&'ÿ343*-2#ÿÿ
5 ÿÿ16ÿ84 ÿ1 ÿ69 ÿ91267ÿÿ687ÿ65 4ÿÿ66ÿÿ169ÿÿ8 4ÿ27ÿ1ÿ ÿ69 ÿ848 4
8 2ÿ10ÿ122561 ÿÿ152ÿ16 ÿ76
787968:ÿ5;ÿ<;ÿ6ÿ=8<ÿÿ=6>?ÿ8ÿ@??;<ÿ5>?ÿÿ9;?Aÿ;?ÿ6?ÿB8;ÿ56?>ÿC8ÿ
78@@B;<ÿ6ÿ7>6;=ÿD
?9 2ÿÿ1ÿ87ÿ156ÿ56ÿ69215 9ÿÿ 4ÿ ÿÿ8?ÿ56ÿ61ÿ8ÿ791ÿ5 6ÿ2  ÿÿC15ÿ56ÿ68 4
68ÿ8 4ÿ5 ÿ7152ÿ1 66561 8ÿ1 2ÿ61ÿ096ÿ69 ÿ82ÿ8 8 6ÿ  ÿ012 ÿ8 4ÿ41 6ÿ9ÿ715
82ÿ6ÿE2 4 6ÿ8 4ÿ718 4 2F F79 0ÿÿ60ÿ715ÿ08ÿ61ÿ41ÿ1ÿ ÿ69 ÿ 1ÿÿ98ÿ61ÿ096ÿ8ÿ1147
21561 Gÿ82ÿ61ÿ6921ÿ100ÿ8 ÿ 686ÿ4 ÿ686G79 ÿ5 6ÿ2  
C15ÿ56ÿ5 ÿ169ÿ7152ÿ85691267ÿ61ÿ1ÿ69 ÿ6 52261 ÿ6ÿ8 4ÿ7152ÿ8156ÿ1 2ÿ61ÿ4 8 07
8 7ÿ8 4ÿ8ÿ 26
H 85 ÿ10ÿ69 ÿ89 861 ÿ10ÿ69 ÿ16ÿ8 628ÿ 48ÿ16ÿ 28 ÿ82ÿ 128 6ÿ10ÿI56
91ÿ122564ÿ8 4ÿ121 4ÿ69 ÿ 689 6ÿ98ÿ 1 ÿ?9 7ÿ98ÿ1ÿ4 8ÿ91ÿ8 7ÿ168
 8ÿ 48ÿ8 4ÿ5 ÿ6 ÿ82ÿ1ÿ121 4ÿ5 6ÿ10ÿ715 6ÿ79 8ÿ69ÿ69 ÿ84ÿ10ÿ69
4 ÿ686ÿ628612ÿ69 ÿ152ÿ1 ÿ6 ÿ8 4ÿ04 28ÿ8ÿ 012 6ÿ8  ÿ?986ÿÿ97ÿ715
56ÿ5 ÿ878@ÿ8 4ÿ169 2ÿ178ÿ6827ÿ5 6ÿ61ÿ41ÿ8ÿ8 ÿ4868ÿ J52ÿ4 8 0861 ÿ8 4ÿ8
4868F45ÿ61ÿ6921ÿ8ÿ69 ÿ61 ÿ156ÿ61ÿ69 ÿ62 6ÿ1 ÿ8ÿ69 ÿ4267ÿ 26ÿ6986ÿ82ÿ5 4ÿ61
1 621ÿ 28 ÿ6 ÿ8 4ÿ91ÿ69 ÿ 28 ÿ 1ÿ8ÿ69 ÿ4 ÿ6986ÿÿ91ÿ69 ÿ91ÿÿ4267
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61ÿ4 086ÿ69 ÿ69ÿ69 ÿ 1ÿ69   ÿ ÿ69 ÿI54 ÿ8 4ÿ69ÿ152ÿ6827ÿ 2F  2ÿ81
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;1 ÿ69 ÿ8ÿ8 4ÿ69 ÿ2 ÿ69 ÿ61ÿI56
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69 ÿ41 
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6826ÿ<914 ÿ
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0123ÿ516ÿ789ÿ ÿ3ÿ331ÿ
3223ÿ3223ÿ
31ÿ13ÿ1ÿ 3ÿ3
31ÿ 3ÿ1ÿ1!333"#
Case 1:22-cr-00015-APM   Document 102-1   Filed 04/18/22   Page 40 of 337




                Exhibit 6
479   InstantCase   1:22-cr-00015-APM 1/1/2021
               Outgoing                   Document 102-1   Filed 04/18/22
                                                                   And also to you!Page 41 of 337
      Messages                       10:13:18                       Source: Phone
                                     PM(UTC+0)
480   Instant    Incoming            1/2/2021                       Happy Blessed New Year Ed! I hope you and
      Messages                       1:05:51                        your family are well. Are you going to
                                     AM(UTC+0)                      Washington D. C. on January 6? If not, do
                                                                    you know someone who is?

                                                                    Source: Phone
481   Instant    Incoming            1/2/2021                       My current telephone number is:
      Messages                       1:06:43
                                     AM(UTC+0)
                                                                    Source: Phone
482   Instant    Outgoing            1/2/2021                       Getting ready to leave.
      Messages                       12:10:15                       Do you want me to leave the door unlocked?
                                     PM(UTC+0)                      Source: Phone
483   Instant    Incoming            1/2/2021                       safe travels man. srry my phone was super
      Messages                       10:00:13                       dead ha
                                     PM(UTC+0)                      Source: Phone
484   Instant    Incoming            1/2/2021                       hey
      Messages                       11:44:44                       cant get ahold of
                                     PM(UTC+0)                      text long and lat
                                                                    over tracks
                                                                    turn on?
                                                                    Source: Phone
485   Instant    Outgoing            1/2/2021                       Driving
      Messages                       11:46:21                       Source: Phone
                                     PM(UTC+0)
486   Instant    Outgoing            1/2/2021                       Approaching Amarillo
      Messages                       11:48:01                       Source: Phone
                                     PM(UTC+0)
487   Instant    Outgoing            1/2/2021                       Call
      Messages                       11:58:30                       Source: Phone
                                     PM(UTC+0)
488   Instant    Incoming            1/3/2021                       got him
      Messages                       12:03:20                       Source: Phone
                                     AM(UTC+0)
489   Instant    Incoming            1/3/2021                       hey im at your place
      Messages                       12:57:06                       Source: Phone
                                     AM(UTC+0)
490   Instant    Outgoing            1/3/2021                       Hey I'm in Texas
      Messages                       12:58:42                       Source: Phone
                                     AM(UTC+0)
491   Instant    Outgoing            1/3/2021                       Is   there?
      Messages                       12:58:59                       Source: Phone
                                     AM(UTC+0)
492   Instant    Incoming            1/3/2021                       yes
      Messages                       12:59:17                       Source: Phone
                                     AM(UTC+0)
493   Instant    Outgoing            1/3/2021                       Good
      Messages                       12:59:41                       Have fun
                                     AM(UTC+0)                      Source: Phone
494   Instant    Incoming            1/3/2021                       USPS: KARL, you can claim compensation for
      Messages                       1:46:16                        delayed parcel 1z9734342 that was supposed
                                     AM(UTC+0)                      to be delivered before Christmas:
                                                                    p6fmv.info/hCUMAxETIN Sorry!
                                                                    Source:
495   Instant    Incoming            1/3/2021                       I'm home
      Messages                       2:46:11                        Source: Phone
                                     AM(UTC+0)
496   Instant    Outgoing            1/3/2021                       And I'm in Texas
      Messages                       2:46:47                        Source: Phone
                                     AM(UTC+0)
497   Instant    Outgoing            1/3/2021
      Messages                       2:47:00                        Source: Phone
                                     AM(UTC+0)
498   Instant    Incoming            1/3/2021                       Oh ok
      Messages                       2:47:10                        Source: Phone
                                     AM(UTC+0)
499   Instant    Incoming            1/3/2021                       ?
      Messages                       2:48:16                        Source: Phone
                                     AM(UTC+0)
500   Instant    Incoming            1/3/2021                       When are you back ?
      Messages                       2:48:38                        Source: Phone
                                     AM(UTC+0)
501   Instant    Outgoing            1/3/2021                       Not sure
      Messages                       2:49:30                        Source: Phone
                                     AM(UTC+0)
502   Instant    Incoming            1/3/2021                       Every thang ok ?
      Messages                       2:50:04                        Source: Phone
                                     AM(UTC+0)
503   Instant    Outgoing            1/3/2021                       Headed to DC to hold their feet to the fire
      Messages                       2:50:14                        Source: Phone
                                     AM(UTC+0)
504   Instant    Incoming            1/3/2021                       Ok
      Messages                       2:51:18                        Source: Phone
                                     AM(UTC+0)
505   Instant    Outgoing            1/3/2021                       https://www.naturalnews.com/2020-11-27-
      Messages                       5:00:51                        interview-jeffrey-prather-how-trump-defeat-
                                     PM(UTC+0)                      deep-state-traitors.html
                                                                    Source: Phone


                                                                                                                  21
531   InstantCase   1:22-cr-00015-APM 1/4/2021
               Outgoing                   Document 102-1   Filed 04/18/22         Page 42 of 337
                                                                   We'll keep you posted
      Messages                       6:16:09                       Source: Phone
                                     PM(UTC+0)
532   Instant    Incoming            1/4/2021                      Ok
      Messages                       6:16:18                       Source: Phone
                                     PM(UTC+0)
533   Instant    Outgoing            1/4/2021                      We're in Knoxville now
      Messages                       11:23:48                      Source: Phone
                                     PM(UTC+0)
534   Instant    Outgoing            1/4/2021                      Sir,
      Messages                       11:30:11                      Ed Vallejo of Arizona in Tenn. With cadre
                                     PM(UTC+0)                     requesting coordinates to Allied encampment
                                                                   outside DC boundaries to rendezvous. Please
                                                                   respond ASAP.
                                                                   For The Republic
                                                                   Source: Phone
535   Instant    Incoming            1/5/2021                      We are in Gatlinburg, will head to Virginia
      Messages                       12:05:23                      Source: Phone
                                     AM(UTC+0)
536   Instant    Outgoing            1/5/2021                      Radio
      Messages                       12:07:58                      Source: Phone
                                     AM(UTC+0)
537   Instant    Outgoing   1        1/5/2021                      Call
      Messages                       12:12:19
                                     AM(UTC+0)
                                                                   Source:
                                                                   Source file:
                                                                   Attachments/0/ (duplicate_filename_34).vcf
                                                                   : (Size: 80 bytes)
538   Instant    Outgoing   1        1/5/2021
      Messages                       12:20:05
                                     AM(UTC+0)                     Source:
                                                                   Source file: Attachments/0/      .vcf : (Size: 82
                                                                   bytes)
539   Instant    Incoming            1/5/2021                      It's out of the way but I have not been here, on
      Messages                       12:30:36                      our way to Lexington, probably stay the night
                                     AM(UTC+0)                     and drive to DC in the morning
                                                                   Source: Phone
540   Instant    Incoming            1/5/2021                      Greetings Ed. Are you on Signal? Please
      Messages                       12:32:27                      direct message me there
                                     AM(UTC+0)                     Source: Phone
541   Instant    Outgoing            1/5/2021                      Yes- wilco
      Messages                       12:33:03                      Source: Phone
                                     AM(UTC+0)
542   Instant    Outgoing            1/5/2021                      Done. Standing by.
      Messages                       12:38:57                      Source: Phone
                                     AM(UTC+0)
543   Instant    Incoming            1/5/2021                      https://twitter.com/rickyrebelrocks/status/1343
      Messages                       1:06:48                       732089481355267?s=21
                                     AM(UTC+0)                     Source:

544   Instant    Incoming            1/5/2021                      #wildprotest. (Scott Presley ..the persistence
      Messages                       1:07:15                       was talking about this group)
                                     AM(UTC+0)                     Source:

545   Instant    Incoming            1/5/2021                      This is the YouTube channel that is fantastic.
      Messages                       1:08:48                       All young journalists who have been covering
                                     AM(UTC+0)                     every single rally. Including every Arizona stop
                                                                   the steel rally since the election. They are sort
                                                                   of a "boots on the ground" 20/30 year old Fox
                                                                   News. Without the fucking Fox News of
                                                                   course!

                                                                   Anyway, just put these guys in on YouTube or
                                                                   Rumble and you can see the live streams.
                                                                   Including right now for the Georgia rally.

                                                                   RSB NETWORK (right side broadcasting)
                                                                   Source:
546   Instant    Incoming            1/5/2021                      Here is the website directly for stop the steel.
      Messages                       1:10:04                       Probably the most "official" information for this
                                     AM(UTC+0)                     rally you can find. Although you could also
                                                                   simply check out Donald Trump's personal
                                                                   website and see what's there.

                                                                   One last thing, make sure that you were on
                                                                   Donald Trump's Twitter feed. There's no better
                                                                   direct link from him than Twitter. Although if
                                                                   shit really goes down you know those
                                                                   assholes will ban his tweet anyway.
                                                                   One last thing, make sure that you were on
                                                                   Donald Trump's Twitter feed. There's no better
                                                                   direct link from him than Twitter. Although if
                                                                   shit really goes down you know those
                                                                   assholes will ban his tweet anyway.


                                                                   Stop the steal... Trumpmarch.com..._
                                                                   Source:
547   Instant    Incoming   1        1/5/2021                      Here you go further.....
      Messages                       1:11:15
                                     AM(UTC+0)                      IMG_3322.png



                                                                   Source:
                                                                   Source file: Attachments/0/IMG_3322.png :
                                                                   (Size: 186257 bytes)
                                                                                                                       23
548   InstantCase   1:22-cr-00015-APM 1/5/2021
               Incoming                   Document 102-1      Filed 04/18/22           Page 43 of 337
                                                                      https://parler.com/post/3be16e783d334d33ae
      Messages                       1:11:38                            6d7d25e7f6cbf5
                                     AM(UTC+0)                          Source:

549   Instant    Incoming            1/5/2021                           WOW..... check this out.
      Messages                       1:12:31
                                     AM(UTC+0)
                                                                        https://parler.com/post/ab917b7755c6412f94e
                                                                        817932003bd06
                                                                        Source:
550   Instant    Incoming            1/5/2021                           So I wrote a very specific message to
      Messages                       1:43:31                            and         about your "complaint" and
                                     AM(UTC+0)                          observation that this rally and the work patriots
                                                                        are doing going there is not getting front and
                                                                        center coverage and treatment as many in the
                                                                        patriot community believe it should.

                                                                        I told them that it seems there are other
                                                                        conversations and guests and topics being
                                                                        discussed rather than this front and center as
                                                                        the world is on the precipice. In so many
                                                                        words.

                                                                        I offered to be on the show extra early for an
                                                                        impromptu spot tomorrow along with after the
                                                                        rally on Thursday etc. because this bullshit is
                                                                        not gonna be over on Wednesday! I wanted
                                                                        to relay the information of the rally, give
                                                                        updates with slashabout you guys, and
                                                                        advertise your PayPal account etc.

                                                                        The only response I've received so far was
                                                                        "you send the links and will post them".
                                                                        And yes I agree Ed that this is not the
                                                                        response I was expecting either! But the night
                                                                        is young. They might be checking with their
                                                                        guest tomorrow to see if they can fit me on for
                                                                        at least 15 minutes to give updates.

                                                                        If nothing else we will certainly have a captive
                                                                        audience all day on Wednesday during the
                                                                        live stream remote from the Arizona Capitol.

                                                                        By the way, in current events, the Arizona
                                                                        State treasurer just resigned yesterday out of
                                                                        discussed for the crooked behavior of the
                                                                        legislature. They are on our side to stop the
                                                                        steal.

                                                                        Best,

                                                                        Source:
551   Instant    Incoming            1/5/2021                           Update. Heard from           and      . They
      Messages                       2:08:20                            will have me on the show for 15 minutes
                                     AM(UTC+0)                          tomorrow to talk about events. If you have a
                                                                        fundraising link please make sure I have it
                                                                        before tomorrow. I will be home between 8
                                                                        and 9 AM.

                                                                        Source:
552   Instant    Outgoing            1/5/2021                           My PayPal
      Messages                       2:10:31                                          yahoo.com
                                     AM(UTC+0)                          Source:

553   Instant    Outgoing            1/5/2021                           Thanks
      Messages                       2:10:50                            Source:
                                     AM(UTC+0)

554   Instant    Incoming   1        1/5/2021
      Messages                                                           IMG_3323.png
                                     2:22:52
                                     AM(UTC+0)

                                                                        Source:
                                                                        Source file: Attachments/0/IMG_3323.png :
                                                                        (Size: 136099 bytes)
555   Instant    Incoming            1/5/2021                           https://parler.com/post/580cf40e8ecb49e09f69
      Messages                       2:23:05                            954671f02dd6
                                     AM(UTC+0)                          Source:

556   Instant    Incoming            1/5/2021                           https://wildprotest.com/
      Messages                       3:12:33                            Source:
                                     AM(UTC+0)

557   Instant    Incoming            1/5/2021                           This last one .., wildprotest.com.. seems to be
      Messages                       3:12:56                            several groups united and very
                                     AM(UTC+0)                          organized. Hope this helps! Be safe patriots...
                                                                        we got this!
                                                                        Source:
558   Instant    Outgoing            1/5/2021     To: +1 352-598        Sir, this is Ed Vallejo.
      Messages                       4:48:20      OK Kelly              We must have copied your number incorrectly
                                     AM(UTC+0)                          as we never received response to our text
                                                                        requesting campground address. We made it
                                                                        as far as Wytheville VA & had to get a room.
                                                                        Please text location so we will know where to
                                                                        begin in the morning.
                                                                        Thank you kindly.
                                                                        Source: Phone
559   Instant    Incoming            1/5/2021     From: +1352598        1211 N Glebe Road, Arlington, VA, 22201, US
      Messages                       5:01:57      OK Kelly              Source: Phone
                                     AM(UTC+0)
                                                                                                                            24
560   Instant  Case   1:22-cr-00015-APM 1/5/2021
                 Outgoing                   Document 102-1        Filed 04/18/22
                                                     To: +1 352-598-                     Page
                                                                          Thank you Sir and      44 of 337
                                                                                            goodnight.
      Messages                              5:10:42          OK Kelly            Source: Phone
                                            AM(UTC+0)
561   Instant    Incoming                   1/5/2021         From: +1352598      You also
      Messages                              5:14:32          OK Kelly            Source: Phone
                                            AM(UTC+0)
562   Instant    Outgoing                   1/5/2021                          K https://www.infowars.com/posts/watch-live-
      Messages                              11:37:18                            president-trump-holds-rally-in-georgia/
                                            AM(UTC+0)                           Source: Phone
563   Instant    Incoming                   1/5/2021                             2020 changed everything. Drivers aren't
      Messages                              3:00:28                              renewing their 2021 policy for this weird
                                            PM(UTC+0)                            reason.. http://gjlvd0.com/ypvnmapn tsjutnv.
                                                                                 Source:
564   Instant    Incoming                   1/5/2021                             Did y'all make it in to DC
      Messages                              5:52:13                              Source: Phone
                                            PM(UTC+0)
565   Instant    Outgoing                   1/5/2021                             misdial
      Messages                              5:53:21                              Source: Phone
                                            PM(UTC+0)
566   Instant    Outgoing                   1/5/2021                             Just arrived at hotel in Arlington
      Messages                              5:53:48                              Source: Phone
                                            PM(UTC+0)
567   Instant    Outgoing                   1/5/2021                             You?
      Messages                              5:53:59                              Source: Phone
                                            PM(UTC+0)
568   Instant    Incoming                   1/5/2021                             We are 35 min out
      Messages                              5:54:34                              Source: Phone
                                            PM(UTC+0)
569   Instant    Outgoing                   1/5/2021                             At Supreme Court now
      Messages                              9:19:48                              Source: Phone
                                            PM(UTC+0)
570   Instant    Incoming                   1/5/2021                             We are at Freedom Plaza
      Messages                              9:20:21                              Source: Phone
                                            PM(UTC+0)
571   Images                                1/5/2021                             IMG_20210105_162143023.jpg
                                            4:21:43 PM                           Media/SanDisk SD
                                            [Capture Time]                       card/transfer/Camera/IMG_20210105_162143
                                                                                 023.jpg : 0x0 (Size: 1799340 bytes)
572   Images                                1/5/2021                             IMG_20210105_162144142.jpg
                                            4:21:44 PM                           Media/SanDisk SD
                                            [Capture Time]                       card/transfer/Camera/IMG_20210105_162144
                                                                                 142.jpg : 0x0 (Size: 1905185 bytes)
573   Images                                1/5/2021                             IMG_20210105_162157172_BURST000_CO
                                            4:21:57 PM                           VER_TOP.jpg
                                            [Capture Time]                       Media/SanDisk SD
                                                                                 card/transfer/Camera/IMG_20210105_162157
                                                                                 172_BURST000_COVER_TOP.jpg : 0x0
                                                                                 (Size: 1913610 bytes)
574   Images                                1/5/2021                             IMG_20210105_162157172_BURST001.jpg
                                            4:21:57 PM                           Media/SanDisk SD
                                            [Capture Time]                       card/transfer/Camera/IMG_20210105_162157
                                                                                 172_BURST001.jpg : 0x0 (Size: 1758888
                                                                                 bytes)
575   Images                                1/5/2021                             IMG_20210105_162214799.jpg
                                            4:22:14 PM                           Media/SanDisk SD
                                            [Capture Time]                       card/transfer/Camera/IMG_20210105_162214
                                                                                 799.jpg : 0x0 (Size: 1099912 bytes)
576   Instant    Incoming                   1/5/2021                             ware do i find one of those solor panels on
      Messages                              10:21:39                             sale for 119.?.
                                            PM(UTC+0)                            think ima get me one so i have a reliable
                                                                                 sourse
                                                                                 Source: Phone
577   Instant    Outgoing                   1/5/2021                             You snooze you lose
      Messages                              10:22:37                             Source: Phone
                                            PM(UTC+0)
578   Instant    Incoming                   1/5/2021                             well i didnt have the money till now
      Messages                              10:23:04                             Source: Phone
                                            PM(UTC+0)
579   Instant    Outgoing                   1/5/2021                             I just bought 2 more you could a had one a
      Messages                              10:23:09                             week ago
                                            PM(UTC+0)                            Source: Phone
580   Instant    Outgoing                   1/5/2021                             Costco online
      Messages                              10:23:18                             Source: Phone
                                            PM(UTC+0)
581   Instant    Outgoing                   1/5/2021                             You gotta have a membership
      Messages                              10:23:30                             Source: Phone
                                            PM(UTC+0)
582   Instant    Incoming                   1/5/2021                             well again... didnt have the money till now ha.
      Messages                              10:24:58                             but alright.
                                            PM(UTC+0)                            Source: Phone
583   Instant    Outgoing                   1/5/2021                             I'm in Freedom Plaza now in DC
      Messages                              10:27:37                             Source: Phone
                                            PM(UTC+0)
584   Instant    Incoming                   1/5/2021                             hellz yea man you made it
      Messages                              10:28:05                             Source: Phone
                                            PM(UTC+0)




                                                                                                                                   25
585   InstantCase   1:22-cr-00015-APM
               Incoming 1                 Document 102-1
                                      1/6/2021             Filed 04/18/22
                                                                   Ted Cruz here. Page      45theof
                                                                                  I'm leading        337
                                                                                                  fight to reject
      Messages                       4:33:38                          electors from key states unless there is an
                                     PM(UTC+0)                        emergency audit of the election results. Will
                                                                      you stand with me?
                                                                      https://donate12.org/r.wr?id=0KQLYsQI

                                                                      ReplySTOPToEnd
                                                                      2SXWaz1xdkVGHP1
                                                                      8fr77avMCiTMPd1By
                                                                      ki0zxOe4fXOi4qrMo0
                                                                      wYzjkYIMNFA5aFYc
                                                                      YYL83UOYVZxfXczP
                                                                      Fv7g.jpg
                                                                      Source:
                                                                      Source file:
                                                                      Attachments/0/2SXWaz1xdkVGHP18fr77avM
                                                                      CiTMPd1Byki0zxOe4fXOi4qrMo0wYzjkYIMNF
                                                                      A5aFYcYYL83UOYVZxfXczPFv7g.jpg : (Size:
                                                                      262940 bytes)
586   Instant    Incoming            1/6/2021                         How goes it?
      Messages                       6:25:13                          Source: Phone
                                     PM(UTC+0)
587   Instant    Outgoing   1        1/6/2021
      Messages                                                         signal-2021-01-06-
                                     7:29:11                           142601.mp4
                                     PM(UTC+0)
                                                                      Source:
                                                                      Source file: Attachments/0/signal-2021-01-06-
                                                                      142601(duplicate_filename_33).mp4 : (Size:
                                                                      821204 bytes)
588   Instant    Outgoing   1        1/6/2021
      Messages                                                         signal-2021-01-06-
                                     7:29:23                           142601(2).mp4
                                     PM(UTC+0)
                                                                      Source:
                                                                      Source file: Attachments/0/signal-2021-01-06-
                                                                      142601(duplicate_filename_32).mp4 : (Size:
                                                                      821204 bytes)
589   Instant    Outgoing   1        1/6/2021
      Messages                                                         signal-2021-01-06-
                                     7:31:25                           142601(3).mp4
                                     PM(UTC+0)
                                                                      Source:
                                                                      Source file: Attachments/0/signal-2021-01-06-
                                                                      142601.mp4 : (Size: 821204 bytes)
590   Instant    Outgoing            1/6/2021                         The People have taken the Capital and
      Messages                       7:32:06                          Congress is in bedlam & locked down
                                     PM(UTC+0)                        Source: Phone
591   Instant    Outgoing   1        1/6/2021
      Messages                                                         signal-2021-01-06-
                                     7:32:41                           142735.jpeg
                                     PM(UTC+0)

                                                                      Source:
                                                                      Source file: Attachments/0/signal-2021-01-06-
                                                                      142735.jpeg : (Size: 224688 bytes)
592   Instant    Outgoing   1        1/6/2021
      Messages                                                        signal-2021-01-06-
                                     7:34:56                          133059.jpeg
                                     PM(UTC+0)
                                                                      Source:
                                                                      Source file: Attachments/0/signal-2021-01-06-
                                                                      133059.jpeg : (Size: 194332 bytes)
593   Instant    Outgoing            1/6/2021                         Didn't have Ernie's number in phone so shot
      Messages                       7:35:51                          them to you
                                     PM(UTC+0)                        Source: Phone
594   Instant    Incoming            1/6/2021                         WHAT THE FUCK IS GOING ON THERE?!
      Messages                       7:44:35                          Source:
                                     PM(UTC+0)

595   Instant    Incoming            1/6/2021                         K thx. E's number is 602 717
      Messages                       7:49:06                          Source: Phone
                                     PM(UTC+0)
596   Instant    Outgoing            1/6/2021                         Shots fired
      Messages                       7:57:51                          Source: Phone
                                     PM(UTC+0)
597   Instant    Outgoing            1/6/2021                         In the Rotunda
      Messages                       7:58:28                          Source: Phone
                                     PM(UTC+0)
598   Instant    Outgoing            1/6/2021                         Reported by Oathkeeper on scene
      Messages                       7:58:52                          Source: Phone
                                     PM(UTC+0)
599   Instant    Incoming            1/6/2021                         Are y'all at the capital? It's going down over
      Messages                       8:05:22                          here
                                     PM(UTC+0)                        Source: Phone
600   Instant    Outgoing            1/6/2021                         We are watching over you in case they start
      Messages                       8:06:15                          attacking The People
                                     PM(UTC+0)                        Source: Phone
601   Instant    Outgoing            1/6/2021                         Shots were flashbangs not gunshots
      Messages                       8:10:15                          Source: Phone
                                     PM(UTC+0)
602   Instant    Outgoing   1        1/6/2021                         We believe this is Antifa but not confirmed.
      Messages                       8:15:19                          Note the lumber. There was a cache of lumber
                                     PM(UTC+0)                        and propane tanks discovered in downtown
                                                                      DC yesterday just like the Soros brick stashes
                                                                      signal-2021-01-06-
                                                                      141110.mp4
                                                                      Source:
                                                                      Source file: Attachments/0/signal-2021-01-06-
                                                                      141110.mp4 : (Size: 1032653 bytes)
                                                                                                                       26
603   InstantCase   1:22-cr-00015-APM 1/6/2021
               Outgoing                   Document 102-1   Filed 04/18/22          Page 46 of 337
                                                                   https://mobile.twitter.com/home
      Messages                       8:29:17                          Source: Phone
                                     PM(UTC+0)
604   Instant    Outgoing            1/6/2021                         https://mobile.twitter.com/dhookstead/status/1
      Messages                       8:37:43                          346914290553516032?prefetchtimestamp=16
                                     PM(UTC+0)                        09965333943
                                                                      Source: Phone
605   Instant    Outgoing            1/6/2021                         So, have you secured the Arizona Capital yet,
      Messages                       8:47:32                          slacker?
                                     PM(UTC+0)                        Source: Phone
606   Instant    Outgoing            1/6/2021                         Waitin' on you now
      Messages                       8:48:24                          Source: Phone
                                     PM(UTC+0)
607   Instant    Outgoing   1        1/6/2021
      Messages                                                        signal-2021-01-06-
                                     8:54:55                          155202.mp4
                                     PM(UTC+0)
                                                                      Source:
                                                                      Source file: Attachments/0/signal-2021-01-06-
                                                                      155202.mp4 : (Size: 635563 bytes)
608   Instant    Outgoing            1/6/2021                         https://mobile.twitter.com/dhookstead/status/1
      Messages                       8:55:59                          346914290553516032?prefetchtimestamp=16
                                     PM(UTC+0)                        09965443353
                                                                      Source:
609   Instant    Outgoing            1/6/2021                         https://mobile.twitter.com/dhookstead/status/1
      Messages                       8:56:52                          346914290553516032?prefetchtimestamp=16
                                     PM(UTC+0)                        09966538657
                                                                      Source:
610   Instant    Outgoing   1        1/6/2021
      Messages                                                        signal-2021-01-06-
                                     9:01:01                          150002.jpeg
                                     PM(UTC+0)

                                                                      Source:
                                                                      Source file: Attachments/0/signal-2021-01-06-
                                                                      150002(duplicate_filename_31).jpeg : (Size:
                                                                      118194 bytes)
611   Instant    Outgoing   1        1/6/2021
      Messages                                                        signal-2021-01-06-
                                     9:01:38                          150002(2).jpeg
                                     PM(UTC+0)

                                                                      Source:
                                                                      Source file: Attachments/0/signal-2021-01-06-
                                                                      150002.jpeg : (Size: 118194 bytes)
612   Instant    Outgoing   1        1/6/2021
      Messages                                                        IMG_20210105_1622
                                     9:02:07                          23798_BURST001.jp
                                     PM(UTC+0)                    ,   g
                                                                      Source:
                                                                      Source file:
                                                                      Attachments/0/IMG_20210105_162223798_B
                                                                      URST001.jpg : (Size: 439082 bytes)
613   Instant    Outgoing            1/6/2021                         https://mobile.twitter.com/dhookstead/status/1
      Messages                       9:03:46                          346914290553516032?prefetchtimestamp=16
                                     PM(UTC+0)                    ,   09966617680
                                                                      Source:
614   Instant    Incoming            1/6/2021                          Pelosi has ordered you all to leave. Nat guard
      Messages                       9:04:10                          incoming.
                                     PM(UTC+0)                        Source: Phone
615   Instant    Outgoing            1/6/2021                         Ehhhh,
      Messages                       9:04:56
                                     PM(UTC+0)                        No.
                                                                      Source: Phone
616   Instant    Outgoing            1/6/2021
      Messages                       9:05:11                          Source: Phone
                                     PM(UTC+0)
617   Instant    Outgoing            1/6/2021
      Messages                       9:05:22                          Source: Phone
                                     PM(UTC+0)
618   Instant    Outgoing            1/6/2021                         Uh oh
      Messages                       9:05:56                          Joe Biden is about to speak...
                                     PM(UTC+0)                        Source: Phone
619   Instant    Outgoing            1/6/2021
      Messages                       9:06:23                          Source: Phone
                                     PM(UTC+0)
620   Instant    Incoming            1/6/2021                         I'm watching the news!
      Messages                       9:10:46                          Hope you're ok.
                                     PM(UTC+0)                        Source: Phone
621   Instant    Outgoing            1/6/2021                         Who is this? I only see a number
      Messages                       9:14:37                          Source: Phone
                                     PM(UTC+0)
622   Instant    Incoming            1/6/2021                         Sorry. It's Michele.
      Messages                       9:16:33                          Source: Phone
                                     PM(UTC+0)
623   Instant    Outgoing            1/6/2021                         NP.
      Messages                       9:18:00                          I'm safe for the moment.
                                     PM(UTC+0)                        1800 Virginia NG approaching.
                                                                      Gonna be a long night.
                                                                      Source: Phone
624   Instant    Incoming            1/6/2021                         I heard that and that secret service are on
      Messages                       9:21:19                          their way.
                                     PM(UTC+0)                        I hope it all ends well.
                                                                      Be careful.
                                                                      Source: Phone



                                                                                                                        27
625   InstantCase   1:22-cr-00015-APM
               Outgoing 1                 Document 102-1
                                      1/6/2021             Filed 04/18/22
                                                                   Antifa             Page 47 of 337
      Messages                       9:21:29                        signal-2021-01-06-
                                     PM(UTC+0)                      151824.jpeg


                                                                    Source:
                                                                    Source file: Attachments/0/signal-2021-01-06-
                                                                    151824.jpeg : (Size: 41063 bytes)
626   Instant    Outgoing            1/6/2021                       They broke in and out guys are now getting
      Messages                       9:22:12                        pics of antifa posters inside
                                     PM(UTC+0)                      Source: Phone
627   Instant    Incoming            1/6/2021                   r
      Messages                       9:36:24
                                     PM(UTC+0)                      TV says things are D escalating after the
                                                                    presidents remarks. Are you guys finding that
                                                                    as well?
                                                                    Source:
628   Instant    Outgoing            1/6/2021                       Watch the video again CLOSELY
      Messages                       9:42:45                        1 it's not bright & shiny but dark & overcast
                                     PM(UTC+0)                      here
                                                                    2 the place is crawling with people
                                                                    3 the background doesn't move but his outline
                                                                    does under magnification
                                                                    Source:
629   Instant    Outgoing            1/6/2021                       FAKE
      Messages                       9:43:13                        Brought to you by Twitter
                                     PM(UTC+0)                      Source:

630   Instant    Incoming            1/6/2021                       Trump requests everybody leave and go
      Messages                       9:43:24                        home
                                     PM(UTC+0)                      Source: Phone
631   Instant    Outgoing            1/6/2021                       FAKE
      Messages                       9:43:37                        Source: Phone
                                     PM(UTC+0)
632   Instant    Outgoing            1/6/2021                       By Twitter, huh?
      Messages                       9:43:57                        Source: Phone
                                     PM(UTC+0)
633   Instant    Outgoing   1        1/6/2021
      Messages                                                      signal-2021-01-06-
                                     9:45:05                        154037.jpeg
                                     PM(UTC+0)

                                                                    Source:
                                                                    Source file: Attachments/0/signal-2021-01-06-
                                                                    154037(duplicate_filename_30).jpeg : (Size:
                                                                    68512 bytes)
634   Instant    Outgoing   1        1/6/2021
      Messages                                                      signal-2021-01-06-
                                     9:45:36                        154037(2).jpeg
                                     PM(UTC+0)

                                                                    Source:
                                                                    Source file: Attachments/0/signal-2021-01-06-
                                                                    154037.jpeg : (Size: 68512 bytes)
635   Instant    Outgoing   1        1/6/2021                       Singing the National Anthem
      Messages                       9:53:23                        image.jpeg
                                     PM(UTC+0)
                                                                    Source:
                                                                    Source file:
                                                                    Attachments/0/image(duplicate_filename_29).j
                                                                    peg : (Size: 1044211 bytes)
636   Instant    Incoming            1/6/2021                       Do u guys wanna come back on the show
      Messages                       10:59:33                       tomorrow morning for an update? We have 0-
                                     PM(UTC+0)                      10 am or 10-11 am EST open
                                                                    Source:
637   Instant    Outgoing            1/6/2021                       Why not?
      Messages                       11:00:33                       10 - 11 please.
                                     PM(UTC+0)                      Source:

638   Instant    Outgoing            1/6/2021                       Our time lol (DC)
      Messages                       11:00:59                       Source:
                                     PM(UTC+0)

639   Instant    Incoming            1/6/2021                       Confirmed. I will call u at 10 am EST
      Messages                       11:17:59                       Source:
                                     PM(UTC+0)

640   Instant    Outgoing            1/6/2021
      Messages                       11:34:55                       Source:
                                     PM(UTC+0)

641   Instant    Incoming   1        1/6/2021
      Messages                                                      Resized_20201231_1
                                     11:37:17                       33902_8968.jpeg
                                     PM(UTC+0)

                                                                    Source:
                                                                    Source file:
                                                                    Attachments/0/Resized_20201231_133902_8
                                                                    968.jpeg : (Size: 106370 bytes)
642   Instant    Incoming            1/6/2021                       Yup
      Messages                       11:51:26                       Source: Phone
                                     PM(UTC+0)
643   Instant    Outgoing            1/6/2021                       Ha ha now taken down
      Messages                       11:52:08                       Source: Phone
                                     PM(UTC+0)

                                                                                                                    28
686   InstantCase   1:22-cr-00015-APM 1/7/2021
               Incoming                   Document 102-1   Filed 04/18/22
                                                                   Sorry I can't talkPage     48Butofyou337
                                                                                      right now.         can text
      Messages                       5:01:25                           me if you like. I am doing the radio program
                                     AM(UTC+0)                         tomorrow. Will be a special show obviously.
                                                                       Would like to hear your status and events
                                                                       sometime in the morning.

                                                                       Best to you both
                                                                       Source:
687   Instant    Outgoing            1/7/2021                          Didn't    a tell you?
      Messages                       5:02:10                           We have hour 2
                                     AM(UTC+0)                         Source:

688   Instant    Incoming            1/7/2021                          Cool! Talk then
      Messages                       5:04:03                           Source:
                                     AM(UTC+0)

689   Instant    Outgoing            1/7/2021
      Messages                       5:04:24                           Source:
                                     AM(UTC+0)

690   Instant    Incoming            1/7/2021                          captal march?
      Messages                       5:18:39                           Source: Phone
                                     AM(UTC+0)
691   Instant    Outgoing            1/7/2021                          Si
      Messages                       5:18:49                           Source: Phone
                                     AM(UTC+0)
692   Instant    Incoming            1/7/2021                          anybody hurt?
      Messages                       5:18:57                           Source: Phone
                                     AM(UTC+0)
693   Instant    Outgoing            1/7/2021                          1 dead 1 trampled & may die
      Messages                       5:19:31                           Source: Phone
                                     AM(UTC+0)
694   Instant    Incoming            1/7/2021                          jackie saw it on news at carls
      Messages                       5:19:35                           Source: Phone
                                     AM(UTC+0)
695   Instant    Incoming            1/7/2021                          im leaving cali ommorrow
      Messages                       5:20:24                           back at spread on fri
                                     AM(UTC+0)                         Source: Phone
696   Instant    Outgoing            1/7/2021                          I was a little closer
      Messages                       5:20:30                           Source: Phone
                                     AM(UTC+0)
697   Instant    Outgoing            1/7/2021                          I may be here a while
      Messages                       5:20:54                           Source: Phone
                                     AM(UTC+0)
698   Instant    Incoming            1/7/2021                          ii gather
      Messages                       5:21:07                           Source: Phone
                                     AM(UTC+0)
699   Instant    Incoming            1/7/2021                          i was figuring most would stay til the20th
      Messages                       5:21:56                           Source: Phone
                                     AM(UTC+0)
700   Instant    Outgoing            1/7/2021                          If it's TEN million by Saturday,...
      Messages                       5:22:39                           Source: Phone
                                     AM(UTC+0)
701   Instant    Outgoing            1/7/2021                          Might not have to!
      Messages                       5:22:55                           Source: Phone
                                     AM(UTC+0)
702   Instant    Incoming            1/7/2021                          no shit
      Messages                       5:23:31                           Source: Phone
                                     AM(UTC+0)
703   Instant    Incoming            1/7/2021                          cool
      Messages                       5:25:25                           when it gets rough
                                     AM(UTC+0)                         be cool and come back
                                                                       brother
                                                                       Source: Phone
704   Instant    Outgoing            1/7/2021                          https://www.hagmannreport.com/special-
      Messages                       11:40:33                          report-america-is-a-captured-operation-full-
                                     AM(UTC+0)                         show-1-6-2021/
                                                                       Source:
705   Instant    Outgoing            1/7/2021                          https://youtu.be/w-ySG-qhmEQ
      Messages                       12:56:45                          Source:
                                     PM(UTC+0)

706   Instant    Outgoing            1/7/2021                          Do you want to go to breakfast?
      Messages                       1:14:57                           Source: Phone
                                     PM(UTC+0)
707   Instant    Outgoing            1/7/2021                          Could you call & talk to me a sec before we go
      Messages                       2:32:58                           on?
                                     PM(UTC+0)                         Source: Phone
708   Instant    Outgoing            1/7/2021                          Please
      Messages                       2:33:04                           Source: Phone
                                     PM(UTC+0)
709   Instant    Incoming            1/7/2021                          https://us02web.zoom.us/j/7638984993
      Messages                       2:56:44                           Source:
                                     PM(UTC+0)

710   Instant    Incoming            1/7/2021                          Go ahead and jump on zoom again - I saw u
      Messages                       3:02:56                           there, but we r finishing up with previous guest
                                     PM(UTC+0)                         Source:

711   Instant    Incoming            1/7/2021                          I'll admit u shortly
      Messages                       3:03:08                           Source:
                                     PM(UTC+0)

                                                                                                                          31
945   InstantCase   1:22-cr-00015-APM 1/18/2021
               Outgoing                   Document 102-1   Filed 04/18/22
                                                                   I'm here            Page 49 of 337
      Messages                       8:09:02                       What's it called?
                                     PM(UTC+0)                     Source: Phone
946   Instant    Outgoing            1/18/2021                     I forgot to break out dabs.
      Messages                       9:14:38                       Are you far away?
                                     PM(UTC+0)                     Source: Phone
947   Instant    Incoming            1/18/2021                     yea were already a half hpur out of town
      Messages                       9:24:35                       Source: Phone
                                     PM(UTC+0)
948   Instant    Outgoing            1/18/2021                     Which direction?
      Messages                       9:25:19                       Source: Phone
                                     PM(UTC+0)
949   Instant    Incoming            1/18/2021                     north
      Messages                       9:28:03                       Source: Phone
                                     PM(UTC+0)
950   Instant    Outgoing            1/18/2021                     Byeee
      Messages                       9:28:35                       Source: Phone
                                     PM(UTC+0)
951   Instant    Incoming            1/18/2021                     haha. word.see ya later man.
      Messages                       9:28:53                       Source: Phone
                                     PM(UTC+0)
952   Instant    Outgoing            1/18/2021                     Dude
      Messages                       10:49:58                      Source: Phone
                                     PM(UTC+0)
953   Instant    Outgoing            1/18/2021                     Clutch went out as I got on the 40.
      Messages                       10:50:26                      Source: Phone
                                     PM(UTC+0)
954   Instant    Outgoing            1/18/2021                     I knew it did, so I kept it in 4th & drove to
      Messages                       10:52:04                      Winslow. I'm at the Maverick. I'll get gas & see
                                     PM(UTC+0)                     if I can baby it home.
                                                                   If not, I may need a tow.
                                                                   Source: Phone
955   Instant    Outgoing            1/18/2021                     I'll let you know
      Messages                       10:52:15                      Source: Phone
                                     PM(UTC+0)
956   Instant    Outgoing            1/18/2021                     Made it to Safeway to get water.
      Messages                       11:07:08                      Sounded bad when I stopped...
                                     PM(UTC+0)                     Source: Phone
957   Instant    Outgoing            1/18/2021                     No water, but I'll make it home.
      Messages                       11:23:59                      Source: Phone
                                     PM(UTC+0)
958   Instant    Outgoing            1/19/2021                     Snowflake is wigging.
      Messages                       2:58:55
                                     AM(UTC+0)                     They want Cheyenne home.
                                                                   Source: Phone
959   Instant    Outgoing            1/19/2021                     FYI
      Messages                       2:59:06                       Source: Phone
                                     AM(UTC+0)
960   Instant    Incoming            1/19/2021                     were here
      Messages                       4:54:37                       Source: Phone
                                     AM(UTC+0)
961   Instant    Incoming            1/19/2021                     did you make it home
      Messages                       4:54:47                       Source: Phone
                                     AM(UTC+0)
962   Instant    Incoming            1/19/2021                     not goan make it tonight...
      Messages                       5:39:56                       Source: Phone
                                     AM(UTC+0)
963   Instant    Outgoing            1/19/2021                     Yup
      Messages                       10:41:20                      Source: Phone
                                     AM(UTC+0)
964   Instant    Outgoing            1/19/2021                     Are you in Snowflake?
      Messages                       4:59:31                       Source: Phone
                                     PM(UTC+0)
965   Instant    Outgoing            1/19/2021                     Could you please go to O'Reilly's Auto Parts
      Messages                       5:21:59                       and pick up a clutch plate, throw out bearing,
                                     PM(UTC+0)                     and alignment tool for a 1996 Nissan
                                                                   Hardbody 4 cylinder truck?
                                                                   Source: Phone
966   Instant    Outgoing            1/19/2021                     Bring them with you so I can fix our only
      Messages                       5:23:35                       running vehicle. No hurry - I'll wait until it stops
                                     PM(UTC+0)                     raining before I tear it apart.
                                                                   Source: Phone
967   Instant    Incoming            1/19/2021                     hey back late afternoon early evening
      Messages                       5:37:16                       try to score some wood
                                     PM(UTC+0)                     Source: Phone
968   Instant    Incoming            1/19/2021                     assume your kinda stuck
      Messages                       5:38:03                       what with clutch
                                     PM(UTC+0)                     anythhing else crucial
                                                                   Source: Phone
969   Instant    Outgoing            1/19/2021                     Everything here is wet
      Messages                       5:38:07                       Source: Phone
                                     PM(UTC+0)
970   Instant    Incoming            1/19/2021                     to get
      Messages                       5:38:08                       Source: Phone
                                     PM(UTC+0)
971   Instant    Outgoing            1/19/2021                     No.
      Messages                       5:39:14                       I sent   list of what I need.
                                     PM(UTC+0)                     Source: Phone
972   Instant    Outgoing            1/19/2021                     Thanks
      Messages                       5:39:20                       Source: Phone
                                     PM(UTC+0)

                                                                                                                          42
973   Instant    Case   1:22-cr-00015-APM 1/19/2021
                   Outgoing                   Document 102-1   Filed 04/18/22          Page 50 of 337
                                                                       Your truck is covered.
      Messages                           5:39:42                        Source: Phone
                                         PM(UTC+0)
974   Instant      Incoming              1/19/2021                      awesome
      Messages                           5:40:04                        thank you
                                         PM(UTC+0)                      Source: Phone
975   Instant      Incoming              1/19/2021                      Thank you. Have a great day.
      Messages                           8:48:03                        Source: Phone
                                         PM(UTC+0)
976   Instant      Outgoing              1/19/2021                      I do what I can
      Messages                           8:48:49                        Source: Phone
                                         PM(UTC+0)
977   Calendar                           1/20/2021                      Inauguration Day (regional holiday)
                                         12:00:00                       Source:
                                         AM(UTC+0) [Start
                                         Date]
978   Instant      Outgoing              1/20/2021                      I heard her out there crying and I figure she
      Messages                           12:38:49                       stopped when you let her loose.
                                         AM(UTC+0)                      I'm so sorry.
                                                                        Source: Phone
979   Instant      Incoming              1/20/2021                      I don't think so what is the model of a truck
      Messages                           12:50:35                       Source: Phone
                                         AM(UTC+0)
980   Instant      Outgoing              1/20/2021                      1996 Nissan Gardbody 4 cylinder pickup
      Messages                           12:51:35                       Source: Phone
                                         AM(UTC+0)
981   Instant      Outgoing              1/20/2021                      Hardbody
      Messages                           12:51:44                       Source: Phone
                                         AM(UTC+0)
982   Instant      Incoming              1/20/2021                      gotittt
      Messages                           1:04:42                        Source: Phone
                                         AM(UTC+0)
983   Instant      Incoming              1/20/2021                      des aid hardbody on the first txt
      Messages                           1:04:49                        Source: Phone
                                         AM(UTC+0)
984   Instant      Outgoing              1/20/2021                      You got 2 parts and an alignment tool?
      Messages                           1:05:48                        Source: Phone
                                         AM(UTC+0)
985   Instant      Outgoing              1/20/2021                      Clutch plate and throw out bearing
      Messages                           1:06:13                        Source: Phone
                                         AM(UTC+0)
986   Instant      Incoming              1/20/2021                      yes
      Messages                           1:07:59                        Source: Phone
                                         AM(UTC+0)
987   Instant      Outgoing              1/20/2021                      Great!
      Messages                           1:08:08                        Source: Phone
                                         AM(UTC+0)
988   Instant      Outgoing              1/20/2021                      Prize for you when you get here
      Messages                           1:08:25                        Source: Phone
                                         AM(UTC+0)
989   Instant      Outgoing              1/20/2021                      A couple, in fact.
      Messages                           1:09:35                        Source: Phone
                                         AM(UTC+0)
990   Instant      Outgoing              1/20/2021
      Messages                           1:09:43                        Source: Phone
                                         AM(UTC+0)
991   Instant      Incoming   1          1/20/2021                      B4
      Messages                           1:55:01                        20210119_174602.jp
                                         AM(UTC+0)                      g


                                                                        Source:
                                                                        Source file:
                                                                        Attachments/0/20210119_174602.jpg : (Size:
                                                                        412595 bytes)
992   Instant      Incoming   1          1/20/2021                      After
      Messages                           1:55:20                        imagejpeg_0(3).jpg
                                         AM(UTC+0)


                                                                        Source:
                                                                        Source file:
                                                                        Attachments/0/imagejpeg_0(duplicate_filenam
                                                                        e_13).jpg : (Size: 343178 bytes)
993   Instant      Incoming              1/20/2021                      What is it?
      Messages                           1:55:22                        Source: Phone
                                         AM(UTC+0)
994   Instant      Incoming              1/20/2021                      Found some by a mine
      Messages                           1:55:57                        Source: Phone
                                         AM(UTC+0)
995   Instant      Outgoing              1/20/2021                      Looks like a pyrite geode
      Messages                           1:56:35                        Source: Phone
                                         AM(UTC+0)
996   Instant      Incoming              1/20/2021                      Very close they are titanium geodes
      Messages                           1:57:18                        Source: Phone
                                         AM(UTC+0)
997   Instant      Outgoing              1/20/2021                      Nice
      Messages                           1:57:47                        Source: Phone
                                         AM(UTC+0)
998   Instant      Incoming              1/20/2021                      Save you some
      Messages                           1:58:07                        Source: Phone
                                         AM(UTC+0)

                                                                                                                        43
999    InstantCase   1:22-cr-00015-APM 1/20/2021
                Outgoing                   Document 102-1   Filed 04/18/22          Page 51 of 337
                                                                    https://vimeo.com/event/622430/2f5a37b991
       Messages                       1:58:10                         Source: Phone
                                      AM(UTC+0)
1000   Instant    Incoming   1        1/20/2021
       Messages                                                        20210119_175331.jp
                                      1:58:21                          g
                                      AM(UTC+0)

                                                                      Source:
                                                                      Source file:
                                                                      Attachments/0/20210119_175331.jpg : (Size:
                                                                      105246 bytes)
1001   Instant    Outgoing            1/20/2021                       Listen to this live
       Messages                       1:58:25                         Source: Phone
                                      AM(UTC+0)
1002   Instant    Incoming            1/20/2021                       you sleep
       Messages                       5:06:41                         Source: Phone
                                      AM(UTC+0)
1003   Instant    Outgoing            1/20/2021                       No
       Messages                       5:07:09                         Source: Phone
                                      AM(UTC+0)
1004   Instant    Incoming   1        1/20/2021
       Messages                                                        imagejpeg_0(4).jpg
                                      8:55:29
                                      PM(UTC+0)

                                                                      Source:
                                                                      Source file:
                                                                      Attachments/0/imagejpeg_0(duplicate_filenam
                                                                      e_12).jpg : (Size: 184656 bytes)
1005   Instant    Outgoing            1/20/2021                       MY THOUGHT EXACTLY!!!
       Messages                       10:54:13                        Source: Phone
                                      PM(UTC+0)
1006   Instant    Outgoing            1/20/2021                       You are soooo right!
       Messages                       10:54:31                        Source: Phone
                                      PM(UTC+0)
1007   Instant    Incoming   1        1/20/2021                       Just fixed it... Half-mast
       Messages                       10:57:41                         imagejpeg_0(5).jpg
                                      PM(UTC+0)


                                                                      Source:
                                                                      Source file:
                                                                      Attachments/0/imagejpeg_0(duplicate_filenam
                                                                      e_11).jpg : (Size: 170182 bytes)
1008   Instant    Outgoing            1/20/2021                       Death of the Republic?
       Messages                       10:58:11                        Source: Phone
                                      PM(UTC+0)
1009   Instant    Outgoing            1/20/2021
       Messages                       10:58:20                        Source: Phone
                                      PM(UTC+0)
1010   Instant    Incoming            1/20/2021                       Right on. In God We Trust.
       Messages                       10:58:52                        Source: Phone
                                      PM(UTC+0)




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                Exhibit 7
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  1                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
  2

  3    - - - - - - - - - - - - - - - - - )

  4    UNITED STATES OF AMERICA                  *

  5          vs.                                 *    CASE NO. 2021-R-00494
                                                               21-cr-28
  6    THOMAS CALDWELL, et al.                   *

  7    - - - - - - - - - - - - - - - - - )

  8                             Grand Jury 21-1

  9                             United States District Courthouse
                                333 Constitution Avenue, NW
10                              Washington, DC 20001

11                              Wednesday, October 20, 2021

12

13                 The testimony of                          was taken in the

14     presence of a full quorum of the Grand Jury, commencing at

15     10:33 a.m., before:

16                 KATHRYN RAKOCZY
                   Assistant United States Attorney
17
                   TROY EDWARDS
18                 Assistant United States Attorney

19                 LOUIS MANZO
                   Special Assistant United States Attorney
20

21

22

23

24           Reported by:

25           Roxanne Parsons

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 14          Q.    Okay.   Do you know whether Mr. Vallejo brought any

 15    weapons?

 16          A.    They had firearms equipment bags.          But I never saw

 17    their firearms.

 18          Q.    How many equipment bags did you see, if you

 19    remember?

 20          A.    Probably one each.

 21          Q.    Did Mr. Vallejo and                             bring

 22    additional supplies?

 23          A.    Oh, yes.

 24          Q.    Can you describe that for us?

 25          A.    Mr. Vallejo took approximately 200 pounds of food

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  9           Q.   Have you heard the word Quick Reaction Force or

 10    QRF?

 11           A.   Yes, I have.

 12           Q.   Are you familiar with what that generally refers

 13    to?

 14           A.   My son calls it idiot's LARPing.

 15           Q.   Okay.

 16           A.   So --

 17           Q.   Where did you learn the term?

 18           A.   I heard it that day.      Yeah, I heard it that day.

 19    It was on television actually I believe.            They were

 20    mentioning that a bunch of I guess Oath Keepers were scary

 21    or something.     And then I asked Ed about it, and Ed said,

 22    oh, that's a Quick Reaction Force is something that

 23    somebody's -- a campsite near yada, yada, yada.             It's like I

 24    had no idea what he was talking about.          I don't think he did

 25    either.

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  1          Q.     So you think this was -- when you say that day,

  2    the 6th --

  3          A.     The 6th.

  4          Q.     -- of January?     So you said you heard something on

  5    TV about it and then you talked to Mr. Vallejo about --

  6          A.     Right.

  7          Q.     -- a Quick Reaction Force?

  8          A.     That would be in the evening I spoke to him

  9    because he was gone early in the afternoon of the 6th.

 10          Q.     And let me just unpack that a little bit.

 11    Mr. Vallejo was familiar with the term Quick Reaction Force?

 12          A.     He knew what that meant, yes.

 13          Q.     And he told you there was a Quick Reaction Force?

 14          A.     Well, he said that that concept or, I guess, a

 15    Quick Reaction Force was something that was in an area away

 16    from Washington.

 17          Q.     Okay.

 18          A.     And that they were, I guess, I don't know, looking

 19    to be a Quick Reaction Force.         Whatever that is.

 20          Q.     Who was looking to be the Quick Reaction Force?

 21          A.     I guess the Oath Keeping people.

 22          Q.     Do you know from -- did Mr. Vallejo say whether

 23    the Quick Reaction Force would have weapons to assist their

 24    mission?

 25          A.     I would assume that they did as opposed to a Quick

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  1    Reaction Force that was going to give hugs.

  2          Q.   Okay.    Did Mr. Vallejo say anything though about

  3    whether the Quick Reaction Force would have weapons?

  4          A.   No.

  5          Q.   Did Mr. Vallejo ever tell you that he thought he

  6    was serving as a Quick Reaction Force?

  7          A.   No.

  8          Q.   Did        ever say --

  9          A.   No.

 10          Q.   -- anything about that?

 11          A.   Neither one of them thought that.

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                            Balt. & Annap. 410-974-0947
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 11               MS. RAKOCZY:      I think the question is, if

 12    Mr. Vallejo or         came back to the room and said, I'm

 13    going to grab my gun --

 14               WITNESS:    Oh, no.     Hell no.

 15               MS. RAKOCZY:      -- and go somewhere --

 16               WITNESS:    No.   No, no, no.      No, they never, ever

 17    touched any of the firearms.

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                               D.C. Area 301-261-1902
                            Balt. & Annap. 410-974-0947
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  1                           C E R T I F I C A T E

  2

  3               We hereby certify that the foregoing is a true and

  4    accurate transcript, to the best of our skill and ability,

  5    from my notes of this proceeding.

  6

  7    October 28, 2021                   ____________________________
       Date                               Jacqueline Bryant
  8                                       Transcriber

  9

10

11     COURT REPORTER:                    ________________________          __
                                          Roxanne Parsons
12                                        Reporter

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                             FREE STATE REPORTING, INC.
                           Court Reporting Transcription
                               D.C. Area 301-261-1902
                            Balt. & Annap. 410-974-0947
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                Exhibit 8
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UserName                  Date           Time          Content
                          12/30/2020     10:40 PM      Ok guys, I will attempt to set up a call with
                                                       Everyone tomorrow night. I need to get
                                                       some details together on the agenda for
                                                       both the 5th and 6th, so we can better
                                                       discuss how to set things up. Also, no hurry,
                                                       but could everyone with a group coming, let
                                                       me know the group, approximately how
                                                       many people you are bringing, appropriate
                                                       time/dates you will be availabe in DV, and
                                                       any specialists in your groups (medics, recon
                                                       folks, etc.
                          12/30/2020     10:42 PM      [                 : Ok guys, I will attempt to
                                                       set up a call with Everyone tomorrow nigh…]

                                                       In my opinion sir, let's keep this leadership
                                                       only..we only need 5-10 on a call, not 50

                          12/30/2020     10:42 PM      It looks like we will need peopole for both
                                                       the 5th in the afternoon/evning and 6th all
                                                       day/evening. Will get more details.
                          12/30/2020     10:43 PM      Yep this will be for leadership only on call.
OK Gator 1                12/30/2020     10:45 PM      I can have a team there for the 5th but if it's
                                                       back up to the back up security detail, they
                                                       aren't too excited. Tell me we go Flynn and
                                                       we are moving him you'll have the baddest
                                                       ass crew you've ever seen!! Theres a bug
                                                       difference in detail though. What is it exactly

OK Gator 1                12/30/2020     10:45 PM      Big
OK Gator 1                12/30/2020     10:46 PM      I'm sure Flynn has a team already
                          12/30/2020     10:49 PM      Told Flynn, but will be making contact with
                                                       requesters tomorrow hopefully….looks like
                                                       the list of speaks is growing by the minute.
                                                       Lots of nationally known folks. You can go to
                                                       the stopthesteal.us to see some info and
                                                       then the link to WILD from there with even
                                                       more info!
OK Gator 1                12/30/2020     10:05 PM      We are ready let us know
                          12/30/2020     10:50 PM      Will do Gator thanks and talk soon!
                          12/31/2020     12:12 AM      [Sends screenshot of weather for
                                                       Washington DC -- image blurry but appears
                                                       to be from Friday Jan 1 - Friday January 8]




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UserName                 Date           Time          Content
                         12/31/2020     6:21 AM       Yep, each weather app is different and they
                                                      seem to change back and forth hourly. But
                                                      loooks like OK weather for now, at least
                                                      partly sunny and temps near 50! Excellent
                                                      for that the me of year!
                         12/31/2020     6:55 AM       Leadership phone conversation tonight for
                                                      state and group leaders only at 21:30
                                                      eastern time, see link below.

                                                      New Meeting

                                                      Thu, Dec 31, 2020 8:30PM-9:30PM (EST)

                                                      Please join my meeting from your computer,
                                                      tablet, or smartphone.

                                                      https://global.gotomeeting.com/join/12769
                                                      9133

                                                      This meeting is locked with a password: DC6

                                                      You can also dial in using your phone. (For
                                                      supported devices, tap a one-touch number
                                                      below to join instantly.)

                                                      United States: +1 (872) 240-3212
                                                      -One-touch tel: +18722403212..127699133#

                                                      Access Code: 127-699-133

                                                      New to GoToMeeting? Get the app now and
                                                      re ready when your first meeting starts:
                                                      https://global.gotomeeting.com/install/1276
                                                      99133




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UserName                  Date           Time          Content
                          12/31/2020     5:31 AM       One thing mentioned last night was how
                                                       things may play out in DC. There are a
                                                       number of various discussions on social
                                                       media about everything from the left to the
                                                       right getting ready to start major issues.
                                                       One thing I will caution everyone on is the
                                                       use of PSYOPS from both sides, hoping to
                                                       scare off either side. While the only social
                                                       media I use is Parler, I have observed this
                                                       when someone makes a grandiose
                                                       statement about what their group/or
                                                       someone else, is going to do. When you look
                                                       at that person's profile, they just set up the
                                                       account, there is nothing in the personal
                                                       profile, etc! So take everything we hear with
                                                       some extra caution and thought. We do
                                                       know that CCP bots are active on social
                                                       media and attempting to stir us issues, as is
                                                       much of our own "media".

                                                       If you have looked at the stopthesteal.us
                                                       website there are a LOT of high profile state,
                                                       national, elected officials and conservative
                                                       media folks who will be speaking. While I
                                                       would not rule out the mayor of DC doing...
                                                       Read More

Ok Gator 1                12/31/2020     8:09 AM       Flynn detail on Tuesday Are we primary
                                                       detail or back up? Trying to get some guys
                                                       up early to assist
                          12/31/2020     9:25 AM       We will likely be assisting, most of these
                                                       folks have a small detail in place, but need
                                                       assistance moving through the crowd or
                                                       ahead of vehicles. Personally I am not sure
                                                       on who we will be assisting with, but told
                                                       Flynn maybe one….but he is not on the
                                                       speaker list that I can find. However that
                                                       happened the last time also.




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UserName                  Date           Time          Content
                          12/31/2020     9:31 AM       Also realize that NOTHING is set with these
                                                       folks. I was on the Flynn detail the last time
                                                       and things changed on the fly ALL day!!!
                                                       Many reasons, crowds, street closed,
                                                       different venues, etc. So we could be
                                                       assigned to one person and due to
                                                       circumstances, that could change at any
                                                       point! As all you military/LEO folks know, the
                                                       best detailed plan survives only until the first
                                                       contact! [emoji]
OK Gator 1                12/31/2020     9:56 AM       Data dump as started. Wikileaks just
                                                       dumped all of their files online. Everything
                                                       from Hillary Clintons emails, McCain's being
                                                       guilty, Vegas shooting done by an FBI sniper,
                                                       Steve Jobs HIV letter, PedoPodesta,
                                                       Afghanistan, Syria, Iran, Bilderberg, CIA
                                                       agents arrested for rap, WHO pandemic.
                                                       Happy Digging! Here you you, please read
                                                       and pass it on .....
                                                       https://file.wikileaks.org/file/....These are
                                                       Clinton's emails:
                                                       https://file.wikileaks.org/file/clinton-emails/

                                                       Index file!
                                                       https://file.wikileaks.org/file/?fbclid=lwAR2u
                                                       _Evqah_Qy2wxNY12FMqFC5dAFUcZL5Kl4Fif
                                                       QuMFMp8ssbM46oHXWMI

                                                       Send to everyon you can as fast you can
                                                       Index of /file/ [Thumbs Up Emoji]

                          12/31/2020     9:56 AM       Saw this
                          12/31/2020     10:20 AM      I keep seeing this wiki leak dump as being
                                                       new, but I think this is old news. The Jobs hiv
                                                       is already known.
OK Gator 1                12/31/2020     10:21 AM      They posted more today is what they said
                          12/31/2020     10:24 AM      If you want to go down a rabbit hole. Some
                                                       of it is pretty interesting.
OK Gator 1                12/31/2020     10:27 AM      [If you want to go down a rabbit hole. Some
                                                       of it is pretty interesting. ] Ohh it's a hell of a
                                                       rabbit hole !
                          12/31/2020     10:45 AM      Old data no new dumps on their site.
                                                       Disinformation. [thumps up emoji]




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UserName                    Date           Time          Content
SYSTEM                      12/31/2020     10:45 AM                     invited 1 person to the group
                                                         Jessican Watkins accepted an invitation to
                                                         the group.

Jessica Watkins             12/31/2020     1:09 PM       Hey everyone! Jess from Ohio here.
Jessica Watkins             12/31/2020     1:10 PM       Thanks for bringing me in        !
                            12/31/2020     1:10 PM       Welcome Jess!
Jessica Watkins             12/31/2020     1:11 PM       Thank you sir!
                            12/31/2020     1:12 PM       Jess and some of the guys were at the first
                                                         MEGA march with us. With the Ohio
                                                         Regulars. Jess do you know how many from
                                                         your team may be able to make it?
SYSTEM                      12/31/2020     1:12 PM       St[unintelligible] left the group.
                            12/31/2020     1:27 PM       The more patriots the merrier "going to be
                                                         wild" [thumbs up emoji]
                            12/31/2020     1:42 PM       [thumbs up emoji]
                            12/31/2020     2:28 PM       Also one reminder, Bring your FRS radios
                                                         along, while they limited range in the city,
                                                         there is a need for an alternative
                                                         communications due to issues with cell
                                                         phones during these huge fathering and
                                                         everyone attempting to stream/send
                                                         pictures!! At one point suring the last time in
                                                         DC it took almost 2 hours for a text of mine
                                                         to be sent!
SYSTEM                      12/31/2020                                 changed their profile name to
                                                             .
                            12/31/2020     3:58 PM       Folks, it seems that I forgot tonight was New
                                                         Year's Eve and a number of people will not
                                                         be able to make the phone conference
                                                         tonight…so I will reschedue for tomorrow
                                                         night at the same time and get the notice
                                                         out tomorrow afternoon and evening,
                                                         several times so all the state /team leaders
                                                         can attend. Hopefully I will also have some
                                                         additional details by that time. Sorry about
                                                         the mixup, but true to form from an old guy
                                                         who will likely fall asleep before midnight!!!

OK Gator 1                  12/31/2020     3:59 PM       The fate of our great Nation is more
                                                         important than a few cocktails! But I
                                                         understand.
                            12/31/2020     4:00 PM       True….Gator, but little use if we don't have
                                                         at least the majority of the people we need.




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UserName                  Date           Time          Content
OK Gator 1                12/31/2020     4:01 PM       I was just giving them a hard time! My wife
                                                       said the same thing geeez even in N Y Eve
                          12/31/2020     4:02 PM       Yea, think that was the same issue in most
                                                       households [emoji]
                          12/31/2020     4:04 PM       Being new to the group I take that this
                                                       conference call is for the state/team leads
                                                       only. After which team members will be
                                                       briefed.
                          12/31/2020     4:04 PM       That is correct …
                          12/31/2020     4:09 PM           , if you are new and never on a call out.
                                                       Scroll up a good bit in this chat group and
                                                       you will see an attachment that I made up
                                                       on some items to bring. Just a suggestion
                                                       and you really don't need to worry about it if
                                                       you don't have it. But if possible I would
                                                       suggest the helmet or bump insert for hat,
                                                       goggles, and gloves.
                          12/31/2020     4:10 PM       Thanks I did get it. I have pretty much
                                                       everything on the list.
                          12/31/2020     4:11 PM       Great!!
OK Gator 1                12/31/2020     4:11 PM       Sends attachment "signal-2021-12-30-2…"
                                                       Here it is in case you weren't on when he
                                                       posted
                          12/31/2020     4:13 PM       Thanks Gator!!
OK Gator 1                12/31/2020     4:12 PM       [thumbs up emoji]
                          12/31/2020     4:13 PM       [    , if you are new and never on a call out.
                                                       Scroll up a good bit in th…] He also
                                                       mentioned 1 gallon bags and shit
                                                       paper….[emoji]
                          12/31/2020     4:13 PM       Got that. That is good
                          12/31/2020     4:15 PM       Yep…I always carry a few "kits" a plastic bag,
                                                       with some TP and some wet wipes. Even if
                                                       they have portrayed potties, a lot of times
                                                       there is no TP by the time I get there !!

                          12/31/2020     4:16 PM       Porta potties that is…damn spell check
                          12/31/2020     4:16 PM       That one item is a good to know. I would
                                                       have never thought about that. Thanks.
                                                       Need a mask
                          12/31/2020     4:17 PM       I jus thave a good surgical mask in addition
                                                       to my belacava, just in case the pepper spray
                                                       starts to fly!
                          12/31/2020     4:18 PM       Several layers helps a lot if needed




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UserName                  Date           Time          Content
                          12/31/2020     4:18 PM       Someone can tell me if I'm crazy but I'm
                                                       planning on having a backpack for regular
                                                       use and then a separate backpack with my
                                                       ammo load out with some basics that I can
                                                       juyst switch too is shit truly the fan blades…

                          12/31/2020     4:18 PM       If shit ….
                          12/31/2020     16;20         I will be the guy running around with the
                                                       "budget AR" [emoji]
OK Gator 1                12/31/2020     4:20 PM       [Photo of items in medical kit] Don't forgot
                                                       every medical kit needs this
                          12/31/2020     4:20 PM       [[Photo of items in medical kit] Don't forgot
                                                       every medical kit needs this]] I just shit
                                                       myself
                          12/31/2020     4:20 PM       I have a ruck for the day with all my items
                                                       and if we get a QRS set up I have a go bag to
                                                       put in that.
                          12/31/2020     4:23 PM       If you skin your knee I got you…
                          12/31/2020     4:23 PM       Yep, med kids are important to have … have
                                                       my IFAK kit, another tourniquet and a larger
                                                       kits for my ruck
                          12/31/2020     4:23 PM       Old Army medic here and a long time EMT




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UserName                  Date           Time             Content
Stewart Rhodes            12/31/2020     3:22 PM          [Ok Gator 1: I'm sure Flynn has a team
                                         *It is not clear already] Actually, last time we paired up
                                         why this         with 1 Amend Praetorian Guar to do PSD for
                                         message          Flynn.     ,      ,      , and I (and several
                                         appears to       other Oks) were all part of that. Like
                                         come out of said, very fluid and hectic.
                                         time.
                                                          We also did a PSD for a couple other
                                                          speakers/VIPs at the first DC event.

                                                         This time around we have request for PSD
                                                         for Ali Alexander (he's had death threats and
                                                         is asking for a two-man dedicated OK PSD
                                                         detail); from Bianca (Latinos for Trump) and
                                                         Marsha (who have their own permitted
                                                         event on the mall) and also from a patriot
                                                         billionaire who is friends with Mrs. Blooinger
                                                         (another speaker).

                                                         We also have requests to provide security
                                                         for the Jan 5 event by VA Women for Trump
                                                         (Flynn scheduled to appear there) and on Jan
                                                         6 for Marsha and Bianca's event and to also
                                                         help with Jericho March events.

                                                          Much like last time - we will end up helping
                                                          at all events. Some will have official paid
                                                          security and we will be out in the crowd
                                                          acting as additional eyes and ears. Others,
Stewart Rhodes            12/31/2020     3:25 PM          Bottom line, is those of you wanting to do
                                         *It is not clear PSD details will get plenty of opportunity.
                                         why this         We may also end up assisting the PSD for
                                         message          Alex Jones again. Which was a great feather
                                         appears to       in our cap. We worked superbly will with
                                         come out of both Alex Jones security team (who are
                                         time.            awesome guys) and with Praetorian Guard
                                                          (also awesome veterans - led by SF and SEAL
                                                          veterans). They LOVE working with us
                                                          because of our legit "quiet professional"
                                                          demeanor and skillsets.




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UserName                  Date           Time             Content
Stewart Rhodes            12/31/2020     3:37 PM          It's incredibly important for us to be front
                                         *It is not clear and center, again, and very visible for the
                                         why this         patriots AND to the domestic enemies. Heck,
                                         message          also to our foreign enemies, who will surely
                                         appears to       be watching as well.
                                         come out of
                                         time.
                          12/31/2020     4:28 PM          [thumbs up emoji]
                          12/31/2020     4:28 PM           Hell of a first OP! Lol looking to learn a lot
OK Gator 1                12/31/2020     4:40 PM          We will have a team there Monday and
                                                          Tuesday from Florida
                          12/31/2020     4:41 PM          Great Gator! Thanks!
OK Gator 1                12/31/2020     4:42 PM          I am sorry Tuesday and Wednesday. Ill give
                                                          them your contact info         .
                          12/31/2020     4:42 PM          [at sign]                  Alabama will have a
                                                          team in DC Tuesday morning as well.
                          12/31/2020     4:42 PM          Great
OK Gator 1                12/31/2020     4:43 PM          We will only have 2-4 for Tuesday
                          12/31/2020     4:44 PM          Great…thanks Gator
                          12/31/2020     4:49 PM          For those of you who might have less than
                                                          patriot-friendly bosses or the need to keep
                                                          your anonymity; ANTIFA and their
                                                          sympathizers WILL try to get your photo for
                                                          doxing purposes. They were cut in droves in
                                                          November and some were disguised as
                                                          Trump supporters. Take whatever
                                                          precautions necessary and have back ups.

                          12/31/2020     4:49 PM         Good point…
OK Gator 1                12/31/2020     4:50 PM         [Photo of crowd in masks] Maga masks work
                                                         great
OK Gator 1                12/31/2020     4:52 PM         [Photo of american flag masks in
                                                         black/white] I ordered thse for the FL team
                          12/31/2020     4:53 PM         No more hiding for me, not like ever have …
                                                         Fuck the masks
OK Gator 1                12/31/2020     4:53 PM         SR saved us some headaches in Louisville by
                                                         suppling neck gaiters
OK Gator 1                12/31/2020     4:54 PM         I don’t hide except from the media. I do
                                                         commericals at my place and don’t need my
                                                         business harrassed otherwise I'll give them
                                                         my hime address!! I'm with you !




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UserName                    Date           Time           Content
SYSTEM                      12/31/2020     4:54 PM        Stewart Rhodes added

                                                          Stewart Rhodes added
                                                                     lead
                                                          Stewart Rhodes added
                                                          Stewart Rhodes added
                                                          Stewart Rhodes added

                                                          Stewart Rhodes added


Stewart Rhodes              12/31/2020     5:10 PM        Added some of the NC leaders and
                                                          experienced prior op veterans from NC
Stewart Rhodes              12/31/2020     5:11 PM        Let's make sure that anyone in Oath Keepere
                                                          who is a team leader who will be bringing a
                                                          team is on this chat.
SYSTEM                      12/31/2020     5:11 PM        Stewart Rhodes added

Stewart Rhodes              12/31/2020     5:48 PM        Added                      who was with us in
                                                          Louisville three times. Infantry vet.
                            12/31/2020     5:48 PM        I haven't worn a mask since this whole thing
                                                          started and I won't start now.
Stewart Rhodes              12/31/2020     5:50 PM        [I haven't worn a mask since this whole thing
                                                          started and I won't st….] Don’t blame you. I
                                                          don’t either. And no cop in DC has even tried
                                                          to ask. You'll feel right at home in a massive
                                                          sea of no mask bandits [emojis]

                            12/31/2020     5:50 PM        RGR
SYSTEM                      12/31/2020     5:50 PM        Stewart Rhodes added
Stewart Rhodes              12/31/2020     5:52 PM        Added          , our main website editor, so
                                                          she's in the loop. She is getting questions on
                                                          DC so I want her to be aware in general of
                                                          what we are doing (she understands opsec).

SYSTEM                      12/31/2020     5:52 PM        Stewart Rhodes added
                                                          Stewart Rhoses added
                                                          Stewart Rhodes added
                                                                                   .

Stewart Rhodes              12/31/2020     5:53 PM        Added         , who is going to help with any
                                                          vetting that still needs done, and Connie
                                                          who can help with intel on DC op, and
                                                                             from TX who likewise can
                                                          help with that
SYSTEM                      12/31/2020     5:53 PM        Stewart Rhodes added


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UserName                    Date           Time            Content
Stewart Rhodes              12/31/2020     5:55 PM         Added            our UT lead Coordinator.
                                                                     please add your team lead who is
                                                           coming to DC. And we need a headcount
                                                           Who else needs added?
Stewart Rhodes              12/31/2020     5:56 PM         We need strong intel for this op. Do you
                                                           want to create a separate intel chat for it?
                                                           Or do it on this? In the past we created a
                                                           separate intel chat.
                            12/31/2020     5:56 PM         Think a separate channel would be best.
Stewart Rhodes              12/31/2020     5:57 PM         [Thumbs up emoji]
                            12/31/2020     5:59 PM         Separate chat is warranted [emojis]
Stewart Rhodes              12/31/2020     6:00 PM         Done.
Stewart Rhodes              12/31/2020     6:01 PM         Whoever wants on that intel team, get with

                            12/31/2020     6:51 PM         Add me to intel please
                            12/31/2020     7:30 PM         My IT Chapter Lead is              , former
                                                           Navy brown water shipmate. My UT Chapter
                                                           lead
                            12/31/2020     7:31 PM         [thumbs up emoji]
Jessica Watkins             12/31/2020     8:25 PM         [                : Jess and some of the guys
                                                           were at the first MEGA march with us. Wi..]
                                                           Currently 3. Potentially 5.
                            12/31/2020     7:40 PM         Fantastic Jess thanks!
                                           *It is not clear
                                           why this
                                           message
                                           appears to
                                           come out of
                                           time.
                            12/31/2020     10:19 PM         [                : thumbs up emoji]        can
                                                            you add                 to this group?
SYSTEM                      12/31/2020     10:19 PM                          made                        an
                                                            admin
SYSTEM                      12/31/2020     10:19 PM                          made                an admin
SYSTEM                      12/31/2020     10:19 PM                          made Jessica Watkins an
                                                            admin
                            12/31/2020     10:26 PM         Just made you an admin, so you can add
                                                            your guys
Jessica Watkins             12/31/2020     10:30 PM         Thank you          They're not on Signal yet,
                                                            but I'll get them to install it.
                            12/31/2020     10:31 PM         Sounds good Jess
                            12/31/2020     10:36 PM         We really want our entire team added? WY
                                                            will just keep the 3 leaders in this thread but
                                                            we'll be rolling with another 7+ in tow.
                            12/31/2020     10:42 PM         Ok, no issue leave it up to you. It is one way
                                                            we communicate on the op


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UserName                    Date           Time           Content
                            12/31/2020     10:45 PM       Where in DC do we think we will spend most
                                                          of our time. I want to print off a map and
                                                          laminate.is capital I'm guessing?
SYSTEM                      12/31/2020     10:45 PM                   changed who can edit group
                                                          member to "All members"
Jessica Watkins             12/31/2020     10:48 PM       [Sends a photo of map of DC that with a red
                                                          square that shows avoid hotels in this area]

Jessica Watkins             12/31/2020     10:49 PM       This is the Antifa/BLM zome
Roberto Minuta              12/31/2020     10:49 PM       We were everywhere from freedom plaza to
                                                          the capitol, to the national mall
Jessica Watkins             12/31/2020     10:49 PM       Zone
                            12/31/2020     10:51 PM       When we were there a few weeks ago, they
                                                          ran back behind the police lines at BLM Plaza
                                                          and would not come back out!!!
Jessica Watkins             12/31/2020     10:54 PM       Disappointed I missed that. I had broke my
                                                          arm and ribs 3 days before DC. They're still
                                                          broke, but I'm a trooper. I'm not missing out
                                                          again
                            12/31/2020     10:55 PM       [thumbs up emoji]
                            12/31/2020     10:57 PM       [                : When we were there a few
     …                                                    weeks ago, they ran back behind the poli…]
                                                          Standing behind the police lines….the very
                                                          ones they are trying to defund/Dismantle.
                                                          Oh the irony. Smh
SYSTEM                      12/31/2020     10:57 PM                        made                    an
                                                          admin
                            12/31/2020     11:01 PM       Puppets playing into the Communists hands
                                                          because they promise free education and
                                                          free housing [emoji]
                            12/31/2020     11:27 PM       Hey
                                                          Happy new Year my friend
                            12/31/2020     11:27 PM       You also my friend! And everyone else out
                                                          there!!
OK Gator 1                  12/31/2020     11:29 PM       Hey happy New Years from the Sunshine
                                                          State!! Gator Team prepping for DC ! [Sends
                                                          a US FLAG, stars arranged in circle with
                                                          1/6/21 in the center]
                            12/31/2020     11:31 PM       [thumbs up emoji]
                            12/31/2020     11:36 PM       Gator 1
                                                          Stanly County ?
OK Gator 1                  12/31/2020     11:56 PM       Ridgecrest My home town !!!
                                                          To the sweat Stanley Colts !!
OK Gator 1                  1/1/2021       12:02 AM       West




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UserName                    Date         Time           Content
                            1/1/2021     12:12 AM       Rgr That [Photo of Jesus with AR15 with
                                                        caption "let he who hath not an AR15 take
                                                        his $600 stimulus and buyeth one. If he
                                                        receives $1200 take the other portion and
                                                        buyeth ammunition…]
                            1/1/2021     12:14 AM       Well that extra $600 will buy at least 20
                                                        rounds these days!!
System                      1/1/2021     12:14 AM                    added
                            1/1/2021     1:12 AM        [Sends link to Washington Post article dated
                                                        30 Dec 2020 Iran's Rouhani issues Trump
                                                        death threat]
                                                        https://www.washingtontimes.com/news/2
                                                        020/dec/30/hassan-rouhani-iran-president-
                                                        ssues-donald-trump-/
                            1/1/2021     1:13 AM        [Shares screenshot]
                            1/1/2021     1:13 AM        [Reposts                  screenshot] I just
                                                        saw this on Twitter
OK Gator 1                  1/1/2021     1:19 AM        Yep, Weird times my friends weird times.
                                                        We truly may be in the actual ware they
                                                        have said we are in. Cyber attacs, bombs in
                                                        TN, the place where they printed the mail in
                                                        ballots burned to the group. It’s a full
                                                        fledged assault on our republic. Funny we
                                                        are supposed to be ready for enemies
                                                        foreign or domestic.

                                                        This is foreign AND domestic. I hope Trump
                                                        handles this. He has the power, does he
                                                        have the testicular fortitude?! I say he does!
                                                        so we wait.
OK Gator 1                  1/1/2021     1:25 AM        As the clock struck midnight 2020 I was on
                                                        the couch no a care in the world. As the
                                                        clcok strikes midnight 2021. Well you know
                                                        the rest of that story! So here we are
                                                        Sourrounded by Patriots wathching Tyrants
                                                        rule our world!




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UserName                    Date         Time           Content
                            1/1/2021     1:37 AM        [Link to Twitter] [General Flynn on Twitter
                                                        "My brave fellows, you have done all I asked
                                                        you to do, and more than can be reasonably
                                                        expected, but your country is at stake, your
                                                        wives, your houses, and all that you hold
                                                        dear. You have worn yourselves out with
                                                        fatigues and hardships, but we know not
                                                        how to spare you..."}

                                                        I stand [emojis]
                                                        https://twitter.com/genflynn/status/134482
                                                        5204321767424?s=21
SYSTEM                      1/1/2021     10:06 AM                     added          .
                            1/1/2021     10:06 AM       [Stewart Rhodes Added
                                                        who was with us in Louisville three times. …]

                                                        I would love to take credit for that
                                                        introduction, but you have mistaken me for
                                                        someone else, I am just an old retired cop
                                                        [emoji]

Roberto Minuta              1/1/2021     10:23 AM       The Mayflower hotel is avaiilable 1/5 - 1/5. I
                                                        have discount there . 100$/night. Anyone in
                                                        need of a room??




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UserName                 Date         Time           Content
                         1/1/2021     11:20 AM       Conference Call for DC Leadership/team
                                                     Leaders Only

                                                     Fri, Jan 1, 2021 8:30 PM - 9:30 PM (EST)

                                                     Please join my meeting from your computer,
                                                     tablet or smartphone.

                                                     Https://global.gotomeeting.com/join/41883
                                                     3445

                                                     This meeting is locked with a password: DC6

                                                     You can also dial in using your phone. (For
                                                     supported devices, tap a one-touch number
                                                     below to join instantly.)

                                                     United States: +1 (872) 240-3212

                                                     -One-touch: tel:
                                                     =18722403212,,418833445#

                                                     Access Code: 418-833-445
                         1/1/2021     12:22 PM       Ok folks, for all you you LEOSA qualified
                                                     retired/actice LEOs. Just talked to LT who is
                                                     Watch Commander for the 1st District DCPD.
                                                     He knows of no special specific restrictions
                                                     on LEOSA carry as far as the city. However,
                                                     he gave me the direct email for the District
                                                     Commander, but she is out until Monday. So
                                                     I am waiting for somethign in hard copy on
                                                     that. One thing to keep in mind is that you
                                                     MUST follow the Magazine limits of ten
                                                     rounds, but the LT knows of no limits on
                                                     numbers of mags.
                         1/1/2021     12:23 PM       If, you choose to carry




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UserName                    Date         Time           Content
                            1/1/2021     1:08 PM        Ok Folks, go something totally different from
                                                        the district commander: It goes totally
                                                        against ACT 218 but I don’t think I want to
                                                        be the one to test it for the next 10 years in
                                                        court! So if you carry beware. This is the
                                                        email I received: Good afternoon         You
                                                        can not carry while engaged in First
                                                        Amendment activities. We will post warnings
                                                        advising of such and persons will be subject
                                                        to arrest and prosecution.

                                                        Commander

                                                        Sent from my iPhone

                            1/1/2021     1:22 PM        [Ok Folks, go something totally different
     …                                                  from the district comma…] Even under the
                                                        parameters of the LEOSA? Can they override
                                                        that? Legally?
                            1/1/2021     1:25 PM        She's saying if you're engaged in priestess,
                                                        however if you are there as hired security
                                                        detail, you're not technically protesting…

                                                        Protest
                            1/1/2021     1:26 PM        Well, that is thee question….I would say
                                                        no…but the question would be….are you
                                                        willing to sacrifice arrest, imprisonment and
                                                        year sof legal issues to prove them wrong.
                                                        We know the DC administration is willing to
                                                        violate people's rights…so they likely do not
                                                        care if they are challenged in court!

                            1/1/2021     1:26 PM        Having documentation from someone
                                                        requesting security should do it …
Jessica Watkins             1/1/2021     1:26 PM        Roger Stone just asked for security
                            1/1/2021     1:26 PM        Getting stuck in DC litigation would not be
                                                        fun…ask General Flynn
OK Gator 1                  1/1/2021     1:26 PM        We have him already
OK Gator 1                  1/1/2021     1:27 PM        We have stone
Jessica Watkins             1/1/2021     1:27 PM        [thumbs up emoji]
                            1/1/2021     1:27 PM        I'd like to shake that man's hand
Jessica Watkins             1/1/2021     1:27 PM        Ok cool.




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UserName                    Date         Time           Content
                            1/1/2021     1:25 PM        [                 : Well, that is thee
     …                                                  question….I would say no…but the
                                                        question…] The reason I ask,            is that at
                                                        least one member from Utah (former SWAT)
                                                        is going to be participating in the DC event -
                                                        so I am trying to get the correct info to those
                                                        attending, and esepcially dealing with
                                                        carrying.
OK Gator 1                  1/1/2021     1:28 PM        Who reached out to you? I spole to him
                                                        Wednesday
OK Gator 1                  1/1/2021     1:28 PM        [                   : I'd like to shake that
                                                        man's hand] I can arrange that. Been ot his
                                                        house a few times
                            1/1/2021     1:29 PM        Sweet, I'll buy you a whiskey!
Jessica Watkins             1/1/2021     1:32 PM        Nobody reached out. He was live on
                                                        Infowars asking for security in DC.
OK Gator 1                  1/1/2021     1:32 PM        I just texted him.
                            1/1/2021     1:32 PM        Just seen that too
                            1/1/2021     1:33 PM        One item about being "paid" security is then
                                                        running afould of their requirements for that
                                                        and being certified to do so…just putting it
                                                        out there for everyone. As always there are
                                                        conflicting opinions and each can choose his
                                                        own path. But with the DC administration, it
                                                        is likely that they would use any excuse to
                                                        get at us...while there is a 99% chance there
                                                        would be no issue, if you would need to use
                                                        a weapon or even display it....that's when
                                                        the trouble would begin....

Ok Gator 1                  1/1/2021     1:34 PM        We don't do paid on our end.
                            1/1/2021     1:34 PM        Yep…
                  -         1/1/2021     1:42 PM        I'd prefer the word of a lawyer.
                            1/1/2021     1:42 PM        He set up a fund raise for paid security




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UserName                   Date         Time           Content
OK Gator 1                 1/1/2021     1:45 PM        He just texted me this so he must be looking
                                                       at is as a money maker for him. He's quite
                                                       the entrepreneuer! Wanna buy a rock for
                                                       $25 hes got em.

                                                       [Screenshot of a text: Excellent my
                                                       transporation to DC is a little up in the air
                                                       but it is my intetion to come in on Tuesday
                                                       which may be private or may be commerical
                                                       as soon as I know I will let you know. There
                                                       an enormous amout of intrigue going on
                                                       reagarding the various programs on Tuesday
                                                       and we are in the process of sorthing that
                                                       out. Look for email later today with an
                                                       update.

                                                       [Reply:] Yes Sir
Jessica Watkins            1/1/2021     1:56 PM        I'm down for doing PSD for folks. I don’t
                                                       want to go as a spectator, I want to be
                                                       useful.
                           1/1/2021     1:56 PM        [thumbs up emoji] as per Stewart we are all
                                                       likely to be doing PSD most of the time....

Jessica Watkins            1/1/2021     1:56 PM        We will be in DC Monday afternoon
                                                       afternoon, so we are free Tuesday
                           1/1/2021     1:57 PM        Still waiting to be put in touch with contacts
                                                       to figure it out




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UserName                    Date         Time           Content
                                                        https://mpdc.dc.gov/release/traffic-advisory-
                            1/1/2021     2:25 PM
                                                        first-amendment-activity-4 Metropolitan
                                                        Police Department

                                                        TRAFFIC ADVISORY: First Amendment
                                                        Activity Thursday, December 31, 2020 From
                                                        Tuesday, January, January 7, 2021, multiple
                                                        first amendment demostrations are
                                                        expected to occur in the District of
                                                        Columbia. In conjunction with these
                                                        demontrations, there will be parking
                                                        restrictions and potential stree closures that
                                                        motorists should take into consideration:

                                                        The following streets will be posted as
                                                        Emergency No Parking on Tuesday, January
                                                        5, 2021 at 6:00 a.m. to Thursday, January 7,
                                                        2021 11:59 p.m.:

                                                        H Street from 15th Street, NW to 17th
                                                        Street, NW
                                                        Connecticutn Avenue from H Street, NW to L
                                                        Street, NW
                                                        Vermont Street Avenue from H Street, NW
                                                        to L Street, NW
                                                        15th Street from I Street to K Street, NW
                                                        (west side of McPherson Square)
                                                        17th Street from I street to K Street, NW
                                                        (east side of Farragut Square)
                            1/1/2021     2:26 PM        https://twitter.com/DCPoliceDept
                            1/1/2021     2:27 PM        {                 : Ok Folks, go something
                                                        totally different from the district comma…]
                                                        Wow it's like Moscow 1980s good ol USA…
SYSTEM                      1/1/2021     2:27 PM        Stewart Rhodes added




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UserName                    Date         Time           Content
Stewart Rhodes              1/1/2021     2:39 PM        Added             Warren County, VA militia
                                                        leader. He was with us last time in DC. He's
                                                        brining a team up for this one. As always,
                                                        anyone bringing a team can keep their team
                                                        together and under their immediate
                                                        command.

                                                              you may recall                 and
                                                               They are the overall Oath Keepers Op
                                                        leads for this one. As always, anyone
                                                        bringing a team can keep their team
                                                        together and under their immediate
                                                        command. But         and        are overall
                                                        leaders and coordinating all the many
                                                        moving parts.
                            1/1/2021     2:40 PM        Thumbs up emoji
SYSTEM                      1/1/2021     2:40 PM        Stewart Rhodes invited 1 person to the
                                                        group.
                            1/1/2021     2:41 PM        [Stewart Rhodes: Added               Warren
                                                        County, VA militia leader. He was with us...]
                                                        Sounds good, just let me know what we can
                                                        assist with, always happy to help.

Stewart Rhodes              1/1/2021     2:41 PM        Added                , long time Oath Keeper,
                                                        local to DC. He was with us last time. He can
                                                        help with local intel and logistics.

                                                            , sound off if you see this.

                            1/1/2021     2:41 PM        Trump is speaking at the ellipse at noon
Ok Gator 1                  1/1/2021     2:45 PM        What day ? Wednesday
SYSTEM                      1/1/2021     2:46 PM        Stewart Rhodes added
Stewart Rhodes              1/1/2021     2:46 PM             do you see this?
                            1/1/2021     2:47 PM        Alex Jones just said it live. [Sends screenshot
                                                        of the Alex Jones Show].

                            1/1/2021     2:47 PM        Yes, thank you!
                            1/1/2021     2:47 PM        6th Wednesday
                            1/1/2021     3:24 PM        [Posts a Tweet from Donald Trump. Tweet
                                                        "The Big Protest Rally in Washington, DC will
                                                        take place at 11:00 A.M. on January 6th.
                                                        Locational setails to follow. StopeTheSteal!
                                                        [Unintelligible].
                            1/1/2021     3:25 PM        Would be nice if he would drop more INTEL
                                                        before this it would fire people up …




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UserName                    Date         Time           Content
                            1/1/2021     3:55 PM        [Screenshot: Repost of Parler
                                                        "[atsign]Joebiggs - JoeBiggs- Attn: DC Antifa.
                                                        We will be not attendin…]
                                                        Attn DC ANTIFA. We will not be attending DC
                                                        in colors. We will be blending in as one of
                                                        you. You won't see us. You'll even think we
                                                        are you. We are going to smell like you.
                                                        Move like you and look..." Parler.com
                                                        https://parler.com/post/d6927a18b0634b78
                                                        b330ca998f670692
Ok Gator 1                  1/1/2021     4:09 PM        Said Dec 6th twice
OK Gator 1                  1/1/2021     4:43 PM        {             : I just shit myself]
                                                        It stops pepper spray from burning ! Just saw
                                                        this comment sorry.
SYSTEM                      1/1/2021     5:24 PM                           -         accepted an
                                                        invitation to this group
                            1/1/2021     5:24 PM        Deodorant?
                            1/1/2021     5:25 PM        What stops the pepper spray from bruningg

                            1/1/2021     5:25 PM        Goggles [emoji]
                            1/1/2021     5:26 PM        I've seen ANTIFA pouring milk on their faces
                                                        [emoji]
                            1/1/2021     5:26 PM        Smashing the face of the little puke who
                                                        sprayed you…
                            1/1/2021     5:26 PM        [       : I've seen ANTIFA pouring milk on
                                                        their faces [emoji]]
                                                        Wish it was gas…
                            1/1/2021     5:26 PM        Dawn and water. Mix a solution of one part
                                                        Dawn dish soap and three parts cold water.
                                                        If you get sprayed in the face, fill a bowl with
                                                        the soultion and immerse your face for up to
                                                        15 seconds. … Milk Spray. Fill a spray bottle
                                                        with cold whole milk ….
                            1/1/2021     5:26 PM        Liquid with a high fat content
                            1/1/2021     5:27 PM        vegetable oil. Apply vegetable or cooking oil
                                                        to your skin like lotion
                            1/1/2021     5:30 PM        Dawn and water. In a spray bottle for
                                                        convenience
                            1/1/2021     5:31 PM        1 parts Dawn 3 parts water
Ok Gator 1                  1/1/2021     5:31 PM        The deodorant covers your pours and then
                                                        the spray doesn't get in! Yes after the fact
                                                        the dawn liquid works!!!
                            1/1/2021     5:32 PM        Can't believe pepper spray is allowed in CCP
                                                        DC




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UserName                  Date         Time           Content
OK Gator 1                1/1/2021     5:34 PM        I had to ask our medics why deodorant in
                                                      your medic kit?? That's the real reason

                                                      I just don't think I want to walk around
                                                      covered in speed stick!
OK Gator 1                1/1/2021     5:34 PM        It is !! Pepper spray and 3' and under knives.
                                                      Don't even have a Bullet for an unregistered
                                                      Gun there
                          1/1/2021     5:35 PM        While all that works somewhat …. Most of
                                                      all it takes time … but can tell you from being
                                                      sprayed many times over the years in
                                                      training …. had to do it at least once a year
                                                      and got caught in it a number of times by
                                                      over zealous people spraying the world ... if
                                                      you can stop it from hitting your eyes
                                                      directly .... you can overcome it and still
                                                      function...sometimes [emoji]
OK Gator 1                1/1/2021     5:36 PM        I am worried about pepper spray mainly
                                                      because lately the antifa types have started
                                                      using that right out of the gate on people. So
                                                      watch out, if your doing a PSD and they
                                                      starting coming at your that’s become there
                                                      first move … right in the face. Then attack
                                                      you.
                          1/1/2021     5:37 PM        Concur

OK Gator 1                1/1/2021     5:38 PM        I have a mask I'll have just in case but not
                                                      walking around with on for sure. But I might
                                                      have it closer than usual this time.
                          1/1/2021     5:38 PM        [Photo of mask]
                                                      I'm bringing this [pointing emoji]
                          1/1/2021     5:38 PM        Any restrictions in DC on tasers?
OK Gator 1                1/1/2021     5:38 PM        [Photo of man in mask]
                                                      Think I have the same one
                                                      Amazon !!
                          1/1/2021     5:39 PM        [OK Gator 1: Amazon !!]
                                                      Yep
                          1/1/2021     5:39 PM        The flashlight stun gun type …
                          1/1/2021     5:39 PM        Taser are a no … stun gun yes ….
Ok Gator 1                1/1/2021     5:39 PM        Trying to get an OK rocker on the front !
                          1/1/2021     5:40 PM        I have a vipertek flashlight taser combo
                          1/1/2021     5:40 PM        Roger that
                          1/1/2021     5:40 PM        [OK Gator 1: Trying to get an OK rocker on
                                                      the front !]
                                                      That would be awesome
                          1/1/2021     5:40 PM        Same here                  stun gun, flashlight


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UserName                  Date         Time           Content
OK Gator 1                1/1/2021     5:41 PM        I've bringing an OK flag on a nice thick piece
                                                      of wood [emoji]

                                                      That will be enough for me. Hacksaw
                                                      Dugan style
                          1/1/2021     5:42 PM        Lots of folks had some very stout walking
                                                      sticks during the last one, didn't see PD say
                                                      anything.
OK Gator 1                1/1/2021     5:42 PM        Yes saw the same thing
                          1/1/2021     5:42 PM        Make sure it looks like a hiking staff and
                                                      should be no issue
                          1/1/2021     5:43 PM        Walk with a limp and a stick
                          1/1/2021     5:43 PM        I have a nice hickory staff with a paracord
                                                      wrap and wrist strap
                          1/1/2021     5:44 PM        They do have the canes with a sword in it
                                                      [emoji]
                          1/1/2021     5:44 PM        they will think you're vlunerable then have
                                                      at it
OK Gator 1                1/1/2021     5:44 PM        [repost a photo]
System                    1/1/2021     5:44 PM                              left the group
                          1/1/2021     5:45 PM        [          : They do have the canes with a
                                                      sword in it] Now do they have tazer canes?
                                                      [emoji]
                          1/1/2021     5:46 PM        That would be a good buy lol
                          1/1/2021     5:46 PM        [             : Now do they have tazer canes?
                                                      [emoji]]
                                                      I need to investigate that
                          1/1/2021     5:46 PM        They actually make them I have one
                          1/1/2021     5:46 PM        Well, if the president is going to be in the
                                                      area you can bet there will be a high number
                                                      of plain clothes Secret Service folks in the
                                                      crowd all day, at least until he is back out of
                                                      the area
                          1/1/2021     5:46 PM        [                                : They actually
                                                      make them I have one]
                                                      Nice
                          1/1/2021     5:50 PM        [Photo of person in goggles]
                                                      Not sure if anyone is interested. Found some
                                                      Laser protections film for use on goggles or
                                                      visors, might even work on glasses. Comes in
                                                      a strip 1x9 inch and is removable and can
                                                      then be put on another surface! $25 and
                                                      then shipping is another $17...but a LOT
                                                      cheaper than other alternatives and will
                                                      protect your eyes from strong lasers. Put




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UserName                 Date         Time           Content
                         1/1/2021     5:55 PM        [                 : [Photo of person in
                                                     goggles] Not sure if anyone is interested.
                                                     Found some]]
                                                     Where did you find this?
                         1/1/2021     5:56 PM        Too late for me to get it I think
                         1/1/2021     5:57 PM        http://kenteklaserstore.com
                         1/1/2021     6:03 PM        I can't can't get anything before the 4th… I
                                                     will see what's at [emjoi] Walmart..[emoji]
                         1/1/2021     6:16 PM        Conference Call for DC Leadership/team
                                                     Leaders Only

                                                     Fri, Jan 1, 2021 8:30 PM - 9:30 PM (EST)

                                                     Please join my meeting from your computer,
                                                     tablet or smartphone.

                                                     https://global.gotomeeting.com/join/41883
                                                     3445

                                                     This meeting is locked with a password: DC6

                                                     You can also dial in using your phone. (For
                                                     supported devices, tap a one-touch number
                                                     below to join instantly.)

                                                     United States: +1 (872) 240-3212

                                                     -One-touch: tel:
                                                     +18722403212,,418833445#

                                                     Access Code: 418-833-445
                         1/1/2021     6:18 PM        Just one thing about the above, we are
                                                     having a freezing rain and it is starting ot
                                                     build up locally. If for some reason I can't get
                                                     on you know why, when our lines go …
                                                     everything goes!!! Don't expect it , but you
                                                     never know!
                         1/1/2021     6:24 PM        So I have truck drivers tire thumper. Will
                                                     that work.




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UserName                    Date         Time           Content
                            1/1/2021     6:31 PM        Well you have to be careful, the wording of
                                                        their weapons regulations "does not have a
                                                        common purpose", and knowing DAs if there
                                                        was no "legitimate" reason to have it on you
                                                        at that time….not trying to discourage…just
                                                        advising…I know how these people think!!! A
                                                        really good walking staff has that purpose!

OK Gator 1                  1/1/2021     6:41 PM        Cattle prods aren't metioned in the banned
                                                        items

                            1/1/2021     6:43 PM        [Screenshot: Amazon Prime video "The Fight
                                                        of our Lives"]
                                                        If you haven't seen this 2019 documentary-
                                                        you should just want to it this out there
                                                        before events start happening
                            1/1/2021     6:44 PM        [Posts video]
                                                        Those without time here's a few clips
                            1/1/2021     6:44 PM        [Posts video]
                            1/1/2021     6:45 PM        [Posts video]
                            1/1/2021     6:43 PM        DC OP is just the beginning - Universities are
                                                        next
                            1/1/2021     7:04 PM        Need lots of rope
                            1/1/2021     7:06 PM        [                : [Photo of person in
                                                        goggles] Not sure if anyone is interested.
                                                        Found some...]
                                                        These are usually made for certain ranges of
                                                        laser wavelength. Is there a common filter
                                                        range to buy?
                            1/1/2021     7:07 PM        These are supposed to be good for all the
                                                        commonly used lasers...they explained it on
                                                        the website
SYSTEM                      1/1/2021     7:07 PM                                        added

                            1/1/2021     7:13 PM        Welcome
                                                        USMC Former Leo
                                                        Worked with us 1st DC OP
                            1/1/2021     7:19 PM        Welcome
                            1/1/2021     7:20 PM        Thanks. Glad to be here. It's like the fish,
                                                              . ;)
SYSTEM                      1/1/2021     7:20 PM        Stewart Rhodes added
Stewart Rhodes              1/1/2021     7:29 PM        Added        ("                   ) from SC
                                                        Oath Keepers who is bringing a team to DC




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UserName                    Date         Time           Content
                            1/1/2021     7:31 PM        Conference Call for DC Leadership/team
                                                        Leaders Only

                                                        Fri, Jan 1, 2021 8:30 PM - 9:30 PM (EST)

                                                        Please join my meeting from your computer,
                                                        tablet or smartphone.

                                                        https://global.gotomeeting.com/join/41883
                                                        3445

                                                        This meeting is locked with a password: DC6

                                                        You can also dial in using your phone. (For
                                                        supported devices, tap a one-touch number
                                                        below to join instantly.)

                                                        United States: +1 (872) 240-3212

                                                        -One-touch: tel:
                                                        +18722403212,,418833445#

                                                        Access Code: 418-833-445
SYSTEM                      1/1/2021     7:31 PM                        -   added
                 -          1/1/2021     1:35 AM                  is from VaOk and was on the first
                                                        dc op.
System                      1/1/2021     7:35 PM        Stewart Rhodes added
                                                        Stewart Rhodes added                .

Stewart Rhodes              1/1/2021     8:17 PM        Added                  , event producer for
                                                        Stop the Steal. He requested I add him here.
                                                        He can help us sort out who is doing what in
                                                        the creative choas that will be Jan 5/6.

                                                        He's a good egg. [emoji][emoji]

Stewart Rhodes              1/1/2021     8:19 PM        Also added                   , who is an Oath
                                                        Keepers patriot pastor (leads Black Robed
                                                        Regiment).
Stewart Rhodes              1/1/2021     8:20 PM                 , please tell us what you know about
                                                        which even will be where. We are still
                                                        unclear.
                            1/1/2021     8:22 PM        Is there a map that we could use of the
                                                        areas, stages, times? That would really assist
                                                        our folks, especially if we needed to respond
                                                        in an emergency


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UserName                  Date         Time           Content
                          1/1/2021     8:33 PM        [posts screeshot of event titled "Save our
                                                      Republic"]
                                                      Here is a schedule of diff events
                          1/1/2021     8:34 PM                 just logged into call. No
                          1/1/2021     9:02 PM        For movement in an emergency I will be
                                                      available within an hour notice as a person
                                                      with federal emergency personnel
                                                      credentials for east of movement
                          1/1/2021     9:39 PM        [Posts audio file]
                          1/1/2021     9:52 PM        [Posts photos of maps]
                                                      I've printed these as well
                          1/2/2021     5:18 AM               SC. Low country Team here I mist the
                                                      meeting last night can I call or be called for
                                                      updated briefing
             -            1/2/2021     6:16 AM        [Posts Forbes article]
                                                      "Trump Offers New Details On "Wild" Rally
                                                      to Protest Election….Permits have been filed
                                                      to allow nearly 20,000 attendees at the rally,
                                                      which the president says is slated for 11 a.m.
                                                      Wedneday."
                                                      https://forbes.com/sites/jonathanponciano/
                                                      2021/01/01/trump-offers-new-details-on-
                                                      wild-rally-to-protest-election-results-and-dc-
                                                      authorities-are-gearing-up-for-
                                                      it/?sh=33be42af6d2f
Ok Gator 1                1/2/2021     6:18 AM        New Police Chief starts today !
                                                      On Thursday, D.C's Metropolitan Police
                                                      Department said there will be multiple
                                                      street closures across the city on Tuesday
                                                      and Wednesday for "public safety" with
                                                      potential intermittent closures in the
                                                      downtown area.

                                                      Meanwhile, the city's incoming police chief,
                                                      Robert J. Contee III - who's slated to start the
                          1/2/2021     6:26 AM        To all leadership/team leaders, we will have
                                                      another phone conference Sunday evening
                                                      at 8:30 pm eastern time. I will put out the
                          1/2/2021     6:28 AM        meeting   details
                                                      Also, I will be in late
                                                                         and Sunday   afternoon.
                                                                              out of touch today for 6-
                                                      8 hours. Have to take the grandkids home
                                                      and cell is questionable in some areas
OK Gator 1                1/2/2021     6:28 AM        Good call last night. Lots focered, I'll get with
                                                      NC team today and find out QRF location




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UserName                    Date         Time           Content
                            1/2/2021     6:28 AM        Great Gator thanks!! Appreciate all your help



              -             1/2/2021     6:31 AM        [Posts photo of D.C. Mayor Muriel Bowser
                                                        that says "she as ordered all hotels,
                                                        restaurants, grocery stores, gas stations and
                                                        convienence stores to close jan 4th, 5th, and
                                                        6th to discourage TRUMP supporters from
                                                        gathering in D.C. For all the Patriot heading
                                                        to D.C. bring EXTRA food, water, blankets,
                                                        supplies, and have a plan where to sleep.
                                                        Patriots not going to D.C Echo this info"

              -             1/2/2021     6:31 AM        Have NOT confirmed this FYI
                            1/2/2021     6:35 AM        Also folks, even if not true. Looks like we are
                                                        going to have a great number of Oks there
                                                        and may not find enough hotels beds. I
                                                        encourage everyone to bring sleeping bags,
                                                        camp mattresses and even a cot if you have
                                                        the extra room in vehicles….

                            1/2/2021     6:37 AM          We know they have encouraged hotels to
                                                          close, but know of only one so far. Have not
                                                          heard of any other closing of hotels.
Ok Gator 1                  1/2/2021     6:39 AM          I heard they reopened and sold out in a few
                                                          hours.
                            1/2/2021     6:39 AM          Air BnB may also be an option
                            1/2/2021     6:42 AM          Good…guess they figured that Patriot dollars
                                                          spend better than BLM
                            1/2/2021     6:45 AM          [Reposts photo of Washington DC weather
                                                          forcast]
                            1/2/2021     6:46 AM          Overnight lows in the 30's
Ok Gator 1                  1/2/2021     6:52 AM          Nice weather for full kits !!
                            1/2/2021     6:52 AM          [thumbs up emoji]
Ok Gator 1                  1/2/2021     8:12 AM          [reposts a screenshot that says "No Rooms
                                                          for Fascists"]
                                                          Just fyi
                            1/2/2021     8:42 AM          South Carolina low country team is trying to
                                                          team up with Eastern North Carolina Team
                                                          will know by the end of the day
SYSTEM                      1/2/2021     8:12:00 AM                        added
                                         *It is not clear                  added
                                         why this                          added
                                         message                           added
                                         appears to



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UserName                    Date         Time           Content
Ok Gator 1                  1/2/2021     8:50 AM        You guys will e moving same way we are
                                                        What's you planned times of movement
SYSTEM                      1/2/2021     8:50 AM                         added

                            1/2/2021     10:10 AM       Roger
                            1/2/2021     10:58 AM       Copy
Ok Gator 1                  1/2/2021     10:59 AM              you flying or driving ?
                            1/2/2021     11:04 AM       I am flying
Ok Gator 1                  1/2/2021     11:04 AM       Ok perfect staying in town or out ? You have
                                                        a ride from Ap
                            1/2/2021     11:07 AM       [Posts article from mashtips.com - Feb 09,
                                                        2017 "12 Android Offline Messaging Apps to
                                                        Send Message without… The list of best
                                                        Android offline messaging Apps that can be
                                                        used to text while you are out of Wifi or
                                                        Data (internet connection."]

                                                        If cells phone comms are down, I'm
                                                        wondering how crowded/usable the
                                                        FRS/GMRS channels will be. Anyone have
                                                        experience with or consider Bluetooth based
                                                        offline apps:

                                                        https://mashtips.com/android-offline-
                                                        messaging-apps/
                            1/2/2021     11:08 AM       Apparently widely used in protests abroad,
                                                        including Hong Kong
                                                        https://www.bbc.com/news/technology-
                                                        49565587
                            1/2/2021     11:14 AM       If even organizers were to recommend such
                                                        an option to attendees, it should provide
                                                        great coverage.
                            1/2/2021     11:15 AM       Event
                            1/2/2021     11:53 AM       We have UT Oathkeepers that are bringing
                                                        their Baeofang ham handheld radios with
                                                        them
                            1/2/2021     11:55 AM       I can bring a ham handheld radio, if needed -
                                                        let me know




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UserName                  Date         Time           Content
                          1/2/2021     11:55 AM       Team/state leadership, please let me know if
                                                      you have any experience communication
                                                      folks, military/ham, etc. thinking we need a
                                                      comm relay point somewhere between the
                                                      event venues. I would like someone with
                                                      experience to be able to pick a good spot for
                                                      the relay/op post...and depending, we may
                                                      need two! Send me a private chat on Signal,
                                                      it will be at least 4 hours for me to retun the
                                                      chat
                          1/2/2021     12:00 PM       I was just looking at some of those chyna
                                                      models mentioned above. I'm a
                                                      cybersecurity guy with a (low level)
                                                      clearance that works in a palnt
                                                      manufacturing nodes and I decided against
                                                      anything tech made in Chyna for obvious
                                                      reasons. Spelling is not a mistake.
Ok Gator 1                1/2/2021     12:01 PM       [Posts article "'Your Silence is violence' |
                                                      Black Lives Matter DC calling on near…
                                                      Black Lives Matter D.C. is asking J.W.
                                                      Marriott and Holiday Inns in both Capitol Hill
                                                      and Alexandria to close when pro-Trump
                                                      demonstrators descend on the District
                                                      wusa9.com."]

                                                      https://www.wusa9.com/article/news/com
                                                      munity/equality-matters/black-lives-matter-
                                                      dc-demands-hotels-shut-down-and-condem-
                                                      pro-trump-protestors/65-5a5a4747-8f4e-
                                                      4648-980c-febccd0167be
SYSTEM                    1/2/2021     12:01 PM       Stewart Rhodes added
Stewart Rhodes            1/2/2021     12:04 PM       Added        , our national IT, and NJ OK
                                                      leader, He will be with us in DC
Stewart Rhodes            1/2/2021     12:11 PM             's number is 317-496-9968
Stewart Rhodes            1/2/2021     12:11 PM       Gator and his FL team are already set to
                                                      provide a PSD for Roger Stone
OK Gator 1                1/2/2021     12:13 PM       We have spoken
Stewart Rhodes            1/2/2021     12:14 PM       [OK Gator 1: We have spoken]
                                                      Good.
Stewart Rhodes            1/2/2021     12:16 PM       [                : Also folks, even if not true.
                                                      Looks like we are going to have a great…]
                                                      I'm working on private residences/land we
                                                      may need to use. So bring a tent too if you
                                                      have one, just in case (smart anyway, in case
                                                      of truly worst case situations).




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UserName                   Date         Time           Content
Jessica Watkins            1/2/2021     12:18 PM       I have 5 Baofengs, so I will have spares for
                                                       those without them
Stewart Rhodes             1/2/2021     12:19 PM       [Stewart Rhodes: Good]
                                                       Actually, I was trying to past that in the chat
                                                       with event organizers. [emoji]
                           1/2/2021     12:25 PM       Crystal Gateway Marriott has cheap rooms
                                                       guys, very close to DC
                           1/2/2021     12:28 PM       And has the benefit of being in VA. Not DC.
Jessica Watkins            1/2/2021     12:29 PM       We have a place in Winchester, VA we will
                                                       be at on Monday, how far from there? May
                                                       look into it.
Ok Gator 1                 1/2/2021     12:35 PM       [Posts article "Proud Boys to attend Jan 6.
                                                       DC rallies 'incognito'
                                                       Members of the far right group the Proud
                                                       Boys will attend Washington, D.C. rallies for
                                                       President Trump on Jan 6 "incognito" with
                                                       leaders of the group saying they will dress in
                                                       " all BLACK" to mimic the attire of anti-fascit
                                                       groups and counterprotesters."
                                                       thehill.com Jan 02 2021

                                                       https://thehill.com/homenews/news/53236
                                                       2-proud-boys-to-attend-jan-6-dc-rallies-
                                                       incognito

                                                         Great plan to let everyone know
                           1/2/2021     12:35 PM         There are still rooms available around the
                                                         airport
                           1/2/2021     12:40 PM         For off-line phone based text comms,
                                                         Bridgefy looks insecure. Briar is the most
                                                         secure option I've reviewed so far.
                           1/2/2021     12:57 PM         Winchester is about 75 miles from DC by car.
                                                         With I66 constructiion, getting there or to
                                                         Crystal city could take around two hours
                                                         easy.
Jessica Watkins            1/2/2021     12:56 PM         Understood, One of my guys had family
                                        *It is not clear there, so we plan on sleeping elsewhere on
                                        why this         Tuesday/Wednesday
                                        message
                                        appears to
                                        come out of
                                        time.




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UserName                    Date         Time           Content
Jessica Watkins             1/2/2021     1:40 PM        One of my guys has a HAM Operators
                                                        license, if you need an Comms Relay, he'd be
                                                        good fit. He's a veteran, but elderly so it
                                                        would be a good gig for him and his wife
                                                        who are possibly tagging along
OK Gator 1                  1/2/2021     1:40 PM        If we are using a different frequencies thatn
                                                        we did in Louisville someone needs to send
                                                        me that download for the Baofangs

Jessica Watkins             1/2/2021     1:41 PM        Ben is new to our unit, so I'd prefer keep him
                                                        off the front lines
Jessica Watkins             1/2/2021     1:43 PM        We will be using different freqs. I assume. I
                                                        can bring a laptop with the program with
                                                        me, and the data cable.
SYSTEM                      1/2/2021     1:43 PM        Stewart Rhodes added

Stewart Rhodes              1/2/2021     2:21 PM        Added                      back in
                            1/2/2021     3:08 PM        Utah members on this thread planning to
                                                        Convey out. Please Private Message me.
                            1/2/2021     3:13 PM               , this is        from Utah.
                            1/2/2021     3:14 PM        Not sure how to private message on this
                                                        platform
                            1/2/2021     3:16 PM        [            : Not sure how to private message
                                                        on this platform]
                                                        Hello,           Click on the three dots on the
                                                        upper right hand side of this screen, and
                                                        then select "Show members". Find the
                                                        member you want to message and click on
                                                        that name. Then you will see an option to
                                                        send a message.
                            1/2/2021     3:21 PM        This message was deleted.

                            1/2/2021     3:23 PM        [          :       , this is    from Utah.]
                                                        Tap his profile pic




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UserName                  Date         Time           Content
                          1/2/2021     3:41 PM        Afternoon brothers and sisters! Been dealing
                                                      with some issues at the AO as well as
                                                      everything else going on and like everyone
                                                      on here, I'm sure, have been wound tight! I,
                                                      myself, have been in deployment mode
                                                      since September and styaing away form
                                                      media as mcuh as possible wile focusing on
                                                      membership, training, meetings, and liasion
                                                      between a coupel of other groups that I
                                                      have personally worked with on PSD, Rally
                                                      security, and diaster relief/recovery! Quite a
                                                      lot for a volunteers and woudln't have it any
                                                      other way as I have been able to form
                                                      relationships all over and it's good for the
                                                      soul to know we are not alone in the quest
                                                      to preserve what our Forefathers set forth to
                                                      uphold! I have spent the past three months
                                                      refreshing my knowledge of my Cherokee,
                                                      Confederate roots as well as George
                                                      Washington himself! I hate to say it, but I
                                                      havent met a man yet that could carry the
                                                      Great CIC Washington's jock strap! I can say
                                                      we are all here on this thread as we have his
                                                      passion and .... Read More




                          1/2/2021     3:45 PM        [emoji]
OK Gator 1                1/2/2021     3:45 PM        [emoji]
                          1/2/2021     4:11 PM        [emoji]
                          1/2/2021     4:12 PM        [emoji]
Stewart Rhodes            1/2/2021     4:21 PM        [                                  :
                                                      Afternoon brothers and sisters! Been dealing
                                                      with some issues at…]
                                                      OK       glad you are back on mission. Like
                                                      we discussed on the phone, please tell
                                                      what gear you have that you will bring to
                                                      D.C.

                                                      A box of OK HAM radios, correct?
Stewart Rhodes            1/2/2021     4:22 PM        And, since       is driving from MS, let's let
                                                      members know in case one needs a ride.
                          1/2/2021     4:41 PM        I'm at Cabela's now. Any recommendations
                                                      for radios?




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UserName                  Date         Time           Content
                          1/2/2021     4:42 PM        [Ok Gator 1: [emoji]][Posts phot of polo shirt
                                                      with gator]
                                                      [Steward Rhodes: And, since        is driving
                                                      from MS, let's let members know in ca..]
                                                      Only room for one
                          1/2/2021     4:43 PM        Rubi is loaded

                          1/2/2021     5:18 PM        Just for everyon'e knoweldge, as of right
                                                      now, but likely to change at any point … all
                                                      of the various activities that I currently am
                                                      aware of are occurring right about the
                                                      Capital/SOTUS area, so everythin gor at least
                                                      most activities will be within a several block
                                                      area on both Tuesda and
                                                      Wednesday...unless we find otu different or
                                                      pissibly Whit will get some other details...we
                                                      will discuss futher at the state/team leaders
                                                      phone conference tomorrow at 8:30 PM
                                                      eastern.
                          1/2/2021     5:35 PM        [posts maps]

OK Gator 1                1/2/2021     5:43 PM        [Posts Map of DC]

                                                      1 if by land

                                                      North side of Lincoln Memorial

                                                      2 if by sea

                                                      Corner of west basin and Ohio is a water
                                                      transport landing !!
OK Gator 1                1/2/2021     5:43 PM        QRF rally points
                                                      Water of the bridges get closed
                          1/2/2021     5:45 PM        My sources DC working on procuring Boat
                                                      transport as we speak
Stewart Rhodes            1/2/2021     5:45 PM
                                                      Member #
                                                      From Nicholasville KY wants to hook up with
                                                      a larger group going to DC to support. Said
                                                      to text him at




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UserName                  Date         Time           Content
Ok Gator 1                1/2/2021     5:45 PM        [                                      : Posts
                                                      map]
                                                      All road closures are parking the areas. Open
                                                      roads will have no free parking so it is a real
                                                      hike no vehicles can be kept along route I
                                                      walked it on Google maps and not one
                                                      parking area.
Stewart Rhodes            1/2/2021     5:45 PM              or      call him
                          1/2/2021     5:49 PM        [OK Gator 1: All road closures are parking
                                                      the areas. Open roads will have no fr..]
                                                      I suggest roving vehicles then, someone
                                                      driving around form place to place at the
                                                      ready
                          1/2/2021     5:49 PM        Fantastic      !!!
                          1/2/2021     7:54 PM        [Stewart Rhodes:         or      call him]
                                                      On it
                          1/2/2021     6:17 PM        I've been seeing a lot a talk about radios/FRS
                                                      and such being been meaning to mention
                                                      that they didn't work so well during the last
                                                      two ops in DC

                                                      We did have success with the Motorola
                                                      radios that operated on cell towers
                          1/2/2021     6:18 PM         just putting that out there
                          1/2/2021     6:59 PM        Well the military controls radio signals in and
                                                      out of sensitive area and can basically jam
                                                      any signal they want…. DC might be sensitive

                          1/2/2021     7:06 PM        https://wildprotest.com/#map events and
                                                      speakers
                          1/2/2021     7:12 PM        there is a great map on this site:
                                                      https://flaglerlibertycoalition.com/call-to-
                                                      action-stop-the-
                                                      steal/?fbclid=lwAR1LJTduCnity4CRWG78DCd
                                                      DPVcodGZ_5Pwy5WrWtd5Y0xCIDIIoR-ulc

                          1/2/2021     7:21 PM        Thanks           your a treasure!!




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UserName                    Date         Time           Content
                            1/2/2021     7:29 PM        Everyone…tonight or tomorrow…let's take
                                                        some time to thank our loved ones for
                                                        putting up with us and your inability NOT to
                                                        stop from running to the sounds of battle.
                                                        Many of us are prior military and first
                                                        responders, and likely our families thought
                                                        that that was behind us, and we were just
                                                        going to ride off together into the
                                                        sunset....but here we go again. Even though
                                                        what we do is of upmost importance to our
                                                        country, hodling down the home front is also
                                                        important....let them know how important
                                                        they are! After all...they put up with us.....

Ok Gator 1                  1/2/2021     8:42 PM        [Posts screenshot of Virgina Women for
                                                        Trump] We have just picked up Stones detail
                                                        for Tuesday as well. We are gonna be rolling
                                                        in a little earlier !!
                            1/2/2021     8:43 PM        Thumbs up emoji
                            1/2/2021     9:24 PM        [Posts link to article "Caravan to Wild Protest
     …                                                  in Washington DC mailchip.mp] Out of Utah.
                                                        Email I received.
                                                        [emoji]….https://mailhi.mo/utahshootingspo
                                                        rtscouncil/caravan-to-wild-protest-in-
                            1/2/2021     10:06 PM       I have reliable word that the msging received
                                                        regarding dc being shutdown for commerce
                                                        business is NOT true. Do not let that stop
                                                        anyone from going. Carry on and march on
                                                        good Christian soliders [emojis]
Stewart Rhodes              1/2/2021     10:14 PM       [                : We did have success with the
                                                        Motorola radios that operated on...]
                                                                if you have a source for such radios,
                                                        let's get em.
Stewart Rhodes              1/2/2021     10:14 PM       [                  : Everyone…tonight or
                                                        tomorrow…let's take some time to thank
                                                        our...]
                                                        Amen brother.
                            1/2/2021     10:17 PM       [Stewart Rhodes:           if you have a source
                                                        for such radios, let's get em.]
                                                        Those radios are over $200 a piece and
                                                        requre an annual contract, just like a cell
                                                        phone…I just looked at them not too long
                                                        ago.




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UserName                   Date         Time           Content
                           1/2/2021     10:24 PM       May I suggest challenge and signs for groups
                                                       who meet along the way so we know who
                                                       the friendlies are. In case comms prove
                                                       difficult. Maybe a couple sets if needed for
                                                       change up.
                           1/2/2021     10:24 PM       Thatvis for day of.
                           1/2/2021     10:24 PM       Was just thinking of that a unite ago
                           1/2/2021     10:25 PM       *minute
                           1/2/2021     10:31 PM       Motorola Wave 100 Radio

                                                       https://shop.motorolasolutions.com/wave-
                                                       tlk-100-two-way-radio/product/WaveRadio

Ok Gator 1                 1/2/2021     10:33 PM       We go with what got us here ! We do need
                                                       to have some comms guys moving through
                                                       the 50,000 path keepers coming!! (according
                                                       to SPLC). [emoji]
Ok Gator 1                 1/2/2021     10:34 PM       We need to all have comms set ! Ohio Militia
                                                       said they could help with that if we get them
                                                       in a location for people to come to get
                                                       programmed.
                           1/2/2021     10:47 PM       Click on this US map on DC and the
                                                       surrounding areas to find out who ANTIFA is
                                                       in the area. Also can find out in your own
                                                       state as well
                                                       https://antifawatch.net/Map?fbclid=lwAR2u
                           1/2/2021     11:55 PM       lqmjtoS4Vmxdw-
                                                       Signs  and Co signs are a must.
                           1/3/2021     12:08 AM       From a post on gab. Wouldn't hurt to
                                                       confirm reservations. "Just checked my hotel
                                                       registration online for DC and my hotel room
                                                       was cancelled. When I called I was told that
                                                       "the system" cancelled it. She gladly rebooks
                                                       my room but wondering if that’s a thing???'

OK Gator 1                 1/3/2021     12:18 AM       We got confirmation today all good
                           1/3/2021     12:27 AM       [       : Click on this US map on DC and the
                                                       surrounding areas]
                                                       Nice!
Jessica Watkins            1/3/2021     12:51 AM       [Posts screenshot "Here is the direct
                                                       number for Comfort Inn Ballston/Arlington 1-
                                                       571-397-3955 I strongly recommed you guys
                                                       get one or two rooms for a night or two.
                                                       Arrive 5th, depart 7th will work"]
                                                       I'm booked here
Jessica Watkins            1/3/2021     12:51 AM       Booked and paid. They still have openings




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UserName                   Date         Time           Content
Jessica Watkins            1/3/2021     12:53 AM       Easy acces to the Metro
OK Gator 1                 1/3/2021     12:58 AM       [Jessica Watkins: I'm booked here]
                                                       We have rooms there and in the city
                           1/3/2021     12:59 AM       Have we offered Lin Wood a security detail?
                                                       He and family are under threat.
OK Gator 1                 1/3/2021     1:00 AM        Hey Ohio can you guys help with our Psd on
                                                       Tuesday. We won't have full team yet. We
                                                       have 6-8 and we have Stone. Wednesday we
                                                       have 20+ sp we are good. But Tuesday want
                                                       in the original Op we are adjusting in the fly

Jessica Watkins            1/3/2021     1:03 AM        Roger. We have 2 of us to offer. Both
                                                       Oathkeeper vetted and patched.
Ok Gator 1                 1/3/2021     1:06 AM        Will advise same RP as discussed before.
                                                       Tuesday OK shirts and tan combat or jeans.
                                                       OK stuff all the way ! Wedneday we will be
                                                       full Battle Rattle
Jessica Watkins            1/3/2021     1:08 AM         Aye. Understood.
Jessica Watkins            1/3/2021     1:11 AM        Im sure we will work out details on location.
                                                       I am bringing paper maps for teams to mark
                                                       locations for key areas.
Jessica Watkins            1/3/2021     1:12 AM        How many copies would you want to
                                                       disseminate to your guys?
Stewart Rhodes             1/3/2021     1:12 AM        [        - AL State     : Those radios are
                                                       over $200 a piece and requre an annual
                                                       contract, ju…]
                                                       We can get 10. For team leaders. If they
                                                       work best, and we can get them in time, let's
                                                       do it.
Stewart Rhodes             1/3/2021     1:14 AM        [         : have we offered Lin Wood a
                                                       security detail? He and famil are …]
                                                       Whoever can make the offer, go for it.
OK Gator 1                 1/3/2021     1:14 AM        Just spoke to Stone they moved him back to
                                                       3:30 Wednesday. We are picking him up
                                                       Tuesday at 1 pm
Ok Gator 1                 1/3/2021     1:16 AM        [Jessica Watkins: How many copies would
                                                       you want to disseminate to your guys?]
                                                       3 for FL
Jessica Watkins            1/3/2021     1:18 AM        [OK Gator 1: 3 for FL]
                                                       Roger. Any other teams want copies?
Stewart Rhodes             1/3/2021     1:20 AM        [Jessica Watkins: Roger. Any other teams
                                                       want copies?]
                                                       Please make enough for all team leaders and
                                                       ATLs. I can reimburse your costs. Laminate
                                                       them if you can. Thanks




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UserName                   Date         Time           Content
Stewart Rhodes             1/3/2021     1:21 AM        And for all PSDs. Err on the side of too many.
                                                       [emojis].
Ok Gator 1                 1/3/2021     1:22 AM        More than enough is almost enough !!!
Jessica Watkins            1/3/2021     1:29 AM        Laminated will be a challenge, but I will try. I
                                                       can at least provide ziplock baggies for
                                                       protection [emoji]
Stewart Rhodes             1/3/2021     1:30 AM        [Jessica Watkins: Laminated will be a
                                                       challenge, but I will try. I can at least provide
                                                       ziplo…]
                                                       Any kinkos can do it. We've done it before
                                                       on ops. Works great
Jessica Watkins            1/3/2021     1:31 AM        [Stewart Rhodes: Any kinkos can do it. We've
                                                       done it before on ops. Works great]
                                                       I'll try OfficeMax. No kinkos around here
                                                       unfortunately
Stewart Rhodes             1/3/2021     1:32 AM        [Jessica Watkins: I'll try OfficeMax. No
                                                       kinkos around here unfortunately]
                                                       Anything you can do will be much
                                                       appreciated. Thank you.
Jessica Watkins            1/3/2021     1:32 AM        Yes Sir!
Jessica Watkins            1/3/2021     1:38 AM        What would a ballpark estimate be for maps
                                                       needed? 30?
Stewart Rhodes             1/3/2021     1:40 AM        [Jessica Watkins: What would a ballpark
                                                       estimate be for maps needed? 30?]
                                                       Can you do 50? Would be best for each four
                                                       man team to have one. At least. If no two
                                                       per fire team
Jessica Watkins            1/3/2021     1:40 AM        Understood. Will do.
                           1/3/2021     3:24 AM        [           : Have we offered Lin Wood a
                                                       security detail? He and family are…]
                                                       It would be best if this was coordinated
                                                       through Stewart and          M. I can contribute
                                                       after hours this week if needed. I could not
                                                       get time off this week approved
                                                       unfortunately.
                           1/3/2021     5:23 AM        [Posts Map]
                           1/3/2021     5:54 AM                is the one in charge of setting up the
                                                       PSDs and coordinating…




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UserName                 Date         Time           Content
                         1/3/2021     6:19 AM        One thing with the radios for this event is
                                                     the fact that unless we find out different
                                                     from        about PSD details that maybe not
                                                     known. The vast majority of the activities are
                                                     going to be in a fairly open two block area
                                                     around the Capital SCOTUS and Senate office
                                                     buildings. Mostly line of sight, but may have
                                                     some blind spots if they are marching
                                                     around those buildings. Talking today with
                                                     one of our folks who is a ham operator
                                                     hopefully he can advise us if setting up a
                                                     possible relay point, and where, so that if
                                                     needed it could copy and relay those that
                                                     can't catch the transmission. Going to take
                                                     advice he can give us...but we hopefully with
                                                     the terrain we are going to be on this time, it
                                                     will not be an issue as long as we can have a
                                                     clear channel.

             .           1/3/2021     7:10 AM        [Posts screenshot of weather forecast for
                                                     Washington Tuesday - Saturday]
                         1/3/2021     7:12 AM        Perfect!
                         1/3/2021     8:58 AM        One thing, especially for team/sate leaders.
                                                     You might want to go on a map program,
                                                     and familiarize yourself with the aerial view
                                                     of the area….maybe save to phone or print
                                                     out…that knowledge could be very useful!!

Ok Gator 1               1/3/2021     9:03 AM        I know someone here said they weren't that
                                                     familiar with signal. If you tap any picture
                                                     (like the weather picture above) you can
                                                     then quickly swipe back through all pictures
                                                     a lot of maps have been posted and I'm sure
                                                     more to come !
                         1/3/2021     9:06 AM        Also, those with knowledge of the DC area,
                                                     especially anyone local…what woul dbe a
                                                     possible good parking area on the
                                                     VA/Arlington side as close as possible, when
                                                     a large number of us could be parked and
                                                     shuttled if we needed to do that….we would
                                                     need a safe place as possible and of course
                                                     one where it would be possible to park all
                                                     day and evening with no issues. Paid would
                                                     be OK if it came to that....




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UserName                Date         Time           Content
                        1/3/2021     9:13 AM        [               : Also those with knowledge
                                                    of the DC area, especially anyone local….]
                                                    Cystal city would be good area to park and
                                                    shuttle.
                        1/3/2021     9:14 AM        [               : Also those with knowledge
                                                    of the DC area, especially anyone local….]
                                                    My staging aread       is just 1 block North of
                                                    the Vehicle blockage..Paid Parking Deck

                        1/3/2021     9:16 AM        Great, when you get in please let us know of
                                                    the conditions and how much room they
                                                    have, limits on sizes of vehicles, etc….that is
                                                    another option.
                        1/3/2021     9:16 AM        [                : Great, when you get in
                                                    please let us know of the conditions and
                                                    ho...] 10-4
                        1/3/2021     9:28 AM        [Posts screenshot]
                        1/3/2021     9:30 AM        [Photo] These are parking areas in Crystal
                                                    city.
                        1/3/2021     9:37 AM        Thanks Rook, for those not comfortable
                                                    parking in DC. Rook is familiar with the area
                                                    and said that Crystal City would be a good
                                                    location. Secure paid parking areas noted
                                                    above, and a moderate 40 walk to the
                                                    capital…or maybe 10-15 minute drive at
                                                    most….hoever that is normal times. With the
                                                    expected crowds, it may be faster to park
                                                    here and walk in than drive into the city ????
                                                    If you have certain items if may be a good
                                                    choice....
SYSTEM                  1/3/2021     9:37 AM                         -     added
           -            1/3/2021     10:26 AM       VaOK. Local FD to DC vet




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UserName                Date         Time           Content
                        1/3/2021     10:29 AM       [Posts photo of map] Ok everyone, got some
                                                    updates on venues for the 5th and 6th. See
                                                    attached, may and liekly will change
                                                    again…note that the distance between area
                                                    #1 between the capital/SCOTUS and
                                                    Freedom Plaza area #3 is approximately 1.5
                                                    miles! The pinks ares are ones I currently
                                                    know of that will be having events. Just note
                                                    that with the President Speaking on Tuesday
                                                    at the eclipse, that will be a main focus for
                                                    The crowds and liekly BLM/ANTIFA...not
                                                    much we can do on the grounds intself as
                                                    they will likely be checking folks in...likely
                                                    walking routes in green...last few times we
                                                    had people walking between them all day....


                        1/3/2021     10:30 AM       We will discuss later tonight with the
                                                    state/team leaders on the phone
                                                    conference.
                        1/3/2021     11:11 AM       Many seem to believe this will be a peaceful
                                                    event. That may be our intent but it's not
                                                    shared by the left. Seeing lots of videos
                                                    today of anti-patriot groups implying they
                                                    are coming to DC armed to take out
                                                    Trumpers FYI.
                        1/3/2021     11:21 AM       We know what the risks are…the reward
                                                    could be getting our country
                                                    back….Remember fellas its less about Trump
                                                    than it is about our Republic.
                        1/3/2021     11:25 AM       We know the rewards too
                        1/3/2021     11:25 AM       [       : We know the rewards too] [emojis]

                        1/3/2021     11:41 AM       Question…lasers. We had seen in previous
    …                                               protests lasers were deployed by the bad
                                                    actors then resulted in discussions on
                                                    protective Eyewear. Last I heard there was
                                                    no protective eye protection for these types
                                                    of lasers. I needed updated info ftom SMEs
                                                    in this area to pass in to my folks going.
                                                    Something to consider since with THIS rally,
                                                    we can expect nearly anything. An ounce of
                                                    prevention is worth a pound of cure.

                        1/3/2021     11:42 AM       *onto*
    …


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UserName                Date         Time           Content
                        1/3/2021     11:45 AM       Not sure if anyone is interested. Found some
                                                    Laser protection film for use on googles or
                                                    visors, might even work on glasses. Comes in
                                                    a strip 1x9 inch and is removable and can
                                                    then be put on another surface! $25 and
                                                    then shippin is another $17….but a LOT
                                                    cheaper than other aleternatives and will
                                                    protect your eyes from strong lasers. Put
                                                    mine on set of ballistic goggles and as per
                                                    the instructions, the strip is just at the upper
                                                    edge of my vision, just have to lower my
                                                    head to blacok the laser and can still see!

                        1/3/2021     11:45 AM       [                                  Leader
                                                    Intel: Question…lasers. We had seen in
                                                    previous protests lasers were dep…] There is
                                                    protective eye wear. Kemper Medical sells
                                                    several kinds. You want to get one that
                                                    filters green & blue lasers. Those are the one
                                                    that do the most damage to the eyes. You
                                                    can get one that also filters out red, but red
                                                    is less harmful, and those lenses are bad for
                                                    nighttime, where as the green/blue filtered
                                                    glasses can be used in low-light conditions.
                                                    Mine cost $110.00. Amazon also sells
                                                    goggles that do the same things for $65, but
                                                    they come from China and will take a month
                                                    or two to arrive.
                        1/3/2021     11:46 AM       [Posts photo of person in goggles]
                        1/3/2021     11:47 AM       And they are absolutely good protection for
    …                                               those specific laaers that those erjits used up
                                                    in Portland?
                        1/3/2021     11:47 AM       *lasers*
    …
                        1/3/2021     11:48 AM       [               : Photo]
                                                    http://www.kenteklaserstore.com
                        1/3/2021     11:49 AM       This message was deleted.
                        1/3/2021     11:50 AM       [               :
                                                    http://www.kenteklaserstore.com] Got the
                                                    strip for my goggles in 4 days….good for all
                                                    Lasers as per website
                        1/3/2021     12:02 PM       [Posts photo] Please note that Laser glasses
                                                    are not one beam stops all!




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UserName                 Date         Time           Content
                         1/3/2021     12:02 PM       [Posts article] Laser Stike Eyewear | Ohillips
                                                     Safety | Occupational Safety Products Philips
                                                     Safety Products has been protecting eyes for
                                                     over 110 years and is now pleased to offer
                                                     Laser Strike Eyewear, developed for US
                                                     Military pilots phillips.safety.com

                                                     https://www.phillips-safety.com//laser-
                                                     strike-eyewear/

                         1/3/2021     12:03 PM       This is why they recommend for law
                                                     enforcement
                         1/3/2021     12:04 PM       What..
                         1/3/2021     12:13 PM       At the last event I had one laminated map,
                                                     and another folded, in a zip-lock sandwhich
                                                     bag. I ended up using the latter more, as it
                                                     could easily go in my pocket. Another
                                                     advantage was thatit could be easily marked
                                                     up as needed.
                         1/3/2021     12:14 PM       Thanks for the information about protective
     …                                               eyewear, Have passed this info on.

                         1/3/2021     12:15 PM       Batons are illegal but blinding you is ok?
                                                     Crazy…
                         1/3/2021     12:16 PM       Welcome to Utopia….
OK Gator 1               1/3/2021     12:16 PM       If the flag pole as a 6"spike on top think
                                                     that's an issue? Asking for a friend.
                         1/3/2021     12:17 PM       https://printable-map.com/wp-
                                                     content/uploads/2019/05/washington-d-c-
                                                     downtown-map-wth-reagrd-to-printable-
                                                     map-of-downtown-dc.jpg
                         1/3/2021     12:17 PM       Only for antifa
                         1/3/2021     12:17 PM       Gator are qualifying a bayonet duct taped to
                                                     the pole as a "spike".
Ok Gator 1               1/3/2021     12:18 PM       No sir it's built in (I heard)
                         1/3/2021     12:19 PM       [thumsb up emoji]
Ok Gator 1               1/3/2021     12:19 PM       [thumbs up emoji]
                         1/3/2021     12:20 PM       That's the map I used. It printed well and
                                                     was pretty good, but various parks and
                                                     plazas are not labeled.
                         1/3/2021     12:21 PM       [              : That's the map I used. It
                                                     printed well and was pretty good, but vari..]
                                                     Lol great minds I have that one laminated in
                                                     my bag




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UserName                Date         Time           Content
                        1/3/2021     12:21 PM       A designated baton is illegal but a gorilla glue
                                                    filled flexible 1/2 pvc tube is completely
                                                    legal…helps keep my backpack stiff

                        1/3/2021     12:22 PM       [                   :A designated baton is
                                                    illegal but a gorilla glue filled flexible 1/2 pvc
                                                    t…] A hefty mag lite works too
                        1/3/2021     12:22 PM       Of course but that’s for big jobs
                        1/3/2021     12:21 PM       Will there be a TOC set up for this particular
    …                                               mission? Just curious…....
                        1/3/2021     12:26 PM       Great question
                        1/3/2021     12:27 PM       Laminated maps are still good to have in
                                                    packs as backup. The greater bulk is less
                                                    convenient, but also harder to misplace or
                                                    get ruined.
                        1/3/2021     12:20 PM       What is the coordination plan to get these
    …                                               maps so I can pass onto the Team from my
                                                    area gion. I missed that 'memo' if it was put
                                                    out there. Thanks
                        1/3/2021     12:30 PM       [                                      Leader
                                                    Intel: Will there be a TOC set up for this
                                                    particular mission? Just curious……] I will
                                                    likely be set up near the main event each
                                                    day…will have to feel that out as we find out
                                                    the PSD details from            . And of course it
                                                    will totally depend on crowd size as to
                                                    placement. While it needs to be close the
                                                    main event, I don't want it to be within the
                                                    crowd....
                        1/3/2021     12:31 PM       [                 : I will likely be set up near
    …                                               the main event each day…will have to fe…]
                                                    Copy. Will that be that muster point as well
                                                    to get the briefings and all else - I am
                                                    relaying this info to our UT/MT guys coming.

                        1/3/2021     12:33 PM       Waiting to hear back from someone abaout
                                                    being the check in officer who will get
                                                    everyone checked and give out the
                                                    identifiers.... once I know we can discuss
                                                    further...
                        1/3/2021     12:34 PM       [                 : Waiting to hear back from
                                                    someone about being the check i…] Tyvm.
                                                    Appreciate that.
                        1/3/2021     12:34 PM       No problem




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UserName                Date         Time           Content
                        1/3/2021     12:35 PM       The last time we had a point set up, thought
                                                    it was good, but had to move as the crowd
                                                    kept expanding very early….
                        1/3/2021     12:36 PM       From an email I received from someone
                                                    traveling up: "the March to Save America
                                                    rally's main venue is on the 50-acre Ellipse
                                                    just south of the White House. As we know,
                                                    this merges into the Mall around the
                                                    Washington Monument, and heads down to
                                                    the Capitol, the scene of the "action."
                                                    Getting "tickets" via the website for this
                                                    event is, to me, a fool's errand. The fenced-
                                                    area at the Ellipse will be totally full many
                                                    hours before 11 AM. In fact, people will be
                                                    camped out all night just to get in line to get
                                                    itn the Ellipse. All of these people, for all of
                                                    these hours, will utterly overwhelm any
                                                    sanitary plan. (And if the Metro is shut down
                                                    and/or restricted, all bets are off for what
                                                    will happen.)

                                                    This Jan 6 event will be many times bigger
                                                    than the Valdosta GA Trump rally that I
                                                    attended, and that rally totally overwhelmed
                                                    the portapotties, as in overflowing. This
                                                    event will be orders of magnitude bigger, So
                                                    I am not going to sign up for a nominal ticket
                                                    that will give the bearer no act... Read More

                        1/3/2021     12:40 PM       This is where the President will speak from
                                                    on Tuesday the 5th only as far as I see from
                                                    the website…might have a few more
                                                    speakers but most of those iwl lbe a
                                                    Freedom Plaza or between the
                                                    Capital/SCOTUS
                        1/3/2021     12:50 PM       Given the uncertainties around moving,
                                                    maybe it would be preferable, if possible, to
                                                    have teams stationed in specific areas, and
                                                    minimize individuals' travel deep into
                                                    crowded areas or from site to site. For those
                                                    focused on protecting demostrators, the
                                                    primary threat to manage will presumably
                                                    be along the out edges of the crowds
                                                    anywya. So maybe having teams encircle the
                                                    entire area at strtegic points.




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UserName                  Date         Time           Content
                          1/3/2021     12:53 PM       I am local (Alexandria), and can print and
                                                      laminate and/or bag some maps if that
                                                      helps.
                          1/3/2021     12:53 PM       Well that person coordinating that area is
                                                             …once        has all the personnel
                                                      needed for the close in PSD,         will be
                                                      coordinating those teams.
Jessica Watkins           1/3/2021     12:53 PM       I am also bringing laiminated maps
                          1/3/2021     12:55 PM       Great! Can you please post the map file you
                                                      are printing Jessica? Thanks!
                          1/3/2021     12:59 PM       [Jessica Watkins: I am also bringing
                                                      laminated maps] Please post any maps in
                                                      this group
                          1/3/2021     1:07 PM        Lots of maps already posted also folks, scroll
                                                      back up….
                          1/3/2021     1:11 PM        OK State/team leader meeting Sun Jan 3,
                                                      2021 8:30 PM - 9:30 PM (EST)
                                                      Please join my meeting from your computer,
                                                      tablet or smartphone.

                                                      https://global.gotomeeting.com/join/47805
                                                      8517

                                                      You can also dial in using your phone. (For
                                                      supported devices, tap a one-touch number
                                                      below to join instantly.)

                                                      United States: +1(571)371-
                                                      -One-touch: tel:
                                                      +                478058517#

                                                      Access Code: 478-058-

                                                      New to GoToMeeting? Get the app now and
                                                      be ready when your first meeting starts:
                                                      https://global.gotomeeting.com/install/4780


                          1/3/2021     1:20 PM        [photo of package of headlamps] Just an
                                                      idea but I found that my head lamp light
                                                      with elastic bands fit over my helmet really
                                                      well. A great hands free option.




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UserName                  Date         Time           Content
                          1/3/2021     1:26 PM        [sends link to map] Great map here, I was
                                                      able to print a high quality vesion by
                                                      selecting the TIFF option in the box under
                                                      the image, then choosing the High Quality
                                                      option when printing.

                                                      Https://www.loc.gov/resource/g3851g.ct00
                                                      4745/?r=-0.117.0.025.1.1.364.0
OK Gator 1                1/3/2021     2:35 PM        Ammo situation: Are we bringing or are we
                                                      set at ARF? I mean I'm always gonna have a
                                                      couple hundred

                                                      But if SHTF we got ample availability
                          1/3/2021     2:47 PM        For everyone heading into the city, I know
                                                      some of you aren't going to like what I'm
                                                      about to say , but you need to keep it in
                                                      mind. Local law enforcement is not our
                                                      friends. A lot of the good ones that believe in
                                                      the oah they took have quit. The ones who
                                                      took there place only care about a paycheck,
                                                      and iwll do as they are told. Just keep that in
                                                      mind when deciding what to carry around
                                                      the city. Personally, I carried an axe handle
                                                      with a small flag attached to it.

                          1/3/2021     2:49 PM        [thumbs up emoji]
Jessica Watkins           1/3/2021     3:05 PM        [         : For everyone heading into the city,
                                                      I know some of you aren't going to ..] DC
                                                      Metro PD are not out friends, no. Capitol Hill
                                                      PD are awesome though!
                          1/3/2021     3:26 PM        https://amazon.com/gp/aw/d/B088Q74CBD
                                                      ?psc=1&ref=ppx_pop_mob_b_asin_title
                          1/3/2021     3:27 PM        I got these didn’t think I would get them in
                                                      time …. They stop red and blue but not
                                                      green so … I get two out of three and red is
                                                      pretty popular…
OK Gator 1                1/3/2021     3:32 PM        In a pinch [image of mirror]
                          1/3/2021     3:36 PM        [emoji], here I thought you were just using it
                                                      to make sure your hair was in place….
OK Gator 1                1/3/2021     3:58 PM        [                 : [emoji], here I thought you
                                                      were just using it to make sure your hair was
                                                      in place….] I don’t have much hair anymore
                                                      [emoji]
OK Gator 1                1/3/2021     3:59 PM        Got more on my chin than my head
                          1/3/2021     4:01 PM        Same here. Gravity is the culprit I'm sure
                          1/3/2021     4:02 PM        Right there with ya brother!!


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UserName                Date         Time           Content
                        1/3/2021     4:23 PM        Shared to me by a contact in Virginia

                                                    SheNerd the             writes she will be
                                                    traveling to Washington DC on Jan. 6th, and
                                                    she has this to day.

                                                    I'm a native to the area and I would like to
                                                    share with you what I will be doing this time
                                                    and what I have done for the last two
                                                    rallies...

                                                    01- I will be taking the Metro from
                                                    Maryland. I strongly recommend taking the
                                                    Metro from either Maryland or Virginia
                                                    because I expect roads to be closed 5 blocks
                                                    around the event site. Since it is midweek, I
                                                    also do not trust the garages to be open to
                                                    the public.

                                                    02 - If taking the Metro, I recommend
                                                    coming from the Virginia side over the
                                                    Maryland side. Virginias are significantly
                                                    nicer and there will be more rally attendees
                                                    coming from that direction.

                                                    03 - If taking the Metro, plan on purchasing a
                                                    pass from machines that are in questioinable
                                                    working order. If you can do this ahead of
                                                    t            ill dave yourself time and
                        1/3/2021     4:36 PM        [             : Shared to me by a contact in
                                                    Virginia…] There are concerns here about
                                                    whether the metro will be even working or
                                                    not. It is my preferred method. I prefer
                                                    Vienna station as it has a decent parking
                                                    area in a decent neighborhood.

                                                    I have never had any problems with the
                                                    metro and will day it has been packed with
                                                    Trump supporters when coming from
                                                    Virginia.
           -            1/3/2021     4:38 PM        [Shares link to WMATA timetables
                                                    wmata.com]
                                                    https://www.wmata.com/schedules/timeta
                                                    bles/index.cfm




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UserName                 Date         Time           Content
             -           1/3/2021     4:40 PM        Being a work day, I doubt there will be an
                                                     disruption in service. What sealawyer is
                                                     saying is accurate and there's been a rumpor
                                                     each event that the metro would be closed
                                                     for various suspicious reason which were
                                                     just rumors.
                         1/3/2021     4:42 PM        Yes, the Mayor had tried everytime. I think
                                                     during the last one the earliest he could
                                                     arrange a weekend shutdown. Was starting
                                                     in Marhc. DC Mayor has not real authority
                                                     over the Metro and they wouldn't work with
                                                     him for om the fly request. Nonetheless, we
                                                     do keep am ear to the ground on it.

                         1/3/2021     4:50 PM        Yea, shutting it down would mean no service
                                                     for the entire area and that might be a BIG
                                                     issue….
                         1/3/2021     4:53 PM        https://fb.watch/2NZb3Cq504 Details are
                                                     emerging
Ok Gator 1               1/3/2021     5:00 PM             or       can you call me
                         1/3/2021     5:01 PM        [Posts Facebook Link]
                                                     https://www.facebook.com/DonaldTrump/v
                                                     ideos/159757212207901/
Ok Gator 1               1/3/2021     5:01 PM        ASAP




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       Case 1:22-cr-00015-APM   Document 102-1    Filed 04/18/22         Page 111 of 337


UserName                  Date         Time           Content
                          1/3/2021                    OK State/team leader meeting
                                                      Sun, Jan 3, 2021 8:30 PM - 9:30 PM (EST)

                                                      Please joing my meeting from your
                                                      computer, tablet or smartphone.

                                                      https://global.gotomeeting.com/join/47805
                                                      8517

                                                      You can also dial in using your phone. (For
                                                      supported devices, tap a one-touch number
                                                      below to join instantly.)

                                                      United States: +1 (571) 317-

                                                      -One-touch: tel:
                                                      =

                                                      Access Code: 478-058-

                                                      New to GoToMeeting? Get the app now and
                                                      be ready when your first meeting starts:
                                                      https://global.gotomeeting.com/install/4780
                                                      58517

Jessica Watkins           1/3/2021     6:01 PM        Hey folks, I'm signing off for tonight. I have
                                                      50 maps printed and protected. If you need
                                                      me, Ill respond first thing in the morning.
                                                      Have a great night! See you in the field!

                          1/3/2021     6:01 PM        [Jessica Watkins: Hey folks, I'm signing off
                                                      for tonight. I have 50 maps printed a..]
                                                      [thumbs up emoji]
OK Gator 1                1/3/2021     6:02 PM        [Jessica Watkins: Hey folks, I'm signing off
                                                      for tonight. I have 50 maps printed a..]

                                                      You in call and am still available with Gator
                                                      team Florida
SYSTEM                    1/3/2021     6:02 PM        OK Gator 1 added Kenneth Harrelson
Ok Gator 1                1/3/2021     6:22 PM        Added Gator 6 Ground Team lead in Florida.
                                                      He needs to be in the call as well so I will
                                                      repost.




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UserName                 Date         Time           Content
Ok Gator 1               1/3/2021     6:22 PM        OK State/team leader meeting
                                                     Sun, Jan 3, 2021 8:30 PM - 9:30 PM (EST)

                                                     Please joing my meeting from your
                                                     computer, tablet or smartphone.

                                                     https://global.gotomeeting.com/join/
                                                     8517

                                                     You can also dial in using your phone. (For
                                                     supported devices, tap a one-touch number
                                                     below to join instantly.)

                                                     United States: +1 (571) 317-

                                                     -One-touch: tel:
                                                     =

                                                     Access Code: 478-058-

                                                     New to GoToMeeting? Get the app now and
                                                     be ready when your first meeting starts:
                                                     https://global.gotomeeting.com/install/4780
                                                     58517

                         1/3/2021     6:22 PM        [thumbs up emoji]
                         1/3/2021     6:39 PM        Just for everyone's knowledge, if you can't
                                                     contact          and have an immediate issue
                                                     concerning PSD details, the second on that
                                                     will be
                         1/3/2021     7:07 PM        ALERT for everyone: we have a few HAM
                                                     operators that are attempting to set up an
                                                     efficient radio system for us with HAM gear
                                                     to supplement the FRS radio between
                                                     venues. Does anyone else have anyone that
                                                     could assist??? If you, please contact
                                                                , he is on this chat and can infor you
                                                     better on what he is looking for!
                         1/3/2021     7:09 PM         Radio Need: several more ham operators;
                                                     with handheld transceiver (2m &70cm/VHF
                                                     & UHF dual band is best); with all-day
                                                     battery power gear
Ok Gator 1               1/3/2021     7:56 PM              I may be late I have be on the stop the
                                                     steal call




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UserName                  Date         Time           Content
                          1/3/2021     8:28 PM        [OK Gator 1:      I may be late I have be on
                                                      the stop the steal call]
                                                      [thumbs up emoji]
                          1/3/2021     8:35 PM        [             : Radio Need: several more
                                                      ham operators; with handheld transc….]
                                                      Bob contact Jeremy Shaw UT Oathkeepers h
                                                      is my State Comms guy for assistance!
                     CO   1/3/2021     8:39 PM        [Screenshot of gotomeeting]
                                                      Having phone issues
                                                      Is the new mission of OK's to be a voluntary
                                                      PSD agency? Are the principals paying or
                                                      making donations? When did this happen?
                          1/3/2021     8:50 PM        So many questions now.

                                                      [Emoji] We have done that for years. We are
                                                      protected people against bad guys for years
                                                      way back in 2016 2017 2018 2019 and then
                                                      this year over a dozen trump rallies and
                                                      many many many other events over the
Stewart Rhodes            1/3/2021     9:11 PM        years os yes that is part of a mission.
                          1/3/2021     9:13 PM        Interesting. Thanks for the clarification.
Stewart Rhodes            1/3/2021     10:03 PM       Crap signal. Need an op order
                          1/3/2021     10:32 PM       [Thumbs up emoji]

                                                      Who do I need to send vetting paper to . We
OK Gator 1                1/3/2021     10:40 PM       have a member his sister is Leo and coming
                                                      I have her vetting stuff in my proton where
OK Gator 1                1/3/2021     10:41 PM       do I sent it
                                                      [Shared photo of
                          1/3/2021     11:00 PM       home address]
Jessica Watkins           1/4/2021     12:16 AM       Roger. [Thumbs up emoji]
                                                      Current reporting from a handful of friends
                                                      of mine (citizens), all ATM's are and have
                                                      been down for a few hours in Meridian,
                                                      MS….I went and checked a neighboring
                                                      country with same results….WalMart Gas
                                                      Stations (2), also closed 3.5 hours
                          1/4/2021     3:03 AM        earlier….FYI

                                                      All team leads, dm your rosters that ARE
                          1/4/2021     3:06 AM        going and dates of participating to me please

                          1/4/2021     3:08 AM        This message was deleted.
                          1/4/2021     3:09 AM        Can't open file

                          1/4/2021     3:09 AM        Standby


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UserName                 Date         Time           Content
                                                     [Sent 38.2 kB file titled signal-2021-01-04-
                         1/4/2021     3:10 AM        021054.pdf]
                         1/4/2021     3:11 AM        Copy ROI
                                                     [Sent article, URL:
                                                     https://www.linkedin.com/posts/sherry-m-
                                                     b4015140_text-sts-to-86184-to-receive-
                                                     these-updates-activity-
                         1/4/2021     3:29 AM        6751736169236611072-2C4W]
                                                     Is there any teams that could possibly meet
                                                     with a group of our locals that could escort
                                                     them to and from event area if I get the
                                                     location where they are parking ? We have 4
                                                     busses full and a lot of elderly and females
                         1/4/2021     10:22 AM       by themselves
                                                     Give me a location and I may be able to get
                         1/4/2021     10:24 AM       them an escort
                                                     Anyone confirmed patches will be on hand
OK Gator 1               1/4/2021     10:30 AM       for OK members
                                                     [Shared photo of American Flag pins] I have
                                                     about 50 of these we will use for close range
                                                     identifiers for our detail if that is ok. Collar
OK Gator 1               1/4/2021     10:51 AM       placement s
                                                     [Shared photo of hurrican on weather map]
                                                     Sure looks like a BIG STORM is headed in to
                                                     our East Coast and will COVER the entire
                                                     country VERY soon. Be prepared to "weather
                                                     the storm" Patriots (multiple emojis)
                         1/4/2021     10:54 AM       #WEARETHESTORM

                                                     https://twitter.com/chief_sc_nation/status/
                                                     1345889105624891393?s=12 [Titled: Seneca-
                                                     Cayuga Nation on Twitter, "Caravan out of
OK Gator 1               1/4/2021     11:00 AM       Eastern Washington stat to DC today"]




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UserName                    Date         Time           Content

                                                        (American Flag Emoji) We The People won't
                                                        be needing military involvement. We have
                                                        enough Red-blooded American Patriots
                                                        ready to stand up and fight for our
                                                        Constituional Rights and Election Integrity!
                                                        Don't worry yourselves traitors!
                                                        #WeAreTheStorm as you are about to
                                                        witness!! (multiple emojis) Sens Ted Cruz (R-
                                                        TX), Marsha Blackburn (R-TN), Mike Braun (R-
                                                        IN), Steve Daines (R-MT), John Kennedy (R-
                                                        LA), James Lankford (R-OK) and senators-
                                                        elect Cynthia Lummis (R-WY), Roger
                                                        Marshall (R-KS), Bill Hagerty (R-TN), and
                                                        Tommy Tuberville (R-AL) announced they
                                                        will object to the Jan. 6 electoral vote
                                                        certification and are calling for a 10-day
                                                        electoral commission to audit the election
                                                        results.
                                                        https://americanmilitarynews.com/2021/01
                                                        /all-10-living-fmr-secdefs-involving-military-
                                                        in-election-disputes-would-be-dangerous-
                                                        unlawful-and-
                                                        unconstitutional/?utm_source=fbchat&utm_
                            1/4/2021     11:15 AM       campaign=alt&utm_medium=facebook?%20

                            1/4/2021     11:27 AM       [Shared multiple photos]
                            1/4/2021     11:28 AM       I will work on it asap , thanks
                            1/4/2021     11:29 AM       No problem

                                                        [Shared multiple screenshots from twitter]
                                                        FYI….. Antifa coming to play in DC…. We've
                            1/4/2021     11:41 AM       got them trying to threaten DC hotels n shit.

                                                        Thanks,         I have been on their websites
                                                        and have not been able to find any chatter
                                                        to get Intel on them, to see what their plans
                                                        are for DC, etc. And since I am not on
                                                        Twitter and FB - Frustrated in that want to
                                                        keep up on what is going on with them to let
Leader                      1/4/2021     11:51 AM       our Teams know as much as I can.........
                                                        I have some other intel groups that share
                                                        with me and I cross reference with what y'all
                                                        put in here and if it's something not in here,
                            1/4/2021     12:12 PM       I'll share (fist emojis)




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UserName                Date         Time           Content
                                                    The buses are scheduled to unload at the
                        1/4/2021     12:28 PM       Russel Senate Building , getting ETA
                                                    That is awesome,        I sense we are going
                                                    to need a LOT of intel and stay on top of it
                                                    big time. I have one of my guys whose son
                                                    gets into the Dark Web and other platforms -
                                                    I just checked with him for any updates,
                                                    chatter or ANYTHING. His response was
                                                    things have been "eerily quiet" even on the
                                                    Dark Web........At any rate, ditto from this
                        1/4/2021     12:31 PM       end, too. Thanks tons!

                                                    https://www.wusa9.com/article/features/pr
                                                    oducers-picks/guardians-protecting-black-
                                                    lives-matter-plaza-memorial-fence-prepare-
                                                    for-jan-6-trump-protest/65-647a226a-09ac-
                                                    4fcb-9842-667cdea62050 Guardians
                                                    protecting Black Lives Matter Plaza
                                                    memorial fence prepare fr Jan. 6 pro-Trump
                                                    protest The friends are now known as the
                                                    guardians of the Black Lives Matter Plaza
                                                    memorials, watching for far-right vandals
                                                    who ebb and flow with pro0Trump
                                                    demonstrations, WASHINGTON - Through
                                                    freezing rain in the shadow of the White
                                                    House, Nadine Seiler and Karen Irwin sleep
                                                    under the cover of a solitary tent, protecting
                                                    thousands of photos, signs, and mementos
                                                    marking the focal poitn of a fortress fence.
                                                    The two friends, Seiler from Waldorf, Md.
                                                    and Irwin from Hell's Kitchen, N.Y., are now
                                                    known as the guardians of the Black Lives
                                                    Matter Plaza memorials, watching for far-
                                                    right vandals who ebb and flow with pro-
                                                    Trump demonstrations. Following President
                                                    Donald J. Trump's election loss in November,
                        1/4/2021     12:33 PM       protester... Read More

                                                    Yep, and a handful of Sheriffs I deal with
                                                    texted and called me over the past few
                                                    weeks stating the same thing and then
                        1/4/2021     12:36 PM       BOOM goes AT&T in Music City (shrug emoji)
                        1/4/2021     12:40 PM       "This message was deleted."




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UserName                Date         Time           Content
                                                    https://www.usatoday.com/story/news/poli
                                                    tics/2020/12/31/elections-protest-dc-police-
                                                    brace-donald-trump-
                                                    demonstrators/4097472001/ The National
                                                    Park Service has received three different
                                                    permit application sfor protests to be
                                                    scheduled around the electoral vote count.
                                                    Women for America First, a conservative
                                                    women's group which helped organize
                                                    November's "Million MAGA March,"
                                                    requested a permit for a protest of about
                                                    5,000 in Freedom Plaza. A group called the
                                                    Eighty Percent Coalition also requested a
                                                    permit for 10,000 protestors in the same
                                                    area. The group, whose name is a refernce
                                                    to the approximately 80% of Trump voters
                                                    who do not believe Biden won the election
                                                    fairly, have titled their event the "Rally to
                                                    Save America." Another smaller protest
                                                    titled "The Silent Majority" is organized by
                                                    the South Carolina conservative activist
                                                    James Epley. It will lead several hundred
                                                    protestors in a march from the National Mall
                                                    to the Capitol. The United States Park Police
                        1/4/2021     12:42 PM       confirmed that the per....Read More
                                                    [        :
                                                    https://www.usatoday.com/story/news/poli
                        1/4/2021     12:43 PM       tics/2020/12/31/elect...] What day?
                                                    [Shared black and white photo of Trump
                        1/4/2021     12:45 PM       with text "Warriors For Trump"]
                                                     @                         I'm working with
                                                    Rob Weaver who is looking for PSD for
                                                    himself wife and kids who are marching.
                                                    Tomorrow at Capital and the next days at
                                                    capital and between the capital and the
                                                    ellipse on the 6th Rob has had death threat
                                                    in writing and I've sent up to MDP and Cap
                        1/4/2021     12:46 PM       Police.




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UserName                Date         Time           Content


                                                    The permit application was submitted by
                                                    Women For America First, one of the
                                                    organizations behind the last two D.C. rallies
                                                    and a conservative group supporting the
                                                    America First agenda. The application is for
                                                    use of both Freedom Plaza and Lincoln
                                                    Memorial. The expected attendance listed
                                                    on the application is 5,000.
                                                    https://wamu.org/story/20/12/22/dc-maga-
                        1/4/2021     12:48 PM       trump-rally-women-for-america-first/
                                                    [                                      What
                        1/4/2021     12:48 PM       day?] 6th
                                                    https://youtu.be/S6IOBJ2C-Q4 ANTIFA
                        1/4/2021     12:51 PM       heading to DC
                                                    Same here , I have a few of my teams
                                                    proficient on alternative platforms and even
                                                    directly working with Fusion centers and its
                        1/4/2021     12:54 PM       been Crickets for weeks
                                                    Patriots -.- [eye emoji] Chatter indicates to
                                                    be prepared to lose ALL Comms - off-grid
                                                    mode possible. Plan now to have a manual
                                                    muster point / times pre-planned. Engage
                        1/4/2021     12:57 PM       standard Hand-Arm Military Signals.
                                                    I can't share the video because I do t have a
                                                    TikTok. Find and watch this short video of
                                                    you do. Could be a reason why we haven't
                                                    heard much. [Shared screenshot from
                        1/4/2021     12:58 PM       TikTok]

                                                    The schedule , contact number is in the post
                                                    if you want to try and coordinate , thanks a
                                                    Bunch ! [Shared screenshot from facebook
                                                    post, Chuck Dodson to "Bus Trip From
                                                    Desloge/STL Missouri to Stop the Steal in
                        1/4/2021     1:05 PM        DC" December 22, 2020 at 10:37 AM]
                                                    [            : Same here, I have a few of my
                                                    teams proficient on alternative pl...] It's
                                                    weird and not sure what to make of it. Fair
                                                    weather pukes or are they truly up to
                                                    something and using encryption platforms
                                                    for their comms knowing they are definitely
                        1/4/2021     1:16 PM        being watched.




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UserName                Date         Time           Content
                                                    [                        : Patriots - .- [eye
                                                    emoji]chatter inicates to be prepared to lose
                                                    ALL Comms-...] This was discussed in our
                                                    video meeting last evening.           brought up
                                                    info related to comms. Comms plan being
                        1/4/2021     1:20 PM        developed.
                                                    So I would say we use and recommend
                                                    Bridgefy as a backup option, under the
                                                    assumption it is not very secure. It seems to
                                                    be the most established player, and not sure
                                                    there's anything else that works for IOS and
                                                    Android. Certainly nothing else as developed
                                                    and battle-tested from what I've read. that
                                                    said, if it's not too much to ask, we could
                                                    also have Android users on Briar, which is
                        1/4/2021     3:02 PM        more secure.
                                                    Some sources indicate these Apps may work
                        1/4/2021     3:03 PM        even when Jamming is taking place.

                                                    Are we able to recommend these apps to
                                                    even organizers? Ideally they would post the
                                                    recommendation on their even websites, for
                        1/4/2021     3:07 PM        all rallygoers to download the Apps.

                                                    Ideally, organizers would recommend Signal
                                                    as the default. And Zello, Briar or Bridgefy as
                        1/4/2021     3:12 PM        an alternate when Signal is down.
                                                    I suppose jamming is possible, but, when I
                                                    hear "be prepared to lose all comms" at a
                                                    very large open public gathering, my first
                                                    thought is that is a reference to cellular
                                                    service - because it will be congested,
                                                    overloaded, and therefore unreliable … voice
                                                    and data. SMS (text) might be little-affected.
                                                    (SMS, not iMessage or anythign else using
                        1/4/2021     3:13 PM        internet data service.)
                                                    [Shared photo of paper with official
                                                    letterhead: December [illegible: 18 or 28],
                                                    2020 Major General Williams J Walker
                                                    Commanding General District of Columbia
                                                    Natioonal Guard [illegible] Sincerely,
                                                    [illegible signature] [illegible printed name]
                        1/4/2021     3:14 PM        Mayor] Just a heads up




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UserName                 Date         Time           Content
                                                     DCNG PAO public statement:
                                                     https://dc.ng.mil/Public-Affairs/News-Article-
                                                     View/Article/2461793/dc-national-
                                                     guardsman-to-provide-traffic-control-and-
                         1/4/2021     3:20 PM        crowd-management-during-dc/
                                                     https://www.earthcam.com/usa/dc/national
                         1/4/2021     3:22 PM        mall/?cam=nationalmall
                                                     https://www.earthcam.com/usa/dc/national
                         1/4/2021     3:25 PM        mall/?cam=nationalmall
                                                     https://sparks.clickfunnels.com/optin160960
Stewart Rhodes           1/4/2021     3:52 PM        9355410
                                                     If anyone would like a $13 Faraday bag for
                                                     phones, let me know within an hour and I
                                                     can order one for for you too, to have by
                                                     tomorrow.
                                                     Https://www.amazon.com/dp/B07BQM75M
                                                     H/ref=cm_sw_r_cp_apa_fabc_4Y48FbXJR2K
                         1/4/2021     4:52 PM        G2

                                                     If you are going to be out and about this
                                                     Wednesday keep a few things in mind: -
                                                     Affinity groups should have a contact person
                                                     who is not there who has all of your support
                                                     contacts. - Don't get into Signal groups with
                                                     people you don't know. - Have medical gear
                                                     and if you can equipment like tourniquets. -
                                                     Remember to message @RUSTcontactBot if
                         1/4/2021     4:54 PM        you have any updates.
                         1/4/2021     4:55 PM        ^ from DC BLM
                                                     https://sparks.clickfunnels.com/optin160960
                         1/4/2021     4:56 PM        9355410
                                                     https://oathkeepers.org/2021/01/oath-
                                                     keepers-deploying-to-dc-to-protect-events-
                                                     speakers-attendees-on-jan-5-6-time-to-
                         1/4/2021     4:58 PM        stand/




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UserName                 Date         Time           Content
                                                     Matt Couch (@RealMattCouch) Tweeted:
                                                     Lead of the Proud Boys and my friend
                                                     Enrique Tarrio is being arrested for a
                                                     misdemeanor in Washington, D.C. as he just
                                                     landed at the airport. They are arresting him
                                                     for taking the fall for the burning of the Black
                                                     Lives Matter Banner at the last event. Per
                                                     Joe Biggs on phone.
                                                     https://twitter.com/RealMattCouch/status/
                                                     1346218732687941637?s=20 Not confirmed
                                                     I just called him no answer But he will called
OK Gator 1               1/4/2021     5:21 PM        he's out
OK Gator 1               1/4/2021     5:22 PM        Call if he's out, sorry driving
SYSTEM                                                      added          .
                         1/4/2021     5:46 PM        Wow
                                                     I have a prospect going to DC from NM and
                         1/4/2021     5:50 PM        he needs a contact that's going.
                         1/4/2021     5:58 PM        Yup to be expected
                                                     They chopping the head off kills it or
                                                     something? Damn fools should have left him
                         1/4/2021     6:11 PM        alone. *think
                                                     [Shared Twitter screenshot, "Breaking: Jovan
                                                     Pulitzer's team member shot at 5 times in
                                                     drive by shooting after being given directive
                                                     to identify fraudulent ballots in Fulton
                         1/4/2021     6:12 PM        County."] Not good - needs backup.

                         1/4/2021     6:14 PM        They fear that man and what he can expose
                                                     Enrique with PB landed in DC and was
                                                     arrested right away For burning a BLM flag ?
                         1/4/2021     6:20 PM        Yet ANTIFA gets a police escort into DC?
                         1/4/2021     6:22 PM        https://youtu.be/XEodHbEEGCU
                                                     [Shared link depicting flier stating guns will
                                                     not be allowed in the rally area for four
                                                     days.]
                                                     https://www.facebook.com/123624513983/
                         1/4/2021     6:23 PM        posts/10159346106548984/?d=n
SYSTEM                                                                  added
                                                     Hello gents, this is               . I will be
                         1/4/2021     7:16 PM        coming up with          from SC low country.
                                                     It looks like a planned interruption of
                                                     communications will occur on Wednesday,
                                                     Jan 6th.
                                                     Https://twitter.com/disclosetv/status/13461
OK Gator 1               1/4/2021     7:25 PM        92003139309570?s=12
                         1/4/2021     7:26 PM        Uh huh


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UserName                  Date         Time           Content
                          1/4/2021     8:02 PM        Same as sun spots?
Jessica Watkins           1/4/2021     8:02 PM        EMP more likely…
                                                      No. Coronal Mass ejections (CME) are when
                                                      the sun sheds it's outer layer violently. It can
                                                      cause an EMP/Polarity reversal. Fries
                                                      electronics permenently. But, the timing is
                                                      very convenient with conjunction of political
                                                      events. We have EMP technology, and so do
Jessica Watkins           1/4/2021     8:15 PM        the Chinese.
                                                      http://www.northernlighthouse.ca/geomag
                          1/4/2021     10:15 AM       netic-storms
                                                      https://services.swpc.noaa.gov/text/3-day-
                          1/4/2021     10:15 AM       geomag-forecast.txt
                                                      Sounds like they're setting a narrative to sell
Jessica Watkins           1/4/2021     8:15 PM        to the public to me
                                                      [Jessica Watkins: No. Coronal Mass ejections
                                                      (CME) are when the sun sheds it's outer...]
                                                      Maybe they called it sun storms …. It would
                          1/4/2021     10:20 AM       hinder our reception
                                                      At that forecast level, I expect no impacts to
                          1/4/2021     8:21 PM        us.
                          1/4/2021     8:22 PM        This message was deleted.
Jessica Watkins           1/4/2021     8:33 PM        We are here safe
                                                      [         : For burning a BLM flag ? Yet ANTIFA
                          1/4/2021     8:35 PM        gets a police escort into...] This
OK Gator 1                1/4/2021     8:37 PM        [Shared thumbs up sticker]
                                                      This is a class 1 storm very small threat to
                                                      the power grid check out Space Weather.
                          1/4/2021     8:50 PM        Com for info.
                                                      https://www.unclesamsmisguidedchildren.c
                                                      om/dc-mayor-asks-for-national-guard-for-
                                                      january-5th-6th-rallies-tells-people-to-stay-
                          1/4/2021     10:24 PM       away/
                                                      [Shared unintelligible photo] Just found this
                                                      post on my gab account. Something about
                          1/4/2021     10:30 PM       Antifa DC Comms
                          1/4/2021     11:05 PM       We have arrived
                                                      [       : Just found this post on my gab
                                                      account. Something...][Shared
                                                      IMG_8409hh.docx] I made a clickable
                                                      version. There is a lot of antifa info on that
                          1/4/2021     11:30 PM       doc.
                          1/4/2021     11:41 PM       [Shared image titled MAGA_CAVALRY]




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UserName                 Date         Time           Content

                                                     ANGRY VIKING STATING VESTS WITH PLATES
                                                     IN DC ARE DEEMED BY THE MAYOR OF DC
                                                     DEEMED IT A FEDERAL CRIME AND YOU
                                                     WILL BE ARRESTED. Https://www.
                         1/4/2021     11:47 PM       Youtube.com/watch?v=QNZMTA2Q18Q
Stewart Rhodes           1/4/2021     11:47 PM       Sounds like bull. But we'll check.
                                                     [Shared photo of multiple individuals,
                                                     "Freedom Rally"] Our very own
                         1/5/2021     3:51 AM                [multiple emojis]
                         1/5/2021     4:50 AM        South Carolina Team on the way
OK Gator 1               1/5/2021     5:31 AM        Gators [emoji] moving
                                                     https://www.youtube.com/watch?v=9_yd4-
                                                     lodl4 The Black Conservative Preacher
                                                     posted Police & BLM Join Forces Against
                         1/5/2021     6:08 AM        Patriots Salem Oregon

                                                     We will have coverage starting at 2pm for
                                                     any information about the caravan from
                                                     Scranton to the Maryland border so that
                                                     folks who would like to drive ahead of them
                                                     can stay ahead of them. Currently
                                                     recommended to plan to start driving at 1:45
                                                     from scranton down I-81. Plan to organize
                                                     decentralized through signal and stay up to
                                                     date in their route. The more folks who drive
                                                     down 81 and 83 and change lanes every 5
                                                     minutes, the less time they can fuck with
                         1/5/2021     6:26 AM        DC's community. BLM ^

                                                     Don’t forget to socially distance and to get
                                                     your sheetz/pack a meal before the caravan
                                                     begins to not get caught behind stopping for
                                                     food. Take separate vehicles and have phone
                                                     conversations, play music on the radio, feel
                                                     amazed by Pennsylvania Appalachia's beauty
                                                     on this road trip. And know that you're
                                                     frustrating evil people by ruining their
                         1/5/2021     6:28 AM        parade schedule. BLM^^^^^^^^




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UserName                  Date         Time           Content

                                                      The posting Stewart's post : Stewart Rhodes -
                                                      URGENT ALERT: Do NOT enter DC with
                                                      ANYTHING that would be deemed illegal in
                                                      DC. Or even questionable. The DC police
                                                      have arrested multiple people for items they
                                                      cannot bring into DC, including Enrique
                                                      Tarrio, president of Proud Boys. But he's not
                                                      the only one. Three others have also been
                                                      arrested. They are setting traps. Do NOT
                                                      even cross over into DC at all, for any
                                                      reason, with anything on you or in your
                          1/5/2021     6:42 AM        vehicle that could get you into trouble.
                                                      https://www.dropbox.com/s/imoxrpukde6q
                                                      g60/OKSpotFixedKy.mp4?dl=0 We are ready
OK Gator 1                1/5/2021     9:19 AM        !! Should be in DC by noon
                                                      URGENT: Need to check on this. Sounds like
                                                      bullshit to me. There is no fe federal law
                                                      against non-felons possessing body armor.
                                                      ANGRY VIKING STATING VESTS WITH PLATES
                                                      IN DC ARE DEEMED BY THE MAYOR OF DC
                                                      DEEMED IT A FEDERAL CRIME AND YOU
                                                      WILL BE ARRESTED.
                                                      https://www.youtube.com/watch?v=QNZM
Stewart Rhodes            1/5/2021     9:31 AM        TA2Q180

                                                      https://eastvalleypost.com/evidence-shows-
                                                      antifa-being-escorted-into-dc-by-police-
                          1/5/2021     9:38 AM        ahead-of-jan-6th-maga-stop-the-steal-rally/
                                                      VIRGINIA It has an extra body armor law
                                                      like lots of states. Anybody who commits
                                                      crime of felony violation or violence has in
                                                      their possession a knife or firearm and
                                                      wearing body armor made to minmized the
                                                      effects of the impacts of projectile or bullets
                                                      will be guilty of class 4 felony. This law
                                                      doesn't affect the retailers. Adults can use
                                                      and purchase bulletproof vests unless that
                                                      adults have been convicted of felony. Other
                                                      types of body armor and bulletproof vests
                                                      can be bought in a local store or in the
OK Gator 1                1/5/2021     9:38 AM        online market. During a crime
Jessica Watkins           1/5/2021     9:56 AM        No crime, no problem? I have plates.
                                                      My DC law firm is checking now. I'll know
                          1/5/2021     9:56 AM        about body armor in 4 hours or less.




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UserName                  Date         Time           Content
                                                      Any body armor questions you want me to
                          1/5/2021     8:57 AM        ask just DM me

Jessica Watkins           1/5/2021     9:57 AM        Roger. I'll be there sooner than that though…
                          1/5/2021     9:58 AM        I'll be there in a few hours myself
                          1/5/2021     10:04 AM       https://fccdl.in/dipr6cTsLr must listen
                                                      [              : The buses are scheduled to
                                                      unload at the Russel Senate Building , ge...]
                                                      Made contact with them, arranging a
                          1/5/2021     10:25 AM       welcome party to meet them on arrival.
                                                      Do we have anyone near freedom plaza
                          1/5/2021     10:59 AM       now?
                                                      We have a group in Arlington now. We
Jessica Watkins           1/5/2021     11:46 AM       should be enroute soon
SYSTEM                                                Stewart Rhodes added
                                                      Added             a CA Oath Keeper who is in
Stewart Rhodes            1/5/2021     11:47 AM       with a four man team.

                                                      [emoji] BOOM https://www.judiciary.uk/wp-
                                                      content/uploads/2021/01/USA-v-Assange-
                          1/5/2021     11:50 AM       judgement-040121.pdf
                                                      [Shared photo of DC street with red circle]
                                                      Jessica, you guys check this out if you get to
                                                      that location, it will be later this afternoon
                                                      before the NC ORF arrive, if you see
                                                      something..supposed to be bricks….contact
                          1/5/2021     11:51 AM       Paul
Jessica Watkins           1/5/2021     11:52 AM       Roger. Will do.
                          1/5/2021     11:53 AM       That’s freedom plaza
                                                      [Shared photo of coins with Trump on them]
                                                      For future ops. These would make great
                          1/5/2021     12:02 PM       challenge coins. Free too.
                          1/5/2021     12:03 PM       Where do we get them?
                                                      I was afraid of that question. They were a
                                                      gift. Free just paid shipping they said. Trump
                                                      coin search on duck duck go using Firefox
                          1/5/2021     12:06 PM       browser should pull them up
                                                      [Shared an additional photo of the coin
                          1/5/2021     12:07 PM       showing the opposite side]
                                                      https://majorleaguelibertyusa.com/exclusive-
                                                      mueller-prosecutor-tied-to-arrest-of-proud-
                          1/5/2021     12:14 PM       boys-chairman/
                                                      Let's see how this pans out and what comes
                          1/5/2021     12:33 PM       out of this
Jessica Watkins           1/5/2021     1:02 PM        At main stage Freedom Plaza on the left
                          1/5/2021     1:03 PM        [Sent video]


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UserName                  Date         Time            Content

                          1/5/2021     1:17 PM         California 4 man team just arrived at scotus
                          1/5/2021     1:20 PM         We are on 142.422 simplex comms
                                                       We are crossing the street to the Capitol
                          1/5/2021     1:30 PM         bldg
                                                       Per my DC law firm, there seems to be no
                                                       prohibition against any level of body armor
                                                       that they could locate. Only issue as
                                                       mentioned was for violent felons under US
                          1/5/2021     2:02 PM         Code.
                                       1:46:00 PM
                                       *It is not clear
                                       why this
                                       message
                                       appears to
                                       come out of We are at Freedom Plaza, left of stage by
Jessica Watkins           1/5/2021     time.            street
                                                        Wyo/Utah/Colorado Convoy aprox 4hrs out.
                          1/5/2021     2:16 PM          Flier are in the air.

                          1/5/2021     2:35 PM         Our details is in front of Willard Continental

                                                        [Shared photo "Out of every one hundred
                                                        men, ten shouldn't even be there, eighty are
                                       3:08:00 PM       just targets, nine are the real fighters, and
                                       *It is not clear we are lucky to have them, for they make
                                       why this         the battle. Ah, but the one, one is a warrior,
                                       message          and he will bring the others back."] Pray now
                                       appears to       for protection for our fearless leader Stuart
                                       come out of Rhodes and his mighty and brave Patriots
                          1/5/2021     time.            Soldiers [emojis] #LetFreedomRing
                          1/5/2021     3:03 PM          [Article posted on apparent preparations
                                                        being made] "Reference the 'constriction
                                                        material'"
                          1/5/2021     4:09 PM          [Screenshot of "Public antifa coms for DC,
                                                        share with patriots."] "Anyone know this 4
                                                        Chan"
Stewart Rhodes            1/5/2021     4:29 PM          [Added Ed V from Arizona Oath Keepers who
                                                        has a team at the Supreme Court.] Chat text
                                                        "Welcome Ed"
Ed Vallejo                1/5/2021     4:29 PM          Where do you want us           didn't answer
Stewart Rhodes            1/5/2021     4:30 PM                , the South Carolina team is with the
                                                        Arizona team at the Supreme Court if you
                                                        are still there please link up
                          1/5/2021     4:30 PM                 just left scotus heading the freedom
                                                        plaza. Ca group will be there shortly.


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UserName                  Date         Time           Content
Ed Vallejo                1/5/2021     4:31 PM        You want us to head there - these guys want
                                                      action?
Stewart Rhodes            1/5/2021     4:31 PM        [Responding to                        's
                                                      4:30pm chat] OK. AZ and SC teams please
                                                      go to Freedom and Plaza. I will meet you
                                                      there with
Stewart Rhodes            1/5/2021     4:34 PM        When you go to freedom plaza meet me up
                                                      in the others at the large statue of a man or
                                                      a horse you can't miss it
Stewart Rhodes            1/5/2021     4:35 PM        Meet        there
Stewart Rhodes            1/5/2021     4:44 PM        Heads up: have three rooms available for
                                                      those who need a room at our hotel in
                                                      Tyson's corner. If you need a room let me
                                                      know
Stewart Rhodes            1/5/2021     4:44 PM        And that is in VA and has a very secure gated
                                                      parking garage. So good place to leave gear
                                                      you can't take into DC. Staff is very cool.

Stewart Rhodes            1/5/2021     4:45 PM        We stayed there last time
                          1/5/2021     4:45 PM        Stewart ar my UT guys staying with Wy
                                                      OK'rs?
                          1/5/2021     4:48 PM        I'm 3 hours out Stewart
Stewart Rhodes            1/5/2021     4:48 PM        [Responding to                 4:45pm chat] I
                                                      think so. Ask em
Ed Vallejo                1/5/2021     4:53 PM        Dropped cadre at 7th and G - walking your
                                                      way
Stewart Rhodes            1/5/2021     4:53 PM        [Responding to Ed Vallejo's 4:53pm chat]
                                                      Please clarify
Ed Vallejo                1/5/2021     4:54 PM        I got them as close as traffic would allow in
                                                      my truck. Looking to park now
Stewart Rhodes            1/5/2021     4:57 PM        [Responding to Ed Vallejo's 4:54pm chat]
                                                      Roger that. I'm looking for parking too. Let
                                                      me know if you find a good area
Ed Vallejo                1/5/2021     4:58 PM        Looks like half a mile is closest we can get
                          1/5/2021     5:01 PM        Ca group on the metro en route to the plaza
                                                      now
                          1/5/2021     5:02 PM        142.422 if you need us
                          1/5/2021     5:06 PM        South Carolina is at frdom plaza
                          1/5/2021     5:08 PM        Ca walking up now
                          1/5/2021     5:10 PM        We are at the horse
                          1/5/2021     5:19 PM        Antifa toward the back corners near the
                                                      horse statue
Stewart Rhodes            1/5/2021     5:20 PM        Almost there. Two blocks
                          1/5/2021     5:20 PM        [Responding to Stewart Rhodes' 4:57pm
                                                      chat] Ok
                          1/5/2021     5:22 PM        [Thumbs up emoji]


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UserName                  Date         Time           Content
                          1/5/2021     5:24 PM        We are at the back of the plaza edge in front
                                                      of the horse III% flags
                          1/5/2021     5:35 PM        Patriots are telling us antifa is 2 blocks away

                          1/5/2021     5:53 PM        We will be monitoring the corner13th and
                                                      Pennsylvania for antifa
                          1/5/2021     6:02 PM        Give me a second on this guy walking past
Jessica Watkins           1/5/2021     6:23 PM        We are back at the hote lnow. Had to check
                                                      in. How are things down there?
                          1/5/2021     6:47 PM        [Image of map]
                          1/5/2021     6:52 PM
                                                      https://notionalfile.com/breaking-stockpiles-
                                                      of-2x6-lumber-propane-tanks-surface-on-d-c-
                                                      streets-ahead-of-jan-6-stop-the-steal-rally/
                          1/5/2021     7:24 PM        Can anyone advise if they have secured their
                                                      Antifa ammo pile of *Construction Supplies*
                                                      ? There are 5 busses full of Missouri folks on
                                                      the way there
                          1/5/2021     7:44 PM        Ca group is still at 13th and Pennsylvania,
                                                      people need to have heads on a swivel as
                                                      they leave, we've spotted antifa taking
                                                      videos all around us.
Ed Vallejo                1/5/2021     7:58 PM        There is now 30 cops (cars, vans, and a truck
                                                      full of bikes) headed your way code 3 be
                                                      advised
                          1/5/2021     8:03 PM        Is there still a meeting on for tonight? In
                                                      person and/or virtual?
Stewart Rhodes            1/5/2021     8:04 PM        [Responding to                   8:03pm chat]
                                                      Standby. Sorting out where we will be.

Jessica Watkins           1/5/2021     8:22 PM        [Responding to Ed Vallejo's 7:58pm chat]
                                                      Your way? What way is that?
SYSTEM                    1/5/2021                           updated the group.
SYSTEM                    1/5/2021                           updated the group.
                          1/5/2021     8:34 PM        Confirmed intel that "huge numbers of
                                                      Antifa are being bussed into DC". I'm
                                                      delayed due to doctors at minimum til lunch
                                                      tomorrow….I have people on standby and
                                                      ears open…will pass along appurtenant intel,
                                                      verified and confirmed through here as well
                                                      as texts or calls to appropriate
                                                      leadership....don't hesitate calling for
                                                      needs....prayers brothers and sisters




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UserName                  Date         Time           Content
OK Gator 1                1/5/2021     8:37 PM        That's probably for tomorrow night I've seen
                                                      a real spotters and we had a little encounter
                                                      with possible BLM white guy yelling and
                                                      we'd do the same we had 6 he choose wisely
                                                      !
OK Gator 1                1/5/2021     8:40 PM        Few spotters
                          1/5/2021     8:40 PM        [Image of Donald Trump; headline "Donald J.
                                                      Trump on Twitter: 'Washington is being
                                                      inundated with people who don't want to
                                                      see an election victory stolen by
                                                      emboldened Radical Left Democrats. Our
                                                      country has had enough, they won't take it
                                                      anymore! We hear you (and love you) from
                                                      the Oval Office. MAKE AMERICA GREAT
                                                      AGAIN!' twitter.com"]
                                                      https://twitter.com/realDonaldTrump/status
                                                      /1346578706437963777
                  -Poc    1/5/2021     8:43 PM        [Responding to
                                                                           's 8:34pm chat] Who is
                                                      the check in officer?
OK Gator 1                1/5/2021     8:47 PM        [DC Oracle
                                                      https://twitter.com/oracle_dc/status/13466
                                                      30003589525506?s=20]
                                                      https://t.me/DCOracle/375
OK Gator 1                1/5/2021     8:48 PM        Large police presence around BLM plaza
                          1/5/2021     8:50 PM        The police are blm personal security, 30 of
                                                      them pushed us 6 patriots with bikes away
                                                      from there last night
                          1/5/2021     8:53 PM        [Video, no content available]
OK Gator 1                1/5/2021     8:55 PM        We should pick up their bricks and boards
                                                      and make sure they get them as promised by
                                                      their provider .
Jessica Watkins           1/5/2021     8:58 PM        [Responding the OK Gator 1's 8:40pm chat]
                                                      We also DEFINITELY had Antifa spotters as
                                                      well.
OK Gator 1                1/5/2021     9:00 PM        We were walking by him about 20 feet away
                                                      and he bent over to get something from
                                                      back pack when he looked up we were 5ft
                                                      away . He left ?
SYSTEM                    1/5/2021                             updated the group.
                          1/5/2021     9:00 PM        I'll be there as soon as possible and again, I
                                                      have backup on standby
                          1/5/2021     9:01 PM        Teams in FL, Mississippi, and Louisiana




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UserName                   Date         Time           Content
Jessica Watkins            1/5/2021     9:01 PM        III%ers cornered one. He swore he wasn't
                                                       Antifa, but he was. Wearing a Guy Fawkes
                                                       Anonymous mask in all Black Bloc, and his
                                                       attitude screamed commie. He high-tailed it
                                                       [laughing emoji]
Jessica Watkins            1/5/2021     9:03 PM        There was a skinny jeans crackhead looking
                                                       guy, who took pictures of each of us and left
                                                       the rally, had his Trump hat backwards. Had
                                                       to be a spotter.
OK Gator 1                 1/5/2021     9:10 PM        Figure the PBS should be out chasing them
                                                       now gotta get ready for detail meeting !
                           1/5/2021     9:23 PM        Wyoming has landed
                    Lead   1/5/2021     9:25 PM        Anyone heard from Stewart?
                           1/5/2021     9:25 PM        He's currently in a live stream FB video.
                    Lead   1/5/2021     9:26 PM        [         : He's currently in a live stream FB
                                                       video.] Thanks
                           1/5/2021     9:34 PM        Marching on blm plaza now
Jessica Watkins            1/5/2021     9:36 PM        With how many people?
Jessica Watkins            1/5/2021     9:39 PM        Hate to mention it, but he doesn't exactly
                                                       have great depth perception or peripheral
                                                       vision. Hope there's at least a good sized
                                                       group with him
                           1/5/2021     9:40 PM        [Responding the Jessica Watkins' 9:39pm
                                                       chat] He's among lots of friends
                    Lead   1/5/2021     9:43 PM        Possible Antifa or BLM staying at our hotel.
                                                       Rainbow flag rolled up …
                           1/5/2021     9:47 PM        [Responding to
                                                       Lead's 9:43pm chat] Definitely and indicator
                                                       from my personal experiences
SYSTEM                     1/5/2021                           updated the group.
SYSTEM                     1/5/2021                                       added                     .
                           1/5/2021     10:07 PM       Please remind of check in location tomorrow

                           1/5/2021     10:47 PM       Last I remember is in front of Supreme Court
                                                       bldg
                           1/5/2021     10:47 PM       Across street

                           1/5/2021     10:53 PM       https://twitter.com/intheMatrixxx/status/13
                                                       46667989970673666s=20
                           1/5/2021     11:14 PM       https://threader.app/thread/134522946584
                                                       0828417
                           1/5/2021     11:15 PM       https://vocaroo.com/1e976QE4oDoy
SYSTEM                     1/5/2021                           updated the group.
OK Gator 1                 1/6/2021     4:51 AM        Game Day
                           1/6/2021     4:51 AM        Roger that
                           1/6/2021     5:16 AM        Gator you out there


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UserName                  Date         Time           Content
OK Gator 1                1/6/2021     5:54 AM        Yes sir
                          1/6/2021     6:06 AM        Hey brother thanks for the t shirt and flag, if
                                                      you have any problems call Paul and we will
                                                      head that way …
OK Gator 1                1/6/2021     6:10 AM        Ok
SYSTEM                    1/6/2021     6:10 AM        Stewart Rhodes added
Stewart Rhodes            1/6/2021     6:11 AM        Added "            " who is coming in with a
                                                      team from NJ, and who also has contacts
                                                      with several militia leaders coming in.
Stewart Rhodes            1/6/2021     6:11 AM                  , you gents land at Union Station at
                                                      0800?
Stewart Rhodes            1/6/2021     6:15 AM        ALCON: I have two soft armor panels (level
                                                      III for pistol threats) that can either be worn
                                                      in a carrier or stuck in a backpack (to use as a
                                                      shield). Also have two complete light soft
                                                      armor sets. All in my rental vehicle in a
                                                      garage near Freedom Plaza. Who needs
                                                      them the most? Who is working PSD for
                                                      high level targets? Let me know

                          1/6/2021     6:16 AM        Xlargefor soft armor sets?
Stewart Rhodes            1/6/2021     6:21 AM        [Responding to syde kontrol kirk's 6:16am
                                                      chat] They are either large or XL. can't
                                                      recall.
Ed Vallejo                1/6/2021     6:21 AM        Stupid alert I parked my dark grey Nissan 4
                                                      cyl pickup within 5 blocks of Freedom Plaza
                                                      after dropping SC team and searched for an
                                                      hour on foot, never finding it. If you spot it,
                                                      let me know. Duh, thanks.
Stewart Rhodes            1/6/2021     6:21 AM        [Responding to Ed Vallejo's 6:21am chat]
                                                      Been there. You got a ride in?
Ed Vallejo                1/6/2021     6:22 AM        Took an Uber back to the hotel.
Stewart Rhodes            1/6/2021     6:23 AM        [Responding to Ed Vallejo's 6:21am chat] Do
                                                      you need a ride in or are you Ubering it?

Ed Vallejo                1/6/2021     6:24 AM        I think I found where it WAS parked, and
                                                      think it was stolen because parking
                                                      enforcement didn't tow it and they aren't
                                                      enforcing meter rules.




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UserName                  Date         Time           Content
Stewart Rhodes            1/6/2021     6:26 AM        ALCON: Whatever you may need, bring with.
                                                      Bring water. Bring rain gear. Meds. Etc.
                                                      Don't expect to be able to go fetch later. DO
                                                      NOT bring in anything that can get you
                                                      arrested. Leave that outside DC. THEY HAVE
                                                      SEARCHED VEHICLES IN GARAGES. And four
                                                      so far, to our knowledge, have been
                                                      arrested.
Ed Vallejo                1/6/2021     6:26 AM        I'm waiting for my "civilian" team to arise &
                                                      will come in with them.
OK Gator 1                1/6/2021     6:26 AM        If you had any thoughts of going to watch
                                                      oresident dont
OK Gator 1                1/6/2021     6:27 AM        lngest line I've ever see
Stewart Rhodes            1/6/2021     6:27 AM        We will have several well equipped QRFs
                                                      outside DC. And there are many, many
                                                      others, from other groups, who will be
                                                      watching and waiting on the outside in case
                                                      of worst case scenarios.
Ed Vallejo                1/6/2021     6:27 AM        What is the DC "blade length rule"? What's
                                                      the limit? I want my boarding cutlass…
                          1/6/2021     6:29 AM        3 inches….but they also have an ordinance
                                                      *anything deemed lethal or grievous bodily
                                                      injury is illegal*
Stewart Rhodes            1/6/2021     6:29 AM        [Responding to Ed Vallejo's 6:27am chat] 3
                                                      inches. Has to be 3 or less. And a "utility
                                                      knife" carried for utility purposes (ie no push
                                                      daggers, etc). Don't wear a blade openly
                                                      visible. Keep em low profile.
Ed Vallejo                1/6/2021     6:29 AM        Check. So, no hands or feet? Lol
Stewart Rhodes            1/6/2021     6:30 AM        Unfortunately,                   is sick and
                                                      won't be able to make it.         is now #1 on
                                                      this op.
OK Gator 1                1/6/2021     6:30 AM        Washington monument is surrounded with
                                                      the lion completely wrapped
Stewart Rhodes            1/6/2021     6:33 AM        {Responding to Ed Vallejo's 6:29am chat]
                                                      Highly recommend a C or D cell flaghlight if
                                                      you have one. Collapsible batons are a grey
                                                      area in the law. Unclear. I bring one. But
                                                      I'm willing to take that risk because I love
                                                      em. Good hard gloves, eye pro,
Ed Vallejo                1/6/2021     6:34 AM        My cowboy hat is an ANSI rated hardhat!




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UserName                  Date         Time           Content
                                                      "ALCON: Use a blue arm band (I.e. blue duct
                                                      tape) today, on upper RIGHT arm to
                                                      designate you are an Oath Keeper. That's the
Stewart Rhodes            1/6/2021     6:45 AM        color of the day. IF YOU ARE MEDICAL also
                                                      wear a red arm band (red duct tape) below
                                                      the blue so we can easily see who is Medical.
                                                      Bring any and all medical gear you have."
                          1/6/2021     6:46 AM        Thanks
                          1/6/2021     7:13 AM        NJ tea at Union Sta. Need RP.
                                                      We are in front of the TV by the street in
                                                      front of the Washington Monument. They're
Jessica Watkins           1/6/2021     7:38 AM
                                                      not letting us in to run the detail. Also Secret
                                                      Service says no gear allowed.
Jessica Watkins           1/6/2021     7:39 AM        Event staff won't us in without passes
                                                      Rp i behind the state capital teams from last
                          1/6/2021     7:42 AM
                                                      night will start getting there at 930 or 10
                                                      Just got on with Va group 30 min out on
                          1/6/2021     7:53 AM
                                                      metro
                          1/6/2021     8:14 AM        Is there still a check in station today?
                          1/6/2021     8:15 AM        Negative on North Wyo boys
                                                      "Quiet here this morning. Where are all
                          1/6/2021     8:19 AM
                                                      Comingupto Capitol on Delaware "
                          1/6/2021     8:22 AM        We're en route to the swamp
                          1/6/2021     8:35 AM        According of Capital by stairwell.
Stewart Rhodes            1/6/2021     8:55 AM        Kelly call me
                                                      "MESSAGE TO GATOR and his team from
                                                              (                ): If you get your
                                                      passes to get into Trump event, go to the
                                                      three green crane/light towers and come to
Stewart Rhodes            1/6/2021     9:01 AM
                                                      fence between green cranes and stage and
                                                              will be able to see you. His text is not
                                                      working. Cell calls also spotty. Link up on
                                                      food."
                                                      "[Photograph with caption]: SP+ Parking,
                                                      Parking garage - 300 New Jersey Ave NW
                                                      goo.gl Lots of parking this garage: SP+
                                                      Parking 300 New Jersey Ave NW,
                          1/6/2021     9:18 AM
                                                      Washington, DC 20001 (202) 347-0106
                                                      https://maps.app.goo.gl/YQoV1ETgN5dJ128
                                                      M8 I think it's $16/day. Open till 8 pm. Was
                                                      easy driving in via Memorial Bridge."




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UserName                  Date         Time           Content
                                                      "[Response to Stewart Rhodes message sent
                                                      at 6:45am]: Coincidence but our civilian
                                                      busses are about an hour out from DC and
                                                      they will be wearing blue armbands , and
                          1/6/2021     9:43 AM
                                                      Peggy Hubbard is there now , sort fo a local
                                                      FB celeb running for senate , we have her 6
                                                      anytime she is in Mo , hope you get to meet
                                                      her"
                                                      "[Video with caption]: DC last night close to
                          1/6/2021     10:03 AM
                                                      Black Lives Plaza - several arrests."
                          1/6/2021     10:08 AM       Where can we muster to get blue stmnands?
                          1/6/2021     10:09 AM       Armbands
                                                      South Carolina Team on the way where do
                          1/6/2021     10:10 AM
                                                      we meet???
                          1/6/2021     10:11 AM       [Map of Washington, DC]
                                                      "I'm here, have 20 maps Small crowd. 6
                          1/6/2021     10:12 AM
                                                      militia here. At small stage."
                                                      "We ate st the ellipse do a not of a walk. On
                          1/6/2021     10:16 AM
                                                      our way Gloves are at"
                                                      Come to the capital by the water. We have
                          1/6/2021     10:29 AM
                                                      the arm bands here at the rp
                          1/6/2021     10:32 AM       Intersection?
                                                      Armbands available at the small stage I
                          1/6/2021     10:35 AM
                                                      shared above too.
                                                      We're right beside the garfield monument
                          1/6/2021     10:39 AM
                                                      on the capital sidewalk
                          1/6/2021     11:02 AM       5 us by statue don’t see anyone
                                                      "ALCON: The ""Freedom Rally"" with Latinos
                                                      for Trump (that we are securing) is at the
                                                      intersection of First Street and M street.
Stewart Rhodes            1/6/2021     11:05 AM       Right next to the Senate office buildings. In
                                                      ""Lower Senate Park"" Anyone who is trying
                                                      to link up with me or        , go there. We are
                                                      working security for that event all day."
                                                      "[Response to             message sent at
Stewart Rhodes            1/6/2021     11:06 AM
                                                      10:32am]: FIRST Street and M Street"
                                                      I see a 3 or 4 Oathkeepers on the screen
                          1/6/2021     11:13 AM
                                                      waiting for Trump about 50 ft from stage
                          1/6/2021     11:14 AM       Moving to 1st and m
                                                      "FYI I brought a drone with 720p cam for
                                                      recon use, but I am not a proficient
Ed Vallejo                1/6/2021     11:18 AM       operator. Do we have anyone qualified to
                                                      use it? Do you want it prepped for
                                                      deployment? Let me know."


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UserName                  Date         Time           Content
                                                      "[Reponse to Ed Vallejo message sent at
Stewart Rhodes            1/6/2021     11:21 AM
                                                      11:18am]: Yes. Bring it."
                                                      You can't fly drones in or around DC. Turn it
                          1/6/2021     11:21 AM       on and your screen will be red and won't fly.
                                                      Unless it's a home made job.
Ed Vallejo                1/6/2021     11:21 AM       Hack?
Ed Vallejo                1/6/2021     11:22 AM       Wilco.
                                                      [Photograph of single male dressed all in
                          1/6/2021     11:29 AM
                                                      black]
                          1/6/2021     11:30 AM       Spotter I believe.
                                                      At first and m not seeing anything but a bad
                          1/6/2021     11:30 AM
                                                      neighborhood
                                                      "[Reponse to Ed Vallejo message sent at
                          1/6/2021     11:31 AM       11:18am]: Considered a felony in that areas
                                                      airspace. Leave it in the vehicle."
                                                      "[Reponse to              message sent at
Stewart Rhodes            1/6/2021     11:33 AM       11:30am]: Look for the park. We are at stage
                                                      in park. Right next to Senate building."
                          1/6/2021     11:33 AM       "[Map of Washington, DC] "
                          1/6/2021     11:34 AM       The red dot is the location.
                                                      "CORRECTION: FIRST STREET NE. and C
Stewart Rhodes            1/6/2021     11:34 AM
                                                      street Sorry about mix up"
                                                      Individual just met two black Suburbans.
                          1/6/2021     11:34 AM
                                                      Must be point for VPs.
                                                      SR - is there someone live-streaming that
                          1/6/2021     11:35 AM       stage? If so can you get a link so we can add
                                                      to monitor?
                                                      Right side broadcasting is transmitting live
Ed Vallejo                1/6/2021     11:39 AM
                                                      via youtube with wide angle shots
                                                      https://m.youtube.com/watch?v=HrGJfQzUr
                          1/6/2021     11:40 AM
                                                      nY
                                       11:00 AM
                                       *It is not clear
                                       why this
                          1/6/2021     message          "Which stage       . Behind capital."
                                       appears to
                                       come out of
                                       time.
                                                        "Aternate video. This one shows OK
                                                        members:
                          1/6/2021     11:49 AM
                                                        https://banned.video/watch?id=5ff5d5f1867
                                                        5e930bd8e2c27"
                                                        Small stage - see red dot on map image
                          1/6/2021     11:52 AM
                                                        shared above.
                          1/6/2021     11:53 AM         1st and M park.


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UserName                  Date         Time           Content
                                                      "[Photgraphs of individuals with caption]:
                          1/6/2021     11:55 AM       Abouve 15 PBs located on E Side (concrete
                                                      side) of Capitol"
                                                      I'm walking         to restroom. Be back in a
Stewart Rhodes            1/6/2021     12:00 PM
                                                      few.
                          1/6/2021     11:59 AM       RGR THT
                          1/6/2021     12:22 PM       Not 1st and M
                          1/6/2021     12:23 PM       "[Image of map] Pointing with leaf stem"
                                                      "1-99 C St NE 1-99 C St NE, Washington DC
                          1/6/2021     12:24 PM       https://maps.app.goo.gl/HuDR8AHTXTFQ7f5
                                                      PA"
                                                      "[Series of images and videos showing
                                                      protesters engaging with police with
                          1/6/2021     1:04 PM        caption]: Patriots storming the ""closed
                                                      area"" of the Capitol grounds by the
                                                      scaffolding. Natl Guard called in. Incoming."
                 -Poc     1/6/2021     1:15 PM        Riot police enroute to capital grounds
                 -Poc     1/6/2021     1:17 PM        [Image of car and Capitol Grounds]
Ed Vallejo                1/6/2021     1:19 PM        "Eureka! Truck found :)"
                                                      "[Video with caption]: American blood
                          1/6/2021     1:20 PM        (blood drop icon) in the Capitol steps.
                                                      Officers down."
Stewart Rhodes            1/6/2021     1:25 PM        Pence is doing nothing. As I predicted.
                          1/6/2021     1:30 PM        [Image of Capitol proceedings]
                                                      Reinforcements inbound to Capitol - suggest
                          1/6/2021     1:32 PM        steering clear of Capitol are around the
                                                      grand stands.
                                                      "[Image of white van on the street with
                          1/6/2021     1:36 PM        caption]: An activist just got in this van. Not
                                                      sure what side he is on…"
                                                      Flash grenades / explosions going off now at
                          1/6/2021     1:36 PM
                                                      Capitol Grounds.
                                                      "All I see Trump doing is complaining. I see
                                                      no intent by him to do anything. So the
Stewart Rhodes            1/6/2021     1:38 PM
                                                      patriots are taking it into their own hands.
                                                      They've had enough."
                          1/6/2021     1:38 PM        This message was deleted.
                                                      "ATTENTION SECURITY TEAM AT FREEDOM
                                                      RALLY! My grey shoulder bag and helmet are
                                                      on the ground behind the stage. Please
Stewart Rhodes            1/6/2021     1:48 PM
                                                      secure them and keep them with you
                                                      (whenever you end up). I'm on my way to
                                                      the Capiol. Please confrim. Stewart"




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UserName                  Date         Time           Content
                                                           , what's your location? I'm trying to get
Stewart Rhodes            1/6/2021     2:06 PM
                                                      to you.
                 -Poc     1/6/2021     2:07 PM        Tear gas at the capital. Several officers hurt
                          1/6/2021     2:07 PM        Patriots in capital
                                                      https://www.youtube.com/watch?v=ExvDqp
                          1/6/2021     2:09 PM
                                                      d9EmQ they are in the Capital
                                                      I think the Police are going to be
                                                      overwhelmed and not be able to do much
                                                      hen it comes down to it. There are way too
                          1/6/2021     2:13 PM
      …                                               many people, and no doubts, as word gets
                                                      out what is going on up at the Capitol, more
                                                      will join into the grey go ing on.
                                                      "I'm on the Supreme Court side of the US
Stewart Rhodes            1/6/2021     2:15 PM
                                                      Capitol.        or          where are you?"
                                                      [Image of individuals on stairs of a
Stewart Rhodes            1/6/2021     2:16 PM
                                                      Government building]
                          1/6/2021     2:14 PM        The have taken ground at the capital
                                                      We need to regroup any members who are
                          1/6/2021     2:15 PM
                                                      not on mission
                                                      @Stewart Rhodes confirm ur stuff at
                          1/6/2021     2:24 PM
                                                      Freedom Rally stage
                                                      Vallejo back at hotel and outfitted. Have 2
Ed Vallejo                1/6/2021     2:24 PM        trucks available. Let me know how I can
                                                      assist.
                                                      "[Video from inside the Capitol with
                          1/6/2021     2:26 PM        caption]: They got s seed and ran when they
                                                      heard people at the door"
Stewart Rhodes            1/6/2021     2:25 PM        [Image of south side of the Capitol]
                                                      "[               : We need to regroup any
Stewart Rhodes            1/6/2021     2:25 PM        members who are not on mission]: Come to
                                                      South Side of Capitol. On steps"
                                                      "[Image of Abraham Lincoln with caption]:
                          1/6/2021     2:27 PM        WeThePpl have taken the Capitol - Congress
                                                      forced to recess"
                          1/6/2021     2:27 PM        Scared not seed *
                          1/6/2021     2:27 PM        [Video of inside the Capitol]
                                                      [Image of backs of invidiuals standing in
                                                      front of a Government building. Individual in
Stewart Rhodes            1/6/2021     2:27 PM
                                                      orange t-shirt with "FIGHT FOR USA RETURN
                                                      TO GOD" on back]
                                                      [Image saying "The House is in Recess
                          1/6/2021     2:27 PM
                                                      Subject to the Call of the Chair"]
                                                      [Images of inviduals on steps/lawn of a
Stewart Rhodes            1/6/2021     2:27 PM
                                                      Government building]




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UserName                  Date         Time           Content
                                                      "[Image of individuals inside the Capitol with
                          1/6/2021     2:27 PM
                                                      caption]: Patriots in the Capital"
                                                      "[Reponse to           message sent at
                          1/6/2021     2:28 PM
      …                                               2:26pm]: Yeup, they sure did"
                                                      DC police getting gas masks on and heading
                          1/6/2021     2:28 PM
                                                      in for back up now
                                                      Patriots in the Capital I bet they ran through
                          1/6/2021     2:28 PM
                                                      those tunnels
                          1/6/2021     2:30 PM        [Image of individuals inside the Capitol]
                                                      I'm about a mile away. 9th and F. Heading
                          1/6/2021     2:31 PM
                                                      over soon.
                                                      "20 suv of DHS officers enroute Crowd
                          1/6/2021     2:34 PM
                                                      outside trying to slow them."
                                                      SC on the Capitol steps helping folks. Need
                          1/6/2021     2:36 PM
                                                      us anywhere?....need more peeps to join us
                                                      [       : 20 suv of DHS officers enroute] They
                                                      are not going to be very effective given the
                                                      masses they are faced with. Just stand down
                                                      and stand back at this point - allow the
                                                      people to excercies their FIRST AMENDMENT
                                                      rights…...and as long as they are peaceful.... I
                          1/6/2021     2:37 PM
      …                                               fear that if and LEO agencies try to stop
                                                      people it will cause for matters to escalate
                                                      INTO violence and all else because people
                                                      are just that angry, have had it and have had
                                                      enough........ The People are standing up and
                                                      speaking........
                          1/6/2021     2:37 PM        Singing National Anthem
Ed Vallejo                1/6/2021     2:38 PM        QRF standing by at hotel. Just say the word...
                                                      They are reporting tear gas (or pepper spray)
                          1/6/2021     2:39 PM        deployed INSIDE the Rotunda - not sure at
      …
                                                      this point.
                                                      [
                                                      Intel: They are reporting tear gas (or pepper
                          1/6/2021     2:40 PM
                                                      spray) deployed INSIDE th....]: That
                                                      affirmative"
                                                      We own that fucking building and keep
                          1/6/2021     2:41 PM
                                                      charging
                                                      They are deploying protective masks to
                                                      Congress and being
                          1/6/2021     2:41 PM        evacuated…...chickens…..face the music you
      …
                                                      wankers!!!!!! I have goose bumps watching
                                                      this…......




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UserName                Date         Time           Content
                                                    Kinda redundant me sitting here in a doctors
                        1/6/2021     2:44 PM        office trying to get cleared to go and I've
                                                    been fired up for two days
                                                    Can't wait until some high speed patriots
                        1/6/2021     2:44 PM
                                                    take over the news stations
                        1/6/2021     2:46 PM        SR needs to be in the Chambers preaching it
                                                    Bad timing I suppose , but watching on OAN
                        1/6/2021     2:46 PM        and they show some dude with his hate on
                                                    backwards ….
                                                    this has to happen at all government levels
                        1/6/2021     2:50 PM
                                                    including state and local
                        1/6/2021     2:52 PM        [sends image of emergency alert "Mayor
                                                    Bowser issues a city-wide curfew for DC for
                                                    Wednesday, Jan 6 starting at 6 P.M. until
                                                    Thursday January 7 at 6 a.m. Essential
                                                    workers, including healthcare personnel
                                                    [unintelligibel]
                        1/6/2021     2:53 PM        [             : Bad timing I suppose, but
    …                                               watching on OAN and they show…] I saw him
                                                    …..and reported it already. God a good
                                                    description of him - if the same guy. He
                                                    definitely looked out of place for sure …....
                        1/6/2021     2:56 PM        Shots fired in rotunda
                        1/6/2021     2:57 PM        Nurse just said news is reporting Congress
                                                    given gas masks and are trying to get out
                        1/6/2021     2:58 PM        [                                     : Nurse
    …                                               just said news is reporting Congress given
                                                    gas masks and ar…] yeup. Apparently they
                                                    had them in the Chambers
                                                    already…....interesting to say the least Also
                                                    heard that several are on their own, too.....

                        1/6/2021     2:59 PM        They are reporting in this live feed I am
    …                                               monitoring, NG has been called - and
                                                    supposedly by N.P. - comment was she does
                                                    not hav ethe authority to do so….So waiting
                                                    verification on that information A LOT is
                                                    going on to say the least …... Whew
                        1/6/2021     3:00 PM        Ronnie Jackson (TX) office inside Capitol - he
                                                    needs OK help. Anyone inside?
                        1/6/2021     3:02 PM        [image of peron at capitol from unidentified
                                                    from news] Still shot … no audio so I
                                                    couldn’t hear what he was saying

                        1/6/2021     3:03 PM        Hopefully they can help Dr. Jackson.


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UserName                Date         Time           Content
                        1/6/2021     3:05 PM        Shots fired or flash bangs?
                        1/6/2021     3:08 PM        [photo of person] Dr. Ronnie Jackson - on
                                                    the move. Needs protection. If anyone inside
                                                    cover him. He has critical data to protect

                        1/6/2021     3:09 PM        [            : Shots fired or flash bangs?]
                                                    Flashbangs
                        1/6/2021     3:10 PM        They stopped those when congress evac'd
                        1/6/2021     3:11 PM        [posts video of people breaching the capitol]
                                                    Guys and gals …this is Fucking Antifa ! No
                                                    one of our 300 there were allowed to carey
                                                    backpacks or anything else ! They are
                                                    Lumber !! Thos is a fucking set up

                        1/6/2021     3:11 PM        seeing several posts like this: The Defense
                                                    Department has just DENIED a request by DC
                                                    officials to deploy the National Guard to the
                                                    US Capitol
                        1/6/2021     3:12 PM        [        : seeing several posts like this: The
    …                                               Defense Department has just DE] It would
                                                    have to have come from the NG Bureau
                                                    then. It is probably due to the posse
                                                    comitatus criteria….they are not authorized
                                                    overall to act in a LE roll - only support/back
                                                    up, riot control.
                        1/6/2021     3:14 PM        [                        : [photo of person]
                                                    Dr. Ronnie Jackson - on the move. Needs
                                                    protecti..] Isn’t he the wrong color
                        1/6/2021     3:17 PM        The DC Swat teams are seen kitting up now!

                        1/6/2021                    [      : Isn’t he the wrong color]? What do
                                                    you mean?
                        1/6/2021     3:19 PM        People in the Chambers taking pictures of
                                                    documents there left behind per my nurse
                                                    on the news
                        1/6/2021     3:22 PM        [                       : What do you mean?]
                                                    Disregard. Confused him with someone else

                        1/6/2021     3:23 PM        OAN saying someone shot in the chest bu DC
                                                    Police
                        1/6/2021     3:23 PM        SWAT should stand down and abide by their
                                                    Oath
                        1/6/2021     3:24 PM        Just received info same thing happening
                                                    right now in Georgia/storming Capital too




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UserName                  Date         Time           Content
                          1/6/2021     3:27 PM        Georgia State Capitol stormed and AJ w
                                                      many patriots inside.
                                                      https://twitter.com/joespalmer/status/1329
                                                      132416540291075?s=20
                          1/6/2021     3:29 PM        Newsmax reporting civilian shot in the neck
                                                      and another in the chest
             -            1/6/2021     3:30 PM        They just drug a cop out of the capital
                          1/6/2021     3:32 PM        [                -     : They just drug a cop
      …                                               out of the capital] What? Seriously…...hadn't
                                                      heard that via the live feed. Interesting.

Ed Vallejo                1/6/2021     3:32 PM        That tweet is 2 months old
Ed Vallejo                1/6/2021     3:33 PM        The video is at least popsci
                          1/6/2021     3:35 PM        https://twitter.com/dhookstead/status/134
                                                      6914290553516032?s=20
                          1/6/2021     3:35 PM        Video of woman being shot
                          1/6/2021     3:35 PM        Oan reporting as well, one woman shot in
                                                      DC capitol, and Ga and Kansas stormed as
                                                      well
                          1/6/2021     3:37 PM        The video feeds show a ton of Antifa looking
                                                      shitheads in the crowd, and some idito
                                                      standing on a piller with a pocket full of
                                                      rocks, throwing them at the cops at the door

                          1/6/2021     3:42 PM        [posts image: Tweet JUST IN - #Georgia and
                                                      #Kansas capitol buildings have been stormed
                                                      by protesters.]
                          1/6/2021     3:44 PM        Hopefully anyone inside the capital is
                                                      barricading themselves in and continually
                                                      reinforce their positions for the long haul
                          1/6/2021     3:44 PM        [posts image of peron inside senate
                                                      chambers] Not a Patriot
                          1/6/2021     3:02 PM        Anyone?
                                       *It is not clear
                                       why this
                                       message
                                       appears to
                                       come out of
                                       time.
                          1/6/2021     3:45 PM          Noe with that raised hand she's not
                          1/6/2021     3:45 PM          That’s a comrade
                          1/6/2021     3:48 PM          [posts image of person with a weapon] Can
                                                        anyone i.d.? [emoji]
                          1/6/2021     3:49 PM          [                       : posts image of
                                                        person with a weapon] Can anyone i.d.?
                                                        [emoji]] Looks like a female. Can't tell.


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UserName                  Date         Time            Content
                          1/6/2021     3:50 PM         antifa?
Stewart Rhodes            1/6/2021     4:40 PM         [posts photo of people at Capitol, one
                                                       person in Oath Keeper hat]
                          1/6/2021     4:51 PM         Probably
                          1/6/2021     4:51 PM         Large group police entering senate office
                                                       building. C & 1st NE
                          1/6/2021     4:52 PM         [posts video]
                          1/6/2021     4:57 PM         [posts image of people on Capitol olding
                                                       american flag and trump flag] SC on the
                                                       steps right by where people are going up on
                                                       the east side.
                          1/6/2021     3:01 PM         Pardon west side
                                       *It is not clear
                                       why this
                                       message
                                       appears to
                                       come out of
                                       time.
                          1/6/2021     3:58 PM          Standing by my FOB. Can roll if needed.
                          1/6/2021     3:59 PM          Just caught a glimpse of news in waiting
                                                        room

                                                       Caravan of lights headed in
                          1/6/2021     4:00 PM         [posts photo of person in Capitol] Better pic
                                                       of the LARP
                          1/6/2021     4:00 PM         Headline said National Guard Change of
                                                       mission approved
                          1/6/2021     4:01 PM         Sayin gan IED was found on Capitol grounds

                          1/6/2021     4:02 PM         [Stewart Rhodes: [posts photo of people at
                                                       Capitol, one person in Oath Keeper hat]] Is
                                                       that one of Ours with the backward hat ?

                          1/6/2021     4:03 PM         Fairfax pd showing up in force
                          1/6/2021     4:03 PM         [posts photo of the news on the tv] On the
                                                       news something about secret service
                                                       shooting something
                          1/6/2021     4:04 PM         [Posts image]
                          1/6/2021     4:06 PM         [             : IS that one of Ours with the
                                                       backward har?] If so, that dog wont hunt
                          1/6/2021     4:08 PM         Virginia guard on the way
                          1/6/2021     4:09 PM         1800 soldiers
Ed Vallejo                1/6/2021     4:09 PM         Poop head-elect has declared us
                                                       insurrectionists on tv.
                          1/6/2021     4:08 PM         [posts video]
                          1/6/2021     4:11 PM         That's a prize


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UserName                  Date         Time           Content
                          1/6/2021     4:12 PM        Video from OAN, reporter Seen a poster
                                                      from Antifa, still trying to get it on screen
                          1/6/2021     4:12 PM        VA state police convoy arrived C & 1st NE
                          1/6/2021     4:18 PM        [posts photo of person, circles tattoo] Antifa

                          1/6/2021     4:19 PM        Fight the good fight. Stand your ground
                          1/6/2021     4:24 PM        [             : [posts photo of person, circles
                                                      tattoo] Antifa] I'm hearing Qanon guy.

Ed Vallejo                1/6/2021     4:25 PM        Gentleman, Our Commander in Chief has
                                                      just ordered us to go home. Comments?
                          1/6/2021     4:25 PM        The tall horned guy in front is QANON.
                                                      Confirmed from prior city protests. He kinda
                                                      stands out ….
                          1/6/2021     4:26 PM        [Ed Vallejo: Gentleman, Our Commander in
                                                      Chief has just…] Trump?
Ed Vallejo                1/6/2021     4:26 PM        Yes Sir.
                          1/6/2021     4:27 PM        [posts photo of person in senate chambers]
                                                      Someone said: Thays out local Phoenix guy
                                                      Jake lol

                                                      In National they said it
                          1/6/2021     4:27 PM        [Ed Vallejo: Yes Sir.] Where and when?

Ed Vallejo                1/6/2021     4:28 PM        I just watched a replay. Searching now for
                                                      clip.
                          1/6/2021     4:27 PM        From a pre recorded message POTUS said
                                                      we are so sweet. Please go home. Weirdest
                                                      damn pre recorded message I've ever heard

                          1/6/2021     4:28 PM        Just heard it five minutes ago. Very odd
                                                      message
                          1/6/2021     4:29 PM        They are now broadcasting round two
                          1/6/2021     4:29 PM        [Reposts Tweet from Donald Trump]
                                                      https://twitter.com/i/status/134692888259
                                                      5885058
                          1/6/2021     4:29 PM        Fake
                                                      ?




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UserName                 Date         Time            Content
                         1/6/2021     4:29 PM         [             : posts video] How can one tell
                                                      the difference between an American
                                                      Conservative Patriot and ANTIFA dressed up
                                                      as Trump Supporters/Posing as police?

                                                      [emoji] ANTIFA always wear masks, carry
                                                      sticks & shields and tear things up. They are
                                                      cowards

                                                      [emoji] Red-blooded American Patriots
                                                      always do the right things to provide &
                                                      protect and are brave and courageous. Just
                                                      look in to their eyes, the wi Dow's of their
                                                      sould and you will KNOW!!

                                                       God is protecting us Patriots! [emojis] Give
                                                       HIM the glory.
Stewart Rhodes           1/6/2021     2:41 PM          South side of US Capitol. Patriots pounding
                                      *It is not clear on doors
                                      why this
                                      message and
                                      the ones that
                                      follow appears
                                      to come out of
                                      time.

Stewart Rhodes           1/6/2021     2:42 PM         [Posts photo of rioters at Capitol] Pissed off
                                                      patriots.
Stewart Rhodes           1/6/2021     2:43 PM         [              : I'm about a mile away. 9th
                                                      and F. Heading over soon.] Come to South
                                                      side. Just left of dome.

                                                      [Posts photo of Capitol]
Stewart Rhodes           1/6/2021     2:44 PM         The smell of marijuana and tear gas
Stewart Rhodes           1/6/2021     2:53 PM         They started parying pepper spray I moved
                                                                    to left edge of back of US
                                                      Capitol.

                                                      [posts photo]
Stewart Rhodes           1/6/2021     2:55 PM         Back steps. On reflecting pool side. Opposite
                                                      the SCOTUS
Stewart Rhodes           1/6/2021     2:56 PM         [Posts photos]
Stewart Rhodes           1/6/2021     3:00 PM         Walking back toward center of building.
                                                      Under dome
Stewart Rhodes           1/6/2021     3:01 PM         Still on top level




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UserName                  Date         Time           Content
Stewart Rhodes            1/6/2021     3:06 PM        On the North side of Capitol. Actual north.
                                                      From Supreme Court, come to the right
                                                      around side of the building
Stewart Rhodes            1/6/2021     3:08 PM        [Posts photos]
Stewart Rhodes            1/6/2021     3:09 PM        [                                     : Nurse
                                                      just said news is reporting Congress given
                                                      gas masks and ar…] Fuck em
Stewart Rhodes            1/6/2021     3:09 PM        [posts photo of people at Capitol] Trump
                                                      better do his damn duty
Stewart Rhodes            1/6/2021     3:10 PM        [                        : Ronnie Jackson (TX)
                                                      office inside Capitol - he needs OK help.
                                                      Anyon…] Help with what?
Stewart Rhodes            1/6/2021     3:10 PM        [                        : Dr. Ronnie Jackson -
                                                      on the move. Needs protecti....] Give him my
                                                      cell.
Stewart Rhodes            1/6/2021     3:10 PM        [Posts photos]
Stewart Rhodes            1/6/2021     3:22 PM        [              : [posts video] Guys and
                                                      gals….this is fucking ANTIFA! No one o…]
                                                      Nope. I'm right here. These are Patriots
Stewart Rhodes            1/6/2021     3:23 PM        I have a backpack. Lots of us do. Only inside
                                                      the area where Trump spoke were we not
                                                      allowed to bring hear. This is different area.

Stewart Rhodes            1/6/2021     3:25 PM        I'm Standinf on NE Corner of US Capitol.
                                                      Looking at Supreme Court
Stewart Rhodes            1/6/2021     3:27 PM              ,                  are now with me.
Stewart Rhodes            1/6/2021     3:28 PM        Kelly come to NE corner of building. On
                                                      steps.
Stewart Rhodes            1/6/2021     3:28 PM        Right across from Supreme Court.
Stewart Rhodes            1/6/2021     3:30 PM        [       : Newsmax reporting civilian shot in
                                                      the neck and another in the chest]
                                                      Link?

                                                      Anyone in DC who is not tasked with a
                                                      security detail, come yo US Capitol on the
                                                      Supreme Court side.

                                                      Come to Capitol
Stewart Rhodes            1/6/2021     3:31 PM        NE corner of Capitol building
Stewart Rhodes            1/6/2021     3:32 PM        We can see Supreme Court from here
                          1/6/2021     4:33 PM        [Posts screenshots]
                          1/6/2021     4:33 PM                and crew safe and on way to hotel
Ed Vallejo                1/6/2021     4:33 PM        The video under close scrutiny looks like an
                                                      overlay via CGI




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UserName                 Date         Time            Content
                         1/6/2021     4:35 PM         after watch video of President Trump on
                                                      Twitter, sounds like he is giving up…I hope
                                                      this is NOT true
                         1/6/2021     4:37 PM         Metro is closing @2000hrs- Just announced

                         1/6/2021     4:37 PM         [Responding to             4:37pm chat] what
                                                      this mean
                         1/6/2021     4:37 PM         curfew???
                         1/6/2021     4:40 PM         [Screenshot of article, 'AZ BLM rally in June,
                                                      DC Capital in January']
                         1/6/2021     4:42 PM         Curfew announces starting at 1800
Stewart Rhodes           1/6/2021     4:44 PM         [Responding to             TN Chapter
                                                      President's 4:35pm chat] What did he post?
                                                      Link and screenshot please
                         1/6/2021     4:45 PM         DC Metro in full kit in tunnels heading back
                                                      up to Capitol basement and back up in to
                                                      rotunda area. 6pm curfew is a joke. Ain't
                                                      happening with millions in Dc. Not
                                                      enforceable.
                         1/6/2021     4:45 PM         https://twitter/com/i/status/134692888259
                                                      5885058
Stewart Rhodes           1/6/2021     3:11:00 PM      [Image of crowd of people]
                                      *It is not clear
                                      why this
                                      message
                                      appears to
                                      come out of
                                      time.
                         1/6/2021     4:45 PM          [Responding to                    Texas'
                                                       4:45pm chat] Women/children get to your
                                                       hotels. It's going to be an interesting night.
                                                       [Several emojis including American flag,
                                                       shield, and crossed swords]
                         1/6/2021     4:46 PM          [Responding to            TN Chapter
                                                       President's 4:37pm chat] It means if you
                                                       need metro after 2000hrs you're walking out

                         1/6/2021     4:47 PM         Buses stop at 2100hrs. Sounds to me they're
                                                      gonna do mop up after that
                         1/6/2021     4:49 PM         [Image of Donald Trump, "Donald J. Trump
                                                      on Twitter https://t.co/Pm2PKV0Fp3
                                                      twitter.com]
                                                      https://twitter.com/i/status/134692888259
                                                      5885058
                         1/6/2021     4:49 PM         I got gassed and maced….I put that shit on
                                                      my eggs boy.....we made a statement


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UserName                  Date         Time             Content
Ed Vallejo                1/6/2021     4:49 PM          [Responding to            4:46pm chat] I
                                                        have 2 pickups and 1 hour 11 minutes to
                                                        exfil whomever needs it
                          1/6/2021     4:50 PM          [Image of large crowd of people with caption
                                                        'Singing the National Anthem']
Stewart Rhodes            1/6/2021     3:23:00 PM       [Image of people standing near US Capitol
                                       *It is not clear and several images of individuals standing in
                                       why this         unidentified locations]
                                       message and
                                       the following
                                       message
                                       appear to
                                       come out of
                                       time.
Stewart Rhodes            1/6/2021     3:25 PM          [Several images of people standing near US
                                                        Capitol and several images of individuals
                                                        standing in unidentified locations]
Ed Vallejo                1/6/2021     4:55 PM          Evacuation of the Capital grounds by the NG
                                                        and LEO has been ordered by the Mayor.

                          1/6/2021     4:56 PM         Pentagin Denied Ntl Gaurd
Ed Vallejo                1/6/2021     4:57 PM         [Responding to           4:49pm chat] This
                                                       was his 'video'
Ed Vallejo                1/6/2021     4:57 PM         40 to 60 Root Police moving in
Ed Vallejo                1/6/2021     4:57 PM         Riot
Ed Vallejo                1/6/2021     4:58 PM         On the East Steps
                          1/6/2021     4:59 PM         In anyone wants to head out with me, let me
                                                       know, and head toward west wing Café
                          1/6/2021     4:58 PM         that could get interesting
                          1/6/2021     4:58 PM         stand your ground guys, its time WE The
                                                       People Make a stand and say NO More
                          1/6/2021     5:02 PM         CNN Reporters in DC just swarmed by
                                                       Patriots and they took away all of their
                                                       filming equipment from them before swat
                                                       arrived.
                          1/6/2021     5:09 PM         so why are leaving??? It does NO good to go
                                                       show up and say your there to defend and
                                                       then just leave
Ed Vallejo                1/6/2021     5:11 PM         Leaving!?! [Laughing emoji]
Ed Vallejo                1/6/2021     5:12 PM         I ain't goin nowhere.
                          1/6/2021     5:12 PM         im sorry guys but I totally disagree with
                                                       backing down..if we back down and leave
                                                       everything we done is in vain and useless
                          1/6/2021     5:12 PM         We're just refueling brother




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UserName                  Date         Time           Content
                          1/6/2021                    [Responding to                        5:12pm
                                                      chat] copy that I wanted soo badly to be
                                                      there, but just lai my dad to rest today
                          1/6/2021     5:15 PM        im ready to leave now if needed
                          1/6/2021     5:18 PM        https://www.independent.co.uk/news/worl
                                                      d/americas/georgia-capitol-protests-
                                                      washington-dc-trump-b1783480.html
Ed Vallejo                1/6/2021     5:21 PM        My statement was to assure you Arizona
                                                      won't let anyone walk. I was RTO for 36
                                                      Dust off and we will monitor all night and
                                                      transport anyone that meets us on the
                                                      perimeter curfew be damned.
Stewart Rhodes            1/6/2021     5:28 PM        [Responding to Ed Vallejo's 5:21 chat] Thank
                                                      you. We have hotels inside DC that men can
                                                      stay in, if they get stuck inside.
Stewart Rhodes            1/6/2021     5:28 PM        If you need a place to go inside DC, post here
                                                      or call/text my cell. Stewart
Stewart Rhodes            1/6/2021     5:50 PM        Leaders check to be sure you have all your
                                                      team members. If anyone is missing, post
                                                      here.
Ed Vallejo                1/6/2021     5:50 PM        [Check mark graphic]
Jessica Watkins           1/6/2021     5:50 PM        We were in there. Flashbangs, teargassed
                                                      us. We are taking our senior citizen
                                                      members back to the hotel now
Stewart Rhodes            1/6/2021     5:55 PM        [Responding to Jessica Watkins' 5:50pm
                                                      chat] Let us know when you are back safe
                          1/6/2021     5:56 PM               s team is back and safe.
Stewart Rhodes            1/6/2021                    [Responding to                's 5:56pm chat]
                                                      Good to go.
                          1/6/2021     5:59 PM        [Screenshot of article on Jake Angeli,
                                                      https://ww.backstage.com/u/jake-angeli]
                                                      Think this os the guy in the pics .. account
                                                      now deleted
                          1/6/2021     6:05 PM        [Image of OAN/One America News Network;
                                                      'Breaking: The woman who was shot in the
                                                      U.S. Capitol building has died.'
                                                      https://twitter.com/oann/status/134695361
                                                      9682123776?s=21
                          1/6/2021     6:08 PM        [Unidentifiable chart] The same late night
                                                      "vote spike" as the presidential election
                                                      happened again. Here it is from yesterday's
                                                      Senate Runoff. @KanekoaTheGreat

                          1/6/2021     6:10 PM        I'm in my car. Helping people get back to
                                                      hotels.




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UserName                 Date         Time           Content
Stewart Rhodes           1/6/2021     6:12 PM        [Responding to                 6:10pm chat]
                                                     Thanks brother.
Stewart Rhodes           1/6/2021     6:12 PM        [Responding to        's 6:08pm chat]
                                                     Mudered.
Stewart Rhodes           1/6/2021     6:12 PM        That was our Boston Massacre
Stewart Rhodes           1/6/2021     6:13 PM        She was UNARMED. A small young woman.
                                                     I spoke to the young man who was right next
                                                     to her.
                         1/6/2021     6:13 PM        [Image of unidentified individual]
                         1/6/2021     6:17 PM        [Responding to one of Stewart Rhodes'
                                                     3:23pm images] This is one of the well
                                                     known Antifa/BLM guys from out west.
                         1/6/2021     6:17 PM        [Unidentified video]

                         1/6/2021     6:18 PM        From a brother that took the video

                         1/6/2021     6:18 PM        [Responding to            -      5:59pm
                                                     chat][Image of individuals inside the Capitol]
                                                     https://www.rollingstone.com/culture/cultu
                                                     re-news/united-states-of-qanon-capitol-
                                                     insurrection-riot-conspiracy-theory-
                                                     1110622/ There's a photo from the riots at
                                                     the U.S. Capitol of a man in a fur headdress
                                                     and full warpaint, presiding over the dais on
                                                     the congressional floor. The man is named
                                                     Jake Angeli, and he is an aspiring actor from
                                                     Arizona, but he is perhaps best known as the
                                                     "QAnon Shaman," one of the most
                                                     prominent believers in the far-right
                                                     extremist conspiracy theory QAnon, who
                                                     regularly shows up at pro-Trump rallies in
                                                     full-on regalia. QAnon is the belief that an
                                                     anonymous figure with top security
                                                     clearance is posting secrets about the
                                                     government on the internet, including the
                                                     idea that high-ranking Democrats are
                                                     involved in a child sex trafficking ring and
                                                     that Trump is lying in wait to arrest and
                                                     execute them.


                         1/6/2021     6:19 PM        [Image of floor of one of the chambers of
                                                     Congress; "Lin Wood on Twitter
                                                     'Discernment' twitter.com]
                                                     https://twitter.com/LLinWood/status/13469
                                                     46445157404674


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UserName                  Date         Time           Content
Stewart Rhodes            1/6/2021     6:19 PM        [Responding to             6:17pm chat] Yeah?
                                                      So what?
                          1/6/2021     6:19 PM        correct
                          1/6/2021     6:21 PM        [Image of floor of one of the chambers of
                                                      Congress; "Lin Wood on Twitter
                                                      'Discernment' twitter.com]
                                                      https://twitter.com/LLinWood/status/13469
                                                      46445157404674
Stewart Rhodes            1/6/2021     6:21 PM        [Responding to             6:18pm chat] Yes.
                                                      He is with Veterans for Trump.
Stewart Rhodes            1/6/2021     6:22 PM        Look, I WAS THERE. I WAS RIGHT OUSIDE.
                                                      Patriots stormed in. Not Antifa. And I don't
                                                      blame them. They were justifiably pissed
                                                      off.
Stewart Rhodes            1/6/2021     6:26 PM        [Responding to Stewart Rhodes' 6:21pm
                                                      chat] I'm trying to confirm that. BUT, a
                                                      swarm of pissed off patriots entered the US
                                                      Capitol. One of them, a young woman, was
                                                      murdered. That's a fact. If any so-called
                                                      Antifa did also go in, it doesn't change that
                                                      fact.
Stewart Rhodes            1/6/2021     6:26 PM        I was there. I saw it. In person.
Stewart Rhodes            1/6/2021     6:27 PM        Scroll back up and look at the photos I
                                                      posted
                          1/6/2021     6:32 PM        [Responding to Stewart Rhodes' 6:21pm
                                                      chat] [Image of unidentified individuals]
                                                      Same guy?!
Ed Vallejo                1/6/2021     6:34 PM        I tried to show        the FAKE Trump go
                                                      home vid Twitter removed it saying it
                                                      violated the rules
OK Gator 1                1/6/2021     6:36 PM        Ok who gives a damn who went in there . If
                                                      it's Obama himself it doesn't matter What
                                                      matters is where we are now and decisions
                                                      that have to be mad . We are now the
                                                      enemy of the State
                          1/6/2021     6:37 PM        [Responding to Stewart Rhodes' 6:32pm] As
                                                      I figured. This organization is a huge fuckin
                                                      joke. You Stewart are the dumbass I heard
                                                      you were. Good luck getting rich off those
                                                      Dumb ass PSD donations you fuck stick.

                          1/6/2021     6:38 PM        Photos are blurred, anyone else having that
                                                      problem?




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UserName                  Date         Time           Content
                          1/6/2021     6:39 PM        [Image of entrance to Metro station showing
                                                      individual in black at top of escalator]
                                                      Dogged by this bitch while exfilling my cats.
                                                      Zoom in.
Ed Vallejo                1/6/2021     6:40 PM        You were correct - drone red & non -
                                                      functional
                          1/6/2021     6:56 PM        [Link to newsbreakapp.com, 'US Capitol
                                                      cleared of pro-Trump rioters as congress
                                                      aims to certify election re…'
                                                      https://h5.newsbreakapp.com/mp/0YEGhlx5
                                                      ?cv-3.6.3.7762&platform=0] We're thugs
                                                      brothers and sisters

                          1/6/2021     7:04 PM        https://world365.info/unarmed-pro-trump-
                                                      woman-shot-by-capitol-police-has died/
                                                      Includes video of the shooting…
                          1/6/2021     7:11 PM        https://www.youtube.com/watch?v=BUxUS
                                                      gvejw live in DC right now
                          1/6/2021     7:15 PM        FYI- Congress requested back to Capitol
                                                      tonight at 7pm to finish out electoral process

                          1/6/2021     7:16 PM        Twitter suspended Trump account
                          1/6/2021     7:16 PM        "        : As I figured, This organization is a
                                                      huge fucking joke. You Stewart are…" WTF
Ed Vallejo                1/6/2021     7:17 PM        We'll, they have decided to declare buttboy
                                                      pres in the dead of night with no one there,
                                                      right?
                          1/6/2021     7:17 PM        They just deleted some of his tweets - it's
                                                      still there sorry [sleeping emoji]
                          1/6/2021     7:26 PM        Congress being escorted in to tunnels
                                                      toward Capitol now.
Stewart Rhodes            1/6/2021     7:28 PM        "                        WTF" Some ass who
                                                      wasn't even there. Good riddence. People
                                                      who weren't there should shut their damn
                                                      mounths and listen to those of us who were.

Ed Vallejo                1/6/2021     7:28 PM        Here here
                          1/6/2021     7:29 PM        We held the line [picture of Capitol crowd]
Stewart Rhodes            1/6/2021     7:30 PM        Thosands of ticked off patriots
                                                      spontaneously marched on the Capitol and
                                                      sent the message that they will not live
                                                      under an illegitimate ChiCom puppet regime.
                                                      You can't handle that, hit the door. You ain't
                                                      seen nothing yet.
Ed Vallejo                1/6/2021     7:32 PM        We'll be back to 6am to do it again.
Ed Vallejo                1/6/2021     7:32 PM        We got food for 30 days


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UserName                 Date         Time           Content
Stewart Rhodes           1/6/2021     7:33 PM        And the presence of one or two whatever's
                                                     doesn't change that. Would have happened
                                                     even if they weren't there. So stop fixation
                                                     on it. Look at the hundreds of other who
                                                     also in or were trying to get in (they
                                                     pounding on the door on th side I was on -
                                                     on reflecting pool side - but managed to get
                                                     inside on the other side - on the SCOTUS
                                                     side).
OK Gator 1               1/6/2021     7:34 PM        We aren't quitting!!' We are reloading!!
                         1/6/2021     7:40 PM        To my brothers and sisters, my heart is
                                                     heavy that I could not be there with you. You
                                                     showed bravery and the warrior spirit! I am
                                                     still down, but improving thanks to Stewart's
                                                     recommendation on the Doc to call. After
                                                     starting        xychloroquine and associated
                                                     meds starting 36 hours ago, I am starting to
                                                     already show improvement! Thanks
                                                     Stewart!!!! If not for you this 68 year old
                                                     with type 2 diabetes may not have been
                                                     around! Stay safe all!!!! Time to put my
                                                     head back down.
Stewart Rhodes           1/6/2021     7:41 PM        The founding generation Sons of Liberty
                                                     stormed the mansion of the corrupt Royal
                                                     Governor of Massachusetts, and trashed the
                                                     place. They also jumped on board a ship
                                                     carrying East India Tea, and dumped it in the
                                                     harbor. We are actually in a far more deadly
                                                     situation given the FACT that enemies
                                                     foreign and domestic have subverted,
                                                     infiltrated, and taken over near every single
                                                     office and level of power in this nation. We
                                                     hvae one FINAL chance to get Trump to do
                                                     his job and his duty. Patriots entering their
                                                     own Capitol to send a message to the
                                                     traitors is NOTHING compared to what's
                                                     coming if Trump doesn't take decisive action
                                                     right now. It helped to send that message to
                                                     HIM. He was the most important audience
                                                     today. I hope he got the message.

OK Gator 1               1/6/2021     7:42 PM        https://youtu.be/ydHF3Qq963U




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UserName                  Date         Time           Content
Ed Vallejo                1/6/2021     7:57 PM        TAKE HEART My phone is on [fire emoji] [fire
                                                      emoji] [fire emoji] and I'm told hundreds of
                                                      thousands still headed here and even more
                                                      will show in the weekend from being off
                                                      work!
Ed Vallejo                1/6/2021     7:57 PM        We have only ye tbehin to fight!
Ed Vallejo                1/6/2021     7:58 PM        Begun
                          1/6/2021     8:00 PM        Remind them all that BLM and ANTIFA have
                                                      done billions of damage. They burn down
                                                      businesses, cars, they attack cops with
                                                      bottles of shit and piss. They are a mob that
                                                      leaves distraction in their wake… But it was
                                                      patriots that were murdered by the very
                                                      police WE defend....

                                                      Destruction in their wake.....
                          1/6/2021     8:01 PM        As someone who was one of the first up the
                                                      stairs, I would like to take a moment for a
                                                      couple of thoughts for after action review.

                                                      1) I did not wake up this morning thinking I
                                                      would 'Storm the Capitol'.
                                                      2) While I think it totally necessary to do
                                                      what we did, I feel no joy. I am deeply
                                                      saddened for what I see on the horizon.
                                                      3) God bless America, se will get through
                                                      this.

                          1/6/2021     8:03 PM        [Stewart Rhodes: Photo] Stewart, You are a
                                                      patriot.        , Go home to mommy.
Ed Vallejo                1/6/2021     8:04 PM        "After Action Reports" will be dated 1/21/21
                                                      [emoji].
                          1/6/2021     8:07 PM        [posts picture of cartoon of statue of liberty
                                                      and another character that says "Don’t
                                                      worry ole girl, we're coming.]
                          1/6/2021     8:09 PM        Amen guys, my California team made it back
                                                      to the hotel safely
                          1/6/2021     8:11 PM        It was great meeting you today! Godspeed!

                          1/6/2021     8:12 PM        [Posts photo] Next Step!
                  -       1/6/2021     8:14 PM               has been removed from association
                                                      with Virginia chapter.
Jessica Watkins           1/6/2021     8:28 PM        [posts photo of people on capitol]




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UserName                  Date         Time           Content
Jessica Watkins           1/6/2021     8:29 PM        [photos photo of individual in tactical gear:
                                                      Tan MFH style helmet with goggles, Olive
                                                      Drab Top, Tan bottoms, Dark Green Plate
                                                      Carrier]
Jessica Watkins           1/6/2021     8:30 PM        [posts photo]
Jessica Watkins           1/6/2021     8:31 PM        [posts video]
                          1/6/2021     8:33 PM        The House and Senate are perps of "a long
                                                      train of abuses, evincing a design to reduce
                                                      we the people under absolute despotism." In
                                                      every stage of these Oprressions We have
                                                      Petitioned for Redress in the most humble
                                                      terms. Our repeated Petitions hav ebeen
                                                      answered only by repeated injury. A Prince
                                                      (Government) whose character is thus
                                                      marked by every deed which may define a
                                                      Tyrant, is unfit to be the ruler of a free
                                                      people."

                                                      These patriots, if they were patriots, may
                                                      have undertaken ill-advised action, but their
                          1/6/2021     8:33 PM        We need a new "Declaration of Defiance"
Jessica Watkins           1/6/2021     8:33 PM        [posts video]
Ed Vallejo                1/6/2021     8:38 PM        The longer I hear these LIES the more I want
                                                      to stomp some ASS
Ed Vallejo                1/6/2021     8:39 PM        When is a Republican going to speak, or are
                                                      they even allowed?
Ok Gator 1                1/6/2021     8:40 PM        Yes Tom Cotton called for our heads
Stewart Rhodes            1/6/2021     8:40 PM        [Ed Vallejo: After Action Reports' will be
                                                      dated 1/21/21.]

                                                      Be very careful and mindful that anything
                                                      you say can and will be used against you.

Stewart Rhodes            1/6/2021     8:41 PM        [            : We need a new 'Declaration
                                                      of Defiance'

                                                      Already working on it
                          1/6/2021     8:43 PM        Time for every true patriot to start taking
                                                      "sick weeks" off….like truckers, electricians,
                                                      folks at power plants…grocery stores…"sorry
                                                      but I'm sick, I can't come in"
Ed Vallejo                1/6/2021     8:43 PM        I can't listen any longer.




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UserName                 Date         Time           Content
Stewart Rhodes           1/6/2021     8:45 PM        God bless you brother. But be mindful -
                                                     anything you say can, and will be used
                                                     against you.

                                                     ALL, keep that in mind

                                                     ALCON: Going to eat at the Olive Garden

                                                     8133 Leesburg Pike, Vienna, VA 22182

                                                     Anyone still in the DC area, you are welcome
                                                     to join us. Going there now
OK Gator 1               1/6/2021                    [      : [Photo] Next Step!] Us or them that's
                                                     the real question?
Stewart Rhodes           1/6/2021     8:48 PM        [Stewart Rhoes: ALCON:…]
                                                     Roger that. 10-19
                         1/6/2021     8:48 PM        [Posts photo] Ashley Babbitt, San Diego Rest
                                                     in Peace Patriot [emojis]
Ok Gator 1               1/6/2021     8:48 PM        [posts Apple news article] Live Updates:
                                                     Congress returns to Capitol to continue
                                                     electoral….Chaos erupted as thousands of
                                                     pro-trump demontrators charged the
                                                     complex apple.news

                                                     https://apple.news/ADaK3QXwkRyWPmiJc5J
                                                     x65w
Stewart Rhodes           1/6/2021     8:53 PM        [Stewart Rhodes: ALCON…]
                                                     But hurry. They close in an hour.
Stewart Rhodes           1/6/2021     8:54 PM        [                      : Ashley Babbit, San
                                                     Diego Rest in Peace Patriot [emojis]…]

                                                     Are you sure this was her? Let's be sure. I
                                                     heard a different name.
                         1/6/2021     8:55 PM        [posts hyperlink]

                                                     https://www.thegatewaypundit.com/2021/0
                                                     1/breaking-unarmed-woman-shot-killed-
                                                     capitol-police-identified-14-year-usaf-
                                                     veteran-video/
Stewart Rhodes           1/6/2021     8:56 PM        I spoke to the young man who was there
                                                     next to her. The kid people are now claiming
                                                     was "Antifa" because his hat was on
                                                     backwards. He DID NOT strike me as fake or
                                                     as Antifa At all.
                         1/6/2021     8:57 PM        https://m.washingtontimes.com/




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UserName                  Date         Time           Content
Stewart Rhodes            1/6/2021     8:58 PM        [      :
                                                      https://www.thegatewaypundit.com/2021/0
                                                      1/breaking-unarmed..]

                                                      So they murdered a sister veteran. This is
                                                      our "Boston Massacre".

                                                      She was only looking into the chamber
                                                      thorugh the window. Of a door that was
                                                      blocked and barricades from the inside.

                                                      She was no threat to them. Unarmed. As
                                                      were the others. I spoke to witnesses who
                                                      were there.

                                                      NOBODY was armed. Any contention they
                                                      were is bullshit
                          1/6/2021     8:58 PM        [Stewart Rhodes: Are you sure this was her?
                                                      Let's be sure. I heard a different name.]

                                                      10/4 - the other name was a "character
                                                      name" from Fight Club movie
                          1/6/2021     9:02 PM        I had a pic of the police shooter earlier. I
                                                      can’t find it now. Taken through the window.

                          1/6/2021     9:03 PM        [posts article]

                                                      XRVision firm claims Antifa infiltrated
                                                      protesters who stormed Capitol
                                                      Trump supporters say that antifa members
                                                      disguised as one of them infilitrated the
                                                      protestors who stormed the U.S. Capitol on
                                                      Wednesday
                                                      washingtontimes.com

                                                      https://m.washingtontimes.com/news/2021
                                                      /jan/6/xrvision-firm-claims-antifa-infiltrated-
                                                      protesters/
Ed Vallejo                1/6/2021     9:08 PM        [      : I had a pic of the police shooter
                                                      earlier. I can't find it now.Taken t…]

                                                      I set it to others but can't find it now either.
                                                      Spooky




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UserName                  Date         Time           Content
Stewart Rhodes            1/6/2021     9:08 PM        [OK Gator 1: Redress of grievances is step 1]

                                                      Declaration of illegitimacy is step 1

Stewart Rhodes            1/6/2021     9:11 PM        [Stewart Rhodes: I spoke to the young man
                                                      who was there next to her. The kid people
                                                      …]

                                                      Her blood was still on his hands, from when
                                                      he tried to help her. It was horrific. I'm so
                                                      damned angry.
Ed Vallejo                1/6/2021     9:14 PM        [                        : [photo] can anyone
                                                      i.d.? [emoji]]

                                                      There it is!
Ed Vallejo                1/6/2021     9:15 PM        [       : I had a pic of the police shooter
                                                      earlier. I can't find it now. Taken t…]

                                                      There's your pic.
                          1/6/2021     9:16 PM        [      : I had a pic of the police shooter
                                                      earlier. I can't find i…]
                                                      [posts photo]
Ed Vallejo                1/6/2021     9:17 PM        The other one is clearer
                                                      Scroll up
                          1/6/2021     9:17 PM        I don’t think this is it.
                          1/6/2021     9:25 PM        [Stewart Rhodes: Some ass who wasn't even
                                                      there. Good riddance. ….]

                                                      Copy that boss
                          1/6/2021     9:32 PM        Watch and be aware Patriots!!!
                                                      https://www.youtube.com/watch?v=Q9WrC
                                                      22loEc
Ok Gator 1                1/6/2021     9:41 PM        [                       : [Photo] Ashley
                                                      babbit, San Diego Rest in Peace Patriot
                                                      [emoji]]

                                                      Not her
Ok Gator 1                1/6/2021     9:43 PM        [posts photo of woman injured at Capitol]
                                                      This is her. Not 13 not 20 In her 30's. 14 year
                                                      veteran is what is being reports. Trying to
                                                      verify the Air Force time / age




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UserName                 Date         Time           Content
Ok Gator 1               1/6/2021     9:45 PM        [posts article from Apple News]

                                                     San Diego woman ID'd as person shot dead
                                                     inside Capitol - Fox …
                                                     The woman fatally shot inside the U.S.
                                                     Capitol Wednesday has been identified as
                                                     Ashli Babbit, a friend confirms to Fox News.
                                                     Babbit was a 14-year veteran who served
                                                     four tours with the Air Force and resided in
                                                     San Diego according to media reports
                                                     apple.news

                                                     https://apple.news/A_E0ec7c9RY6FKBWPG
                                                     Oilhw

                                                     This just came out


                         1/6/2021     9:48 PM        [posts link to YouTube video]
                                                     BREAKING
                                                     False Flag underway. Regain Initiative. Far-
                                                     Near recognition signals. More violence at
                                                     dark. Re-establish narrative control.
                                                     youtube.com

                                                     https://www.youtube.com/watch?v=Q9WrC
                                                     22loEc

                                                     Worth hearing
Ok Gator 1               1/6/2021     9:48 PM        Anyone else notice Capitol Police even
                                                     dressed liked antifa?? Maybe they get their
                                                     uniforms from the same supporters
                         1/6/2021     10:01 PM       https://www.facebook.com/thesavagediary/
                                                     videos/540640770225204/Georgia
                         1/6/2021     10:10 PM       https://banned.video/watch?id=5ff63502f23
                                                     a18318ceb28a7
                         1/6/2021     10:32 PM       Senate floor just called today's Patriots
                                                     "domestic terrorists" - get out dc now. Go
                                                     across the bridge toward Alexandria, VA.
                                                     Have heard from a reliable sources there
                                                     may be un-warranted hotel searches
                                                     tonight. Looking for ppl that entered the
                                                     Capitol "illegally" using facial recognition.
                         1/6/2021     10:40 PM       [Ed Vallejo: I can't listen any longer.]
                                                     7u




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UserName                        Date          Time           Content
                                1/6/2021      10:57 PM       [OK Gator 1: not her]
                                                             [Posts photo]
                                                             Same gal?
Kenneth Harrelson                1/6/2021     11:20 PM       This message was deleted.
Kenneth Harrelson*(presumably- 1/6/2021       11:20 PM       This message was deleted.
no attribution on messages but
no one else posted between
Harrelson's deleted chat and the
next attributed post)



Kenneth Harrelson*(presumably- 1/6/2021       11:20 PM       Didn’t realize I was in a unsecured chat with
no attribution on messages but                               a bunch of shit bags
no one else posted between
Harrelson's deleted chat and the
next attributed post)
Kenneth Harrelson*(presumably- 1/6/2021       11:23 PM       And blue falcons
no attribution on messages but
no one else posted between
Harrelson's deleted chat and the
next attributed post)



                                1/6/2021      11:24 PM       Rumors of 25th ammendment being used
                                                             stay frosty
                                1/6/2021      11:25 PM       [     : Rumors of 25th ammendment being
                                                             used stay frosty]
                                                             yea just heard that myself
Ed Vallejo                      1/6/2021      11:31 PM       [        :
                                                             https://www.youtube.com/watch?v=Q9WrC
Ok Gator 1                      1/7/2021      5:22 AM        2
                                                             [                      : Same gal?]
                                                             Could be any way it is tragic
                                1/7/2021      5:43 AM        I'm rolling home brothers. Good to stand
                                                             with you.

                                                             Everyone good? All quiet in DC?
Ed Vallejo                      1/7/2021      5:44 AM        Why go - this party has just started?
Ed Vallejo                      1/7/2021      5:45 AM        The "emergency" has been extended until
                                                             MARCH 31 st!
                                1/7/2021      5:45 AM        Got a family farm to run.
                                                             Unfortunately.
Ed Vallejo                      1/7/2021      5:46 AM        We are going to probe their defense line
                                                             right now 6 am they should le us in. We'll
                                                             see.




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UserName                  Date          Time           Content
Ed Vallejo                1/7/2021      5:46 AM        Yeah, I got shit need doin' but none as
                                                       important as THIS.
                          1/7/2021      5:46 AM        [posts article]
                                                       Trump Promises 'Orderly Transition' After
                                                       Biden Certified…. President Donald Trump
                                                       promised that the transition of power to
                                                       President-elect Joe Biden would be orderly
                                                       while vowing to continue to fight for
                                                       America.
                                                       theepochtimes.com- Jan 07, 2021

                                                       Besides, looks like Trump has now give up.
                                                       Sucks.

                                                       Trump Promises 'Orderly Transition' After
                                                       Biden Certified as President-Elect
                                                       https://link.theepochtimes.com/mkt_app/tr
                                                       ump-promises-orderly-transition-after-biden-
                                                       certified-as-president-elect_3647436.html

                                                       Download our app to read more at
                                                       https://ept.ms/downloadApp

                          1/7/2021      5:51 AM        Sadly he isn't willing to fight. So now it's up
                                                       to us. And Patriots are standing up in their
                                                       state capitols all over. Just like Ms. Kellye
                                                       was talking about at dinner. The fight's in our
                                                       states.
Ed Vallejo                1/7/2021      5:52 AM        [Ed Vallejo: We'll, they have to declare
                                                       buttboy pres in the dead of night with no …]

                                                       Did I call it or what?

Ed Vallejo                1/7/2021      5:52 AM        3:45 AM
Ed Vallejo                1/7/2021      5:54 AM        Departing for Recon now. Stewart call me
                                                       when you're up.
                          1/7/2021      5:54 AM        And like Stewart said, if Trump won't do
                                                       insurrection act, then we walk the same path
                                                       as founders of defiance, nullification, raising
                                                       militia and mutual defense.

                                                       I've got militia to organize.
Ed Vallejo                1/7/2021      5:56 AM        I'll depart when cleared by my Commander
                                                       Sir. Be well, and peace be with you.
Ed Vallejo                1/7/2021      5:57 AM        We are at WAR.




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UserName                  Date          Time           Content
                          1/7/2021      5:57 AM        We need a voice of ours on media right now
                                                       to raise the hearts and minds … all we have
                                                       on the media is people calling us thugs,
                                                       criminals, and terrorists…..
                          1/7/2021      6:00 AM        Tucker, or on of the Fox programs that might
                                                       at least try and be fair….the people need to
                                                       know it wasn't thugs that stormed, it was
                                                       white folks, black folks, hispanic folks, asian
                                                       folks, old folks, young folks, moms and dads,
                                                       and even kids
                          1/7/2021      6:01 AM        AMERICAN PATRIOTS TOOK BACK THEIR
                                                       HOUSE.
Ok Gator 1                1/7/2021      6:17 AM        [posts photo of woman] Better photo

                          1/7/2021      6:18 AM        https://www.facebook.com/N2Sreports/vid
                                                       eos/2820554764858823/?notif_id=1609989
                                                       035001403&notif_t=live_video_explicit&ref
                                                       =notif
SYSTEM                    1/7/2021      6:18 AM                  left the group
                          1/7/2021      6:16 AM        https://youtu.be/Q9WrC22loEc
Ed Vallejo                1/7/2021      7:33 AM        STATUS REPORT
                                                       NG has cordoned off the Capital grounds and
                                                       no foot traffic allowed. 40 Virginia State
                                                       police cars lined up. Outer perimeter
                                                       stopping vehicle traffic but a dozen or so
                                                       walkers/joggers inside it, but not allowed on
                                                       the building grounds. No signs or flags
                                                       supporting Trump visible anywhere.
Ed Vallejo                1/7/2021      7:34 AM        All quiet
                          1/7/2021      7:34 AM        Trump conceded…its over
                                                       We lose
Ed Vallejo                1/7/2021      7:36 AM        Like HELL it's "over"!
                          1/7/2021      7:54 AM        https://www.youtube.com/watch?v=w-ySG-
                                                       qhmEQ
Ed Vallejo                1/7/2021      8:02 AM        The streets are deserted!
Kenneth Harrelson         1/7/2021      8:06 AM        [         : I'm rolling home brothers. Good
                                                       to stand with you. …]
                                                       Safe travels brother
SYSTEM                    1/7/2021      8:06 AM                 - left the group.
Roberto Minuta            1/7/2021      9:02 AM        [posts video] In side the front entrance.
Ed Vallejo                1/7/2021      9:10 AM        I am not being allowed to share this video -
                                                       says it can't 'resize' it!
                                                       Bullsht




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UserName                  Date          Time           Content
                          1/7/2021      9:11 AM        [Ed Vallejo: I am not being allowed to share
                                                       this video - says it can't 'resize' it!]
                                                       Most likely needs to be shared via
                                                       WiFi/internet service
                          1/7/2021      9:11 AM        I can't send it as a "txt" but can send through
                                                       iMessage or Signal
                          1/7/2021      9:11 AM        It's the file size vs the messenger service
                                                       capability
Ed Vallejo                1/7/2021      9:12 AM        [check mark emoji]
                          1/7/2021      9:13 AM        [                    : We need a voice of ours
                                                       on media right now to raise the hearts and…]

                                                       Maybe Stewart should try and get on
                                                       w/Tucker? Both in town

                          1/7/2021      9:17 AM        Or get on Tim Pool's show. He's brough up
                                                       OK on occasion, and Luke Radkowski is a
                                                       regular cohost.
                          1/7/2021      9:27 AM        [posts link to taraross.com]
                                                       This Day in History: The Massachusetts Sons
                                                       of Liberty
                                                       On this day in 1765, the Sons of Liberty
                                                       destroy Massachusetts Lt. Governor Thomas
                                                       Hutchinson's home. The move came mere
                                                       months are Br
                                                       taraross.com

                                                       Here is a link to the sons of liberty story
                          1/7/2021      10:26 AM       [posts video]
                                                       This girl was murdered
                          1/7/2021      10:47 AM       The Battle of Athens TN
                                                       Best article on web on this important event
                                                       in history.
                                                       Be sure to read the preface to response from
                                                       First Lady Eleanor Roosevelt.

                                                       https://we.archive.org/web/2020021303462
                                                       1/http://jbfo.org/filegen-a-m/athens.htm

                                                       1946: Some Americans, brutalized by their




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UserName                Date          Time           Content
                        1/7/2021      11:18 AM       Was this actually a concession? "Even
                                                     though I totally disagree with the outcome
                                                     of the election, and the facts bear me out,
                                                     nevertheless there will be an orderly
                                                     transition on January 20th. I have always
                                                     said we would continue our fight to ensure
                                                     that only legal votes were counted. While
                                                     this represents the end of the greatest first
                                                     term in presidential history, it's only the
                                                     beginning of our fight to Make America
                                                     Great Again!"
                        1/7/2021      11:37 AM       [Posts like to twitter]

                                                     Kyle Cheney on Twitter
                                                     "It's 2:55 am and I just figured out how
                                                     Pence massaged the rules of the Electoral
                                                     College counting session to avoid
                                                     introducing the "rival" slates of Trump
                                                     electors.

                                                     These are the instructions VPs have given
                                                     out at the start in each of the last 5. Note
                                                     the difference?"
                                                     twitter.com
                        1/7/2021      11:43 AM       [Posts video]

                                                     Can anyone actually ID this location at
                                                     Capitol and it's legitimacy if someone
                                                     actually witnessed it ?
                        1/7/2021      11:44 AM       [Posts Twitter link]

                                                     Ira Goldman on Twitter
                                                     "Despite the Constitution instructing him to
                                                     open "all certificates," Pence did not open
                                                     the (unofficial) certificate from Trump's
                                                     Arizona electors. Instead he punted the issue
                                                     & amp; explicitly put the burden on the
                                                     "parliamentarians" - which (at least until
                                                     now) is not a real thing." twitter.com
SYSTEM                  1/7/2021      11:44 AM       Kenneth Harrelson left the group.
                                                                              left the group.
                                                             left the goup.
                        1/7/2021      12:19 PM       Stay safe!
                                                     Till Next Time




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UserName                  Date          Time           Content
SYSTEM                    1/7/2021      12:19 PM             left the group.

                          1/7/2021      12:29 PM       Wyoming group is off the X
                          1/7/2021      12:31 PM       https://facebook.com/photo/?fbid=1022022
                                                       9562944124&set=a.1117469571807&_cft_[
                                                       0]=AZW2uWsk82gbk4UzGTWQkh3I4RaGlg-
                                                       j_sc69G_P_zMD-
                                                       MRs28mBgM02TFNfGbGWuU8u1NBvfMNyz
                                                       fiXuUQw-
                                                       xRlb2lofxf_BOlwBCTomRupsQ&_tn_=EH-R
                          1/7/2021      12:35 PM       [                  : Wyoming group is off the
                                                       X]
                                                       Travel safely, let me know when you arrive
                                                       in WY
SYSTEM                    1/7/2021      12:35 PM
                                                       left the group
Ed Vallejo                1/7/2021      12:49 PM       [Posts video]

                                                       New video by Ed Vallejo
                                                       goo.gl

                                                       https://photos.app.goo.gl/gVQFBY3mhHf7H
                                                       NsCA
Ed Vallejo                1/7/2021      12:50 PM       [Posts video]

                                                       New video by Ed Vallejo
                                                       goo.gl

                                                       https://photos.app.goo.gl/yeL34Yuii721qJp4
                                                       A

                                                       Noon Recon report
                                                       Under way currently
                          1/7/2021      12:57 PM       Remember to stay Vigilant, everyone's tag
                                                       numbers were probably captured.
SYSTEM                    1/7/2021      12:57 PM                  left the group.
                                                                                  lead left the group.
                                                                        lefft the group.
                                                                       left the group.
                                                                      -Poc left the group.
                                                                left the group.
                                                                 left the group.




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UserName                  Date          Time           Content
Jessica Watkins           1/7/2021      2:35 PM        [Stewart Rhodes: I was there. I saw it. In
                                                       person]

                                                       I went in. I was also there. I concur. Antifa
                                                       has nothing to do with it. They hijacked our
                                                       movement like they did with BLM. It's there
                                                       M.O. Don't get diestracted by the
                                                       misinformation. Patriots stood up for our
                                                       country yesterday. Nothing less.
Jessica Watkins           1/7/2021      2:37 PM        When people were destroying shit, us
                                                       Oathkeepers shut that shit down.
                          1/7/2021      2:39 PM        When the police in riot gear wanted to leave
                                                       the north exit down the stairs through the
                                                       crowd…it was oath keepers that escorted
                                                       them to safety….fact.
Jessica Watkins           1/7/2021      2:40 PM        Kelly will tell ya. He was in there with us. We
                                                       were cussing at em, and Patriots put an end
                                                       to that mess. Watch the news. They replay
                                                       the same 5 videos of violence over and over,
                                                       because it was that rare. They also don't
                                                       show Patriots pulling them away and
                                                       stopping them
                          1/7/2021      2:41 PM        We need to get some helmet cams
                          1/7/2021      2:42 PM        I had a body cam but it was ripped off and
                                                       probably destroyed. Got crazy
                          1/7/2021      2:45 PM        I can tell you that the cops were escorted
                                                       out were happy we were there they were
                                                       scared and tired. There was 15-20 of them. 2
                                                       of us from          s unit did that…where's the
                                                       video?? We also handed out water bottles to
                                                       folks that had been sprayed. We Helped
                                                       locate a husband of a woman. They got
                                                       separated and she was scared.
                          1/7/2021      2:50 PM        [                    : We need a voice of ours
                                                       on media right now to raise the hearts and
                                                       ….]

                                                       https://www.brighteon.com/36a99416-d5ef-
                                                       4ef8-9249-e99192ae6b96




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UserName                Date          Time           Content
                        1/7/2021      2:51 PM        [                    :
                                                     https://www.brighteon.com/36a99416-d5ef-
                                                     4ef8-9249-e9919…]

                                                     Listen to Flynn…all roads lead to Texas. Let
                                                     me know when you cross the border.

                                                     https://www.infowars.com/posts/flynn-
                                                     trump-will-remain-president/
                        1/7/2021      2:52 PM        That’s old
                        1/7/2021      3:00 PM        [               : That’s old]
                                                     ?? What


                        1/7/2021      3:01 PM        He said all that before the capital….
                        1/7/2021      3:03 PM        [                  : He said all that before the
                                                     capital….]
                                                     Yes and much of what he said is still very
                                                     relevant and true regardless of "the Capitol"

                        1/7/2021      3:07 PM        [posts link to Parler]
                                                     @Whitehatsrheretowatch -
                                                     Whitehatsrheretowatch - Then …
                                                     Then come forward! Go to flynn, Powell,
                                                     Wood for safety! Does anyone know the
                                                     identity of this person! Money! Follow the
                                                     money! Locate this guy.
                                                     Parler.com
                                                     https://parler.com/post/da5e5fa72953458f
                                                     9c02e2ec8a12ac2f

                        1/7/2021      3:40 PM        [posts link to YouTube]

                                                     I WAS ANTIFA, PAID TO PROTEST CPAITAL
                                                     BUILDING EXPLANATION VIDEO RIGHT HERE:
                                                     https://youtu.be/kN-lWKWOmDQ
                                                     youtube.com

                                                     https://www.youtube.com/watch?app=desk
                                                     top&v=g-H7AyZu9VA&feature=youtu.be

                                                     This video shows his name, if that's his real
                                                     name




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UserName                 Date          Time           Content
                         1/7/2021      3:45 PM        [Posts Twitter link]

                                                      Major Patriot on Twitter
                                                      JUST IN - Pelosi tried to call VP Mike Pence
                                                      this morning to urge him to remove
                                                      president Trump. She was kept on hold for
                                                      25 minutes before she was told Pence would
                                                      not take her call (CNN)"
                                                      twitter.com

                                                      https://twitter.com/MajorPatriot/status/13
                                                      47274634580930560


Roberto Minuta           1/7/2021      4:18 PM        [           : I can tell you that the cops we
                                                      escorted out were happ….]
                                                      [Posts video]
                                                      Here you go. I have video
                         1/7/2021      4:23 PM        [Robert Minuta: Here you go. I have video]
                                                      Hell yeah save that! Stewart can show that
                                                      and say we did that! OK. We aren't ANTIFA
                         1/7/2021      4:42 PM        [Roberto Minuta: Here you go. I have video]
                                                      Can you repost vid plz

                         1/7/2021      4:48 PM        [posts link]
                                                      Why Was Founder of Far-Left BLM Group
                                                      Filming Inside Capit….
                                                      ZeroHedge - On a long enough timeline, the
                                                      survival rate for everyone drops to zero
                                                      zerohedge.com
                                                      https://www.zerohedge.com/political/why-
                                                      was-founder-far-left-blm-group-filming-
                                                      inside-capitol-police-shot-protester

                         1/7/2021      5:01 PM        Anyone see what Joe Scarborough said
                         1/7/2021      5:18 PM        No
                         1/7/2021      5:47 PM        [                 : Anyone see what Joe
                                                      Scarborough said]
                                                      And….
Roberto Minuta           1/7/2021      5:51 PM        [       : Can you repost vid plz]
                                                      Couple of faces exposed in the last video
                                                      that didn't want to be shown. Sorry, had to
                                                      delete footage from inside.
                         1/7/2021      5:51 PM        Ah




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UserName                   Date          Time           Content
                       …   1/7/2021      6:26 PM        [posts screenshot]
                                                        FBI wanted pics with a Lifetime Member hat
                                                        on one of them
                       …   1/7/2021      6:28 PM        [posts link]
                                                        DC police release photos of suspects in US
                                                        Capitol siege
                                                        Police in Washington DC have released
                                                        dozens of photos of President Trump
                                                        supporters who stormed the US Capitol on
                                                        Wednesday, causing widespread damage
                                                        and sending the nation's capitol into I...
                                                        nypost.com - Jan 07, 2021

                                                        https://nypost.com/2021/01/07/dc-police-
                                                        release-photos-of-suspects-in-us-capitol-
                                                        siege/
                           1/7/2021      6:57 PM        what is our next play?
                           1/7/2021      6:58 PM        Go to your homes, Potus in action
                           1/7/2021      6:58 PM        What?
                                                        I'm still driving
                           1/7/2021      6:59 PM        Go home or to Texas
                           1/7/2021      6:59 PM        What does in action mean
                                                        I'm still hours from home
Ed Vallejo                 1/7/2021      6:59 PM        Az team is on standby and haven’t heard
                                                        from Stewart. Have you?
                           1/7/2021      7:00 PM        Yes
                                                        Communication out
Ed Vallejo                 1/7/2021      7:00 PM        Are you relaying a release authorization?
                           1/7/2021      7:01 PM        Coup occurring now
                           1/7/2021      7:04 PM        POTUS directive, Stewart will be back soon.

Ed Vallejo                 1/7/2021      7:06 PM        Please relay to Stewart Ed with AZ Team says
                                                        "Wilco". Will stay in this group in case you
                                                        need us.
                           1/7/2021      7:08 PM        K
                           1/7/2021      7:11 PM        [Ed Vallejo: Az team is on standby and
                                                        haven’t heard from Stewart….]

                                                        SR comms are down. He is safe. Headed
                                                        West - Texas bound. He says time to leave
                                                        DC and head back home Will be in touch
                                                        when he has reliable comms.
                           1/7/2021      7:20 PM        [               : Go home or to Texas]
                                                        Be safe sister --
                           1/7/2021      7:33 PM        Trying
OK Gator 1                 1/7/2021      7:35 PM        Is President talking tonight


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UserName                  Date          Time           Content
                          1/7/2021      7:35 PM        This message was deleted.
                          1/7/2021      7:36 PM        [Posts Link]
                                                       @Bonginoreport - Bonginoreport -
                                                       Parleyed on Parler
                                                       https://parler.com/post/d14155945b964f1d
                                                       936e19567e5c4686
                          1/7/2021      7:56 PM        Do we want to do a roll call or count of OK
                                                       assets who are in VA/DC that are from out of
                                                       town?

                          1/7/2021      8:02 PM
                                                       https://youtu.be/nCxGBU3KpHI

                                                       This? Not a concession - a statement of a
                                                       smooth transition and a new administration.
                                                       He let his admin go already.
                          1/7/2021      8:14 PM        This message was deleted.
                          1/7/2021      8:18 PM        Did any of our Oks actually go inside the
                                                       Capitol yesterday? If so can you sound off
                                                       here and if you know of any that don't sound
                                                       off here can someone reach out and confirm
                                                       they are ok and out of dc tonight. If any
                                                       were arrested we need to know who and if
                                                       they need assistance.

                          1/7/2021      8:19 PM        [                       : Did any of our OKs
                                                       actually go inside the Capitol yesterday? If
                                                       so…]
                                                       Yes I can confirm. But I'm new and I want to
                                                       cautious please talk to

                                                       To be cautious
                          1/7/2021      8:20 PM        This is a live screen shot from a video
                                                       livestream. Inside the Capitol building . I
                                                       don’t know anything more.
Jessica Watkins           1/7/2021      8:22 PM        [Posts screenshot of Most Wanted people at
                                                       Capitol]

                                                       One of us? Might need to get him a lawyer

                          1/7/2021      8:25 PM        This message was deleted.
OK Gator 1                1/7/2021      8:29 PM        This message was deleted.




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                Exhibit 9
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              Exhibit 10
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  1                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
  2

  3

  4    - - - - - - - - - - - - - - - - - )

  5    IN RE:                                    *

  6    OATH KEEPERS                              * CASE NO. 2021-R-00494

  7                                              *

  8    - - - - - - - - - - - - - - - - - )

  9                              File: IMG_5449.MOV

 10

 11

 12                             Recorded Meeting of:

 13                                  OATH KEEPERS

 14

 15

 16                           Tuesday, November 9, 2021

 17

 18

 19

 20

 21    APPEARANCES:

 22          STEWART RHODES
             KELLY MEGGS
 23          WILLIAM TODD WILSON

 24

 25

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  1                            P R O C E E D I N G S

  2                MR. RHODES:    -- get him to concede as probably

  3    there's chatter about him running in 2024.            There's no such

  4    thing as another election in this country of any meaningful

  5    sense and term if you let this stand.           So you cannot do

  6    that.   The fraud was in person.        The fraud was not just

  7    keeping poll watchers from being able to do their jobs, it

  8    was bringing in extra ballots by the suitcase-load, but it

  9    was also -- beyond that, that it's also flipping the numbers

 10    with the scorecard software.        So they did it multiple ways,

 11    but they did it.     Which, you know, 2016 would overwhelm

 12    their thoughts, and they tripped.         They cheated enough this

 13    time, and they kept cheating.        That's why they kept closing

 14    down the counting and then go find more votes.             So they just

 15    kept on counting until, you know, supposedly they won.                And

 16    don't be surprised if they don't try to take the Senate,

 17    too.    I think that's their actual goal is to try to split

 18    the Senate and make it seem like that's somehow, you know,

 19    an indicator that Democrats screwed up.             That's all Kabuki

 20    theatre, so they're going to steal it.

 21                So the only way to really stop them is for Trump

 22    to, first of all, refuse to concede.          The second thing he's

 23    got to do is he has got to use his authority as

 24    Commander in Chief to do two critical things.             One is to

 25    declassify all of the dirty secrets and do a massive

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  1    data-belt.    And to do that, it can't be the normal channels

  2    with the CIA, FBI, et cetera.        (Indiscernible).        So what he

  3    needs to do is have the military do is to seize those

  4    (indiscernible), seize all those records, seize all the

  5    databases, and turn them over to military intelligence.                Let

  6    them take care of the declassification with all of those

  7    orders.

  8                 And, frankly, if I were him I would use my

  9    Special Worker Assets.      He should use his, you know,

 10    U.S. Special Forces, Army Rangers, Navy Seals, you know, use

 11    SOCUM, as backed up by his Marine Raiders and, you know,

 12    whatever else he's got, 82nd Airborne.              Just go and seize

 13    all of those buildings to get that.          And just do it, and

 14    look what keeps falling in afterwards.              Because all he's got

 15    to do is go and declassify the first record of some

 16    pedophile who's in the Congress and then another one and put

 17    the videos online and let the people watch them.              Just like

 18    (indiscernible).     Put it all online, everyone will see it.

 19    You can't stop that.      And then, once that happens, once he

 20    discloses the first handful of pedophiles who are in office,

 21    then the avalanche can keep on coming, and the people will

 22    turn against the deep state.        The mask will come off, the

 23    curtain will be pulled back, and we'll see the little man

 24    behind it; the little demon behind it.              So that's what he

 25    needs to do.      He has to.   That's his only actual chance of

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  1    ever defeating the deep state.        (Indiscernible) he needs to

  2    do that now.

  3                And then he also, at the same time, should invoke

  4    the Insurrection Act.      He doesn't need to build the -- I was

  5    talking to Keller about this -- you know, he doesn't need to

  6    build some kind of complicated case about election fraud,

  7    and collusion, and reek out a conspiracy to justify bringing

  8    the Insurrection Act.      He now has the facts --

  9                (Static interruption.)

 10                MR. RHODES:    You guys, mute your phone, if you're

 11    not talking.      You've got a lot of feedback on there.

 12                So those are the two things he has to do.            That's

 13    why we got to focus like a laser on this, okay.

 14    Declassification of (indiscernible) and invoking the

 15    Insurrection Act, the present Insurrection.            And he's never

 16    going to get the media typically.         He's never going to get

 17    the politicians in D.C. to agree to those.            He's never going

 18    to get the judges to agree with this, he just has to do it.

 19    But once he does it, once the avalanche comes down,

 20    especially all of the crooked judges -- that's my number two

 21    thing -- couple of crooked politicians and a couple of

 22    corrupt, sold-out pedophile judges who are out there.                 But

 23    the judges -- in other words, you de-fang your opponents.

 24    You take away the authority, the perceived authority of the

 25    courts, to stop you.      You take away the perceived authority

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  1    of Congress, so (indiscernible).         And then you go after the

  2    deep state itself, which is the CIA, the NSA, and the people

  3    behind them; George Soros, all the other significators that

  4    are behind the scenes pulling the strings.            Whenever he

  5    decides to do that, that's what he needs to do.             Those are

  6    the two things.

  7                In order to get him to do that is that he needs to

  8    know that people are behind him.         That he will not be

  9    deserted, and he has to have positive pressure, so we've got

 10    to be in D.C.     You have to be willing to go to D.C. and

 11    street the anti-thought.       If you're going to -- get the

 12    street value.     So here they're going to try to attack

 13    people.    Don't be afraid, you know.        Go there in large

 14    numbers.    That's why we need to be there.          Those who are

 15    able-bodied and able to handle themselves, they should be

 16    the ones that are on the frontlines.

 17                I just talked to (indiscernible), Jr.           You know,

 18    Major Doug and I went up there with some other veterans to

 19    do a recon, and we talked to little old ladies that plan to

 20    protest in Washington, D.C., so none of you have any excuse

 21    of going.    Going as an attendee, if you don't feel like

 22    you're in a good fighting shape, go right ahead and come as

 23    an attendee and lend your voice and lend your bodies, and

 24    we'll protect you.      And those of us who are more strong and

 25    more fit, then it's our responsibility to be a shield.

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  1    We've got to go.     We've got to be there, okay.          And when

  2    they defaced the World War II Memorial earlier this summer,

  3    I called for a call to action for defending, I got crickets.

  4    Because no one wanted to go into D.C.           Because like after

  5    you're done there -- you know, I can't go around it -- you

  6    need to go in there and just be ready to fight.             And if the

  7    fight comes, let the fight come.         Let Antifa go -- if they

  8    go "kinetic" on us, then we'll go "kinetic" back on them.

  9    I'm willing to sacrifice myself for that.            Let the fight

 10    start there, okay.      That would give President Trump what he

 11    needs rapidly.     If things go "kinetic", good.          If they blow

 12    bombs up and shoot us, great.        Because that brings the

 13    President his reason and rationale for dropping the

 14    Insurrection Act.      I don't think it will, so you understand

 15    that.    That's plan A because we will be in D.C.           I'll be in

 16    there.    You've got -- what's his name (indiscernible) Owen

 17    Sawyer, who's (indiscernible) is coming, which I think is

 18    great.

 19                So I see some text chatter that, hey, you know,

 20    that our country's lost or who's going to have the Republic

 21    of Texas resurrect.      I want to remind you that there were

 22    men that died at the Alamo who were from New York, who were

 23    from New England.      Okay?   They traveled across the country,

 24    across their country to a foreign country at the time,

 25    because fellow Americans were fighting this battle.              Do not

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  1    give up on the country.        You can't hide in (indiscernible)

  2    in Texas because you'll be surrounded.                 You think Congress

  3    would let the free Texas survive?            It's not happening.          So

  4    don't give up the ground.           Don't give up the entire rest of

  5    the continent to the commies, regardless of what you have of

  6    free Texas.       You've got to fight for the whole country now.

  7    You know, the Chinese are implanting their puppet in the

  8    White House.      You'd better fight now.          But they're landing

  9    on California soil right now, and you just sit in Texas and

 10    wait until it got to Texas or would you Texans ride straight

 11    through to California?       I think you know the answer to that.

 12    So you can't hide.

 13                And put aside any talk about moving to some other

 14    country, either.      I heard that kind of chatter, too.              You

 15    are Oath-Keepers.       You've got a responsibility and duty.

 16    Know you're (indiscernible).           You swore that oath.         You

 17    don't get to back out of it and run to freaking Belize or

 18    Costa Rica or anyplace else.           You've got to fight.         So we

 19    have a chance to get President Trump to fight as

 20    Commander in Chief.       If you're going to have a fight, guys,

 21    you want to start now while he's still Commander in Chief.

 22    You do not want to waste this opportunity and let him feel

 23    like he has no support when he goes to play and he starts

 24    listening to the snakes that are in his ear right now,

 25    encouraging him to quit, like Kushner.                 You've got to go

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  1    there and you've got to make sure that he knows that you are

  2    willing to die to fight for this country.

  3                 And on your way to D.C., you all need to go to

  4    Arlington.    Go look at those crosses.            Okay?    And think

  5    about what those men would tell you if they could speak.

  6    What would they say to you right now?              You know, a lot of

  7    them were like 16, 17, 18 years of age, you know.                 A lot of

  8    them lied about their age just to go fight.                And they were

  9    willing to give up their entire life.              Most of us are in our

 10    50s or 60s or older.       You've lived a good life.           You've

 11    lived way past the age of these young men died.                And if you

 12    don't stand up now, everything they fought for and died for

 13    will be fought for nothing.          You can't do that.        So you've

 14    got to bolster yourself and you've got to turn around and

 15    bolster President Trump.        He has got to be reminded of what

 16    he promised, that he can drain the swamp.               You've got to be

 17    showing him the way.       Show the way.        The good news is Don,

 18    Jr. just tweeted yesterday, right Kelly -- just yesterday

 19    that Trump should declassify everything.               What did he say?

 20                 KELLY MEGGS:    Declassify now.

 21                 STEWART RHODES:        Declassify now.        Declassify

 22    everything.       Declassify everything now.

 23                 KELLY MEGGS:    Yeah, yeah.

 24                 STEWART RHODES:        So it's starting.       The message is

 25    getting to him.      We just have to keep on pounding that drop,

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  1    but the best way to do that is to be assembled at the

  2    White House; as many Americans as possible, and us

  3    Oath Keepers.     We have the responsibility to protect the

  4    people who are going down there.

  5                So our mission's going to be to go into D.C., but

  6    I do want some Oath Keepers to stay on the outside and to

  7    stay fully armed and prepared to go in armed if they have

  8    to.   So if the shit kicks off, you rock and roll.             Okay?

  9    So -- or if they -- originally, we were thinking that they

 10    were going to lay seize to the White House.            And that's

 11    still a possibility.      There's still a possibility of a

 12    Benghazi style assault on the White House.

 13                So our posture is going to be that we are posted

 14    outside of D.C.     Obviously, D.C. has crappy gun laws.              So

 15    our posture's going to be that we're posted outside of D.C.

 16    awaiting the President's orders.         We're not going to

 17    (indiscernible) legit.      We're hoping he will give us the

 18    orders.    We want a clear direction and the call of best of

 19    the militia.      All these veterans until age 65 are subject,

 20    under statute, to being called up by the President as a

 21    militia.    So he can do that.      And if he does that, then D.C.

 22    gun laws won't matter.      They're trumped by his invocation of

 23    the Insurrection Act and calling you up.

 24                So those of you who feel capable, if you just want

 25    to go as an attendee along with the little old ladies that

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  1    will be going down there, then just go as an attendee, but

  2    if you feel physically capable and you are fit to go, ready

  3    to go and stand on the front line (indiscernible), then I

  4    want you to commit to that.         We're going to form chains that

  5    will be doing that inside D.C.         But we also want to have

  6    some of our best men bolstered up outside.

  7                We'll have to make a determination about who goes

  8    where and who's going to be on the outside and who's going

  9    to be on the inside.       So we're going to have a QR rep.             But

 10    that QR rep will be awaiting the President's orders.                That's

 11    an official position.       And the reason why we have to do it

 12    that way is because that is your legal coverage.               Because

 13    otherwise this kind of goes back to what Mike was saying

 14    about guys being hot on the forms.           I get it.      We're all

 15    pissed off.       But we're in an era now where everything you

 16    say is being monitored -- by now this phone call's being

 17    recorded by the NSA and FBI and CIA, I'm sure.               And

 18    everything you say, can and will be used against you.                   So

 19    you guys need to have discipline.          Don't make it easy for

 20    them to pop you with a conspiracy charge and do to you what

 21    they did to those guys from Michigan because they got them

 22    under the collar, probably after a few beers, and got them

 23    talking smack.

 24                So be disciplined, but let's make no illusion

 25    about what's going on in this country.               We're very much in

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  1    exactly the same spot that the founding fathers were in like

  2    March 1775.       Now -- and Patrick Henry was right.          Nothing

  3    left but to fight.       And that's true for us, too.          We're not

  4    getting out of this without a fight.            There's going to be a

  5    fight, but let's just do it smart and let's do it while

  6    President Trump is still Commander in Chief and let's try to

  7    get him to do his duty and step up and do it.

  8                 Now there's some legal stuff going on.            There's an

  9    active team working on building the case for the election

 10    fraud.    I think that's worth doing.          All of these things

 11    matter.    But in the end, I don't trust lawyers or judges,

 12    and I don't think that's going to do it entirely on its own.

 13    It's going to take a combined effort.             And the most

 14    important (indiscernible).          So all that's good, you need to

 15    have -- the people need to be rich on the band in

 16    Washington, D.C., making it clear that they are not going to

 17    take it.    We're not going to stand for it.            And when we say

 18    it's unacceptable, we have to mean that.              We're not going to

 19    accept it.    That Biden will -- you know, if he manages to

 20    crawl into the White House, he'll be a puppet.               But our

 21    message will be, we're not going to let that happen, and we

 22    have to propel Trump to do what he can.

 23                 But, hey, Kelly's here, and I wanted to have her

 24    say a couple of things about what she can talk about as far

 25    as the legal fight.       So Kelly, if you don't mind, tell them

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  1    what you can tell them.

  2                MS. MEGGS:    I don't have video, but -- okay, so

  3    guess what I kind of go into on being that there's

  4    multiple -- okay.      So here's what I have learned about

  5    our -- we have multiple pods working the project.              So

  6    there's like the INC (ph.) pod, a little pod where they're

  7    doing their own project to try to solve the mystery of the

  8    ballots.    Then we have the Back-Channel Pod, is what I'm

  9    going to call them.      That would be like the Q crowd, and

 10    they have their pod where they are trying to solve the

 11    mystery of the ballots.       And then you have the Giuliani

 12    Pals, I guess, Previewing the Campaign Pod that's trying to

 13    solve the mystery of the ballots.         So I've been in

 14    communication.     I obviously work the RNC version of it, and

 15    then I'm in -- I like the Q crowd, they're kind of fun, and

 16    then I've been meeting with the Campaign crowd.             I will say

 17    that we have, over the last few days, have transitioned in

 18    conversation from suit filings -- which there will be suit

 19    filings, so don't think there's not going be that -- but

 20    also talk of things like insurrection and rebellion is

 21    probably more the terminology and collusion and RICO

 22    violations and things like that.         So it's been pretty

 23    interesting.      I think they're trying really hard to tie the

 24    media and the establishment into this whole rebellion to --

 25    saying, I think that's the case -- they're saying not

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  1    necessarily assuming that it's every going to go legal, as

  2    much as just for the people to understand what's actually

  3    happening.    And so I think there's a strong chase that we

  4    may actually see some declassification and things like that.

  5                 MR. RHODES:   So she's got messages on to them that

  6    the President should do a data dump, and just a few hours

  7    later --

  8                 MS. MEGGS:    Yeah.

  9                 MR. RHODES:   -- that's when Don, Jr., said that on

 10    Twitter.    It's a pretty good chance that that's something

 11    that --

 12                 MS. MEGGS:    It's on the table.

 13                 MR. RHODES:   -- it's on the table, right.          And so

 14    to push that, that's why we need to, you know -- signs in

 15    D.C. should be, "Do the Data Dump," or you know,

 16    "Declassify," "Declassify Now, Declassify Everything."                Just

 17    quote Don, Jr.     Just make sure that the President knows that

 18    that's exactly what we want him to do, and that we'll

 19    support him every step of the way.

 20                 And then we need to turn to the military and let

 21    them know this is what has to happen.           And when it happens,

 22    we need to support him every step of the way.             We do not do

 23    stand-downs.      What we're concerned about are Benghazi style

 24    stand-downs.      You've got traitors inside the Pentagon, just

 25    like you've got traitors inside every branch.             You've got

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  1    traitors inside of Trump's own inner circle.              So that's the

  2    problem.    So you can't take it for granted.            Do not take it

  3    for grated that everybody that's around him is giving him

  4    good advice or is onboard with this.            That's why you've got

  5    to presume the opposite.       You've got to presume that the

  6    ones in his ear are telling him that he can't do these

  7    things including some of his own lawyers.              You've got to

  8    count on that.     You've got to count of some of his military

  9    advisors and national security advisors also in his ear

 10    telling him he can't do this.          So the people need to

 11    (indiscernible).     The more -- the higher your level of rank

 12    and your credibility in the community, the higher your

 13    responsibility to be public.

 14                It's been frustrating for us, Kelly and I.              I can

 15    tell you, and we're talking to retired Special Forces' guys,

 16    you know, senior officers, and men who that are plugged

 17    within the community, and they give him the same word back.

 18    It's like we're the ones used to being in the shadows, and

 19    we just want to stay in the shadows.            That's not cutting it.

 20    These Special Workers need to step up now and stall this.

 21    They need to step up now.          The Special Forces' Association,

 22    it's the Seals Association, all these communities need to

 23    step up and say that we call on the President to do X, Y,

 24    and Z, and we will support him.           Because if they do that,

 25    all of the old gray beards, the retired respected guys in

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  1    those communities, will stand up and say it.             Then the ones

  2    in the current squads will listen to that.             And then they've

  3    got to go (indiscernible) directly, too.             And so, I urge

  4    you.   I challenge you.      Go and rattle the cages of your

  5    brothers.    Go talk to all of the guys that you served with

  6    and all of the guys in your communities, whether you're --

  7    no matter what your specialty is -- go talk to your people.

  8    But you have to see your respected men, your enlisted men

  9    and officers, to go -- you know, the NCOs and the

 10    commissioned officers -- to go and make public statements.

 11    Even if you're in D.C., frankly, I want to see the more

 12    respected leaders -- military leaders that you can get in

 13    D.C. standing up because of that and calling out -- calling

 14    what it is.       Calling a spade, a spade, you know, and making

 15    it really clear.      Kind of the reverse of what you saw with

 16    people protesting the war and throwing their medals at the

 17    White House.      You could stand there saying, we're going to

 18    defend the President, the duly-elected President, and we

 19    call on him to do what needs to be done to save our country.

 20    And if you don't, guys, you're going to be in a bloody,

 21    bloody civil war, and a bloody -- you can call it an

 22    insurrection or you can call it a guerilla fight.

 23                Just the other day we were in Virginia and met

 24    some awesome people.       Ranger veterans, Special Forces

 25    veterans, you know, (indiscernible) awesome people.               Marine

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  1    Corps Raiders and Recon guys.         All were there at that rally

  2    we went to in Virginia, and they were hopping mad.                We

  3    talked to a bunch of them.         When I was talking to one of

  4    them, he said that -- he was like, well, you know, this

  5    could turn into a guerilla -- he's thinking the classic

  6    Robin Sage kind of guerilla scenario.            We could try to do a

  7    guerilla insurgency on our side fighting against a corrupt

  8    regime.

  9                Basically, my message to him was wait a minute,

 10    man.    In the end, what's the whole point of the guerilla

 11    movement?    If you want to go to bat, let Biden take over and

 12    he holds the hands of power.         Now you're fighting some

 13    desperate guerilla warfare movement.           Where's the ultimate

 14    goal?    The goal is to get to the point where you can

 15    eventually fight in the open, right, conventional warfare to

 16    defeat the regime.      That's how it goes.          Those are the

 17    steps.    Who all would be there?        We have at least half of

 18    the military on our side, if not more.               And if the President

 19    does a data dump, exposes all the pedophiles and all the

 20    bought and paid for Chinese bribe-taking traitors -- exposes

 21    all of them, all the scum across the street -- then you'll

 22    have a vast majority of your fighters in the military.                  Only

 23    the fully corrupt ones will be on their side; the ones who

 24    have everything to lose.       They'll be swamp (indiscernible).

 25    So there's nothing to lose by doing the data dump now and

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  1    take the military in hand now and get it done.              Do it now.

  2    Don't wait.       Don't think that you're going to be able to

  3    hide in the shadows and someday be the underground guerilla

  4    leader.    That's retarded, okay.        You already have the

  5    military right now.       It's time to step up and do it now, all

  6    right.    So that's all I have to say about that.

  7                So we did a leaders' recon.          We went into D.C.

  8    Then we figured out where we wanted to stage on the outside.

  9    We got some preliminary routes figured out.             We'll be doing

 10    more this week when we go back.          But this is the big

 11    (indiscernible).      So I feel one day is at -- it's going to

 12    be just like in Serbia.        Go watch the videos how they did it

 13    there.    You've got to build it up.         Basically, it's our own

 14    version of the (indiscernible) volition.             You've got to

 15    build it up, build it up, and keep pressure.             The thing is,

 16    we're not bothered by building (indiscernible) but we do

 17    have something they don't have is every one of us understand

 18    that there is something beyond us.           We're here for a

 19    purpose.    You're here.     You were born here at this time.

 20    You're still kicking.       Whatever you've gone through in your

 21    life, you're still here because you're here for a reason.

 22    And it's not to hide in the closet, and it's not to hide and

 23    save yourself for some future supposed, you know, secret

 24    guerilla operation.       Get out there now and go in the streets

 25    of D.C. and make sure this president knows that you've got

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  1    his back and urge him and push him to stand up and take his

  2    place in history, okay?        It's what you've got to do guys.

  3    All right.    Any questions?

  4                 MR. LARRY:    Hi, I'm Larry from North Carolina.             I

  5    just want to make sure that if we do go in, even if we're

  6    concealed carry permit holders, we cannot take our gun in

  7    D.C., is that what I'm hearing?

  8                 MR. RHODES:    No, D.C. doesn't respect anybody's

  9    property.    They don't respect LEOSA.         Even a police officer

 10    that Congress passed a law to let you carry a gun

 11    nationwide, it doesn't respect that.           D.C. is -- this is a

 12    deep state central, so you've got to make your own choice

 13    about that.       I mean, I'm going to go unarmed only because I

 14    know that they're going to be looking to try to pop me for a

 15    felony, so I'll go and I'm -- I've been there before.                  We've

 16    done D.C. before.       This is not our first rodeo.         We've got

 17    (indiscernible).      So I'm -- let's get ready to scrap, man.

 18    You know, wear yourself some -- gloves, wear a cup, wear a

 19    helmet.    Get ready to fight.       If you've got stab-proof body

 20    armor, wear that, you know.         So be ready to scrap if you're

 21    going to go into D.C.

 22                 Now in the past, -- I'll say this.          If you're a

 23    cop, especially, you've got more gray area with other cops.

 24    That's just a reality.       I've seen the D.C. Police give a

 25    courtesy pass to their brother officer who is armed in D.C.

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  1    I have seen that with my own eyes.             So I'm not going to

  2    micro-manage what you guys do and don't do, but the official

  3    position is, if we're going to go in complying, you know,

  4    complying with D.C. bullshit gun laws, so that we are not

  5    (indiscernible) being charged with felonies.               Their law

  6    enforcement, they will prosecute you if they can.                 But, like

  7    I said, if you're a law enforcement officer, in particular,

  8    you probably have a lot more leeway than anybody else would.

  9                So I'll tell you, we've done this in the past.

 10    For example, in Berkeley, California, Bill Chaucer (ph.)

 11    went in there.      The cops were armed because the cops in

 12    Berkeley wouldn't tell the other cop he couldn't be armed in

 13    the park.    All of us military veterans were unharmed.                  We

 14    were just there to fight, you know, helmets on, body armor.

 15    We were just holding ourselves up as much as possible, of

 16    course we had flashlights then.            Some guys had walking

 17    sticks too.       You use what you got in your hand, when the

 18    time comes.       But whether or not you're going to carry if

 19    you’re a cop, that's up to you.            Technically, D.C. doesn't

 20    respect even LEOSA.       I think that's obviously illegal

 21    because it's federal law.           You know, Congress passed LEOSA

 22    for a reason, so cops could be on hand and stop terrorism.

 23    So, frankly, if I were a cop, I'd carry (indiscernible).

 24    I'd be willing to take that fight.             Fight that fight.

 25    That's up to you.       Okay?

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  1                 But our official position will be that we will go

  2    in unarmed, and then we'll have our armed group on the

  3    outside in case things go completely to shit, all right.               I

  4    know it's messy.     I know it's not perfect.          I understand

  5    that some of you guys are like, you know what, it's

  6    unconstitutional.      Like here is my carry permit.          I'm going

  7    to go armed.      You know, screw all of that crap.          But the

  8    problem is, is if you do that, you leave yourself open to a

  9    felony.    You aren't going to do anybody any good rotting in

 10    jail.    So my advice to you is if you will not go into D.C.

 11    unarmed, then be part of the QR on the outside.              Some of

 12    them are key fighters.      Some of those guys are not afraid to

 13    fight.    Okay?   Let's go to D.C. together.          I'll be right

 14    there with you.     I want my bikers.       I want my fucking street

 15    fighters.    I want my brawlers, okay.        You ready to go into

 16    D.C. and brawl.

 17                 MR. LARRY:    Thanks, Stewart.         Listen I just want

 18    to say one more thing.      I appreciate what you're doing, and

 19    I'm honored to (indiscernible).

 20                 MR. RHODES:    Thank you, brother.        Anyway, I know

 21    it's messy, but we have done this before.             We've gone to

 22    D.C. several times.       (Indiscernible) -- BLK, so I'll leave

 23    that for the officers to figure out.          All right.      Any other

 24    questions?

 25                 UNIDENTIFIED SPEAKER:      I have a question about

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  1    less lethal.

  2                MR. RHODES:    You had a questions about less

  3    lethal?    Go ahead.

  4                UNIDENTIFIED SPEAKER 1:        Yes, we were wondering if

  5    less lethal would include maybe Mace or pepper balls, things

  6    of that nature.

  7                MR. RHODES:    Pepper spray is legal.          Tasers are

  8    legal, and stun guns are legal.          And it doesn't hurt to have

  9    a lead pipe with a flag on it.         For example, when I was

 10    walking through the streets of Portland, I was quote/unquote

 11    unarmed, but I had my helmet in my hand.             Guess what that

 12    was for?    That was to whack someone right across the face if

 13    they're going to come at me.         So, there are ways around --

 14    there's ways of dealing with things that improvise as tools,

 15    okay.

 16                UNIDENTIFIED SPEAKER:        And so, actually lethal, it

 17    just depends on your state.

 18                UNIDENTIFIED SPEAKER 2:        So, it did feel like you

 19    said, (indiscernible).      Pepper spray is legal, stun gun, and

 20    what is the other one?

 21                UNIDENTIFIED SPEAKER 2:        Taser.

 22                MR. RHODES:    Right.

 23                UNIDENTIFIED SPEAKER 2:        And even though they are

 24    lawful, we just have to use them appropriately and that's

 25    hitting objects around the people, not the people directly.

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  1                MR. RHODES:    The only way I know --

  2    (indiscernible).     He had pepper balls in it, in his

  3    paintball gun.     Are you -- do you know for sure for the

  4    balls as being not legal in D.C.?

  5                UNIDENTIFIED SPEAKER 2:         It depends on the state.

  6                MR. KELLY:    In D.C. it is not allowed, sir.               I

  7    looked it all up the other day when I sent it to you.                   This

  8    is Kelly in Martino Cala (ph.).

  9                MR. RHODES:    Okay, man.       Just do me a favor and

 10    repost that in the chats.          I haven't read that yet.

 11                MR. A.S.:    Sir, this is -- we've got A.S. from

 12    Dayton County, North Carolina.          What about knives?

 13                MR. RHODES:    I believe three inches is the max you

 14    can have in D.C.     You can't have anything over -- I think.

 15    If someone else is looking that up that for accuracy.

 16                MR. A.S.:    That was posted on our chat that there

 17    was not limit on blades.       Knives are legal and knives are

 18    allowed to be secreted.       That was posted in the North

 19    Carolina's Members' Chat.

 20                MR. RHODES:    Well, I read it as you can possess

 21    any knife you want, but when it comes to what you carry on

 22    your body, you can't carry anything longer than three

 23    inches.    That's what we were told last time we were in D.C.

 24    for an event.     Let's have someone check on that, okay,

 25    instead of all of us trying circus out on this phone call.

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  1    Let's just go ahead and have some people -- who would like

  2    to volunteer to be on a group to research that?

  3                MR. A.S.:    I'm posting that now, sir.

  4                MR. RHODES:    Is that Kelly?

  5                MR. A.S.:    Well, Kelly was.

  6                MR. RHODES:    Who wants to jump in join Kelly in

  7    confirming that?     I'm going to assign Eric from Texas to

  8    help with that too.      He's pretty good at that kind of stuff.

  9    He's one of our leads.      He's been one of leads for -- I'll

 10    put Whip on that also.      I've got some more cops on it.

 11                (End of recording.)

 12

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               Exhibit 11
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                                                                                      OK FL DC OP Jan 6


                A                 B                C                                                                            D
1 UserName                Date              Time                Content
2                                1/3/2021               8:40 PM 8x flex cuffs
   OK Gator 1                                                   Ok we are not going full camo of any kind, let's stay jeans or khakis with plate carriers etc. They want us to be more no.
                                                                national guard look. So bring the stuff you need but let's not look national guard!! This is a change!! Please make sure we
3                               1/3/2021                        adjust!!!
4                               1/3/2021                        All my gear is antifa black LOL
5                               1/3/2021                        Helmets?
6 additional content may be present
                                                                We will be doing a stage guard at freedom square, then we will all go to Willard for checkin as VIP security team. May be one
7 OK Gator 1                     1/3/2021              10:16 PM of us or just a few.
8 OK Gator 1                     1/3/2021              10:17 PM As people arrive you will be additional stage support or crowd observation. It's gonaa be very hectic.
                                                                That's gonna be about it for Tuesday but they want volunteers for night escorts. If you wanna do it great if not no big deal. Not
 9 OK Gator 1                    1/3/2021              10:17 PM hunting just walking people out.
10 OK Gator 1                    1/3/2021              10:18 PM We will gather and discuss wednesday (the big one) in person. Tuesday night.
                                                                Attire is no full camo. They don't want us to be National guard look. So jeans or khaki 511 combat pants etc. and an OK shirt.
                                                                Same for Wednesday. Plate carriers etc. Will be on for both days. That was from call 2 Radio programming also Tuesday night.
                                                                But basically when the Sec service comes in they will launch Warlock and comms are gone! Well guys I'm sure a million
                                                                questions, but let's keep them here. Im getting hunders of DMs etc. I don't mind if it's an off the chat type of thing. They
                                                                mentioned US on the call with congressmen and the wanted to say thank you all for providing and protecting us. Wednesday
                                                                we will be working with or more likely around Secret Service not with!! Let's look like we know what we are doing. Primarily
                                                                scanning the crowd. Wednesday we will be at RP at 6 am so don't plan on being out playing hero on Tuesday and be late for
11 OK Gator 1                    1/3/2021              10:25 PM detail Wednesday.
                                                                Everything else is still unfolding the organizaers havent even posted a final schedule because so many bee faces are coming
12 OK Gator 1                    1/3/2021                       out to talk
13 OK Gator 1                    1/3/2021              10:26 PM But Wednesday is 6 am til 8 minimum
14 OK Gator 1                    1/3/2021              10:27 PM If you have camo pants probably ok if OK shirt or non camo too etc. I will be wearing multi cam pants an OK shirt
15 OK Gator 1                    1/3/2021              10:28 PM Then Tuesday I'll go khaki combats and OK shirt. Sweatshirt under OK shirt probably best
16 OK Gator 1                    1/3/2021                       Any questions
17 OK Gator 1                    1/3/2021              10:29 PM Exact details on Wednesday are unfolding still
18                               1/3/2021              10:30 PM People flying in can synch with you Tuesday afternoon?
19                               1/3/2021              10:30 PM Or cell phones AFU
20 OK Gator 1                    1/3/2021              10:39 PM Either way
21 OK Gator 1                    1/3/2021              10:39 PM Yes
22 OK Gator 1                    1/3/2021              10:39 PM Tuesday we should have comms

23                               1/3/2021              10:43 PM Gator please let me know where you want us from SC we should be in DC around noon or so we will keep you updated on ETA
24                               1/3/2021              10:44 PM Noon on the 5th
25 OK Gator 1                    1/3/2021              10:47 PM Perfect we will stay in communication as we get into NC 9pm tomorrow night
26                               1/3/2021              10:47 PM 10‐4
27 OK Gator 1                    1/3/2021              10:48 PM I will dm as we move. Thank your ream for the assistance! Without you guys we couldn't pull this off
28 OK Gator 1                    1/4/2021               5:50 AM [Sent a PDF 38.2kB]
                                                                This is a copy of the Texas Rules of engagement we are applying to DC general guidelines from National. Yes they say Texas a
29 OK Gator 1                    1/4/2021               5:51 AM few times but you get the point.
30 OK Gator 1                    1/4/2021               6:18 AM Rally 3 pm if possible and need location DM but only those who will caravan



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                A     B          C                                                                              D
31                   1/4/2021         6:35 AM Underway to Atlanta will link w/              then on NC with 3 POB
32 OK Gator 1        1/4/2021         6:49 AM Please note there are reports of TM and Gas outages in certain areas fuel often and being added funds
33                   1/4/2021         6:50 AM Roger that
34 OK Gator 1        1/4/2021         7:03 AM [Shared screen shot of Twitter account stating "Civil War"] Interesting Tweet on Sunday I missed
                                              This is interesting, I grabbed my cup of coffee and my phone to check messages and found my phone is bricked. Totally dead.
                                              Interesting that it's dead this morning. Won't have time to try to do much about it so I'll try to pick up a burner phone before I
35                   1/4/2021         7:04 AM start Nother.
36 OK Gator 1        1/4/2021         7:13 AM Send me the number
37 OK Gator 1        1/4/2021         7:14 AM Stay in contact with
38 OK Gator 1        1/4/2021         7:14 AM If we have extras we need flag carriers and photographers lots of pics or our team!!
39 OK Gator 1        1/4/2021         7:15 AM Not part of the mission but any taf slings can help with that
40 OK Gator 1        1/4/2021         8:07 AM Of you have them save khaki pants for Wednesday
41 OK Gator 1        1/4/2021         8:07 AM If
42 OK Gator 1        1/4/2021         8:10 AM Earlier message should have said tag alongs Sorry not enough coffee yet
                                              If you have done an OP with us before Lousiville Lafayette Stone event Miami Stone events Tamp Trump Rally Please let me
43 OK Gator 1        1/4/2021         8:21 AM know by posting which on you did security for
44 OK Gator 1        1/4/2021         8:22 AM Or QRF etc
45                   1/4/2021         8:25 AM None
46                   1/4/2021         8:26 AM I did Stone event Tampa
47                   1/4/2021         8:26 AM None
48                   1/4/2021         9:03 AM So I know we are not going full kit now. Are we doing caps and no helmets?
49 OK Gator 1        1/4/2021         9:06 AM He lets are still a go but I am doing hat with helmet attached if we need it or when in motion through crowds
50 OK Gator 1        1/4/2021         9:06 AM Helmets
51                   1/4/2021         9:27 AM Im
52 OK Gator 1        1/4/2021                 Don't forget shirts
53                   1/4/2021        10:02 AM Roger that           , still looking at the same ETAs
54 OK Gator 1        1/4/2021                 [OK Gator 1 added Jessica Watkins]
55                   1/4/2021        10:13 AM We are leaving Saint Cloud in 15 min. Gotta pickup someone

56 OK Gator 1        1/4/2021        10:16 AM Ohio Militia and Oath Keepers Jessica and her team                          Are joing us from Ohio. Adding another combat Medic
                                              Jessica you have 4 working the detail from Ohio.                 you have 6 confirmed for detail from SC. If correct that gives us 27
                                              man team I like it!! Perfect mi with 4‐5 medics in the group. I'll keep working on overall contact between Natl/congress team
                                              and stop the steal team for scheduling etc...          runs the ground team.             and       will assist him especially when
57 OK Gator 1        1/4/2021        10:41 AM we are moving!
58 OK Gator 1        1/4/2021        10:42 AM Other state leaders can be in direct contact with            and then you handle your team as he needs.
                                              [Sent Twitter link: https://twitter.com/chiefscnation/status/1345889105624891393?s=12. "Caravan out of Eastern Washington
59 OK Gator 1        1/4/2021        11:00 AM State to D.C. today]
60 Jessica Watkins   1/4/2021        11:15 AM [In response to OK Gator 1] Correct
                                              I could use a couple of OK patches for my gear on the ground and a new OK FL shirt 2X‐3X. I have an OK FL shirt I am bringing
61                   1/4/2021        11:20 AM that is a couple of years old. Just putting myself on the list for people bringing stuff
62                   1/4/2021        11:23 AM DC rally about a month ago. I was on FOB security for that one. Stone Rally Miami.
63 OK Gator 1        1/4/2021        11:23 AM Got you DR and
64 OK Gator 1        1/4/2021        11:23 AM       you rolling
65                   1/4/2021        11:24 AM Were on the road



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              A        B          C                                                                              D
66 OK Gator 1         1/4/2021        11:24 AM Perfect you gonna make RP
67                    1/4/2021        11:25 AM Us, possibly
68                    1/4/2021        11:25 AM I am waiting in Punta Gorda for          then we head to        . ETA there about 1430
69                    1/4/2021        11:26 AM Near Leesburg so we'll b behind u
70 OK Gator 1         1/4/2021        11:26 AM Ok
71 Jessica Watkins    1/4/2021        11:29 AM As are we
72 OK Gator 1         1/4/2021                 [Added                ]
                                               Added         from Flagler state vetting coordinator. He will be comprising a list in full names to give to the Ellipse people so we
73 OK Gator 1         1/4/2021        12:53 PM have clearance to enter the restricted areas.
                                               [OK Gator 1 sent a link to YouTube video: https://youtube.com/watch?v=S6IOBJ2C‐Q4&feature=share, Title: ANTIFA being
74 OK Gator 1         1/4/2021        12:58 PM Bussed into DC In Advance of MAGA Rally]
                                               I have two people with me that are not Oathkeepers, one joined but it's approved yet. What's everyone doing with their non
75                    1/4/2021         1:02 PM OK party members?
76                    1/4/2021         1:03 PM I can't separate from them. :)
77                    1/4/2021         1:04 PM [Responding to                 ] What is the email on the membership?
78                    1/4/2021         1:05                  @aol.com
79                    1/4/2021         1:05 PM No yahoo
80                    1/4/2021         1:05 PM Lol. Sorry
81                    1/4/2021         1:06 PM Lord does anyone use AOL. I get date stamp on me for that one!
82                    1/4/2021         1:07 PM My husband is with me but not a member.
83 OK Gator 1         1/4/2021         1:11 PM He will have to stay outside FYI only security in the VIP area we will out the rest near the front
84 OK Gator 1         1/4/2021         1:12 PM We have many others the same way
85                    1/4/2021         1:14 PM Gotcha.
86                    1/4/2021         1:14 PM Are we putting them near us?
87 Jessica Watkins    1/4/2021         1:33 PM Who is doing the vetting? I have 2 folks needing vetted.
88 OK Gator 1         1/4/2021         1:37 PM
89 Jessica Watkins    1/4/2021         1:50 PM Sent
90                    1/4/2021         1:54 PM [Reponding to OK Gator 1 Youtube link] FYI. Comments claim this was in Minnesota not DC.
91 OK Gator 1         1/4/2021         2:23 PM ETA 1507
                                               We will be in VA @ 8pm. Where can we drop off weapons to the QRF team? I'd like to have the weapons secured prior to the
                                               Op tomorrow. Our hotel is in Arlington, VA by the Metro station, but we don't check in until tomorrow. Staying with family this
92 Jessica Watkins    1/4/2021         2:28 PM evening in Winchester.
93                    1/4/2021         3:18 PM We didn't stop in Jax because we are trying to make DC today.
94                    1/4/2021         3:18 PM Want to beat the road closures
95                    1/4/2021         3:19 PM Wishing we had stayed outside the city but it's too late. Paid.
96                    1/4/2021         3:21 PM [               sent screen shot of map showing 591 miles left to travel to DC]
                                               [Sent a link: https://www.the‐sun.com/news/2078155/national‐guard‐dc‐protests‐over‐joe‐biden‐
 97                   1/4/2021         3:27 PM win/?utm_source=facebook&utm_medium=social&utm_campaign=USsunfacebookbreaking
 98                   1/4/2021         3:27 PM Probably exactly backwards...NG because libtards gonna melt down.
 99                   1/4/2021         3:28 PM Let us hope
100                   1/4/2021         3:29 PM Where do we go late tomorrow afternoon to get BaoFeng programmed... I'll be there after lunch tomorrow
101 OK Gator 1        1/4/2021         3:30 PM Hilton garden inn
102 Jessica Watkins   1/4/2021         4:35 PM [Responding to                ] Yes. Believe he said on 1st Ave




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               A       B          C                                                                           D
                                              [Shares Twitter link: Ali #StopTheSteal on Twitter. In repsonse to the #StopTheSteal #JAN6 protest, DC has: closed restaurants,
                                              closed in door dining, even at hotels provided few bathrooms set up 36 hours of barricades violated the constitution, banning
103                   1/4/2021        4:55 PM highest gun permits and now, called the NATIONAL GUARD]
104                   1/4/2021        4:56 PM Ali has heart
105                   1/4/2021        4:57 PM Remember when this same Mayor threw the same NG out of hotels and they slept on the street?
106                   1/4/2021        4:57 PM I hope they remember!
107                   1/4/2021        4:58 PM She just called in people who don't empathize with her
108                   1/4/2021        4:58 PM And can be federalized
109                   1/4/2021        4:59 PM Indeed
110                   1/4/2021        4:59 PM Woman has room temperature IQ
111                   1/4/2021        5:11 PM Except, so far, they do BS stuff with no consequences
112                   1/4/2021        5:14 PM [Sent a Meme] Me since March 2016
113                   1/4/2021        5:14 PM Keep poking us in the eye.
114                   1/4/2021        6:14 PM Waffle House. Habachi of the South.
115                   1/4/2021        6:14 PM How's everyone doing?.
116 Jessica Watkins   1/4/2021        6:39 PM 2 hours away now. Had a little snow in West Virginia, but otherwise perfect travels
117                   1/4/2021        6:52 PM Landed in NC
118 OK Gator 1        1/4/2021                [OK Gator 1 added                  ]
119 OK Gator 1        1/4/2021        7:23 PM Added another SC OK
120 OK Gator 1        1/4/2021        7:24 PM Welcome
                                              [Sent a Twitter link ‐Disclose.tv on Twitter "NOAA forecasters say there is a chance of G1‐class geomagnetic storms on January
                                              6th when a double CME‐that erupted on January 2nd‐likely strikes Earth's magnetic field"] It looks like a planned interruption
121                   1/4/2021        7:24 PM of communications will occur on Wednesday, Jan 6th.
122                   1/4/2021        7:25 PM Only will affect conservatives... the sun is red
123                   1/4/2021        7:47 PM Thanks fellas
124                   1/4/2021                [          added              ]
125                   1/4/2021        8:09 PM Godspeed to the traveling team.
126                   1/4/2021        8:09 PM I got booted from the call. No problem.
127                   1/4/2021        8:10 PM Watch out...Them boys from North Carolina roll their joints all wrong... hehe
128 Jessica Watkins   1/4/2021        8:33 PM We made it safely
129                   1/5/2021        2:37 AM We have arrived
130                   1/5/2021        3:00 AM Is there a specific time we need to be at freedom square later today?
131                   1/5/2021        3:25 AM They boarded up the Holiday Inn because BLM was smashing hotel windows
132                   1/5/2021        4:50 AM South Carolina Team on the way
133 OK Gator 1        1/5/2021        5:31 AM Gator team rolling
134                   1/5/2021        5:32 AM On the plane headed out
135                   1/5/2021        5:32 AM Need to be rolling into some coffee
136                   1/5/2021        7:55 AM On the ground in Baltimore
137 OK Gator 1        1/5/2021        7:56 AM [Thumbs up Meme]
138                   1/5/2021        8:02 AM We get that QRF hotel address yet?
139 OK Gator 1        1/5/2021        8:07 AM Dm
140                   1/5/2021                [           "liked" the message "Dm"]
141                   1/5/2021        8:14 AM Where is the rendezvous point today
142                   1/5/2021        8:16 AM @            , @ OK Gator 1 when do you want to stop for gas?



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                 A     B          C                                                                          D
143 OK Gator 1        1/5/2021         8:17 AM Soon
144                   1/5/2021         8:18 AM I made the unpardonable sin: drinking water
145                   1/5/2021         8:18 AM Anytime for us, we're ready
146                   1/5/2021                 Same here
147 OK Gator 1        1/5/2021         9:27 AM Ok we will be there about noon
                                               Tonight while I was in Missouri, Antifa scumbags came to our place in DC and threatened my wife and newborn daughter, who
                                               can't travel. They screamed threats, vandalized, and tried to pound open our door. Let me be clear: My family & I will not be
148                   1/5/2021         9:47 AM intimidated by left wing violence. That's a tweet from Josh Hawley
149                   1/5/2021         9:47 AM Hopefully protection is headed his way
150                   1/5/2021         9:48 AM Don Jr retweeted it
151                   1/5/2021         9:53 AM Those rat bastards
152                   1/5/2021         9:58 AM Wtf. Doesnt he have security?
                                               I highly doubt he will even get it. A lot of senators are not very happy with him, and I doubt it will be approved by bitch
153                   1/5/2021        10:07 AM McConnell and            pelosi
154                   1/5/2021        10:52 AM Groups like ours need to step up IMO
                                               Me and Traci have arrived in D.C. and have unpacked as far as I know we are the only ones here so far. Is there anywhere
155                   1/5/2021        10:56 AM specifically I should head to link up with the other OK members?
156 Jessica Watkins   1/5/2021        10:59 AM How do the roads look?
157                   1/5/2021        11:00 AM They're empty outside my hotel but we are outside the road closures
158 Jessica Watkins   1/5/2021        11:00 AM [Thumbs up emoji] thank you
159                   1/5/2021        11:02 AM Checking DOT traffic cams around the White house... roads clear of traffic and no foul weather.
160                   1/5/2021        11:02 AM [Sent link: App.ddot.dc.gov]
161                   1/5/2021        11:09 AM Barricades up at 16th St/K St at the BLM street street desecration
162                   1/5/2021        11:09 AM Yeah our Hotel is boarded up
163                   1/5/2021        11:09 AM Appears traffic very light all around the White House and national mall
164                   1/5/2021        11:10 AM Little more traffic as you get further away from the White House
165                   1/5/2021        11:11 AM DC Metro PD are beginning to blockade more roads around the perimeter of the White House
166                   1/5/2021        11:14 AM 14th and Pennsylvania ave nw blocked by snow plow trucks and PD
                                               [Sent Twitter link: Steve Ferguson "This is Antifa and BLM ammo" ] For those of you in DC, just saw this picture of ANTIFA
167                   1/5/2021        11:17 AM ammo near Warner Theatre
168                   1/5/2021        11:18 AM Moved this post over
169                   1/5/2021        11:20 AM [Responding to            ] I am here too
170                   1/5/2021        11:20 AM I have confirmed via traffic cam that there are piles of bricks at 15th st and Pennsylvania ave and E st intersection.
171 Admin             1/5/2021                 [Disordered changed their profile name to Disturbed]
172                   1/5/2021        11:20 AM [Sent screen shot from traffic cam showing piles of bricks]
173                   1/5/2021        11:26 AM Convenient
                                               We are here in Arlington. All those here in Arlington, hows the convoy working? Should we rendezvous with you in the grey
174 Jessica Watkins   1/5/2021        11:42 AM van?
175 Jessica Watkins   1/5/2021        11:44 AM We have 45 minutes to get to Freedom Plaza, so we need to get goin' (sorry trying to stay on schedule)
176                   1/5/2021        11:55 AM We are headed to Freedom Plaza
177 Jessica Watkins   1/5/2021        11:58 AM Ok we will roll out as well.
178                   1/5/2021        12:02 PM I will roll out and be there in 30 minutes
179 Jessica Watkins   1/5/2021        12:17 PM Heavy traffic, fyi
180                   1/5/2021        12:24 PM [Sent selfie] Leaving now



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               A       B          C                                                                             D
181 Jessica Watkins   1/5/2021        12:25 PM Plenty of open Parking Garages though
182                   1/5/2021         1:12 PM [Sent a picture] This is us if see us
183 Faith             1/5/2021         1:14 PM Just checked into hotel, suiting up. Be there soon
184                   1/5/2021         1:14 PM I am here
185                   1/5/2021         1:15 PM [Sent a selfie]
186                   1/5/2021         1:20 PM I'm left if the stage. I linked up with oathkeepers from another state
187 OK Gator 1        1/5/2021         1:20 PM Dr S we are heading to Captiol
188                   1/5/2021         1:23 PM We'd like to find everyone
189                   1/5/2021         1:23 PM Still at freedom plaza
190                   1/5/2021         1:24 PM [Sent picture of busses] From FOB TRUMP
191                   1/5/2021         1:22 PM So you want me to go to the Capital
192                   1/5/2021         1:22 PM [Responding to              ] I am on the right side of stage 20 people back
193                   1/5/2021         1:29 PM We found the Ohio Team
194                   1/5/2021         1:30 PM We near Pennsylvania by the white tent
195 Jessica Watkins   1/5/2021         1:29 PM Far left of stage, streetside
196 OK Gator 1        1/5/2021         1:48 PM We are heading that way
197 Kraut             1/5/2021         1:57 PM I have two sleeping bags left in a garbage bag another one by it self let me know if its yours
198                   1/5/2021         2:12 PM I left the garbage bag
199                   1/5/2021         2:12 PM I'll get it before we head back to FL
200                   1/5/2021         2:18 PM [Sent a selfie]
201                   1/5/2021         2:20 PM Inbound to Hilton Garden Inn 1st. ETA 1459 (2:59P)
                                               Just checked into my hotel in Springfield... my sister is with me. We both have gear. I don't know if she got vetted. She sent in
202                   1/5/2021         3:21 PM her paperwork yesterday... looking for direction to be prepared for tomorrow.
203                   1/5/2021         3:21 PM My radio is also not programmed
204                   1/5/2021         3:33 PM I'm going to go to hotel to try to find someone to program my radio
205                   1/5/2021         3:42 PM Francis Scott Key bridge traffic still flowing both ways via traffic cam
206                   1/5/2021         3:43 PM Canal rd at Chain Bridge rd shows no traffic
207                   1/5/2021         3:45 PM 14th st bridge no traffic
208                   1/5/2021         3:49 PM [Responding to                    ] Me too
209 Admin             1/5/2021                 [Disturbed changed their profile name to                   ]
210                   1/5/2021         4:36 PM What street is BLM on? So I can avoid?
211                   1/5/2021         4:37 PM I just got back after guarding stage with Ohio oathkeepers
212                   1/5/2021         4:37 PM [Responding to              ] Me as well
213                   1/5/2021         4:37 PM On my way to hotel now... on metro with group of normies

214                   1/5/2021         4:37 PM [Responding to                   ] Were back at the Holiday Inn. Soaked. Gonna eat and wait to hear about what's next.
215                   1/5/2021         4:38 PM [Responding to              ] Not Hilton Garden Inn?
216                   1/5/2021         4:48 PM Were at the Holiday Inn National Mall

217                   1/5/2021         4:59 PM News of busloads of antifa being unloaded into a safe zone in DC. Traffic cams shut down, Buses have police escort.
218                   1/5/2021         4:59 PM Trusted source
219                   1/5/2021         5:00 PM News of Coms being blocked.
220                   1/5/2021         5:00 PM Proud Boys leader released on his OR
221                   1/5/2021         5:04 PM Looks like Metro PD is restricting acces to BLM Plaza



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222                   1/5/2021        5:06 PM [Shares map of BLM Plaza with location description]
223                   1/5/2021        5:08 PM ****big passenger vans x4 with police escort**** (possible BLM)
224 OK Gator 1        1/5/2021        5:30 PM We have a team meeting tonight for all that attend. Marriott JW

                                              10:45 we need it be there. If your shot and can't make it don't worry we will be up early tomorrow. need the teams leads for
225 OK Gator 1        1/5/2021        5:31 PM sure and would like as many as feel like going down. Probably gonna drive we can pile 5‐6 per car and take a few fars.
226                   1/5/2021        5:36 PM So where do we meet in AM if not at that meeting?
227                   1/5/2021        5:40 PM Any curfew or is that bullshit?
228                   1/5/2021        5:44 PM I should have said where and when?
229                   1/5/2021        5:45 PM Called Metro PD they said no. For what that is worth
230                   1/5/2021        5:51 PM I guess you don't need me. I'm out... I'll just go normie tomorrow
231                   1/5/2021        5:50 PM What time tonight
232 OK Gator 1        1/5/2021        5:51 PM 10:45 PM
233 OK Gator 1        1/5/2021        5:52 PM [Responding to                ] Meet in fron of the Ellipse stage at 6 am
234                   1/5/2021        5:53 PM Full kit?
235                   1/5/2021        5:54 PM Can ca call be set up for those that cant get there in person?
236 OK Gator 1        1/5/2021        5:54 PM No meeting is casual. Tomorrow is khakis OK shirt and plate carriers. Hat when stationary helmets when moving
237                   1/5/2021        5:56 PM Roger that
238 OK Gator 1        1/5/2021        5:56 PM If you are staying at the Hilton Garden inn and want to go. Please be in lobby at 10
239                   1/5/2021        6:00 PM Any extra shirts for sale?
240                   1/5/2021        6:01 PM [Responding to OK Gator 1] Is there a destination spot to Uber to, in the morning at the Elipse stage.
                                              [Responding to                ]       I'm in 618. We have been on the move since we left FL. We got about 2 hrs sleep if we were
                                              luck. Sorry we didn't have time to gather everyone up. Stop by my room if you can. Just let me know when you are coming I',
241                   1/5/2021        6:03 PM jumping in the shower now.
242                   1/5/2021        6:04 PM Which hotel?
243                   1/5/2021        6:04 PM Hilton garden JW
244                   1/5/2021        6:05 PM Aren't you in this hotel?
245                   1/5/2021        6:09         I'm coming to get my shit
246                   1/5/2021        6:11 PM [Responding to OK Gator 1] Check the driving first. We had to get dropped off and walk 7 blocks.
247 OK Gator 1        1/5/2021        6:14 PM [This message was deleted]
248 OK Gator 1        1/5/2021        6:15         where's
                                              I will just meet you guys in the morning at Elipse. We pulled guard duty all day. If someone can bring patches and/or a shirt it
249                   1/5/2021        6:15 PM would be appreciated
250                   1/5/2021        6:21 PM I could use patches hat and shirt too, please
251                   1/5/2021        6:46 PM [Sent link to Hal Turner Radio Show article: DC Metro Police Attempting to BAN "ALL" FIREARMS During...]
                                              [Senr link https://nationalfile.com/breaking‐stockpiles‐of‐2x6‐lumber‐propane‐tanks‐srface‐on‐d‐c‐streets‐ahead‐of‐jan‐6‐stop‐
252 OK Gator 1        1/5/2021        7:24 PM the‐steal‐rally/] Man this is bullshit!
                                              [Responding to OK Gator 1] The cage of propane tanks. Any place to grab a few locks and put yournown locks on on it? Like
253                   1/5/2021        7:38 PM several. Doubt antfa willmuave bolt cutters.
254                   1/5/2021        7:39 PM Even a bicycle cable lock... those are a bitch to cut
                                              Let us know when you're back to the hotel (we are room 206) so we can buy our shirts for tomorrow and fix up our radio
255 Jessica Watkins   1/5/2021        7:41 PM comms




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                                              Ok we are back, can you for a few of you team come to the meeting tonight? I'd like to to have several of us that know what's
256 OK Gator 1        1/5/2021        7:45 PM going? I've got cars set p for 10 at 10:15 be a little early in the lobby. If you need shirts still I'll have some!
257 OK Gator 1        1/5/2021        7:47 PM Ohio Dm sent
                                              @OK Gator 1 or anyone else who knows: what time are you leaving your hotel (the garden inn on 1st) to walk to ellipse? Kraut
258                   1/5/2021        7:51 PM and I will meet you.
259 OK Gator 1        1/5/2021        7:58 PM We will Uber over probably

260                   1/5/2021        9:02 PM We are at a different hotel for an after part and he's doing an interview so it might get pushed back. I'll let ya know.
261                   1/5/2021        9:08 PM Next time we need to weld the cage shut
262 OK Gator 1        1/5/2021        9:11 PM [Responding to          ] Wtf. Dude we are told on stage at 6am Teams gotta sleep
263 OK Gator 1        1/5/2021        9:11 PM Might be very few of us and GG is driving in
264                   1/5/2021        9:17 PM Ok heading back
265 OK Gator 1        1/5/2021        9:18 PM On schedule
266                   1/5/2021        9:18 PM Actually he just asked me to cancel it
267 OK Gator 1        1/5/2021        9:18 PM Our meeting
268                   1/5/2021        9:18 PM So it's off yes
269 OK Gator 1        1/5/2021        9:18 PM You told him or he suggested
270                   1/5/2021        9:18 PM He said stick to the original plan
271 OK Gator 1        1/5/2021        9:19 PM 6 am on site
272                   1/5/2021        9:19 PM I'll find out
273                   1/5/2021        9:20 PM Yes 0600
274 OK Gator 1        1/5/2021        9:20 PM Ok good to hon
275 OK Gator 1        1/5/2021        9:20 PM Go
276                   1/5/2021        9:21 PM [Shared PDF A Itinerary Jan 5‐6]
277 Jessica Watkins   1/5/2021        9:21 PM Where on the Elipse is the meeting point?
278 OK Gator 1        1/5/2021        9:22 PM VIP gate
279 Jessica Watkins   1/5/2021        9:24 PM Roger, thank you
280                   1/5/2021        9:25 PM C‐ya in the morning
281                   1/5/2021        9:26 PM PB cluster fuck 14 and Pennsylvania
282                   1/5/2021        9:26 PM Going around it
                                              [Sent a picture of the White House with four military personnel photoshopped in with the names:                , Gator 1, ,
283 OK Gator 1        1/5/2021        9:26 PM            ]
                                              Quick meeting in lobby to discuss tomorrow detail with me and Kenny. Primary cancelled the o clock meeting [hand clap
284 OK Gator 1        1/5/2021        9:27 PM emoji]
285                   1/5/2021        9:28 PM Right now?
286                   1/5/2021        9:28 PM I'll think about it
287                   1/5/2021        9:29 PM Yup we ducked into our hotel
288                   1/5/2021        9:31 PM Who is with          ?
289                   1/5/2021        9:31 PM He's by himself
290                   1/5/2021        9:32 PM But should be ok
291                   1/5/2021        9:33 PM Shit, I've got his flag
292                   1/5/2021        9:33 PM I can be the banner boy and the creach and the little one
293                   1/5/2021        9:33 PM              *



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294 OK Gator 1        1/5/2021         9:51 PM 10 downstairs if you want
295                   1/5/2021        10:25 PM Anything I need to know before bed?
296                   1/5/2021        10:42 PM [Responding to            ] 6am Hilton
297                   1/5/2021        10:44 PM Not the Elipse?
298                   1/5/2021        10:50 PM 6 am at the Hilton garden inn. If you need the address pm me.
299                   1/5/2021        11:04 PM I have it.
300 OK Gator 1        1/5/2021        11:29 PM No no
301 OK Gator 1        1/5/2021        11:29 PM Wrong
                                               Anyone outside of this hotel 6 am at the Ellipse. This hotel meets in the lobby at 5:30 am. Kenny and jason can't get gear until
302 OK Gator 1        1/5/2021        11:30 PM 6 out of the garage and they will meet us. Final done be there.
303                   1/6/2021        12:30 AM Or be sqare
304                   1/6/2021         4:31 AM [Shared YouTube video: Disturbed‐ down with the sickness]
305                   1/6/2021         5:16 AM Best direction to Elipse? Visitor center or south lawn entrance
306                   1/6/2021         5:26 AM [Responding to                ] Kraut and     are coming together
307 OK Gator 1        1/6/2021         5:26 AM I would say as close as you can get
308 OK Gator 1        1/6/2021         5:26 AM To the whitehouse is best
309 Jessica Watkins   1/6/2021         5:27 AM Address for Hilton Garden Inn?
310 Jessica Watkins   1/6/2021         5:30 AM Nevermind saw what Kelly said. We are entroute to the ellipse
311                   1/6/2021         5:34 AM All entrances are blocked hard to get there
312 Jessica Watkins   1/6/2021         5:36 AM We have a route. Coming down Francis Scott key Bridge and into the city from Georgetown
313 Jessica Watkins   1/6/2021         5:36 AM Avoids the bullshit
314                   1/6/2021         5:37 AM Roling inbound
315                   1/6/2021         5:40 AM I'm oscar mike
316                   1/6/2021         5:41 AM On metro inbound
317                   1/6/2021         5:49 AM [Shared screen shot of 'Save America March"]
318                   1/6/2021         5:50 AM At the south media entrance
319                   1/6/2021         5:51 AM They call this the media entrance/VIP entrance
320                   1/6/2021         5:52 AM On foot. Near the Washington monument
321                   1/6/2021         5:52 AM Headed to you at the south entrance
322                   1/6/2021         5:55 AM I'll wait for you
323                   1/6/2021         5:58 AM Belay that I wont make the eclipse on time if I wait
324                   1/6/2021         5:59 AM Just got to line at monument
325 OK Gator 1        1/6/2021         6:02 AM The vip team is running late don't kill yourself
326 OK Gator 1        1/6/2021         6:02 AM Just spoke to his detail
327                   1/6/2021         6:02 AM [Sent selfie] By portapottys
328                   1/6/2021         6:02 AM [Responding to              ] Where are you now
329                   1/6/2021         6:04 AM [Sent a picture of the Washington Monument]
330                   1/6/2021         6:05 AM Just keep heading to the eclipse we can link up there
331                   1/6/2021         6:06 AM [Sent a photo of a crowd of people]
332                   1/6/2021         6:06 AM W/         . Stuck in traffic with Uber.
333 Jessica Watkins   1/6/2021         5:51 AM Almost there
334                   1/6/2021         6:09 AM [Shared a video]
335 OK Gator 1        1/6/2021                 [Shared a picture]
336                   1/6/2021         6:14 AM [Shared a picture] I'm next to the truck with the tv on it



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337                   1/6/2021        6:17 AM        and I walking it in. 10 min out
338                   1/6/2021        6:19 AM Next to W monument
339                   1/6/2021        6:20 AM [Responding to                 ] Us too
340                   1/6/2021        6:23 AM Standing in big field
341                   1/6/2021        6:23 AM Huge line?
342                   1/6/2021        6:24 AM In line where do we go?
343                   1/6/2021        6:25 AM HELLO!!?
344                   1/6/2021        6:25 AM We are at the front of the line
345                   1/6/2021        6:25 AM I'm trying to get that info
346                   1/6/2021        6:25 AM Facing the stage we are on the left side
347                   1/6/2021        6:25 AM There are 2 lines
348 OK Gator 1        1/6/2021        6:26 AM Go to the whitehouse side
349                   1/6/2021        6:26 AM [Sent a video]
350                   1/6/2021        6:28 AM Standing by a huge neon sign... anyone else?
351                   1/6/2021        6:31 AM Now at VIP?
352                   1/6/2021        6:37 AM Can SOMEONE tell me where to go... anyone
353                   1/6/2021        6:37 AM [Sent a photo]
354                   1/6/2021        6:38 AM Here also
355                   1/6/2021        6:40 AM [Sent a video]
356                   1/6/2021        6:41 AM Doc u gotta push through crowd
357                   1/6/2021        6:41 AM I did to get inside
358                   1/6/2021        6:41 AM But we are on wrong side I think
359                   1/6/2021        6:41 AM No one will anser me
360                   1/6/2021        7:00 AM .
361                   1/6/2021                          u
362 Jessica Watkins   1/6/2021        7:40 AM Event Staff won't let us in without passes. We are in front of the Washington Memorial by the big ass TV
363                   1/6/2021        7:55 AM We are directly begind the big screen inside the gate
364                   1/6/2021        7:57 AM Still working on passes
365                   1/6/2021        7:58 AM Anybody etting this message?
366                   1/6/2021        8:07 AM Guess I don't have comma
367                   1/6/2021        8:07 AM *comms
368                   1/6/2021        8:08 AM I have no way to get the rest of u passes
369                   1/6/2021        8:12 AM Copy
370                   1/6/2021        8:43 AM [Sent a photo from the rally location] Can anyone see this?
371                   1/6/2021        9:08 AM I lost you guys
372                   1/6/2021        9:08 AM When gators get in come to circled gate I lost comms
373                   1/6/2021        9:10 AM [Sent a selfie from rally] This is where I am in relation to the cameras
374                   1/6/2021        9:11 AM Where are you guys?
375                   1/6/2021        9:08 AM If anyone can relay to Kelly
376                   1/6/2021        9:12 AM Heading your way
377                   1/6/2021        9:13 AM [Sent a photo from the rally location] I'm next to the media booth
378                   1/6/2021        9:14 AM This is where I am in relation to the stage
379                   1/6/2021        9:15 AM Will are you on Kelly's escort detail?
380                   1/6/2021        9:18 AM I was alis escort



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381                 1/6/2021         9:18 AM I'm past securit I dont see any other OK members
382                 1/6/2021         9:18 AM I'm also in a dead zone
383                 1/6/2021         9:41 AM SC team on the way
384                 1/6/2021         9:56 AM You locate
385                 1/6/2021        10:03 AM           is looking for you. He said he is in a dead zone for coma
386                 1/6/2021        11:07 AM Test test test anyone receiving
387                 1/6/2021        11:10 AM I got ya
388                 1/6/2021        11:10 AM Im headed to the Capitol building to look for
389                 1/6/2021        12:19 PM Looking for you Oathkeepers on TV.
390                 1/6/2021        12:54 PM Oathkeepers on TV!!!!
391                 1/6/2021        12:54 PM Just saw about a dozen Oathkeepers pass by on the vrowd cam!
392 edward durfee   1/6/2021         1:02 PM [Responding to              ] Copy
393                 1/6/2021         1:16 PM The first objection of Arizona has just occurred.!!!
394                 1/6/2021                 [Shared a link to Gateway Pundit news article: "BREAKING: Pence Releases Statement Ahead of Certification"]
395                 1/6/2021         1:35 PM Just finished with the transferrin pts headed to hotel. Metro PD giving me a ride
396                 1/6/2021         1:35 PM How can u type while handcuffed?
397 OK Gator 1      1/6/2021         9:44 AM We are in
398                 1/6/2021         1:44 PM He helped me after helping one of his fellow Metro PD
399                 1/6/2021         1:44 PM [Sent thumbs up emoji]
400                 1/6/2021         1:45 PM Busy...2 cops and 5 patients
401                 1/6/2021         1:46 PM Over the metro Pd radio I overheard that people were trying to breach the capital building
402                 1/6/2021         1:47 PM Throwing rocks, concrete blocks and there was a crowd trying to force their way in
403                 1/6/2021         2:03 PM Word is many antifa among the patriots
404                 1/6/2021         2:25 PM Some medics on my team have been pepper sprayed and attacked at Capital. Headed their way.
                                             [Sent a screen shot of Emergency Alert: Mayor Bowser issues a city‐wide curfew for DC for Wednesday January 6, starting at
                                             6p.m. until Thrusday, January 7 at 6 a.m. Essential workers, including healthcare personnel and media are exempt] Yes. they
405                 1/6/2021         2:50 PM got in
406                 1/6/2021         2:48 PM Anyone have word? SC on the Capitol steps
407                 1/6/2021         2:50 PM I got tear gassed good
408                 1/6/2021         3:19 PM Same here
409                 1/6/2021         3:28 PM Im on the Capitol steps
410                 1/6/2021         3:30 PM No riot. No damage. No broken windows. No burning police cars. Go figure.
411                 1/6/2021         3:26 PM Armed cops coming to the North entrance
412                 1/6/2021         7:55 AM We are looking at the back side of the big screen
413                 1/6/2021         3:52 PM C‐Span (so far) has only interviewed Dem congressmen
414                 1/6/2021         3:55 PM At my FOB. Standing by id needed
415                 1/6/2021         3:56 PM If
416                 1/6/2021         3:28 PM More cops armed with M4's North Capitol Steps
417                 1/6/2021         3:31 PM Riot cops coming to north steps
418                 1/6/2021         3:35 PM Need to get my directions straight, East steps.
419                 1/6/2021         4:19 PM Lol
420                 1/6/2021         4:30 PM Is the Gator Team in good health/physical condition?
421                 1/6/2021         4:32 PM         and            and our protectees are safe
422                 1/6/2021         4:33 PM Leaders might not have comms. Everyone on DC op please check in so we know you're safe.



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                 A    B          C                                                                         D
423                  1/6/2021        4:33 PM [This message was deleted]
424                  1/6/2021        4:42 PM I just got back at hotel. I am okay. Getting tear gas and pepper spray off me but I am good
425                  1/6/2021        4:42 PM Just did the same
426                  1/6/2021        4:42 PM Still lingering
427                  1/6/2021        5:16 PM At my staging area. All good
428                  1/6/2021        5:17 PM Recruiting on train...they said want to swell our ranks
429                  1/6/2021        5:38 PM Good
430                  1/6/2021        5:38 PM Anyone know the status of the female patriot shot?
431                  1/6/2021        5:39 PM [Responding to                  ] Newt said critical
432                  1/6/2021        5:39 PM *news
433                  1/6/2021        5:39 PM Gonna pray for her hard
434                  1/6/2021        5:39 PM What did they shoot her with
435                  1/6/2021        5:39 PM Don't know
436                  1/6/2021        5:55 PM She just died per main stream news
437                  1/6/2021        5:55 PM F
438                  1/6/2021        5:55 PM Holy Hell
439                  1/6/2021        5:56 PM Prayers...
440 OK Gator 1       1/6/2021        6:19 PM Shelby we got your boy his first dose of tear gas!!
441 OK Gator 1       1/6/2021        6:19 PM [This message was deleted]
442                  1/6/2021        6:19 PM [Shared worldstar.com video link: Wild: Protestor Gets Shot In The Mouth While Invading Th...]
443                  1/6/2021        6:19 PM Shouldn't have gone in first
444                  1/6/2021        6:19 PM Word on the street is that they might be trying to arrest people who went in tonight
445                  1/6/2021        6:20 PM Like a roundup
446                  1/6/2021        6:20 PM Cant leave because of curfew
447                  1/6/2021        6:21 PM [This message was deleted]
448                  1/6/2021        6:22 PM When does curfew end
449                  1/6/2021        6:22 PM [Responding to          ] Copy
450                  1/6/2021        6:22 PM [Responding to            ] 6am
451                  1/6/2021        6:22 PM I posted stuff already
452                  1/6/2021        6:26 PM [This message was deleted]
453                  1/6/2021        6:54 PM Proud of all that showed. Was glad to have all of you by my side
454                  1/6/2021        6:55 PM On your 6 brother
455                  1/6/2021        7:14 PM Everyone who got an Oath Keepers t‐shirt, please remember to pay $20. Just when you get a chance. Thank you!
456                  1/6/2021        7:14 PM I can do that now of yall got a link
457                  1/6/2021        7:14 PM NP
458                  1/6/2021        7:14 PM Got 3 if i have a senior moment please remind me again...LOL!
459                  1/6/2021        7:28 PM Just read the girl that was killed was only 16
460                  1/6/2021        7:28 PM I heard 20+
461                  1/6/2021        7:29 PM Still a fucking shame none the less
462                  1/6/2021        7:29 PM Do we knowmher name atbhis point? ..im not finding it yet
                                             I'm not sure. I can confirm that it happened because the guy who was beside her was still covered in blood when he was
463                  1/6/2021        7:30 PM talking to us, and there are videos
464                  1/6/2021        7:30 PM Don't know much more then that
465                  1/6/2021        7:31 PM [This message was deleted]



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466                  1/6/2021         7:32 PM When the doors were pushed open? Or when people were pouring in and out...cause that's a lot of people
467                  1/6/2021         7:32 PM [This message was deleted]
468                  1/6/2021                 How about prosecuting the guy whomshot an unarmed woman in the neck
469                  1/6/2021         7:35 PM [This message was deleted]
                                              Well then everyone who went in that building is gonna get charged with rioting. That means all the oath keepers who waltzed
470                  1/6/2021         7:36 PM in after.
471 OK Gator 1       1/6/2021         7:36 PM There were a solid thousand in there
                                              I believe the people who destroyed shit and stole property should be charged. Fuck the deep state, corrupt law enforcement
472                  1/6/2021         7:45 PM adn antifa, but I don't believe that is the patriots place.
473                  1/6/2021         7:45 PM Don't hang me for saying that
                                              Nah I agree I got a statue of Robert Fulton inside that building. I am his direct descendant and if that was destroyed I'd be
474                  1/6/2021         7:46 PM mortified.
                                              Yea.. people were steaking art work and flags. That is not our place. We talk about antifa destroying property, we shouldnt be
475                  1/6/2021         7:48 PM doing the same.
476                  1/6/2021         7:49 PM American history
477                  1/6/2021         7:49 PM Not OK specifically
478                  1/6/2021         7:49 PM POTUS to address the Nation from the Oval Office at 9pm.
479                  1/6/2021         7:49 PM Sounds good
480                  1/6/2021         8:09 PM Pence is bashing Patriots and Praising the Cop that shot an unarmed woman
481                  1/6/2021         8:09 PM Bastard
482                  1/6/2021         8:09 PM Now it is McConnell's turn.
483                  1/6/2021         8:10 PM It is live on Senate feed on local NBC.
484                  1/6/2021         8:11 PM McConnell: "this failed intersection"
485                  1/6/2021         8:12 PM Bitch McConnell of course
486                  1/6/2021         8:15 PM [Shared screenshot from Senator Tom Cotton Facebook page]
487                  1/6/2021         8:17 PM Everyone should be watching this! Your Senate on display. Live on Local NBC
488                  1/6/2021         8:17 PM On now
489                  1/6/2021         8:24 PM They switched over to propaganda. www.cspan.org is streaming live

490                  1/6/2021         8:26 PM [Shared screenshot from Cari Kelemen Twitter: AZ BLM rally in June, DC Capital in January] Did you see this? Sam's guy. BLM
                                              That doesn't matter, that just means we have similar ideas about what's happened to our government. Different actions a lot
491 OK Gator 1       1/6/2021         8:28 PM of time beliefs overall. But closer than we all think. Especially after today
492                  1/6/2021         8:37 PM https://media.thedonald.win/post/mcG6mc7s.png
493                  1/6/2021         8:59 PM Where will trump speak? Where can I find it
494                  1/6/2021         9:29 PM Not a peep from him
495 Admin            1/6/2021                 [David left the group]
                                              [Responding to         ] I saw him outside after the fact and thought it was weird that he was telling everyone to go home the
496                  1/7/2021        12:34 AM battle was won for the day
497                  1/7/2021        12:35 AM I saw him
498 OK Gator 1       1/7/2021         5:06 AM I saw him
                                              Guys remember he doesn't matter. They players don't matter antifa or Patriots don't matter who started going in. Patriots
                                              went in also. Hell I heard some OK went in. Heard they saved some lives potentially as they blocked an officer being almost
499 OK Gator 1       1/7/2021         5:09 AM pushed down the stairs from the crowd and about to start shouting.




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               A       B          C                                                                          D

                                               Good morning. Don't know if the guy with van that drove me here will be awake yet but I leave a garbage bag with my sleeping
500                   1/7/2021         5:09 AM bag in it in his van. If you hear from him before you leave can you grab it please? If not it ok I'll get it back some day
501 OK Gator 1        1/7/2021         5:10 AM tell             t can drive him but he needs to get in contact
502                   1/7/2021         5:11 AM He knows‐I'll remind him to call him. He's still sleeping
503                   1/7/2021         6:35 AM [Responding to              ] We have your bag, We will leave it with        at the QRF. We are en route there now.
504                   1/7/2021         6:35 AM Anyone else leave anything in the white van? We can leave it for you at QRF
505                   1/7/2021         6:35 AM [Responding to            ] Thank you
506                   1/7/2021         6:36 AM I need a rude to           l's RV in College Park. 20 miles from JW Marriott. Can anyone help?
507                   1/7/2021         6:37 AM I need a ride to BWI if any body is going that way. Tnx
508                   1/7/2021         8:55 AM So we're just leaving DC and I would like to know where my shits at since it seems everyone's gone already
509                   1/7/2021         8:55 AM We are headed out now
510                   1/7/2021         8:56 AM [Responding to                 ] Did u leave it at Comfort Inn in that room?
511                   1/7/2021         8:57 AM No answer ok I'll just hunt you fuckers down
512 OK Gator 1        1/7/2021                 Won't be hard to find us, We're on tv
513                   1/7/2021         9:11 AM Who ws TV?
514 OK Gator 1        1/7/2021         9:12 AM All of us
515                   1/7/2021         9:12 AM Copy
516 Admin             1/7/2021                 [               changed their profile name to                         ]
517 Admin             1/7/2021                 [Ahab changed their profile name to Faith]
518                   1/7/2021         9:35 AM [Responding to                 ] DM
519                   1/7/2021         9:54 AM I'll put out a donation to oathkeepers website for $20 when I get home
520                   1/7/2021         9:54 AM The shirt you gave me was a 2XL so I might go back and buy a few smaller ones
521 Admin             1/7/2021                 [Faith left the group]
522 Admin             1/7/2021                 [         left the group]
523 Admin             1/7/2021                 [Your safety number with                   has changed]
524 Admin             1/7/2021                 [            left the group]
525 OK Gator 1        1/7/2021        11:06 AM When you RTB check in
526                   1/7/2021        11:19 AM Will do
527                   1/7/2021        11:43 AM Heading back to the sunshine state
528 Admin             1/7/2021                 [              left the group]
529                   1/7/2021        11:45 AM It was an honor surviving with you. Will be in touch
530                   1/7/2021        11:46 AM You too
531                   1/7/2021        11:46 AM Historic
532                   1/7/2021        11:46 AM It was God damn glorious
533 Admin             1/7/2021                 [        left the group]
534 Admin             1/7/2021                 [                  set the disappearing message timer to 5 minutes]
535 Admin             1/7/2021                 [               set the disappearing message timer to Off]
536 Admin             1/7/2021                 [                left the group]
537 Jessica Watkins   1/7/2021         2:45 PM Easily!
538 Jessica Watkins   1/7/2021         2:45 PM Proud to go in with you all!
539 Jessica Watkins   1/7/2021         2:46 PM I'd say "I'll follow you into the gates of hell" but we did that already [smiling crying emoji]
540 Admin             1/7/2021                 [                        changed their profile name to                       ]




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               A       B          C                                                                         D
                                              [Shared screen shot: Hunt for MAGA;s most wanted: FBI releases pictures of the Trump rioters who stormed the Capitol as DOJ
541                   1/7/2021        3:48 PM promises to charge them ALL with federal crimes‐ but what will they do with their leader?]
542                   1/7/2021        3:48 PM Came from here [shared link https://twitter.com/DCPolicDept]
543                   1/7/2021        3:50 PM [Shared PDF: POIs of Interest]
544                   1/7/2021        3:54 PM All unlawful entry
545                   1/7/2021        3:54 PM That's gonna be like a million pleople.
546                   1/7/2021        3:54 PM Meh
547                   1/7/2021        3:54 PM Don't lose sleep
548                   1/7/2021        4:02 PM Has anyone heard from          ??
549                   1/7/2021        4:03 PM [Responding to                ] No
550                   1/7/2021                Can anyone make contact to make sure he made it out of DC?
551                   1/7/2021        4:06 PM I just DMed him on signal
552                   1/7/2021        4:08 PM Please let us know if you hear from him

553                   1/7/2021        4:14 PM [Shared a screen shot "named John Schaffer, he is in the band "Iced Earth" & appears in multiple photographs & video]
554 OK Gator 1        1/7/2021        4:46 PM I spoke to him!!!!
555 Admin             1/7/2021                [          set the disappearing message timer to 1 hour.]
556 Jessica Watkins   1/7/2021        8:21 PM [Shared screen shot from FBI Most wanted list] Might want to get him lawyered up. He's one of us right?
557 Admin             1/7/2021                [          set the disappearing message timer to 5 minutes]




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              Exhibit 12
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   Guns, Bad Attitudes, & Cheap Whiskey: Inside the
   Oath Keepers Armed 'Quick Reaction Force' on
   January 6
   At least 28 Oath keepers brought weapons to January 6, but new evidence
   suggests prosecutors have manufactured a false narrative of heavily armed
   commandos poised to assault the Capitol
   Nate Thayer        Apr 11           2          1

   1st in a 3 part series on the Oath keepers ‘Quick Reaction Force’

   By Nate Thayer,

   April 11, 2022

   Prosecutors central narrative of a heavily armed Oath keepers commando force on stand by to
   assault the Capitol January 6 is buckling as new evidence emerges, government court
   documents, interviews with multiple Oath keepers, and other documents suggest.

   New revelations in the sprawling government conspiracy cases against the Oath keepers
   suggest prosecutors may be presenting a false narrative in court filings that a ‘Quick Reaction
   Force’ (QRF) stockpiled ‘an arsenal of heavy weapons’ amassed by key Oath keepers poised to
   attack the Capitol.

   Until now, disabled Marine veteran Paul Stamey has been a mysterious figure identified only
   as un-indicted co-conspirator ‘Person Three’ in dozens of government court documents
   central in the conspiracy cases.

   Federal prosecutors allege Stamey commanded an armed QRF ready to attack the Capitol,
   conspired to transport an “arsenal of heavy weapons” from multiple states to the outskirts of
   D.C., stashed them at the Oath keepers QRF headquartered in his Comfort Inn hotel room in
   Arlington, Virginia, and plotted to organize weapons-filled boats to cross the Potomac River
   to deploy “at a moments notice” to the Capitol riots.




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   In his first public comments, the 66-year old semi-retired landscaper from Cabarrus County,
   North Carolina denied the accusations. “I did none of that,” he said. “I love my country. I
   would never attack my government. It tears me up when I hear that. It just isn’t true.”

   New evidence, including Stamey’s Comfort Inn time-stamped guest registration and credit
   card records, show Stamey was not at the Comfort Inn when prosecutors contend weapons
   were delivered to him there on January 5 or retrieved from him at the hotel on January 7.




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                          North Carolina Oath keeper Paul Stamey as a 17-year old marine (Photo
                                                courtesy of Paul Stamey)

   During an eleven month investigation into the Oath keepers Quick Reaction Force, Stamey,
   and more than 40 other Oath keepers interviewed, provided a detailed behind the scenes
   reconstruction of the chaos that descended into an orgy of violence on January 6, leaving the
   largest militia group in the country reduced to poster boys for the new face of American
   domestic terrorism and scrambling to distance themselves from the harsh glare of legal and
   public scrutiny.

   Multiple Oath keepers, and others, interviewed say government prosecutors have distorted the
   role QRF’s played during the January 6 insurrection.

   “While certain Oath Keepers members and affiliates breached the Capitol grounds and
   building, others remained stationed just outside of the city in quick reaction force (QRF)
   teams,” reads a January 2022 indictment of 11 Oath keepers for ‘seditious conspiracy.’ “The
   QRF teams were prepared to rapidly transport firearms and other weapons into Washington,
   D.C., in support of operations aimed at using force to stop the lawful transfer of presidential
   power.”

   Oath keepers contend the QRF’s were organized as a contingency plan to protect them from
   what they expected would be violent confrontations with anti-Trump counter-demonstrators
   January 6—who they loosely defined as Antifa—not to storm the Capitol, or part of any effort
   to prevent the ratification of the peaceful transfer of power from the defeated president
   Trump to the victor, Joseph Biden.

   “I thought there might be a slaughter,” said the leader of the North Carolina Oath keepers
   chapter, retired career U.S. Army Special Forces veteran George Douglas Smith. “That there
   would be a fight with Antifa or BLM. Our QRF was to protect our civilians on our bus—to
   extract them if they got in trouble. Our QRF had nothing to do with the government or the
   Capitol building. It was to get our civilians out of D.C. into Virginia if violence broke out.
   There were no plans to bring guns or our QRF into D.C. No, Sir.”
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   All Oath keepers interviewed insist they had no prior knowledge of any pre-planned assault
   on the capitol, or that any Oath keepers would assault law enforcement, breach police lines,
   and enter the Capitol building.

   Stamey confirmed he was in charge of the Oath keepers North Carolina chapter armed
   security detail on January 6, but said “Our QRF was just to provide security for our folks from
   North Carolina who came up on a charter bus to hear President Trump speak. We had nothing
   to do with what those idiots did at the Capitol.”

   “Those idiots who attacked police officers, punched them, sprayed them with bear spray, and
   went inside the Capitol—if I knew any of that was going to happen, I would have called the
   FBI myself,” said Stamey. “They should go to jail.”

   “And when I saw it on live TV from my hotel room, we ordered our guys from North Carolina
   to turn around, walk back to the charter bus, and go back to North Carolina.”

   “And that is exactly what we did,” said Stamey. “We had nothing to do with those dumb asses.”

   Stamey denounced Oath keepers national leader Stewart Rhodes for sanctioning the assault
   on the Capitol and law enforcement defenders.

   “I don’t know whether Rhodes ordered that attack, but I damn sure know he could have
   stopped it,” said Stamey.

   Some Oath keepers, nearly all of whom were ardent Trump supporters, are now contemptuous
   of the former President who they say orchestrated and incited the January 6 events, and then
   abandoned them.

   “As for that guy Trump—he incited that crowd that day. He is the reason for this whole mess,”
   said Stamey. “We went to Washington because our president asked us. That guy lied to us,
   used us, and then threw us under the bus. If it wasn’t for him, none of this would have
   happened.”

   “To be honest with you, at first I didn’t know what was true. Trump kept saying he had
   evidence the election was stolen,” said Stamey. “He said he would reveal evidence on January
   6. I watched his speech live on TV in my hotel room that day and he didn’t give a single bit of
   evidence,” recalled Stamey. “I remember turning to my boys and saying ‘WTF?! That guy has
   no evidence the election was stolen!’”


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   “I’m a Marine. When Biden was declared the winner, he became my commander-in-chief. I
   didn’t vote for him, but he won, so that was that,” Stamey said. “That is the American way.”


   Oath keepers and the QRF
   Since January 6, federal prosecutors have increasingly focused on what they allege was a large
   cache of weapons secreted at the Arlington, Virginia Comfort Inn to be used by an armed
   ‘Quick Reaction Force’ of commandos headed by Mr. Stamey.

   In court filings, prosecutors cite intercepted encrypted chat group conversation, court
   approved warrants that obtained cell phone location information and messages, and hotel
   surveillance video that prosecutors contend show multiple Oath keepers arriving at the
   Comfort Inn and dropping off weapons with Mr. Stamey, who they allege commanded the
   Oath keepers armed QRF.

   “Some number of individuals (were) on standby, armed with ‘heavy weapons,’ and prepared to
   quickly get them to the team operating within the District on January 6 if they were needed,”
   court filings referencing Stamey read, concluding “the evidence has only strengthened.”

   Oath keepers interviewed said every state chapter had their own QRF responsible for and
   answerable to their own state contingents. “I answered to our commander (North Carolina
   Oath keeper state chapter head) George Smith and nobody else,” he said. “There was no
   ‘arsenal of weapons’, at least that I knew of. And no one dropped any weapons off with me.
   That I know for damn sure. And so does the FBI, because it just isn’t true.”

   Oath keepers and others say there were numerous armed groups waiting on the outskirts of
   D.C. January 6, including multiple QRF’s from Oath keepers state chapters and other militia
   groups.

   “It was normal to have what we called QRF’s. We had them at every event we were at before
   January 6, including in D.C. in November and Louisville before that,” said Stamey. “If the gun
   laws prohibited them in some cities, we had them set up nearby where it was legal. We always
   researched and followed the laws.”

   Other Oath keepers from multiple states who were in D.C. January 6, corroborated Stamey’s
   account of the role of the QRF’s and that of his North Carolina state contingent.

   Oath keepers January 6 ‘operational ground commander’ Mike ‘Whip’ Simmons—identified in
   federal court documents only as ‘Person Ten’—would have been in charge of any QRF’s.
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                             Iraqi combat veteran, Triple Canopy’ private security contractor, and
                               former Indianapolis Airport Authority police officer Michael ‘Whip’
                           Simmons, seen with Roger Stone at the ‘Stop the Steal’ events January
                            5th and 6th 2021. Simmons, who is not an Oath keepers member, was
                              hired and paid by Stewart Rhodes to be the ‘ground commander’ in
                           Washington January 6 and several previous Oath keepers events. He is
                            identified only as ‘Person Ten’ in court documents in the ‘conspiracy’
                                                cases against the militia group.

   In a series of interviews in February and March 2022, Simmons said: “I didn’t know of any
   Oath keepers having a QRF January 6 and I had no communication or interaction with the
   North Carolina Oath keepers January 6. On the Oath keepers national level, we decided on
   January 5th against having any QRF because we didn’t have the manpower to keep people
   waiting outside the Capitol. No one contacted me.”

   “A QRF is meant to extract people if they get in trouble. There was no way in Hell any vehicle
   could get anywhere near the Capitol that day. The roads were all shut down. So what then
   would be the purpose of having any QRF?” added Simmons. “It makes no sense. There were
   no QRF’s I knew about.”

   Further, Simmons said “Everybody knew North Carolina had broken from Oath keepers in
   November and had nothing to do with national Oath keepers on January 6.”




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   In two May, 2021 interviews with the FBI, Simmons told the FBI a similar account. “In
   November, Rhodes tried to get people to go back into D.C. and confront Antifa,” Simmons
   said. “(North Carolina chapter head) George Smith objected and they got in an argument and
   that is when North Carolina split from the national organization.”




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                         May 2021 FBI interview with Oath keepers January 6 ‘ground commander’
                         in charge of security details Michael ‘Whip’ Simmons in which Simmons
                         mentions the split between Oath keepers head Stewart Rhodes and North
                         Carolina chapter head George ‘Doug’ Smith. Smith’s name is redacted in
                          the FBI report. “That was George Smith,” Simmons said in an interview.
                                                  (Photo image U.S. DoJ)


   In a March 14 2021 interview with right wing conspiracy theorist, Alex Jones, Oath keepers
   head Stewart Rhodes also said that the North Carolina chapter had broken from his national
   leadership prior to January 6.

   “We have one rogue chapter from North Carolina that made it clear to their members that
   they were not going to do anything with national, that they were doing their own thing,”
   Rhodes said. “There was some chatter among other people, like Thomas Caldwell who is not
   an Oath keeper, about having a QRF outside of D.C. It turns out to be one old veteran who
   could even hardly walk,” Rhodes said referring to Paul Stamey.




                            Mike ‘Whip’ Greene, pictured masked on the right January 6 with Oath
                             keepers leader Stewart Rhodes on the steps of the Capitol building



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   North Carolina state chapter head George Douglas Smith had harsh words for Rhodes in an
   April 2022 interview.

   “In November, Rhodes wanted us to go into D.C. and attack Antifa. We decided then it was
   time to separate from national,” Smith said. “And that is exactly what we did.”

   “I had no intent to let my boys get involved in street fighting in D.C.,” Smith said. “It was time
   we split into individual states.”

   In fact, North Carolina and other Oath keepers recall the deep rifts festering between North
   Carolina and other chapters and the national leadership well before November. In a letter
   dated July 2020 from chapter head George Smith to retired Special Forces Colonel Jack Tobin,
   head of the private Special Forces Association, Smith wrote “A few of us are in the process of
   taking North Carolina Oath Keepers to our next phase of building a Citizen militia capable of
   supporting law enforcement in all 100 North Carolina counties. Our first order of business is
   to separate from the national organization with our command and control solely in the hands
   of North Carolina citizens.”




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                          “A few of us are in the process of taking North Carolina Oath Keepers to
                           our next phase of building a Citizen militia capable of supporting law
                         enforcement in all 100 North Carolina counties. Our first order of business
                                        is to separate from the national organization”

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   In November, Rhodes rhetoric sharply escalated, warning of “a bloody civil war” unless the
   election results were reversed.

   “He ruined the Patriot Movement. He was all about publicity to get donations for his pocket
   money,” Smith added.




                           Texas attorney                , a close confidant of Stewart Rhodes and
                            former general council for the Oath keepers, was with Rhodes all day
                                                           January 6

                         , a Texas attorney and close confidant of Stewart Rhodes, who served as the
   Oath keepers general council and accompanied Rhodes to the Capitol January 6, said the
   national organization had no contact with the North Carolina chapter January 6 and no
   knowledge of any QRF’s during the insurrection.

   “We didn’t find out about any QRF’s until we read about them in the criminal indictments
   after January 6,” SoRelle said in March 2022 interviews.

   Interviewed by the FBI in August 2021, SoRelle said “it was clear by their line of questioning
   the FBI was trying to tie together their conspiracy case by linking Stewart (Rhodes) and the
   Florida and North Carolina chapters with QRF’s at the Capitol January 6, but I told the FBI
   ‘you are going to have a hard time reconciling tying Stewart Rhodes to North Carolina.’ I



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   explained there was a breakup in November and factional breakdowns between some state
   chapters. Rhodes and national had no contact with North Carolina January 6.”

   SoRelle said factional infighting among Oath keepers prior to January 6 meant there were
   several channels of communication between Oath keepers state chapters, the national
   organization under Stewart Rhodes, and individual Oath keepers organizing independently
   for January 6, resulting in effectively no formal chain of command.

   Another Oath keeper from Florida who was at the Capitol January 6, and dropped of his
   weapons at the Comfort Inn, also confirmed these accounts.

   “Doug Smith told me himself before January 6 that they were not taking part in any of the
   national Oath keepers activities and made it clear that North Carolina had broken with
   National and Stewart Rhodes back in November over Stewart’s more confrontational
   rhetoric,” said retired career U.S. Army Special Forces officer Jeremy Brown, a Florida Oath
   keeper who was in Washington January 6 and interviewed multiple times before he was
   arrested in October 2021.




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                          Florida Oath keeper and career U.S. Army special forces veteran Jeremy
                                         Brown pictured in Washington January 6

   Interviews with Brown and other Oath keepers who prosecutors allege left their guns with
   Stamey, acknowledge they dropped off and retrieved their weapons from the Comfort Inn—
   but not with Mr. Stamey, but rather with a Florida Oath keeper who headed that state
   chapter’s QRF they knew only as ‘Kane.’

   They say they didn’t know or meet Mr. Stamey.

   “I have never heard of Paul Stamey. Our weapons were not left with anyone from North
   Carolina,” said Brown, “Florida Oath keepers had our own QRF at the Comfort Inn. I left my
   weapons with an older gentleman from Florida who sat in the hotel and doesn’t move easily
   who was in charge of our state chapter QRF. I only knew him by ‘Kane.’ He was our QRF guy
   at the Comfort Inn.”




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                            Florida Oath keeper, 20 year US Army Special Forces Master Sergeant,
                         and 2020 Republican Party congressional candidate Jeremy Brown shown
                          in a U.S. Army recruiting poster (Photo image courtesy of Jeremy Brown)

   “I had my guns in that hotel room. I was on their video camera picking up my guns the next
   day,” Brown said. “All the footage that has been released from that hotel room? They have that
   same footage of me, including video of me picking up my guns,” said Brown. “How come they
   haven’t released that? Because they know it will show their story is full of s—t.”

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   As for the QRF, Brown, who did tours in Afghanistan and Iraq, insisted “There was no plan to
   deploy those guns to D.C. They were our personal weapons. I remember asking ‘What is the
   signal to activate the QRF?’ They had no signal. There were no vehicles, no point of contact,
   no rendezvous location, no plan. We just knew we couldn’t bring our firearms into D.C.
   because of D.C. gun laws so we left them in Virginia, where it is perfectly legal.”

   “The QRF drama is fantasy. People were playing by the rules--the legal rules. How do you
   have an offensive QRF poised to deploy without any plan to activate--no ingress team, no
   vehicles, nothing,” he said. “That hotel was a storage unit.”

   “Keep in mind, the Oath keepers and these militia groups have a lot of military guys that
   didn't do ‘cool’ things in the military and use these groups as kinda LARPing events,” said
   Brown.

   “Even worse are the guys that NEVER served. They watch videos of guys like me and play
   dress-up. I'm not trying to sound cocky, but they wear a bunch of ‘cool guy shit’ and usually
   have no idea why,” Brown argued, pointing to his own Florida Oath keepers state chapter
   leader. “Kelly Meggs is a perfect example.”

   Jeremy Brown is no moderate. In a series of interviews in the fall of 2021 before he himself
   was arrested, he outlined his belief that “the Republic has already fallen” and that President
   Biden and a swath of the ‘Deep State’ were agents of the Chinese Communist Party.

   The government “play on American’s ignorance. ‘Well, they had their guns stored in a hotel.’
   Well, that’s not illegal. Americans are allowed to possess guns, they are allowed to store guns,”
   said Brown. “They are allowed to shoot guns. They are allowed to shoot guns at people who
   are trying to harm them.”




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                         Jeremy Brown in a post January 6 podcast holding up a “Pocket Guide to
                         Unconventional Warfare.” Brown served 17 years in the U.S. Army Special
                           Forces trained in unconventional warfare (Still grab photo image from
                                                     online podcast)

   “If they arrest me and indict me, guess what? I get to get on the stand and testify as a 20-year
   expert in insurgency and, as they like to refer to it, insurrection,” Brown said shortly before he
   was arrested October 2. “And I will testify as not only an expert witness but an eyewitness to
   the activities not only on January 6 but those that took place before and after.”


   Oath keepers and guns at the Comfort Inn: The Evidence
   “It is reasonable to believe that Harrelson was dropping off his weapons with ‘Person
   Number Three’ and the ‘QRF’”

   In April 2021, prosecutors began releasing time-stamped frame grabs from Comfort Inn hotel
   surveillance video they allege depict multiple Oath Keepers ferrying weapons on January 5 to
   Mr. Stamey and his Oath keepers QRF, or retrieving them from him on January 7.




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                         Florida Oath keeper and state ‘ground commander’ on January 6, Kenneth
                            Harrelson, shown in his U.S. Army dress uniform on his wedding day
                          (Photo image from Kenneth Harrelson’s GoFundSend online fundraising
                                                            site)


   The day before the Capitol insurrection, at 8:02 on the morning of January 5, while driving
   north on interstate 95 with Oath keeper Jason Dolan in his rental vehicle towards
   Washington, Florida Oath keeper Kenneth Harrelson used his call sign ‘Gator 6’ to message
   his state chapter leader Kelly Meggs on their encrypted, invitation only Signal chat site: “We
   get that QRF hotel address yet?”

   Using the call sign ‘Gator 1’, Meggs responded “DM”—asking Harrelson to send him a direct
   message.




   “About three hours after sending the above message, Defendant Harrelson arrived in the area
   of the Comfort Inn Ballston, where he remained for about an hour before driving into
   Washington, D.C.,” prosecutors wrote, placing Harrelson as having arrived at the Comfort Inn
   at 11:00 am, dropping off his guns, and departing at noon. “It is reasonable to believe that
   during this hour, Defendant Harrelson was dropping off his weapons with ‘Person Number
   Three’ and the ‘QRF,’” referring to Mr. Stamey.

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   It is known that arriving at the Comfort Inn with Florida Oath keepers Kenneth Harrelson
   and Jason Dolan, was a convoy of cars which included Florida state chapter leader Kelly
   Meggs and his wife Connie Meggs, as well as Florida Oath keepers Caleb Berry, Thomas
   Burgess, Joseph Hatchett, David Moerschel, and the head of the Florida state chapter QRF
   known as ‘Kane',’ among others.




                           Florida state chapter head Kelly Meggs responding to a message from
                             national leader Stewart Rhodes saying the Florida contingent were
                            dropping off their weapons at the Comfort Inn ‘QRF on our way in’ to
                                                      Washington, D.C.

   “Harrelson was both aware of the presence of an armed Quick Reaction Force and likely
   contributed weapons to it. This evidence is drawn primarily from the communications in the
   Florida Signal Chat, Defendant Harrelson’s cell site location information (CSLI), hotel
   surveillance video, and information about Person Three,” reads another government court
   filing.

   Cell site location information (CSLI) and global positioning system (GPS) data triangulate cell
   phone data with cell phone towers data and GPS satellite data to determine the location and
   time of a phone when it ‘pings’ off nearby towers. It is accurate to the exact time and within
   three meters of a user’s location, according to the Electronic Freedom Foundation.




                         “It is reasonable to believe that during this hour, Defendant Harrelson was
                          dropping off his weapons with Person Three and the QRF,” prosecutors
                          wrote. But documents show Person Three—North Carolina Oath keeper
                          Paul Stamey—was not at the Comfort Inn during this time. (Photo image
                                                            U.S. DoJ)

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   “It is reasonable to believe that during this hour, Defendant Harrelson was dropping off his
   weapons with ‘Person Number Three’ and the ‘QRF,’” wrote prosecutors, referring to Mr.
   Stamey.

   “As far as I remember, I’ve never met the man,” Stamey said, referring to Harrelson. “But I
   damn sure know he didn’t drop any guns off with me.”

   Stamey’s Comfort Inn hotel registration records and credit card statements appear to
   corroborate his claim.

   New documents obtained in this investigation, when compared to Harrelson’s CSLI data and
   hotel surveillance video cited by prosecutors, show Stamey and his North Carolina state
   chapter 4-man QRF had not checked into the Comfort Inn when the government claims
   Harrelson and other Florida Oath keepers arrived, dropped their weapons off, and departed.

   “Harrelson’s CSLI (Cell Signal Location Information) shows he left the area of the Comfort
   Inn Ballston at around 12:30 p.m.,” prosecutors wrote.

   According to Stamey’s hotel registration records, Mr. Stamey checked into his Comfort Inn
   room at 12:59 pm January 5—two hours after the Florida Oath Keepers contingent, including
   Kenneth Harrelson and Jason Dolan, arrived at the hotel, went to a 2cd floor room, dropped
   off their weapons, and departed.

   Documents provided by prosecutors in court documents show Harrelson departed the
   Comfort Inn without their weapons between one hour and 30 minutes before Stamey checked
   in, hotel surveillance video, Harrelson’s CSLI (Cell Signal Location Information) obtained by
   government warrant, Stamey’s hotel registration records, and other court filings by
   prosecutors show.




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                          Arlington, Virginia Comfort Inn hotel registration records showing North
                          Carolina Oath keepers ‘QRF’ head, Paul Stamey, checking in at 12:59 pm
                          on the afternoon of January 5. All the government evidence made public
                          to date, where prosecutors allege Oath keepers dropped off or retrieved
                          weapons from Stamey, show Oath keepers arrived at the Comfort Inn and
                         left the hotel prior to Stamey checking in, and retrieved their guns after he
                                   had checked out. (Photo image courtesy of Paul Stamey)


   The government has also released snippets from time-stamped hotel video frame grabs they
   allege is evidence of multiple Oath keepers retrieving weapons from Stamey on the morning
   of January 7.

   But when these time-stamped images and other court filings are compared to Stamey’s time-
   stamped hotel registration and credit card records, they also show that all of the Oath keepers
   who are alleged to have retrieved weapons from Stamey at the Comfort Inn on the morning of
   January 7 did so after Stamey had checked out.

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   The government has submitted no photographic or other evidence that Stamey and the
   Florida Oath keepers met with each other in Washington on January 6, despite it being known
   the government has the raw unedited hotel surveillance video which shows what rooms Oath
   keepers entered or departed with their weapons, as well as video of the hotel hallways,
   elevators, front lobby, parking lot, and outside entrance.




                          Prosecutors letter to Oath keepers defense attorney acknowledging they
                           have Comfort Inn surveillance video covering January 5th through 7th
                            marked “Highly Sensitive Discovery 4-23-21” (Photo image U.S. DoJ)

   Hotel registration records show that Stamey and his North Carolina QRF team checked out of
   the Comfort Inn room number 255 at 6:27 a.m. on the morning of January 7—prior to any of
   the other Oath keepers arriving at the hotel to retrieve their weapons that day.




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   But Stamey insists he and his QRF team actually checked out of the Comfort Inn the day
   before—and his credit card records corroborate his claim.

   Stamey said he dropped off his room keys at the front desk “around 5:30” on the afternoon of
   January 6, as the North Carolina QRF team attempted to catch up with the charter bus that
   had already departed “around 4:00 pm” from D.C. with all the North Carolina Oath keepers
   contingent on board and accounted for.

   “I dropped my keys off at the front desk around 5:30 pm January 6. My boys were waiting for
   me outside in front of the lobby,” Stamey recalled. “The feds have video of that, too. How
   come they haven’t released that? That shows I wasn’t even there when they claim people
   picked up guns they say were in my hotel room.”

   When contacted, Arlington, Virginia Comfort Inn staff said the hotel often record check out
   time hours after a guest has dropped off keys, since the room is already paid for through the
   following morning. When housekeeping confirms a room is vacated, the hotel front desk then
   record that as the departure time.

   Stamey’s credit card records support his claim he checked out on the afternoon of January 6—
   the day before prosecutors allege multiple Oath keepers retrieved their weapons from
   Stamey’s hotel room prosecutors say was the headquarters of the Oath keepers QRF.

   The same credit card Stamey used to check into the Arlington, Virginia hotel on January 5th
   was used to purchase a Taco Bell ‘combo plate’ for $7.03 in Kenly, North Carolina between
   9:00 pm and 10:00 pm January 6 , 246 miles and 4 and 1/2 hours away from the Arlington,
   Virginia Comfort Inn hotel.




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                         North Carolina Oath keeper Paul Stamey’s credit card records showing he
                           purchased a Taco Bell ‘Combo Plate’ in Kenly, NC, 246 miles from the
                            Arlington, Virginia Comfort Inn hotel he had checked out of before
                         prosecutors say other Oath keepers retrieved their weapons from Stamey
                             stashed in his hotel room (Photo image courtesy of Paul Stamey)


   “Saved by a taco,” Stamey quipped. “The government knows no one retrieved any guns left
   with me. Hell, they know I wasn’t even there.”

   In either case, hotel and credit card records have Stamey documented as having arrived at the
   Comfort Inn on January 5th after any weapons were dropped off and left the Comfort Inn
   before any Oath keepers arrived on the morning of January 7 with no luggage and departed
   with what appear to be long-gun cases.

   The question remains who the Florida Oath keepers deposited their weapons with on the days
   before and after January 6.


   Florida Oath keepers, Guns, & their QRF: who is ‘Kane’?
   “The evidence is that at least some members of the QRF were staged at the Comfort Inn
   Ballston hotel in Arlington, Virginia,” reads a July 1 FBI charging document against Florida
   Oath keeper David Moerschel. “Surveillance video shows known members and affiliates of the
   Oath Keepers transporting what appear to be rifle cases into the hotel on January 5, 2021, and
   out of the hotel on January 7, 2021.”

   At 6:35 am on January 7, Florida Oath keeper David Moerschel, using the alias ‘Hatsy’,
   responded to a message from another unidentified Florida Oath keeper in their encrypted
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   communication Signal group chat.

   “We have your bag. We will leave it with Kane at the QRF. We are en route there now,”
   Moerschel messaged. “Anyone else leave anything in the white van? We can leave it for you at
   QRF.”




                         Florida Oath keeper David Moerschel: “We have your bag. We will leave it
                                    with Kane at the QRF. We are en route there now.”


   Moerschel’s message suggests he was bringing additional weapons or military gear from
   elsewhere on the morning of January 7 “in a white van” to leave at the Comfort Inn “with
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   Kane at the QRF” for other members of his state chapter to retrieve.

   At approximately the same time, Florida Oath keeper Jeremy Brown rose before dawn at the
   Maryland Cherry Hill RV camp site where he had parked his 38-foot RV and eight passenger
   van when he arrived there early in the morning of January 5th.

   Both vehicles had been loaded with guns and military kit when they departed Florida on
   January 4th on their way to D.C., according to prosecutors and other Oath keepers.

   “He was taking the van to give to (Florida Oath keeper) Tom (Burgess) to drive back to
   Florida,” said Brown’s girlfriend, Tylene Aldridge, who is not an Oath keepers member, but
   travelled with Brown from Florida to D.C. “It was still dark out. I was still asleep when he left
   and still asleep when he got back.”

   Thomas Burgess, a 61-year old Tampa, Florida businessman, and arrested Florida Oath keeper
   19-year old Caleb Berry drove Brown’s 8-passenger seat van which convoyed with Brown’s 38-
   foot recreational vehicle, both laden with weapons, from Florida on the 4th of January and
   arrived after dark at the property of North Carolina chapter head, George Smith.

   “We made a pitstop in North Carolina where I transferred my guns and kit from the RV and
   van to other Florida Oath keepers who ferried them up to the Virginia hotel,” recalled Brown.
   “We didn’t spend the night and continued up to our RV park in Maryland, me driving the RV
   and my girlfriend driving the van. We dropped off Tom and Berry in North Carolina.”




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                          Florida Oath keeper Thomas Burgess, left, on personal security detail for
                             VIP’s on January 5th in Washington. The man on the right remains
                                                       unidentified

   Burgess, who was at the Comfort Inn on January 5th when the Florida Oath keepers dropped
   their guns off, and was prominent as working security details for VIP’s on January 5th and 6th
   in D.C., has never been mentioned or identified in any court filings in the Oath keepers
   conspiracy cases.

   When contacted by a reporter by telephone, he abruptly hung up after being asked about his
   role as an Oath keeper January 6.

   It is not confirmed that Brown’s van—which is silver colored— is the same “white van”
   referred to by David Moerschel heading towards the Comfort Inn early the morning of
   January 7.



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   But it is known Brown drove his van to give to Burgess and picked up his weapons on the
   early morning of January 7 at the Comfort Inn from a Florida Oath keeper he identified as
   ‘Kane’, the head of the state chapter’s QRF, according to Brown himself.

   “I picked up my guns on the morning of January 7 at the Comfort Inn. We left them with an
   elderly man who had difficulty walking I knew only as ‘Kane.’ He was the head of our QRF,”
   recalled Brown.

   “When the government releases the full Comfort Inn video, you will see that only a few Oath
   keepers dropped weapons off on the 5th, but a whole lot more picked them up on the morning
   of the 7th,” Brown said in an interview before he was himself arrested. “That is because we
   consolidated our guns in a couple vehicles to drop them off on the 5th but we had to each pick
   them up ourselves on the 7th.”

   By all accounts, North Carolinian Paul Stamey had already checked out of the hotel.

   24 minutes after Moerschel said he was “enroute” to the “QRF” at the Comfort Inn in a “white
   van” with “bags” to drop off “with Kane at the QRF,” Moerschel is seen on hotel surveillance
   video entering the Comfort Inn, exiting an elevator on the 2cd floor pushing a hotel luggage
   cart with what appears to be a gun case, and rolling it down a hallway towards a room.

   “Surveillance video from the Comfort Inn Ballston on January 7, 2021” show “three individuals
   wheeling a concierge cart with at least one long gun case onto an elevator,” prosecutors said in
   August. “An individual that appears to be Moerschel can be seen wearing a long black jacket.”

   Next to Moerschel is an unidentified elderly man in a blue jacket, his face censored by
   prosecutors, who the government does not identify.




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                         Florida Oath keeper David Moerschel wheeling a luggage cart with at least
                            one gun case into the Comfort Inn at 6:59 am on January 7. The man
                           shown center in a blue jacket is identified by 3 other Oath keepers who
                           were in D.C. January 6 as ‘Kane’—the head of the ‘QRF’ for the Florida
                         state Oath keepers chapter. ‘Kane’ is shown in multiple frame grab photos
                            submitted to the court as evidence, always with his identity redacted.
                         ‘Kane’ has never been mentioned or identified by prosecutors, although it
                         is known prosecutors identified him early in the investigation. The foot of
                          the third man and also unidentified can be seen at extreme center left in
                                              the photo (Photo image U.S. DoJ)


   During this investigation, ‘Kane’ has been identified as 79-year old Kenneth Bittner, an Oath
   keepers member and firearms instructor from Cape Coral, Florida.

   When contacted, Mr. Bittner declined to comment. “Don’t know what you are talking about,”
   he said in a text message. “Do not attempt to contact me again.”




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   In follow up message, Bittner said “I would like to remind you that I am a private citizen, not
   a public persona. I already see inaccuracies in some of your allegations regarding me. If you
   choose to name me in your article, I suggest you have verifiable evidence supporting your
   allegations, not innuendo or hearsay.”

   In interviews, three Florida Oath keepers identified the man shown in Comfort Inn screen
   grabs of hotel surveillance video by his Signal chat group user name, ‘Kane,’ but they didn’t
   know his real name. They said he was in charge of the Florida state chapter’s QRF and
   occupied a Comfort Inn room where they dropped off and retrieved their personal weapons.

   ‘Kane’ is shown in multiple other hotel surveillance video frame grab images overseeing
   Florida Oath keepers Kelly Meggs, Caleb Berry, Joseph Hackett, Jeff Morelock, David
   Moerschel, Kenneth Harrelson, James Dolan, and others retrieving weapons on the morning
   of January 7th, his face always censored by prosecutors.




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                           Florida Oath keepers Joseph Hackett, Jeff Morelock, and state chapter
                         leader Kelly Meggs. With his face redacted on far right is Caleb Berry, who
                             has made a plea deal with prosecutors and agreed to testify for the
                          prosecution. In middle rear facing the camera in a light blue shirt with his
                             face redacted, is head of the Florida Oath keepers QRF ‘Kane’ aka
                                           Kenneth Bittner (Photo image U.S. DoJ)


   ‘Kane’ is also mentioned as responsible for Florida’s state chapter QRF in the encrypted Signal
   Florida chat group used by Florida Oath keepers to communicate with each other, including
   between Moerschel and Kenneth Harrelson.




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                         In this Signal message in a Florida Oath keepers encrypted chat room on
                          the morning of January 7, David Moerschel aka ‘Hatsy’ sends a message
                             to Kenneth Harrelson aka ‘Gator 6’ who was seeking to retrieve his
                         weapons he left at the Comfort Inn January 5. “DM Kane” wrote Moerschel
                             to Harrelson. Also on the chat group conversation are Florida state
                           chapter head Kelly Meggs aka ‘Gator 1’ and Florida Oath keeper Joseph
                              Hatchett who changed his online user name from ‘Ahab’ to ‘Faith’
                            immediately after retrieving his own weapons from the Virginia hotel
                                                   (Photo image U.S. DoJ)


   While it is understood prosecutors have known the real identity of ‘Kane’ since early 2021, and
   he has been interviewed by the FBI, he is never mentioned or identified in any court filings.
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                           Head of the Florida oath keepers QRF ‘79-year old Kenneth Bittner aka
                         ‘Kane’ shown in his U.S. Army enlisted photo (Photo image: profile photo
                                                for online discussion group)

   A list of Oath keepers user names obtained during this investigation show a Florida Oath
   keeper with the handle “@                                ” on the by-invitation-only Florida Oath keepers
   encrypted Signal organizing “FL OK’ and “Ok FL DC OP Jan 6” planning chat groups.

   Prosecutors say those Signal chat groups were “used by members of the Oath Keepers—
   including defendants Kelly Meggs, Harrelson, and Watkins—to coordinate in advance of and
   on January 6, 2021.”

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   Attached to the user name “@                                  ” on the Signal chat groups is a contact phone
   number. That telephone number is registered to Mr. Bittner under his name at the home
   Bittner owns at his Florida address.




                          Photo image taken from the the phone of an Oath keeper who was on the
                                  encrypted Florida Signal by-invitation-only group chat...

   Further, email addresses registered to Mr. Bittner include other derivations of the name
   “Kane,” including the contact email used on an internal Oath keepers membership list
   showing Mr. Bittner has been an Oath keepers member since at least May 2018. That email
   address, “kaptkane@xxxx.com”, is also registered to Bittner at the same Florida address.




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                           Oath keepers internal membership list obtained by ‘Unicorn Riot’, and
                          leaked in November, 2020. It shows a member ‘Kaptkane’ and an email
                             address which is registered to Kenneth Bittner at the same Florida
                          address as user name and telephone number ‘                ’ used on the
                          Florida Oath keepers encrypted Signal January 6 organizing chat group
                                                (Photo image: Unicorn Riot)


   In addition, three Florida Oath keepers, when shown photographs of Bittner from his public
   social media pages, identified him as the Florida QRF head they knew as ‘Kane.’

   Bittner, who was a mechanic in the U.S. army in the early 1960’s, is a retired car salesman who
   now runs a pistol shooting training business, DryFireTraining, in Florida.




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   There is no evidence Mr. Bittner left his Virginia hotel room and entered Washington, D.C., or
   was involved in any illegal activity January 6.

   Some Oath keepers, and others involved in their legal cases, believe that government
   prosecutors may be intentionally conflating the North Carolina Oath keepers QRF head Paul
   Stamey with the Florida Oath keepers ‘QRF’ head, Bittner aka ‘Kane’, to remain consistent
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   with the government’s original narrative that Stamey was in charge of a unified Oath keepers
   QRF.

   Another still photo shows Florida Oath Keepers arriving at the hotel in the early morning of
   January 7 shortly after Moerschel, exiting the 2cd floor elevator without weapons, and headed
   towards a room at the Comfort Inn (below).

   The group of other Florida Oath keepers includes Sarasota, Florida chiropractor Joseph
   Hackett, two Oath keepers with their identities obscured by prosecutors, and Tampa, Florida
   Oath keeper Caleb Berry.




                          Florida Oath keepers Joseph Hacket (L), two other unidentified Florida
                         Oath keepers with their identity redacted by government prosecutors, and
                            Florida Oath keeper Caleb Berry (R), who has plead guilty to lesser
                         charges in a cooperation agreement with prosecutors. (Photo image U.S.
                                                            DoJ).

   At 7:32 a.m., the same group of Oath keepers above are shown with others (pictured below) in
   hotel surveillance video pushing a luggage cart carrying what appears to be gun cases down
   the same 2cd floor hallway towards the same elevator and exiting the hotel.


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   In addition to Joseph Hackett (l); former Gulfport, Florida police detective, current firearms
   instructor, and licensed private investigator Jeffrey Morelock from Tampa, Florida with back
   to camera (3rd l); Florida state chapter head Kelly Meggs (4th l); and 19-year old Tampa,
   Florida Oath keeper Caleb Berry on far right with his identity obscured; Florida QRF head
   ‘Kane’ is shown facing the camera in the blue shirt, his face obscured and identity redacted,
   2cd left.




                           From left to right, Sarasota, Florida Oath keeper, chiropractor Joseph
                         Hackett; head of the Florida Oath Keepers QRF, ‘Kane’, whose identity is
                           redacted and has never been mentioned in court documents; Tampa,
                          Florida Oath keeper (with his back to the camera) ‘Tom’, who also has
                          never been publicly identified or accused by prosecutors; Florida Oath
                         Keepers chapter head Kelly Meggs; and Tampa Oath keeper Caleb Berry,
                         whose identity is obscured in the photo and has pled guilty and agreed to
                          cooperate with prosecutors in the larger Oath keeper conspiracy case
                                                   (Photo image U.S. DoJ)
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   Although several of the group have been arrested and charged for entering the Capitol on
   January 6, there is no allegation, criminal charges, or evidence submitted by prosecutors in
   court filings that any of these Florida Oath keepers broke any state or federal weapons laws.

   Virginia and Florida, like many states, have ‘reciprocal gun rights’ laws that allow legal gun
   owners to transport and store weapons between the states.

   In the above photograph is Florida Oath keeper, Jeffrey Morelock, who has never been
   charged or mentioned in prosecutors court filings, despite being shown ferrying weapons
   from the Comfort Inn on January 7.




                                   Florida Oath keeper Jeffrey Morelock in a Linked In profile.


   Morelock is a former Florida police detective who resigned admist a scandal of filing false
   police reports against a young black man for felony charges who he never interviewed, despite
   his police criminal complaints to the contrary. Morelock also served in U.N. peacekeeping
   forces in the former Yugoslavia, is a licensed Florida private investigator and gun dealer, and
   trained in ‘executive protection’—or as a VIP bodyguard.

   Morelock did security VIP protection at numerous Oath keepers events in the months prior to
   January 6, including at pro-Trump demonstrations in Washington and Georgia in November
   and December 2020. In addition, Morelock worked as a paid Oath keeper bodyguard at events
   contesting the electoral results in Michigan.


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   And, in December 2020, he worked security with other Oath keepers in Florida for Roger
   Stone.




                            Florida Oath Keeper Jeffrey Morelock (rear behind Roger Stone) with
                             Stone in December 2020. The photo shows other Oath keepers and
                           affiliates who provided security for the Trump advisor at a public event
                                                  (Photo image: Facebook)


   Later that January 7 morning at 8:55 am, one and one-half hours after the other Florida Oath
   keepers arrived and departed with their weapons, Kenneth Harrelson, using the call sign


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   ‘Gator 6’, messaged Florida Oath keepers: “So we’re just leaving DC and I would like to know
   where my shits (sic) at since it seems everyone’s gone already.”

   Harrelson is alleged by prosecutors to have dropped at least three long gun cases at the
   Comfort Inn on the morning of January 5th with Mr. Stamey.

   “We are headed out now,” responded one Florida Oath keeper.

   Another person replied, “Did u leave it at Comfort Inn in that room?”

   An irritated Harrelson wrote “No answer ok I’ll just hunt you fuckers down.”

   At 9:35 am, Moerschel responded to Harrelson’s message looking for his guns: “DM (direct
   message) Kane.”

   According to prosecutors, Harrelson was at the Comfort Inn “from 9:08 am through 9:48 am,
   before starting his drive southward.”




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                          David Moerschel aka ‘Hatsy’ messaging Florida Oath keepers ‘Gator 6’
                           AKA Kenneth Harrelson who was seeking information on who had his
                            weapons on the morning of January 7. Moerschel told Harrelson to
                         contact Florida ‘QRF’ leader ‘Kane’ who was staying at the Comfort Inn in
                           Arlington, Virginia. Stamey of North Carolina, who prosecutors allege
                            Harrelson dropped off and retrieved his weapons with, had already
                            checked out of his room at the Comfort Inn.(Photo image U.S. DoJ)

   Harrelson and Florida Oath keeper Jason Dolan, accompanied by one other Oath keeper
   whose identity is redacted by prosecutors, arrived at the hotel at 9:00 AM, and exited the 2cd
   floor elevator without any luggage, according to time-stamped hotel surveillance video.




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                            Florida Oath keepers Kenneth Harrelson and Jason Dolan, along with a
                          third man whose identity the government has redacted, shown arriving at
                              the Comfort Inn at 9:00.14 on the morning of the January 7 with no
                         luggage..In the below two photos, time stamped surveillance photos show
                           the two men departing the 2cd floor of the hotel 15 minutes later ferrying
                             what appears to be gun cases. Stamey had checked out at least 2 1/2
                                            hours earlier. (Photo image U.S. DoJ)


   Prosecutors show video minutes later Harrelson and Dolan retrieving three rifle cases they
   allege in other court documents he deposited with Mr. Stamey on January 5th.

   The video shows Harrelson, Dolan, and another unidentified Oath keeper with his face
   redacted, ferrying a luggage cart with what appear to be at least three long gun cases walking
   down a 2cd floor hallway away from a 2cd floor room towards the elevator at 9:15:35 and
   entering the elevator at 9:15:57 a.m. and exiting the hotel.




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                         Comfort Inn surveillance video show Kenneth Harrelson and Jason Dolan
                         wheeling long gun cases down a 2cd floor hallway on January 7...(Photo
                                                     image U.S. DoJ)




                             Comfort Inn surveillance video show Florida Oath keepers Kenneth
                            Harrelson and Jason Dolan entering a 2cd floor elevator at 9:15:57 on
                              January 7 exiting the hotel with weapons (Photo image U.S. DoJ)




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   Harrelson and Jason Dolan “retrieved those weapons on the morning of January 7 and then
   departed the Washington, D.C., area for (their) return trip to Florida,” according to April
   federal court documents.

   Then prosecutors attempt again to connect Harrelson and his guns to Mr. Stamey.

   “Additional surveillance video from the Comfort Inn shows not just Mr. Harrelson but other
   individuals who were affiliated with the Oath Keepers, including Person Three and others,
   carrying up and down from the lobby and back multiple different items that look similar to
   this large carrying cases that appear to be consistent with rifle cases,” Assistant U.S. Attorney
   Jeffrey Nestler told the court on April 12, 2021.

   All together, 8 members of the Florida Oath keepers are shown in surveillance video to have
   dropped off or retrieved weapons at the Comfort Inn, prosecutors allege, from the QRF
   commanded by Stamey.

   In every instance of evidence that prosecutors have submitted to the court, hotel registration
   records show that Stamey and his 3-man team from North Carolina had either not checked
   into the Comfort Inn on January 5 until after prosecutors say the Florida Oath keepers had
   deposited their weapons and departed, and retrieved guns on the morning of January 7 after
   Stamey is known to have checked out.

   This suggests the FBI has known those weapons were not left with Mr. Stamey, but rather
   likely with Mr. Bittner.


   North Carolina Oath keepers at January 6
   Mostly from three rural, largely agricultural counties in the far southeastern corner of the
   state bordering South Carolina, 26 members of the North Carolina Oath keepers chapter and
   other Trump supporters not members of the Oath keepers, paid “between 60 and 70 dollars for
   round trip tickets” on a commercial charter bus that departed Columbus County, North
   Carolina “at about 0100-0130 hours” in the early morning of January 6 for the 5 1/2 hour drive
   to Washington to hear then President Trump and other speakers at the ‘Save America’ rally.




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                          North Carolina charter bus with 26 Oath keepers arriving in Washington,
                                D.C. on early morning of January 6 (Photo image Facebook)

   On the early afternoon of January 5, the day before the violence at the Capitol, Stamey and
   three other North Carolina Oath keepers —two men in their 60’s, one in his 50’s, and one in
   his 40’s, all armed with their personal weapons who comprised their QRF—drove together

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   ahead of the charter bus in a white 2017 Ford Expedition to Arlington, Virginia. They checked
   into the Comfort Inn at 12:59 pm on the afternoon of January 5, just across the Potomac River
   from the nation’s capitol, according to newly obtained hotel registration records.

   The mission of the North Carolina Oath keepers QRF was to arrive in D.C. ahead of the
   charter bus to ensure the North Carolina contingent would not encounter any antagonistic
   opposition, say Oath keepers.

   “I drove up the day before in a truck to see where the bus could park, to make sure it was safe.
   Mainly, we were worried about Antifa because many people said they would be there to start
   trouble with the Trump supporters, like they did in December and November when there were
   also big Trump rallies in Washington. People got stabbed, there were fights,” Paul Stamey
   said.

   Two previous post-election rallies in Washington, on November 14 and December 12, resulted
   in violence between pro-Trump and anti-Trump demonstrators.

   “Our job was to make sure if violence broke out between Trump supporters and Antifa or
   BLM or whoever they were, we could get our people safely out.”

   “Sometime around 3:30 on the afternoon of the 5th, after we checked into the Comfort Inn,
   (retired Navy Lt Commander and Oath keeper affiliate Thomas) Caldwell, his wife Susan, one
   of my boys, and me, took Caldwell’s truck and we did a recon around downtown D.C. where
   the Trump speeches were going to be to see if there were any Antifa or BLM to make sure the
   charter bus route and parking location were secure,” he said.

   “We saw nothing—no one except for Trump supporters. There wasn’t a single Antifa or BLM
   anywhere. I never got out of the car and we were back at the hotel in less than an hour—
   before 5:00. I never left the hotel after that and never set foot in D.C. again.”

   “We knew exactly what the D.C. gun laws were—that’s why we booked a hotel in Virginia,”
   said Stamey. “We even researched what the knife laws are. No pocket knives with blades more
   than three inches. We instructed our people to be sure not to carry anything against the law.”

   Stamey and others say the North Carolina QRF never left the Virginia Comfort Inn after that.

   “There was never any plan for our QRF to go into D.C.—it was a contingency plan to get our
   people out if things went south,” he said.


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   “I went downstairs to smoke cigarettes outside the lobby a few times, but that was it. We
   ordered Italian food from a restaurant near the hotel and it was so good that was the only
   place we got food from.”

   When violence broke out on January 6, instead of participating in the insurrection and
   violence at the Capitol building, Stamey called at least six leaders of the North Carolina Oath
   keepers contingent who were walking “about 600 yards away” from the Capitol, and ordered
   them to gather those who came up on the charter bus, turn around, return to the bus, and
   immediately leave Washington D.C., according to multiple Oath keepers interviewed who
   were present.

   Their charter bus abruptly left Washington earlier than scheduled, at “around 4:00 p.m.”,
   before the violence had been quelled, to return to North Carolina, according to multiple North
   Carolina Oath keepers interviewed.

   “It was sometime between 2:15 and 2:30,” Stamey recalled. “I was watching it live in my hotel
   room when I saw all Hell breaking loose and people attack law enforcement. I called my
   commander, (North Carolina state chapter head) George Smith, who was on the ground with
   our people, but the phone lines were all clogged up. I called another guy and said ‘Where the
   Hell is George?’ He said ‘He is about 100 feet behind me.’ I said ‘you take a God damn rope
   and you swing it around his ass and don’t let go until I talk to him.’ I got a hold of George and
   said ‘George, where are you? You need to gather up all the boys and get back to the bus—now!
   There are people at the Capitol who seem to have lost their minds.’”

   When “Those idiots attacked the Capitol, we turned around and went back to North
   Carolina,” Stamey said.




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                         North Carolina Oath keepers affiliates in Washington January 6, 2021. The
                          group travelled by charter bus from Columbia County, NC early on the
                         morning of January 6 to attend the Trump organized ‘Save America’ rally
                                      and returned that afternoon (Photo: Facebook)

   Around noon on January 6, national Oath keeper head Stewart Rhodes positioned himself
   immediately outside the Capitol building and remained there when violence peaked that
   afternoon.

   At 11:57 a.m., with “God Bless America” playing in the background, Trump began imploring
   the crowd to march to the Capitol building saying "you'll never take back our country with
   weakness."

   Trump said he had told Vice President Pence to block the counting of electoral college votes
   and ratification of the winner, president-elect Joseph Biden, but Pence announced at 1:00 p.m.
   he would not support Trump’s baseless claims of voter fraud.

   Trump said he would “never concede.”

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   Trump finished his speech at 1:11 p.m. with “We fight like hell, and if you don't fight like hell,
   you're not going to have a country anymore. So we are going to walk down Pennsylvania
   Avenue – I love Pennsylvania Avenue – and we are going to the Capitol.”

   “We’re going to try and give them [Congress] the kind of pride and boldness that they need to
   take back our country" concluding with “We will not let them silence your voices.”

   Thousands of Trump supporters began walking the 1.5 miles from the Ellipse down
   Pennsylvania ave. towards the Capitol building, chanting “USA! USA!”.

   At 2:11 p.m., a mob chased police up the steps, breached the final barricade near the Senate
   chamber and, two minutes later, entered the Capitol through broken windows.

   Vice President Pence was ushered by his secret service security detail from the Senate
   chamber into an office separated only by a door from the insurrectionists, and by 2:14, now
   inside the Capitol building, chased Capitol Police officer Eugene Goodman up stairs near the
   Senate chamber as police locked the doors as they roamed the halls of Congress chanting
   ‘Hang Mike Pence!’ who was soon spirited by Secret Service agents to more secure tunnels
   underneath the Capitol.

   For the first time in U.S. history, a losing president, Trump, had obstructed and stopped the
   Constitutional process of a peaceful transition of presidential power from a defeated
   incumbant to the duly elected next president of the United States.

   It was the worst breach of the Capitol building since the War of 1812 when British invaders
   ransacked Congress and burned down the White House.




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                              Then President Donald Trump speaking at the ‘Stop the Steal’ to
                          thousands of his supporters January 6 instructing them to ‘march to the
                                                        Capitol.’

   At the same time, both President Trump and Paul Stamey were watching the events unfold on
   live TV—Stamey from his room at the Comfort Inn and Trump back at the White House in his
   private dining room.

   Trump tweeted an opposite message to his supporters than Stamey did to his North Carolina
   Oath keepers contingent who were then approaching the Capitol building.

   “I must have called Smith and several others from our group 6 or 7 times to make sure our
   people were back on the bus, safe and accounted for, and on the road back to North Carolina,”
   said Stamey. “And that is exactly what we did. We didn’t want nothing to do with what was
   going on at the Capitol.”

   Smith, and 5 other North Carolina Oath keepers who rode up on the charter bus and were
   “near 3rd street about 600 yards from the Capitol building” when insurrectionists first
   assaulted cops and breached barricades, confirmed Stamey called them personally and
   instructed them to return to the charter bus, they said in interviews.




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                          North Carolina Oath Keepers state chapter head retired career U.S. Army
                          Ranger veteran George Douglas Smith at the pro-Trump ‘Stop the Steal’
                                               rally in Washington January 6

   “We were horrified,” said Smith. “We went to Washington to support President Trump. When
   we saw what was going on, we left.”

   Stamey’s first call was to North Carolina Oath keeper, John Roeper, a retired 27-year career
   FBI agent, who was in charge of security for the 26 members on the ground who rode up on
   the charter bus to Washington January 6.

   As a former law enforcement officer, Roeper was exempt from Washington’s strict gun laws
   and one of the very few private citizens legally carrying a concealed handgun in Washington
   the day of the insurrection.

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   “Around 2:15-2:30, we saw people break into and go inside the Capitol,” Stamey recalled. “I
   called Roeper first. I told him to gather our people and head back to the charter bus because
   demonstrators were attacking cops at the Capitol.”

   Roeper was tasked with staying with the charter bus the whole day to ensure that the only
   transport available to the North Carolinians to make a quick exit was protected from attack by
   what many Oath keepers believed might be violent mobs of political opponents, who they
   mainly defined as Antifa or Black Lives Matter activists.

   But Oath keepers say they saw no Antifa or BLM that day, and none have been identified as
   present January 6. They say the violence they witnessed came only from pro-Trump
   supporters.

   Even Oath keepers national head Stewart Rhodes acknowledged as much in the hours after
   the riot was quelled.

   “Look, I WAS THERE. I WAS RIGHT OUSIDE (sic),” Rhodes messaged other Oath keepers on
   the late afternoon of January 6 in the immediate wake of the violence at the Capitol. “Patriots
   stormed in. Not Antifa. And I don’t blame them. They were justifiably pissed off.”

   “Ok who gives a damn who went in there. If it’s Obama himself it doesn’t matter,” responded
   Florida Oath keepers state chapter head Kelly Meggs. “What matters is where we are now and
   decisions that have to be mad (sic). We are now the enemy of the state.”

   “As I figured,” chimed in Florida Oath keeper Graydon Young, using the user name
   ‘GenXPatriot’. “This organization is a huge fuckin joke. You, Stewart, are the dumb ass I heard
   you were. Good luck getting rich off those dumbass PSD donations you fuck stick.”

   PSD is an acronym for Personal Security Detail. While most Oath keepers in Washington
   January 6 were assigned to protect VIP speakers, such as Roger Stone and Ali Alexander at the
   Trump rally January 5 and that day, but none of the North Carolina contingent were because
   they arrived in D.C. independently and were not coordinating with Rhodes and his national
   organization.

   Roeper, who declined to be interviewed for this story, is known to have been interviewed by
   his former FBI colleagues and to have told them no members of the North Carolina Oath
   keepers contingent participated in the attack on the Capitol building.



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   During his interview, the FBI asked him “Why the Hell would you be part of an organization
   like this?”

   According to North Carolina chapter head Doug Smith, Roeper responded “Well, why
   wouldn’t you?’

   In his interviews with the FBI, Roeper corroborated that he, Stamey, and the North Carolina
   ’QRF’ were tasked, if violence broke out, with executing an exit plan to evacuate the chapter
   members who travelled on the charter bus, not to enter Washington D.C. in support of
   insurrectionists.

   "That is the “Truth - I was one of the people who Paul called,” said Larry Bass, another North
   Carolina Oath keeper who travelled on the charter bus and was on the ground outside the
   Capitol January 6. “We didn't truly recognize the (severity) of the situation until we got calls
   from Paul telling us that he was watching the events unfold LIVE on TV, and that we should
   board the bus and head back for NC.”




                                North Carolina Oath keepers Larry Bass in his Linked In profile



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   “Most of our group remained 2-3 blocks away from the Capitol grounds,” he said in an
   interview. “My buddy and I got closer to the Capitol grounds than the majority of our group,
   but a wading pool separated us from the grounds. We could see the protesters climbing the
   steps and the walls of the building, and the clouds of gas that surrounded them. It was surreal.
   We headed back to join the main group just before Paul called again to alert us of the mayhem
   going on at the parts of the building that we could not see.”

   “As our group of NCOK’s was preparing to head back to our bus, the mayor of DC sent out an
   alert to everyone's cell phone advising of a curfew that would go into place that evening. We
   headed for the bus and departed DC around 1600 (4-PM-ish).”

   Washington mayor Muriel Bowser issued the curfew at 2:31 p.m. over Twitter—minutes
   before other Oath keepers are known to have breached police line and entered the Capitol at
   2:40 p.m. The timing of her order appears to corroborate Bass’s and Stamey’s recollection of
   the time frame.




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                         Washington Mayor Muriel Bowser issues a curfew at 2:31 p.m. January 6...

   Unlike most North Carolina Oath keepers who requested anonymity when contacted by this
   reporter, Bass agreed to speak on the record, but he remained wedded to widely debunked
   conspiracy theories that January 6 was a ‘false flag’ instigated by anti-Trump elements in
   cahoots with members of the ‘Deep State’.

   “For all I know, you work for the domestic enemy,” he said in an email response to a reporter’s
   first request for an interview. “I personally believe that nefarious provocateurs (possibly
   Antifa, BLM, &/or federal agents/informants) instigated the riot.”

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                            North Carolina Oath keeper Larry Bass in a photo taken in November
                              2021, after January 6 (Photo image Larry Bass Twitter account)


   Bass, who also has been interviewed by FBI investigators, and corroborated Stamey’s account
   to them, is a retired 23-year veteran of the United States Air Force who has worked as an EMS
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   helicopter pilot, and currently is an Aviation Safety Inspector at the Federal Aviation
   Administration.

   In a February 9, 2021 interview with the Columbus County, North Carolina News Reporter,
   state chapter head George Smith said “We listened to Trump’s speech and went to the bus and
   our people got on the bus and we were going to go to the Capitol to hear more speeches. We
   were coming up the (national) mall and coming up Third Avenue…and I heard the first
   explosion at that time, like a flashbang or something.”

   Smith said at first, he thought it was Antifa or other anti-Trump demonstrators clashing with
   the pro-Trump supporters. “It became pretty obvious even at that distance that this was
   something else. We stood and watched…and I said, ‘This is it, we ain’t going no further,’ and
   we stood there probably 45 minutes and we turned around and got on the bus.”

   “Never in my wildest dreams did I think people would get up there fighting with Capitol
   police and entering the Capitol,” Smith said.




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                         Head of the North Carolina Oath keepers chapter, retired career U.S. Army
                          special forcers officer George Douglas Smith in a Facebook post from
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                          2020, before the January 6 events (Photo image George Smith Facebook
                                                           page)


   “I can promise you that no North Carolina Oath Keepers were involved with what happened
   at the Capitol building that day,” said Smith in an earlier January 22, 2021 interview with the
   Columbus County News, https://columbuscountynews.com/2021/01/state-organization-breaks-
   ties-with-oath-keepers/ an independent local North Carolina media outlet.

   “The actions of a few others has shamed each man from our state, and they fear their
   reputations as law-abiding citizens has been sullied in our law enforcement brethren’s eyes.”

   In the days after the January 6 riot, the North Carolina Oath keepers state chapter announced
   it was formally severing ties with the national organization run by Stewart Rhodes.




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                         January 17, 2021 email from North Carolina chapter head George Smith to
                          the head of the North Carolina Sheriff’s Association. “The men of North
                         Carolina believe that the National leadership could have stopped this and
                                                        did nothing.”



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   Smith is named as unindicted co-conspirator “Person Number Five” in the government
   conspiracy court filings, and has been interviewed multiple times by FBI agents as a target of
   prosecutors.

   Another North Carolina Oath keeper, Navy veteran Bill Abshire, who also travelled up to D.C.
   on the charter bus, confirmed Stamey’s account of events January 6.

   “We listened to Trump’s speech and then headed towards the Capitol and saw people standing
   on the scaffolding. We said ‘What the Hell is going on here?’ Paul was watching it on TV and
   called us to tell our folks to return to the bus,” Abshire recalled in a telephone interview.




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                             North Carolina Oath keeper and U.S. navy veteran Bill Abshire: “We
                         listened to Trump’s speech and then headed towards the Capitol and saw
                           people standing on the scaffolding. We said ‘What the Hell is going on
                                       here?’” (Photo image courtesy of Bill Abshire)


   “Honestly, after Trump’s speech, we were mostly hanging around a taco food truck,” Abshire
   said. “A couple of our guys had gone shopping and we had to find them so everyone could get
   back to the bus. We left D.C. around 4:00 and went back to North Carolina.”

   “I don’t know who those dumb ass’s who went into the building were. We didn’t have anything
   to do with them,” Abshire continued. “I was in the Navy. You don’t go into a government

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   building without credentials. Those Capitol Police could have just mowed them all down and
   it would have been legal.”




                             North Carolina Oath keeper Bill Abshire shown in Washington, D.C.
                                   January 6 (Photo image screen grab from online video)


   Abshire, like many of the North Carolina Oath keepers, has also been visited by the FBI who
   questioned him about the state chapter QRF. Abshire said he confirmed to the FBI in detail
   Stamey’s account of their QRF.

   “They wanted to know about the QRF,” he said. “I told them Paul and our guys were just
   doing security, watching for Antifa or whoever those guys were who were in D.C. in
   November. I told the FBI, there were no guns that I saw or knew about.”

   “I didn’t see a single one of them Antifa that day,” said Abshire.

   “People did stupid stuff. We didn’t. We left,” he concluded.

   In interviews, all members of the North Carolina Oath keepers contingent denied they
   participated in any illegal actions and insist the government has no evidence otherwise.

   “The FBI seems to have all the recordings of everything else, so they got to have those, too,”
   said Stamey. “It wasn’t like the government makes it out to be,” Stamey said.
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   No members of the North Carolina chapter of the Oath keepers have been accused or charged
   with breaking any laws on January 6, but three are listed as unnamed co-conspirators in the
   federal indictments.

   More than two dozen members of the North Carolina state chapter have been visited by the
   FBI, according to Oath keepers interviewed.

   One said that his FBI interviewer said 80 more people in that state were still scheduled to be
   interviewed regarding the January 6 insurrection.

   Numerous other North Carolina and other Oath keepers have been subpoenaed to testify in
   front of federal grand juries or the Congressional January 6 Committee.

   It was not able to be independently confirmed whether other members of the North Carolina
   Oath keepers were present in prohibited restricted areas around the Capitol, participated in
   violence, or other illegal activity, but no members of the state chapter are publicly alleged to
   have or been charged with violating any laws on January 6.

   At the end of July, Stamey, through his attorney, contacted the FBI and Department of Justice
   prosecutors and requested a meeting. On September 9, seven members of the prosecution
   team, including FBI investigators and chief prosecutor Assistant U.S. Attorney Kathryn
   Rakoczy, met with Stamey in person and via video conference, according to sources directly
   involved. The five-hour meeting ended when prosecutors declined to provide any new
   evidence against Stamey or name what charges he faced.

   “Is that all you got?” Stamey’s attorney asked.

   “We don’t have to provide you with any evidence,” prosecutors responded.

   “You know if you had more, you would show it,” responded Stamey’s attorney, before the
   meeting ended amicably but without resolution.


   Paul Stamey has a Thomas Caldwell Problem:
   Guns, Boats, Hollywood, and the Oath keepers Quick Reaction Force

   But Paul Stamey does have a Thomas Caldwell problem.

   65-year old retired U.S. Navy Lt. Commander Thomas Caldwell of the rural Shenandoah
   Valley town of Berryville, Virginia, was arrested in the first group of Oath keepers charged in

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   January 2021 and a defendant with eleven others charged with ‘Seditious Conspiracy’ in
   January 2022.




                           Thomas Caldwell and wife, Susan, shown outside the Capitol January 6
                                    Caldwell posted on Facebook (Photo image DoJ)


   A former businessman with 100% service-related disability, Caldwell’s company, Progressive
   Technologies Management, was awarded millions of dollars in government defense and
   security contracts providing computer services to the FBI, the DEA, the Department of
   Justice, the U.S. Army Special Operations Command, and other federal agencies in the early
   2000’s, when he held a secret level security clearance.




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   Prosecutors allege Caldwell was a central figure in the Oath keepers ‘seditious conspiracy’
   case, and is key to the government narrative linking Stamey and other Oath keepers to each

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   other, particularly to connect the dots between Oath keepers and the armed Quick Reaction
   Force they assert was poised to deploy arms and commandos to support the insurrectionists at
   the Capitol.

   At first glance, Caldwell’s intercepted online chatter and rhetoric in the days before and after
   January 6—if not his actions—was certainly incendiary and among the most damning
   evidence bolstering the prosecution’s conspiracy case.

   On the night of January 6, Caldwell bragged of his exploits that day: "It was instinct to snatch
   up my American flag and race for capitol steps while the patriot stereos were blasting the
   song 'we're not gonna take it anymore' and we were screaming along as one," he wrote. “So I
   grabbed up my American flag and said ‘let's take the damn capitol’ so people started surging
   forward and climbing the scaffolding outside so I said ‘let’s storm the place and hang the
   traitors.’ Everybody thought that was a good idea so we did.”

   “If we'd had guns I guarantee we would have killed 100 politicians,” Caldwell added. "They
   ran off and were spirited away through their underground tunnels like the rats they were.”

   “The people in front of me broke through the doors and started duking it out with the pigs
   who broke and ran. Then we started stealing the cops riot shields and throwing fire
   extinguishers through windows.”

   "It was a great time," he concluded.

   In fact, Caldwell did none of those things.

   But, despite stark evidence Caldwell was a blowhard who made inflammatory claims of his
   heroics on social media, there is little evidence that Caldwell did anything illegal beyond
   trespassing on Capitol grounds.

   He never “storm(ed) the place”, prosecutors now agree, and video and other evidence shows,
   despite his post-insurrection braggadocio claiming he did.




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                            Thomas Caldwell and his wife, Susan—who is named ‘Person Two in
                          court documents—seen on the Capitol steps on January 6. (Photo image
                                                        U.S. DoJ)


   On the morning of January 6, Caldwell travelled on a subway train from the Arlington,
   Virginia Comfort Inn to Washington to hear Trump speak and then marched with the crowd
   to the restricted grounds outside the Capitol, where, alone with his wife, Susan, stopped and
   witnessed the violence, but never attempted to enter the Capitol building. He was not with
   any other Oath keepers.

   In fact, Caldwell was not a member of the Oath keepers, not on any of the militia group’s
   invitation-only encrypted chat groups organizing for January 6, and had no contact with
   Stewart Rhodes or other leaders of the militia group on January 6, prosecutors, his legal team,
   and other evidence shows.

   Caldwell might be best described as a ‘groupie’ of the far-right militia movement, an eager
   supporter who wanted to be a member of the boys club, but was rejected.

   “Caldwell wanted to be an Oath keeper, but he was living a damn fantasy in his head with his
   big commando bullshit,” said North Carolina Oath keeper leader George Smith. “He was

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   talking like he was some sort of private army.”

   Caldwell’s Walter Mitty-esq antics and language, have come back to haunt him—and Paul
   Stamey.




                              Thomas Caldwell hamming it up at a fake White House press room
                              podium at a 2019 Conservative Political Action Committee (CPAC)
                              gathering outside Washington D.C. (Photo image Mike Theiler/UPI)

   Court papers say Caldwell organized hotel accommodations for armed insurrectionists,
   brought weapons to January 6, attempted to secure boats to ferry guns across the Potomac
   River to assist insurrectionists attacking the Capitol, and provided other logistical support—
   all allegations used to show Stamey and others collaborated with Caldwell to help coordinate
   the conspiracy to violently attack the Capitol.

   “A major part of his role in the conspiracy was organizing individuals who were on standby
   with guns in a hotel across the river,” wrote Assistant US Attorney Kathryn Rakoczy in a
   March 2021 court filing, adding Caldwell’s role January 6 was “among the most concerning
   aspects of the conspiracy and for which the evidence has only strengthened."



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   “Caldwell, that dumb ass, if it wasn’t for the bullshit he said on those chat sites which the feds
   got a hold of, I wouldn’t have the problems I do now,” said Stamey. “I really should hate the
   guy, but I can’t bring myself to. He was a nice guy. I liked him. But I will guarantee you this—
   Caldwell was no threat to nobody.”

   “He wasn’t even a member of the Oath keepers. He didn’t have authority to do anything. He
   wasn’t in any of the Oath keeper commo groups,” said Stamey. “He was living like he was in a
   Hollywood movie.”

   Sources close to Caldwell say he had been heavily medicated “on prescription opiates” in the
   weeks prior to and on January 6, as a result of several spinal surgeries, which affected his state
   of mind.

   Oath keepers who knew Caldwell say, in the weeks prior to January 6, he had ramped up his
   vision to a realm of fantasy, with patriots descending on D.C. with tomahawks to save the
   republic from what Caldwell believed was a Chinese Communist Party controlled Democratic
   Party—which included the president-elect of the United States.

   They say Caldwell indulged in fantastical rhetorical dramatics of personal derring-do they
   dismissed as the over-exuberance of a harmless but likable man.

   “What the Government misunderstands is that Caldwell’s language and personality center
   around his military career and his addiction to Hollywood,” writes his attorney, David Fischer.

   Caldwell’s IRS tax records show he claimed he worked writing Hollywood screen plays that
   are “dusty and were written with a typewriter.” according to Fischer, who says he has copies.

   One depicts a “dog fight” between rival aircraft, with one pilot radioing out “Buzzard One,
   this is Slingshot, I got two bogies on my six; say again, two bogies on my six; May-day, May-
   day.”

   Some of Caldwell’s social media comments cited by the Government are quotes from
   Hollywood movies. “The best example is ‘storming the castle’ and ‘I’m such an instigator.’
   These are classic lines from the 1980s classic movie The Princess Bride,” wrote Fischer.

   One of Caldwell’s email accounts is "the_spy54@****.com", the “54” being a reference to the
   year of his birth.

   He signed his message communications “CAG” and “Spy.”

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   In a March appeal for his release from pre-trial detention, a supporter offered a less gentle
   assessment of Caldwell: “His speech is sharp but his blades are dull.”




                         Indicted Oath keeper affiliate Thomas Caldwell at a faux podium set up to
                          look like the White House press room at a Conservative Political Action
                            Committee (CPAC) event outside Washington, D.C. in February 2019.
                                               (Photo image Mike Theiler/UPI)


   Stamey recalls Caldwell’s action movie prose in email exchanges in the run-up to January 6.

   “In December, Caldwell sent me 4 or 5 paragraphs about planning for D.C. that read exactly
   like a movie script,” said Stamey. “He was writing about bringing Tomahawks to D.C. I said
   ‘Tomahawks?!? WTF? Tomahawks?!? Really? I called George Smith up and said ‘George, take
   a look at this.’”




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   “If he was a member of the Oath keepers, we would have kicked him out then. He was just
   blowing smoke,” said Stamey. “It was like he was in his own world, living a movie script he
   was writing in his own head.”

   The Tomahawks Caldwell ordered were called ‘Zombie Killers’ and were cited in federal court
   documents.




                             Court filings referencing Thomas Caldwell’s discussion about bring
                              tomahawks to the January 6 insurrection (Photo image U.S. DoJ)


   In addition, in November 2020 Caldwell ordered a .380 caliber handgun disguised as a cell
   phone. In December he messaged the gun dealer saying he was eager to receive the device: “I
   am eager to receive this weapon.” After January 6, when the cell phone gun had still not
   arrived, Caldwell cancelled the order and asked for his money back.

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                               October 5, 2021 message from cell phone gun dealer to FBI who
                            requested records of Thomas Caldwell’s purchase of .380 caliber gun
                             disguised as a cell phone in November 2020 just prior to January 6.
                                                   (Photo image U.S. DoJ)

   Thomas Caldwell’s $570 November 21, 2020 purchase of a handgun disguised as a cell
   phone




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                         Thomas Caldwell’s December 23, 2020 message to gun dealer inquiring of
                          the status of his ordered handgun disguised as a cell phone. “Can you
                            please tell me the status of this pre-order. I am eager to receive this
                                              weapon.”(Photo image U.S. DoJ)

   “Caldwell said some very stupid stuff, but honestly, no one took him seriously. I didn’t take
   him seriously,” added Stamey.

   But the government certainly does.

   Caldwell’s phone messaging with Stamey are among the most incriminating evidence tying
   Stamey to the conspiracy.

   “Caldwell conspired with Person Three, who, in Defendant Caldwell’s words, was ‘committed
   to being the quick reaction force and bringing the tools if something goes to hell. That way
   the boys don’t have to try to schlep weps on the bus,’” prosecutors wrote in early 2021 court
   filings.

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   In April, prosecutors released surveillance video from the Comfort Inn they said shows Oath
   Keepers "carrying up and down, from the lobby and back…including Person Three...multiple
   items" that look like long guns.

   Among them were two frame grabs of Thomas Caldwell’s gun from Comfort Inn surveillance
   video prosecutors say is evidence of the hotel being the headquarters of the ‘QRF’ Caldwell
   helped organize headed by Paul Stamey.

   One photograph shows Caldwell walking out of an elevator into a hotel 2cd floor hallway
   carrying what appears to be a rifle loosely wrapped in a blanket toward his room when he
   checked into the hotel on January 5th—time stamped “1/5/2021 02:34:19 PM”




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                          Thomas Caldwell walking out of an elevator into a hotel 2cd floor hallway
                         carrying what appears to be a rifle loosely wrapped in a blanket toward his
                           room as he checked into the hotel at “1/5/2021 02:34:19 PM.” “There is
                            evidence to suggest that Defendant Caldwell may have contributed a
                           weapon or other equipment to the QRF’s cache,” prosecutor wrote. “On
                           January 5, 2021, Defendant Caldwell visited Person Three’s room at the
                         Comfort Inn carrying a large and long object wrapped under a bed sheet.”
                                                  (Photo image U.S. DoJ)


   A 2cd photograph time-stamped 5:11 pm, January 6 “after Caldwell and Person Two (his wife,
   Susan) returned to the Comfort Inn from the Capitol” depicts “Person Three visit(ing)
   Defendant Caldwell carrying a large and long object wrapped under a bed sheet” walking
   down a Comfort Inn 2cd floor hallway from Stamey’s room towards Caldwell’s room.




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                         North Carolina Oath keeper and head of the state chapter ‘Quick Reaction
                             Force’ Paul Stamey shown in Arlington, Virginia Comfort Inn hotel
                           surveillance video at 5:11 p.m. on January 6 carrying a gun owned by
                            Thomas Caldwell of Virginia. “Yeah, that’s me,” said Stamey. “I was
                         returning that dumb ass Caldwell’s .22 after he left it in my room when we
                                    got drunk the night before.”...(Photo image U.S. DoJ)


   Prosecutors allege that the image of Caldwell bringing a gun into the hotel January 5, the day
   before the insurrection, and the image of Stamey returning that same gun in the late
   afternoon of January 6 is proof that Stamey stored Caldwell’s weapon in his room as part of a
   much larger multi-state Oath keepers conspiracy to stockpile “an arsenal of heavy weapons”
   at the Comfort Inn.

   It is the only photographic evidence released to date by prosecutors connecting Stamey to any
   weapons he is alleged to have '“stockpiled” as commanding the Oath keepers QRF.


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   “There is evidence to suggest that Defendant Caldwell may have contributed a weapon or
   other equipment to the QRF’s cache,” prosecutor wrote. “On January 5, 2021, Defendant
   Caldwell visited Person Three’s room at the Comfort Inn carrying a large and long object
   wrapped under a bed sheet.”

   Stamey has a more innocuous explanation.

   “Yeah, that’s me,” Stamey said of the hotel surveillance image. “I was returning Caldwell .22
   rifle peashooter he brought to my room the night before. We got drunk and the dumb ass
   forgot it in my room.”

   According to Stamey’s account, Caldwell brought his newly acquired 22. caliber rifle, kitted
   out to resemble an AR style war weapon, to Stamey’s room the previous night to show it off
   and the two finished off a half-filled bottle of Jim Beam whiskey.

   “In November, I brought a bottle of Jim Beam and left the still half filled bottle at Caldwell’s
   farm as a gift,” said Stamey. “That dumb ass Caldwell brought the same bottle—still half-filled
   —to D.C. and we drank it. He brought his 22 caliber rifle to my room to show it off to me,”
   continued Stamey.

   “I’m a Marine. The first thing I did was pull out the magazine and checked the chamber and
   cleared it. There was no ammunition. I don’t even know if he brought any ammo with him.”

   “We finished off the whiskey and when he left—and I’ll be honest with you, we were both
   drunk—Caldwell forgot his gun, because when I woke up in the morning, it was leaning
   against the wall in my room. That picture was me returning the weapon after I waited for him
   and his wife to get back from the Capitol that afternoon to return his bird gun he forgot in my
   room the night before,” Stamey recalled.

   “He was all red faced. I handed him that rifle. I asked Caldwell, ‘Tom, you didn’t go into that
   Capitol building, did you?’ He said he did. I didn’t say anything. I just looked at him, turned
   around, and walked away,” Stamey said. “Later I asked him again, ‘Tom did you go inside the
   Capitol?’ He admitted he didn’t.”

   “I checked out within, like, fifteen minutes of going to his room and dropping off his gun.”

   “All of my team were already waiting for me downstairs outside the hotel lobby,” said Stamey.
   “The feds have video of that, too. How come they haven’t released that video?’


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   “Honestly, I was a pissed off at him because I was suppose to have convoyed with the North
   Carolina charter bus which had already left D.C. because of what those idiots had just done at
   the Capitol,” said Stamey.

   “The government has video of that, too, but that wouldn’t fit their story,” Stamey said. “They
   have all the hotel videos that show me checking out around 5:30 p.m. on the 6th. Damn, they
   have all the videos that show all those boys they say left weapons with me went to someone
   else’s room. I know they damn sure didn’t drop any guns off with me.”

   “Apparently, the only ‘shots’ taken by Person Three on January 6th were from glasses,”
   quipped Caldwell’s attorney, David Fischer, in a March 2021 court filing. “Person Three—the
   Quick Reaction Force–is in his late 60s, obese, has cardio-pulmonary issues, a bad back, a bum
   knee, and in need of a hip replacement.”

   “That sounds about right—except for the hip replacement. I don’t know where they got that.
   My hip might be the only part of me doing just fine at the moment,” quipped Stamey, who
   requires a cane to walk.

   “Caldwell portrays himself like actor Mel Gibson in the movie ‘The Patriot’, picking up an
   American flag and leading the charge,” said Fischer. “Unlike Mel Gibson, however, Caldwell
   has undergone multiple spinal fusions, is permanently disabled, and requires the occasional
   use of a cane to ambulate.”

   “That is what the government says was the Quick Reaction Force—a couple of old cripples
   with bird guns,” Stamey said. “At least those were the only guns I saw.”

   The Aftermath

   In the immediate wake of the insurrection on the late afternoon of January 6, Stewart Rhodes
   received a call from the 1st Praetorian Guards, known as 1AP, a militia group closely
   associated with former Trump National Security Advisor Gen. Michael Flynn, Roger Stone,
   and January 6 organizer Ali Alexander. It was a dinner invitation to a Virginia Olive Garden to
   gather and assess the events that day.

   The small group of very worried protagonists of the Capitol insurrection included two
   members of 1AP; the girlfriend of one of the 1AP members; Rhodes; his confidante and Texas
   attorney                           ; the January 6 ‘operational lead’ and ‘ground commander’ for the Oath
   keepers, Michael ‘Whip’ Simmons; two Kentucky Oath keepers; the head of the Southeast


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   region Oath keepers, Alabaman Joshua James; and Arizona Oath keeper affiliate Edward
   Vallejo.

   During dinner, SoRelle received a phone call from republican activist Marsha Strickler.
   Strickler told her that “cops were kicking down hotel room doors and arresting people and
   they were looking for Stewart,” recalled SoRelle. “Marsha Strickler scared the shit out of me.”

   Michael ‘Whip’ Simmons remembers SoRelle receiving the phone call. “At dinner, Kellye got a
   phone call saying cops were arresting people and looking for Stewart. Everyone left the Olive
   Garden, went back to their hotels, packed our stuff and we met up at a gas station nearby.”

   The Oath keepers leaders in four vehicles rendezvoused at a nearby Virginia gas station after
   dark.

   “Remember, we had no idea what was going on. There was no plan for what ended up
   happening January 6 that we knew about and all of a sudden Stewart and Oath keepers had
   their photos on every news outlet in the country accused of trying to violently overthrow the
   government and people were telling us they were hunting us down,” recalled SoRelle. ‘His
   phone was ringing off the hook from Oath keepers, the media, other groups.”

   At the gas station, the alarmed group discussed the ramifications of January 6 and, according
   to prosecutors, Rhodes “divided up various firearms and other gear among James and others.”

   Rhodes purchased more than $40,000 in guns and military equipment in the days immediately
   January 6, prosecutors say.

              “On December 30, 2020, RHODES purchased two night-vision devices and one weapon
              sight for approximately $7,000.”
              “On January 1 and 2, 2021, RHODES spent approximately $5,000 on firearms and
              related equipment, including a shotgun, scope, magazines, sights, optics, a bipod, a
              mount, a case of ammunition, and gun-cleaning supplies.”

              “On January 3, 2021, RHODES departed Granbury, Texas, and began traveling to the
              Washington, D.C., metropolitan area.While traveling, RHODES spent approximately
              $6,000 in Texas on an AR-platform rifle and firearms equipment, including sights,
              mounts, triggers, slings, and additional firearms attachments.”

              “On January 4, 2021, while still traveling toward the Washington, D.C., metropolitan
              area, RHODES spent approximately $4,500 in Mississippi on firearms equipment,

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              including sights, mounts, an optic plate, a magazine, and various firearms parts.”

   “James saw what he estimated to be thousands of dollars worth of firearms, ammunition, and
   related equipment in Rhode’s vehicle,” prosecutors wrote in court filings.




                         “The group immediately returned to their hotel, collected their belongings,
                            and met at a nearby gas station (Photo image U.S. DoJ court filing)

   “I only remember one gun Stewart gave Joshua James,” recalled Simmons. “And he gave his
   cell phone to someone else. It wasn’t like a cache. Stewart was always giving away stuff after
   an event.”

   Rhodes insisted on not departing in the same car he arrived from in Washington with SoRelle.
   He gave her his cell phone in attempt to disrupt government efforts to track his location.

   “To be fair, Stewart didn’t want to drag me or others into it if the feds arrested him,” said
   SoRelle.

   The group abruptly left Washington in different directions. SoRelle headed toward Texas,
   Joshua James towards Alabama, Simmons home to Indiana, and Rhodes rode with two
   Kentucky Oath keepers to their home state, where he rendezvoused with Sorelle and they
   continued to Alabama where they met James for lunch the following day.

   On his car ride out of Washington the night of January 6, Rhodes emailed his wife, Tasha
   Adams, in Montana.
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                            “I highly recommend you get it out and buy food, medicine, fuel. And
                           some cash. Keep our kids safe. I have no idea what will happen. I hope
                          Trump acts now. But regardless it will be dangerous and uncertain. I love
                          our kids so much and miss them. Tell them that please. Be safe and keep
                                        safe” (Photo image courtesy of Tasha Adams)


   “I highly recommend you get it out and buy food, medicine, fuel. And some cash,” Rhodes
   messaged at 9:34 pm on the night of January 6 as he was fleeing from perceived federal
   authorities from D.C. “Keep our kids safe. I have no idea what will happen. I hope Trump acts
   now. But regardless it will be dangerous and uncertain. I love our kids so much and miss them.
   Tell them that please. Be safe and keep safe”

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   Adams shares six children with Rhodes and separated from him in 2018. She is in the midst of
   an acrimonious divorce with the Oath keepers leader.

   “So having spent decades reading tiny little clues and changes in Stewart's mood as a form of
   self defense, this email made me nervous,” recalled Adams. “Of course talking about food and
   medicine was weird but not unlike him. What struck me as nervous breakdown mode was that
   he used the ‘please’, and…also he said ‘our’ kids, something he would do if he was feeling
   desperate as a way of trying to show that we have a connection. I think most people would
   think I was crazy pointing out something so small but as a person who studies human
   weirdness maybe you kind of know what I mean here.”

   In Alabama, Rhodes urged James to change his physical identity, purchase untraceable
   ‘burner’ phones, and gather up all his weapons and any others he could muster, including
   those from other southeast state members under his charge, and bring them to Texas.

   Rhodes warned that a ‘civil war’ had begun, and wanted to gather his troops and muster as
   many weapons in Texas.

   Alabama Oath keeper Mark Grods declined, as did Florida Oath keepers chapter head Kelly
   Meggs.




                          Conversation between Alabama Oath keepers leader Joshua James and
                          Florida chapter leader Kelly Meggs immediately after January 6 referring
                              to a call by national Oath keepers leader Stewart Rhodes to bring
                             weapons to Texas to prepare for ‘civil war.’ (Photo image U.S. DoJ).


   But Joshua James headed to the suburbs of Dallas where Rhodes had couch surfed with several
   Oath keepers and affiliates before and after January 6.

   In the 10 days after January 6, Rhodes bought $20,000 worth of more guns and military kit and
   summoned other Oath keepers to Texas, convinced that a civil war had begun, the federal

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   government were going to swoop in and arrest him, and insisted that he would not be taken
   alive.

   In Texas, while acting as Rhodes lieutenant and bodyguard, James accompanied Rhodes on a
   gun buying spree. On January 10 he spent, “$6,000 on sights, bipods, a scope, mounts,
   backpacks, a gun grip, a magazine pouch, and other related items,” according to prosecutors.
   The next day he spent $1,500 “on scopes, magazines, and other items” and the following day,
   January 12, paid for “$7,000 on hundreds of rounds of ammunition, duffel bags, magazines,
   rifle scopes, a scope mount, a gun light, and other items.” In the following two days, Rhodes
   bought an additional $3,000 of “firearms parts, mounts, magazines, a scope leveler, targets,
   ammunition, a gun case, holsters, and gun-maintenance equipment, among other items.”




                          “Rhodes gave James an AR-platform firearm and explained that Rhodes
                                would not be taken by law enforcement without a fight.”




                              “Rhodes told James to be prepared to transport and distribute the
                            equipment to others upon Rhodes instruction and to be prepared for
                            violence in the event of a civil war”(Photo image U.S. DoJ court filing)


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   “When we got back to Texas, Stewart became very paranoid. That is when he started talking
   all this ‘civil war’ stuff and he wouldn’t be captured alive” recalled Kellye Sorelle who was with
   Rhodes and other Oath keepers in the suburbs of Dallas during that time.

   “Stewart was living out of the trunk his car. He was having PTSD. So was Joshua James for
   that matter,” she said.

   In Texas, Rhodes insisted that all cell phones be turned off and removed from the room before
   discussing events related to January 6.

   Stewart Rhodes was having a mental health breakdown.

   “That is not an exaggeration,” said SoRelle. “He was scared.”

   Rhodes vowed he wouldn’t be taken alive.




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                                 Stewart Rhodes seen in his Yale Law school graduation photo

   Joshua James approached SoRelle and said “I am really worried about Stewart. He is losing it,
   talking about how this is all about to go full blown World War Three.”

   According to another Oath keepers leader who was on the ground in D.C., Rhodes called him
   in the days after January 6 to warn him that the federal government was about to launch a
   surface to air missile targeting his home located in a major metropolitan American city.
   “Yeah, that was very weird. Really. WTF?” said the Oath keeper, who requested anonymity, in
   an interview.

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   "He lived in fear of 'the feds' coming for him,” said his wife, Tasha Adams, in a 2022 interview,
   referring to secret tunnels he built on their Montana property. “He had long tunnels in the
   ground at one point. He would never drive anywhere without an AK on his lap. He was
   paranoid of everything. Not just law enforcement. He was fearful of weather, break-ins,
   animals.”

   “It might sound crazy, but he did stuff like this fairly regularly,” Adams recalled. “Digging
   tunnels, switching cars, ditching phones, only having meeting in the woods under trees so
   satellites couldn't read their lips.”

   Rhodes built escape tunnels on his Montana property in the event of a government raid to
   arrest him, according to Adams.

   “He rented a backhoe, enlisted a rotating cast of what the kids called yard people (random
   oath keepers who stayed for a while) and dug from the house to the cover of trees. The plan
   was to have them go out to a creek to shake scent and then an escape car would be on a forest
   service road pointed to Idaho.”

   “He blew through people fast fast enough that they thought they were seeing a sudden
   breakdown,” she said in an April interview. “I just saw a ‘here he goes again’ moment.”




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                           Stewart Rhodes in a bunker he built on the Montana property where he
                               lived during the late 2010’s (Photo courtesy of Tasha Adams)


   “Stewart owns nothing,” Adams said. “No house. No car. No assets—except his gun
   collection,” said Adams.

   The tens of thousands of dollars in donations to the Oath keepers, all controlled by Rhodes,
   were mostly spent on weapons, according to Adams.




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                          Stewart Rhodes in a bunker he built on the Montana property he lived at
                          with his then wife and six children during the late 2010’s (Photo courtesy
                                                       of Tasha Adams)

   On January 8, Rhodes, through Sorelle, instructed Oath keepers who were in D.C. January 6 to
   delete all their encrypted messages.




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                            “STEWART: YOU ALL NEED TO DELETE ANY OF YOUR COMMENTS
                           REGARDING WHO DID WHAT,” wrote Oath keepers legal advisor Kellye
                            Sorelle on January 8. “So GET BUSY. DELETE your self-incriminating
                          comments or this that can incriminate others. Start now…” (Photo image
                                                    U.S. DoJ court filing)


   SoRelle contends the message has been taken out of context by prosecutors. “It wasn’t go
   delete their stuff or destroy your phones,” she said. “It was ‘quit talking to each other, stop
   creating witnesses, stop confessing stuff. Preserve your rights,’” she said. ‘Call me and I will
   explain your rights.’”

   But it was too late. Rhodes was arrested in January 2022 and charged with ‘Seditious
   Conspiracy.’




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                         Jail mugshot of Stewart Rhodes taken in April 2022 after being transferred
                              from an Oklahoma federal prison to Virginia while awaiting trial for
                           ‘Seditious Conspiracy’ in Washington D.C. scheduled for later in 2022
                                            (Photo image Fairfax Virginia police)


   The Far Right Turns on its Own
   In late June, far-right wing Trump loyalists in Congress and their partisan media echoed new
   republican party talking points attempting to divert attention from those responsible for the
   January 6 insurrection.

   They began eating their own.

   Having abandoned the initial false narrative the violence was organized by Antifa, it was now
   ‘undercover FBI operatives’ working for ‘the Deep State’ that were the dark hand behind the
   January 6 insurrection, blaming the violence on covert FBI agent provocateurs.



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   In a twisted irony, they identified the “undercover FBI” culprits behind the violence as the
   same Oath keepers targeted by the FBI and the Department of Justice.

   They accused Paul Stamey of being an “undercover operative” for the FBI.

   ”Person Two and Person Three were organizers of the riot. The government knows who they
   are, but the government has not charged them,” Fox News personality Tucker Carlson said in
   early July. “Why is that? You know why. They were almost certainly working for the FBI.”

   “Look at the documents, the government calls those people ‘un-indicted co-conspirators,’”
   Carlson said. ”What does that mean? Well, it means that in potentially every single case they
   were FBI operatives.”

   Far right defenders of the insurrection in Congress, including Matt Gaetz and Marjorie Taylor
   Greene, formally called for an investigation into whether the FBI was secretly behind the
   January 6 violence.

   “Wow! I really don’t know what to say,” Stamey responded when sent the Fox News clip of
   Carlson’s accusation. “I’m being accused by the FBI of trying to violently overthrow my
   government and now accused of secretly working undercover for the FBI trying to overthrow
   the government. Wow! WTF? I wasn’t either of those things.”

   When Stamey voluntarily met with prosecutors and the FBI on September 9, one FBI agent
   turned to him and asked in a friendly tone “So, what do you think about Tucker?”

   “Not much. Pretty much what I think about you guys,” said Stamey.

   “Honestly, I was a big supporter of Trump. I still think he did some good things. But he can go
   to Hell. He just used us,” said Stamey. “I have always been all about supporting law
   enforcement, but now I don’t trust the FBI at all. I liked Tucker, too. Now I don’t believe
   anything until I see it with my own eyes.”

   When Stamey, who is diabetic, left the Comfort Inn on the late afternoon of January 6 for the
   drive back to North Carolina with the other three members of his QRF, he “pulled out my
   backpack to get my insulin. One of my boys had attached a sticker to the outside that said ‘I’m
   too sober for this shit,’” Stamey recalled. “Looking back on it, I was too sober for anything
   that happened that day.”

   Mr. Stamey expects to be arrested at any time.

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   “I told the FBI and the prosecutors when we met—I remember actually standing up to tell
   them—'‘I take great exception to the fact you would insinuate I wanted to commit treason
   against our country.’”

   “I’d be lying if I said this whole thing hasn’t taken a toll on me,” Stamey said. “I’m 66. My
   health isn’t good. I’m going through my third divorce. I’ve spent thousands of dollars on
   lawyers. It might not be a lot for some people, but it was all I got. If they arrest me, I very well
   might die in jail.”

   “But I will say this,” Stamey continued. “I will never take a damn plea deal because I didn’t do
   anything wrong.”

   “It is times like this in life when you learn who your true friends are,” said Stamey. “I’ve put
   my affairs in order. I don’t mostly sleep at home these days afraid the FBI will come with a
   swat team and armored personnel carriers in the middle of the night and I don’t want them to
   hurt my dogs or drag my wife into this.”

   In Florida, Oath keeper Jeremy Brown’s girlfriend is overwhelmed, too, since her 27-year
   career Army Special Forces partner was arrested October 2cd.




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                         Jailed Florida Oath keeper and U.S. Army Special Forces Master Sergeant
                              Jeremy Brown (ret) seen in his military dress blues. (Photo image
                                                courtesy of Jeremy Brown)

   “January 6 was our first trip out of state in our RV. I was excited to travel. I’d never been to
   Washington and wanted to see the sights,” she recalled. “We were ready to retire and travel. It
   was beautiful-our first RV park. I love it and now it’s just sitting (:.”

   “I just saw him on video visit. It’s been 130 days. Unbelievable,” Aldridge said in February.
   “He misses his dogs and they miss him. I can’t wait to videotape their reunion.”




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                         Florida Oath keeper Jeremy Brown in his 38-foot recreational vehicle with
                            his two dogs, ‘Liberty’ and ‘Ranger’. Prosecutors say Brown stored
                            weapons, ammunition, grenades, and other military kit in the RV he
                                  brought to January 6. (Photo courtesy of Jeremy Brown)


   In jail house calls since Brown was arrested “He told me if I miss him when I am in bed alone
   at night to act as if he's deployed,” Aldridge said. “That makes things easier. He said he's on a
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   very special mission and important things will come of this horrible situation.”

   “Can you imagine if, instead of punching cops and attacking the Capitol, Oath keepers had
   stood shoulder to shoulder protecting the cops?” retired career U.S. Army Special Forces
   veteran and North Carolina Oath Keepers state chapter leader George Douglas Smith said.
   “Where would Stewart Rhodes or the Oath keepers be today? He would be a national hero.
   Now all our names are sullied.”

   This is the 1st in a 3-part series focused on the Oath keepers, the QRF’s, and alleged armed
   commandos poised to assault the Capitol on January 6, 2021. Part 2 will address the issue of the
   alleged scheme to procure boats to cross the Potomac River in boats laden with heavy weapons to
   assist in the violent assault on the Capitol building, details of the Florida Oath keepers chapter,
   their rendezvous with the North Carolina chapter in vehicles laden with weapons on their way north
   to Washington, and reporting on other QRF’s and armed contingents in D.C. January 6

   _________________________________________________________________________

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                         IN THE UNITED STATES DISTRICT COURT
15
                               FOR THE DISTRICT OF ARIZONA
16
17   United States of America,                               No. 2:22-mj-05032-DMF
18                         Plaintiff,
                                                          Government’s Memorandum
19             vs.                                     in Support of Motion for Detention
20   Edwards Vallejo,
21                         Defendant.
22          Edward Vallejo is charged by indictment with seditious conspiracy and related
23   offenses for participating in a plot to oppose by force the execution of the laws governing
24   the transfer of presidential power following the 2020 United States Presidential Election,
25   including an attack on the United States Capitol on January 6, 2021. He should be detained
26   pending trial.
27          Vallejo played a central role in the planned use of force in this plot, agreeing and
28   preparing to usher firearms and other related equipment into Washington, D.C., to his co-
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 1   conspirators. After January 6, Vallejo continued to look for ways to support the co-
 2   conspirators’ mission. He also acknowledged commands by the leader of the conspiracy
 3   to watch out for “turn-coat snitches” amongst the co-conspirators’ ranks. Based on the
 4   compelling evidence of Vallejo’s role in the charged offenses, there are no conditions of
 5   release that can reasonably assure the safety of the community or the defendant’s
 6   appearance in court. Vallejo also poses a risk obstruction of justice should he be released.
 7   Pretrial detention is warranted and necessary.
 8      I.       Procedural Background
 9            Vallejo is charged with seditious conspiracy, in violation of 18 U.S.C. § 2384;
10   conspiracy to obstruct Congress, in violation of 18 U.S.C. § 1512(k); obstruction of an
11   official proceeding, in violation of 18 U.S.C. § 1512(c)(2); and conspiracy to prevent an
12   officer from discharging any duties, in violation of 18 U.S.C. § 372. Upon return of the
13   indictment, a United States Magistrate Judge for the District of Columbia issued a warrant
14   for Vallejo’s arrest. Vallejo was arrested on January 13, 2022, and he had his initial
15   appearance before this Court on Friday, January 14. The United States has moved for
16   Vallejo’s pretrial detention pursuant to 18 U.S.C. §§ 3142(f)(1)(E) (case that involves a
17   felony “that involves the possession or use of a firearm, destructive device … or any other
18   dangerous weapon”), 3142(f)(2)(A) (case that involves “a serious risk that [the defendant]
19   will flee”), and 3142(f)(2)(B) (case that involves “a serious risk that [the defendant] will
20   obstruct or attempt to obstruct justice, or threaten, injure, or intimidate, or attempt to
21   threaten, injure, or intimidate, a prospective witness or juror”). The detention hearing is
22   scheduled for January 20.
23      II.      Factual Background
24            Vallejo participated in a plot to oppose by force the execution of the laws governing
25   the transfer of presidential power in the United States. In November 2020, days after the
26   Presidential Election, co-defendant Elmer Stewart Rhodes III, the leader of the conspiracy,
27   began recruiting co-conspirators to join him in traveling to Washington, D.C., for
28   operations aimed at stopping the transfer of power with the support of an armed “quick


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 1   reaction force,” or “QRF,” stationed just across the river in Arlington, Virginia. Vallejo
 2   and others joined and implemented this plan by, among other means, using social media
 3   and encrypted messaging to communicate; amassing weaponry and tactical gear;
 4   organizing into regional teams to transport these items to the D.C. area; and staging Vallejo
 5   nearby to be prepared to assist his co-conspirators at his commander’s orders.
 6          In December 2020, after the Electoral College cast ballots confirming Joseph Biden
 7   as the President-Elect, the defendants’ criminal plan focused on delaying or stopping
 8   Congress’s Certification of the Electoral College vote (“Certification proceeding”). This
 9   plan materialized on January 6, 2021, the day of the Certification proceeding, when two
10   military-style stacks of co-conspirators, along with other rioters, forcibly breached the
11   Capitol with Vallejo and others staged as armed QRF teams across the Potomac River,
12   awaiting deployment—a deployment which proved unnecessary, because the co-
13   conspirators were able to breach the Capitol with the forces they had on the Capitol
14   grounds. The breach succeeded in delaying the Certification proceeding for several hours,
15   and the proceeding ultimately concluded in the early morning hours of January 7. That
16   same morning, Vallejo performed “Recon” in the area near the Capitol to see if he and his
17   co-conspirators’ could “probe their defense line.” In the days that followed, Vallejo’s team
18   reached out to Rhodes for next steps while his co-conspirators continued to make plans to
19   stop the presidential power transfer, amass additional weaponry and tactical gear, and
20   prepare themselves to deploy their arms, if necessary, to stop the inauguration of a new
21   president.
22          Vallejo played a central role in the plot to oppose by force American laws governing
23   the transfer of presidential power. He volunteered to travel across the country to support
24   this plot; stationed himself in a hotel full of firearms, ammunition, and equipment; affirmed
25   his commitment to the mission during the Capitol attack; and expressed support for the plot
26   in the immediate aftermath of the attack. Vallejo, in his own words and actions, was
27   prepared to use force against the government of the United States of America and there is
28   nothing to suggest that he has changed his views.


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 1          A. Co-Conspirators Plan to Forcibly Oppose the Lawful Transfer of
 2             Presidential Power
 3          In November 2020, days after the election, Rhodes, the leader of the Oath Keepers,
 4   began disseminating messages to other Oath Keepers members and affiliates
 5   delegitimizing the results of the election and encouraging them to forcibly oppose the
 6   lawful transfer of presidential power. See Indictment at ¶ 18(a) (telling those on the
 7   “Leadership intel sharing secured” chat (hereafter “Leadership Intel Chat”), on November
 8   5, that they “MUST refuse to accept Biden as a legitimate winner” and warning, “We aren’t
 9   getting through this without a civil war. Too late for that. Prepare your mind, body,
10   spirit.”). Rhodes circulated and highlighted an eight-step plan, allegedly from a Serbian
11   contact to overthrow the government, which included: (i) peaceful protest, (ii) complete
12   civil disobedience, (iii) connecting with the police and organizing neighborhoods,
13   (iv) swarming the streets and confronting opponents, (v) gathering in the capitol and
14   discarding barricades, (vi) police joining with the protestors after initial violence,
15   (vii) storming parliament, and (viii) destroying the state media. Id.
16          Rhodes followed this plan in the months after the presidential election. At his
17   direction, certain members of his organization began preparing for operations inside of
18   Washington, D.C. Indictment at ¶ 21. He further organized deadly weapons to aid in the
19   conspiracy. Heavily armed QRF teams would be minutes away, just outside the Capitol,
20   ready to support those on the ground. Id. at ¶¶ 42-45. All contingency plans were
21   considered. The conspirators even sought to ferry lethal weapons from Virginia by boat
22   into the Capitol, if the bridges were closed. Id. at ¶ 52
23          In December 2020, Rhodes focused his co-conspirators on the Certification
24   proceeding of January 6, 2021. During a December 22 interview with a regional Oath
25   Keepers leader, Rhodes described January 6 as “a hard constitutional deadline” for
26   stopping the transfer of presidential power and warned that if President-Elect Biden were
27   to assume the presidency, “We will have to do a bloody, massively bloody revolution
28   against them.” Indictment at ¶ 30. On December 23, Rhodes published an open letter on


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 1   the Oath Keepers website in which he noted that, on January 6, “tens of thousands of patriot
 2   Americans, both veterans and non-veterans, will already be in Washington D.C., and many
 3   of us will have our mission-critical gear stowed nearby just outside D.C.” Id. at ¶ 31.
 4   Rhodes warned in the open letter that he and others may have to “take to arms in defense
 5   of our God given liberty.” Id.
 6          Rhodes and his co-conspirators created and administered Signal chats with titles
 7   like “DC OP: Jan 6 21” and “OKFL Hangout” for coordinating their plans for January 6.
 8   Indictment at ¶¶ 38-40. They utilized encrypted messaging applications for these planning
 9   chats and stressed the need for operational security. See, e.g., id. at ¶ 27. The co-
10   conspirators discussed being prepared to use violence to stop the “usurpers” from taking
11   control and what weapons they would bring and plans for the QRF. Id. at ¶ 41-56, 58-60.
12   On December 25, Rhodes wrote to the OKFL Hangout Chat, “I think Congress will screw
13   him [President Trump] over. The only chance we/he has is if we scare the shit out of them
14   and convince them it will be torches and pitchforks time is they don’t do the right thing.
15   But I don’t think they will listen.” Id. at ¶ 34. Rhodes went on to say, “And he [President
16   Trump] needs to know that if he fails to act, then we will. He needs to understand that we
17   will have no choice.” On December 31, one week before the Capitol attack, Rhodes wrote
18   to the Leadership Intel Chat, “There is no standard political or legal way out of this.”
19          B. Vallejo and His Co-Conspirators Prepared an Armed QRF To Support the
20             Plot to Stop the Transfer of Power
21          Vallejo and his co-conspirators coordinated at least three regional QRF teams
22   stationed at a Comfort Inn in Arlington, Virginia, to support the co-conspirators’ plot and
23   the January 6 Capitol attack. Indictment at ¶¶ 45-49. The QRF teams guarded an arsenal
24   of firearms and related equipment and were prepared to speed those weapons into the hands
25   of co-conspirators on the ground in Washington, D.C., when directed by Rhodes or other
26   conspiracy leaders. Id. Vallejo served on one of those QRF teams.
27          On December 31, 2020, Vallejo’s Arizona QRF team member messaged Rhodes on
28   Signal that Vallejo and others were coming to Washington, D.C., and that “everyone has


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 1   their own technical equipment and knows how to use it,” adding a “winky face” emoji.
 2   Indictment at ¶ 44. Rhodes responded, “awesome!” Id. The Arizona QRF team member
 3   also said that Vallejo and the group would have “rifles” and “man power.” Id.
 4          On January 3, 2021, Rhodes informed a co-conspirator on Signal, “We WILL have
 5   a QRF. this situation calls for it.” Indictment at ¶ 50. In the following days, co-
 6   conspirators communicated and implemented plans to bring weapons to the Comfort Inn.
 7   Id. at ¶¶ 58-59, 63-65, 68-69. Vallejo messaged co-conspirator and Florida team lead Kelly
 8   Meggs, “Sir, Ed Vallejo of Arizona in Tenn. With cadre requesting coordinates to Allied
 9   encampment outside DC boundaries to rendezvous. Please respond ASAP. For the
10   Republic.” On January 5, Vallejo messaged Meggs again, “Please text location so we will
11   know where to begin in the morning.” Meggs responded with the address of the Comfort
12   Inn Ballston, where the co-conspirators staged their multiple QRF teams.
13          The day before the attack on the Capitol, on January 5, Meggs and his Florida team
14   dropped off at least three luggage carts’ worth of gun boxes, rifle cases, and suitcases filled
15   with ammunition with their QRF team. A second QRF team from North Carolina consisted
16   of four men who kept their rifles ready to go in a vehicle parked in the hotel lot. Later,
17   Vallejo and other members of the Arizona QRF team wheeled in bags and large bins of
18   weapons, ammunition, and essential supplies to last 30 days—as seen in the QRF hotel
19   surveillance stills below, showing Vallejo on the left and his Arizona QRF team member
20   on the right:
21
22
23
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 1   Throughout, Vallejo and other QRF team leaders updated Rhodes on the extent of their
 2   weapons stock and apprised him of their readiness to support the operation on January 6.
 3          C. Co-Conspirators Attack the Capitol with Vallejo and Others Staged Nearby
 4              with Firearms as Part of their Plot to Stop the Lawful Transfer of Power
 5          At around 6:30 a.m., on January 6, the day of the attack, Rhodes messaged his co-
 6   conspirators before departing from his hotel for Washington, “We will have several well
 7   equipped QRFs outside DC. And there are many, many others, from other groups, who
 8   will be watching and waiting on the outside in case of worst case scenarios.” Indictment
 9   at ¶ 70.
10          Around that same time, Vallejo and another member of his Arizona QRF team spoke
11   on a podcast about their intentions that day. Vallejo’s Arizona QRF team member stated
12   that he and Vallejo arrived in Washington around noon the prior day, “hooked up with the
13   Oath Keepers and we’ve bivouacked with them in Arlington.” When asked why they were
14   there, Vallejo’s Arizona QRF team member explained that he and Vallejo “have a little bit
15   of inside information with the powers that would oppose the powers that be.” He
16   continued, “The idea is we’re here. We are applying as much pressure as we can. The
17   only and obvious next step is to go into armed conflict but hoping very much that that
18   doesn’t happen.” When the host asked if that was a credible threat, Vallejo’s Arizona QRF
19   team member explained, “Anything is on the table … the fact is there are people who are
20   prepared, have the will, have the facilities to do more than taunt. The question is: Is there
21   a shot heard round the world moment? The possibility definitely exists.”
22          Vallejo elaborated: “The situation we’ve got here is … it’s a do or die situation.
23   Because if we walk away from this, and we don’t have any effectual change as a result,
24   then we might as well just give up. We’re done. We’re done. If we don’t do something
25   now, we’re done. Because we’ll basically have illustrated that we’ll do nothing in a tinder
26   box situation, and that’s it.” Vallejo added, “The American people are going to be told
27   today that we have liberty and justice for all, or they’re going to be told, ‘Fuck you.’ Okay?
28   And if they’re told, ‘Fuck you,’ that’s going to be the declaration of a guerilla war.” Vallejo


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 1   continued, “I’m just praying to God that Trump has his head on fucking straight, he has
 2   got the machinations behind him, he’s got all the proof in the world, and he’s going to bring
 3   the fucking hammer down! That’s the only hope, the only chance. If that doesn’t happen,
 4   then this shit is on.”
 5          When the interviewer commented on what he perceived as a broken election system,
 6   Vallejo announced his intention to use violence to fix it:
 7          No that’s fine … Because I’m the motherfucker that’s gonna fix it for them
 8          if they tell me today it’s broken … You know what I’ve been telling people?
 9          I’ve been telling people for years I’m the guy that everybody said, ‘no Ed,
10          you can’t shoot them yet, it’s too soon. No Ed, you can’t shoot the bastards
11          yet, it’s too soon.’ Well I’ve been telling them for about five, six months
12          ago. They quit telling me.”
13          Later, Vallejo received word from Rhodes that the Electoral College Certification
14   was going to proceed as required by law, which, in Vallejo’s previous own words, was a
15   declaration of “guerilla war.” As a large crowd gathered on the Capitol grounds and
16   converged on the building, Rhodes messaged Vallejo and others on the “DC OP: Jan 6 21”
17   Signal chat: “Pence is doing nothing. As I predicted … All I see Trump doing is
18   complaining. I see no intent by him to do anything. So the patriots are taking it into their
19   own hands. They’ve had enough.” Indictment at ¶ 77. Around 2:30 p.m., Rhodes
20   explicitly directed his co-conspirators to go to the Capitol. Id. at ¶¶ 88-89. Moments later,
21   Stack One marched up the east steps of the Capitol, joined the mob that was trying to force
22   the doors open, and breached the building. Id. at ¶¶ 93-95, 97-99. At that moment, Vallejo
23   stood ready to arm his co-conspirators. At 2:24 p.m., Vallejo messaged the “DC OP: Jan
24   6 21” Signal chat, “Vallejo back at hotel and outfitted. Have 2 trucks available. Let me
25   know how I can assist.” Id. at ¶¶ 86. Eager to bring weapons into Washington, D.C.,
26   Vallejo messaged again at 2:38 p.m., “QRF standing by at hotel. Just say the word…” Id.
27   at ¶ 96.
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 1          Inside the Capitol, half of Stack One tried to force past riot police to the Senate
 2   Chamber, but were rebuffed, and the other half went in search of Speaker of the House
 3           Pelosi, but did not find her. Indictment at ¶¶ 100-106. Meanwhile, Stack Two,
 4   arrived at the Capitol grounds shortly after 2:30 p.m. Id. at ¶ 111. Stack Two then
 5   penetrated the Capitol grounds, marched to the east side doors through which Stack One
 6   had entered, and breached the Capitol at approximately 3:15 p.m. Id. at ¶¶ 113-118.
 7   Members of Stack Two tried to force their way into the Rotunda but were expelled by law
 8   enforcement officers who had begun clearing the building. Id. at ¶¶ 119-121. By 3:57
 9   p.m., Vallejo declared “We are at WAR.” He then attempted, but failed, to launch what he
10   had earlier described in the “DC OP: Jan 6 21” Signal chat as a “drone with a 720p cam
11   for recon use.” After they exited the Capitol, members of both Stack One and Stack Two
12   met up with Rhodes and other Oath Keepers members and affiliates just outside the Capitol.
13   Id. at ¶ 124.
14          Because of the breach of the Capitol, members of the House and Senate were
15   evacuated from their respective chambers at approximately 2:20 p.m. The Joint Session
16   and the entire official proceeding of the Congress was halted while Capitol Police and other
17   law-enforcement officers worked to restore order and clear the Capitol of the unlawful
18   occupants—including Vallejo’s co-conspirators.        The Joint Session was not able to
19   reconvene until approximately 8:00 p.m. In the course of the attack, over 100 members of
20   law enforcement were assaulted, and one Capitol Police officer died shortly after being
21   hospitalized in connection with injuries sustained in the attack. Additionally, four citizens
22   died; many media members were assaulted and had cameras and other news-gathering
23   equipment destroyed; and the Capitol suffered millions of dollars in damage—including
24   broken windows and doors, graffiti, and residue of various pepper sprays, tear gas, and fire
25   extinguishers deployed both by crowd members who stormed the Capitol and by law
26   enforcement officers trying to restore order.
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 1          D. After January 6, Vallejo and his Co-Conspirators Continued Efforts to
 2             Forcibly Oppose the Lawful Transfer of Presidential Power
 3          While law enforcement was still securing the perimeter of the Capitol grounds and
 4   building, Vallejo and his co-conspirators plotted next steps to ensure they stopped the
 5   transfer of presidential power. At around 4:45 p.m., another individual messaged the “DC
 6   OP: Jan 6 21” Signal chat, “so why are we leaving??? It does NO good to go show up and
 7   say your there to defend and then just leave.” Vallejo responded, “Leaving?!? I ain’t goin
 8   nowhere … My statement was to assure you Arizona won’t let anyone walk.” Displaying
 9   a disregard for legal orders, Vallejo added, “we will monitor all night and transport anyone
10   that meets us on the perimeter curfew be damned.”
11          Later that evening, at around 7:30 p.m., Rhodes messaged the “DC OP: Jan 6 21”
12   Signal chat, “Thousands of ticked off patriots spontaneously marched on the Capitol …
13   You ain’t seen nothing yet,” and, “Patriots entering their own Capitol to send a message to
14   the traitors is NOTHING compared to what’s coming.” Indictment at ¶ 126(a). Vallejo
15   pledged, “We’ll be back to 6am to do it again. We got food for 30 days.” Id. at ¶ 126(b)
16   (emphasis added). He added, “We have only [begun] to fight! … ‘After Action Reports’
17   will be dated 1/21/21,” referring to the day after the Inauguration—identified in the 20th
18   Amendment to the Constitution as the day the President’s term ends. Id. Although law
19   enforcement at the Capitol had successfully repelled the efforts of the conspiracy to take
20   the Capitol on January 6, Vallejo’s words make clear that the conspiracy would continue
21   up and through the Presidential Inauguration. Undeterred by the unprecedented violence
22   at the Capitol, Vallejo planned for next steps.
23          On January 7, at 5:46 a.m.—mere hours after Congress completed the Electoral
24   College Certification vote and the Capitol had been attacked—Vallejo messaged the “DC
25   OP: Jan 6 21” Signal chat, “We are going to probe their defense line right now 6 am they
26   should let us in. We’ll see.” Indictment at ¶ 127. At 5:54 a.m., he stated, “Departing for
27   Recon now. Stewart [Rhodes] call me when you’re up.” Id. About ten minutes later,
28   Vallejo continued, “I’ll depart when cleared by my Commander Sir.” Id. Vallejo then


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 1   messaged Rhodes personally on Signal, “Status report posted in Ops[,] room extended 1
 2   day[.] Standing by awaiting orders, Sir.”
 3          Later that morning, Vallejo and his Arizona QRF team member reappeared on the
 4   same podcast they spoke on the previous day. Vallejo explained that he and others “got up
 5   before dawn, and we went to the Capitol … we did what we needed to do, did our check
 6   in, and then we got back here to take care of business.” Vallejo’s Arizona QRF team
 7   member added, “We are here, prepared in all aspects, to support the Constitution and honor
 8   our Oaths that we took … It’s not really plausible to non-violently protest anymore,
 9   because the entire area is closed, and cordoned, and curfewed. So the question becomes,
10   when we realize that this wrong has been done, what are the next steps? I mean is this the
11   shot heard ‘round the world moment?” When asked on the podcast if he was returning to
12   Arizona, Vallejo remained ready to act explaining, “I don’t know. We’ve got to figure out
13   what happens on the 20th.” Ultimately, Vallejo noted, “I’m never done … I’m waiting for
14   orders from Stewart Rhodes.”
15          Rhodes and the other co-conspirators were not done either. Rhodes purchased
16   thousands of dollars’ worth of firearms, ammunition, and equipment and summoned co-
17   conspirators like Joshua James to his side in Texas. Indictment at ¶¶ 129-130. James
18   collected what he referred to as “all available firearms,” and traveled to Texas where he
19   stayed with Rhodes and others. Id. On January 10, James sent Meggs a message asking if
20   Meggs and other Florida Oath Keepers were coming to Texas to join him and Rhodes, and
21   Meggs responded, “Fl stays home until shots fired !” Id. at ¶ 131.
22          Vallejo, however, did try to join Rhodes in Texas. On January 11, Rhodes messaged
23   Vallejo on Signal, “Ed, what’s your 20? You in TX?” Vallejo responded that he had been
24   delayed, and Rhodes noted that he was “up in Ft Worth area.” Vallejo replied, “C U there[.]
25   Godspeed Sir.” On January 12, Vallejo messaged Rhodes, “We have arrived at the
26   Courthouse.” Vallejo’s Arizona QRF team member messaged Rhodes, “Hi Stewart. I’m
27   sure you’re busy[] but wanted to let you know that [Vallejo] and I are here … We are
28   excited to learn next steps and would like to know what we should be doing right now.”


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 1   Id. at ¶ 132. On January 20, Inauguration Day, James messaged another individual, “After
 2   this…if nothing happens…its war…Civil War 2.0.” Id. at ¶ 133. Around this time, Rhodes
 3   messaged others to organize local militias to prepare to forcibly oppose the new
 4   administration. Id. at ¶ 134.
 5            E. Co-Conspirators Conceal Evidence of the Conspiracy
 6            Many of Vallejo’s co-conspirators also took steps to destroy evidence of their
 7   involvement in this conspiracy and discussed securing their communications. In the weeks
 8   after January 6, an associate of Rhodes’s encouraged various co-conspirators to delete
 9   incriminating messages from their phones. The investigation has revealed that numerous
10   co-conspirators deleted evidence from their phones in the weeks after January 6. Rhodes—
11   Vallejo’s perceived commander, from whom he took orders throughout the conspiracy—
12   also messaged with Vallejo about securing his communications from the government. On
13   January 24, less than a week after the first co-conspirators were arrested, Rhodes messaged
14   Vallejo on Signal, “Ed, keep in mind that is NOT a secure chat. Contains at least one turn-
15   coat snitch. Keep that in mind. Please confirm you got this.” Vallejo responded that he
16   had received Rhodes’s message, expressed that he was innocent, and reminded Rhodes,
17   “[i]f you ever need me for ANYTHING I am on call and am at your service, Sir!”
18            F. Vallejo’s Continued Threat
19            One year later, Vallejo continues to believe his and others’ actions at the Capitol on
20   January 6 were not unlawful or dangerous. On December 30, 2021, Vallejo retweeted a
21   message stating in part, “There was NO INSURRECTION on J6 just a peaceful protest.” 1
22   And, as recently as January 8, 2022, Vallejo continued to sanitize the Capitol attack and
23   specifically focus on the 2020 Presidential Election, retweeting, “The real insurrection
24   happened in the wee hours of Nov. 4, 2020.” 2 Further, Vallejo continues to endorse
25   violence against authorities when he disagrees with actions those authorities take. In
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27   1
         See https://twitter.com/Starryder10/status/1476647037491769344.
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         See https://twitter.com/beachlvr21399/status/1479832036160548866.

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 1   December 2021, commenting on vaccine efforts related to the ongoing pandemic, Vallejo
 2   threatened: “I HAVE NEWS FOR YOU … you will NEVER achieve ‘vaccine equality’
 3   as long as I, and others like me, are alive! … I will DIE first, and that’s only when I run
 4   out of AMMUNITION!” 3
 5         III.   Argument
 6            Pursuant to 18 U.S.C. § 3142(a), when a defendant is arrested, the Court, in relevant
 7   part, “shall issue an order that, pending trial, the person be (1) released on personal
 8   recognizance . . .; (2) released on a condition or a combination of conditions . . .; or
 9   (4) detained under subsection (e).” Detaining a defendant under Section 3142(e) requires
10   a hearing “pursuant to the provisions of subsection (f).” Id. at § 3142(e). The evidence
11   outlined above makes plain that Vallejo should be detained pending trial.
12            A. Bases for Detention Request
13            According to Section 3142(f), there are limited circumstances in which the Court
14   “shall hold a hearing to determine whether any condition or combination of conditions . . .
15   will reasonably assure the appearance of such person as required and the safety of any other
16   person and the community.” 18 U.S.C. § 3142(f); see also United States v. Twine, 344
17   F.3d 987, 987 (9th Cir. 2003). Here, three of those circumstances apply: Subsections
18   (f)(1)(E) (case that involves a felony “that involves the possession or use of a firearm,
19   destructive device … or any other dangerous weapon”), 3142(f)(2)(A) (case that involves
20   “a serious risk that [the defendant] will flee”), and 3142(f)(2)(B) (case that involves “a
21   serious risk that [the defendant] will obstruct or attempt to obstruct justice, or threaten,
22   injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective witness or
23   juror”). All three bases for a detention hearing are supported by the evidence outlined
24   above.
25            First, this case involves the possession and use of firearms. Section 3142(f)(1)(E)
26   mandates a detention hearing in connection with “any felony” if the Government proves
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28   3
         See https://twitter.com/Psychictaxi/status/1476565450150449153.

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 1   by a preponderance of the evidence that the charged felony “involves the possession or use
 2   of a firearm or destructive device[.]” In determining whether the charged felony “involves
 3   the possession or use of a firearm,” the Court “may consider the actual conduct at issue in
 4   the specific case,” and not just whether the elements of the charged offenses required the
 5   possession or use of a firearm. United States v. Watkins, 940 F.3d 152, 166 (2d Cir. 2019). 4
 6   Here, the conspiracy involved the planning and coordination of QRF teams armed with an
 7   arsenal of firearms that Vallejo and others would bring to co-conspirators on the ground at
 8   the direction of Rhodes or other leaders of the conspiracy. Accordingly, this case involves
 9   the possession and use of firearms, and Section 3142(f)(1)(E) is an appropriate basis for a
10   detention hearing.
11          Second, this case also involves a serious risk of flight as defined in 18 U.S.C.
12   § 3142(f)(2)(A). Vallejo is facing potential conviction on numerous felony offenses that
13   each carry statutory maximum penalties of up to twenty years of incarceration. He is
14   alleged to have participated in a conspiracy to oppose the lawful transfer of presidential
15   power by force, making it inherently unlikely that he will be willing to comply with
16   conditions of release set by this government. Additionally, Vallejo resides in a compound-
17   like structure surrounded by barbed-wire fences and demonstrated in January 2021 that he
18   is willing and capable of preparing and storing months’ worth of food at a time. If Vallejo
19   repudiates the Court’s authority and his conditions of release the way he forcibly repudiated
20   the laws of the United States, he has the means and capability of bunkering down and
21   refusing to appear for court-ordered hearings. These factors all combine to give Vallejo
22   the incentive and means to flee and attempt to evade prosecution.
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       In an analogous context interpreting Section 3142(f)(1)(A), the Fifth Circuit held that “it is not
25   necessary that the charged offense be a crime of violence; only that the case involve a crime of
26   violence or any one or more of the § 3142(f) factors.” United States v. Byrd, 969 F.2d 106, 110
     (5th Cir. 1992) (emphasis in original). In Byrd, the court held that the government could have met
27   its burden (but did not) under Section 3142(f) by showing that the nonviolent charged offense—
     receiving a videotape depicting minors engaged in sexually explicit activity—was accompanied
28   by actual violent criminal activity such as child molestation.

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 1           Finally, this case also involves a risk of tampering with witnesses and evidence and
 2   obstructing justice. As described above, Vallejo’s co-conspirators went to great efforts to
 3   delete key communications regarding this conspiracy and to convince others to do the
 4   same—to include Rhodes, for whom Vallejo would do “ANYTHING.” Further, Vallejo
 5   is alleged to have participated in arguably the most consequential obstruction effort in the
 6   history of the United States. He is charged in part with plotting to oppose the government’s
 7   laws by force and with obstructing, influencing, or impeding the congressional proceedings
 8   to certify the 2020 United States Presidential Election. A defendant willing to take these
 9   extraordinary steps to obstruct the certification of a presidential election surely poses a
10   serious risk of obstructing justice or intimidating witnesses involved in his own criminal
11   case.
12           Under any of those three bases—firearms, flight, and obstruction—a detention
13   hearing is warranted. And together, those three features illustrate the need to detain Vallejo
14   pending trial to protect the community, ensure his return to court, and safeguard the
15   integrity of evidence and the proceedings in this case.
16           B. Analysis
17           The Court must consider four factors to determine whether pretrial detention is
18   warranted and necessary: (1) the nature and circumstances of the offense charged,
19   including whether, for example, the offense is a crime of violence; (2) the weight of the
20   evidence against the defendant; (3) the history and characteristics of the defendant; and
21   (4) the nature and seriousness of the danger to any person or the community that would be
22   posed by the defendant’s release. 18 U.S.C. § 3142(g). The burden of persuasion rests
23   with the government. United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). A judicial
24   officer’s finding of dangerousness must be supported by clear and convincing evidence.
25   18 U.S.C. § 3142(f); Stone, 608 F.3d at 945. When “risk of flight” is the basis for detention,
26   however, the government must only satisfy a preponderance of the evidence standard.
27   United States v. Xulam, 84 F.3d 441, 442 (D.C. Cir. 1996); United States v. Chimurenga,
28   760 F.2d 400, 405-06 (2d Cir. 1985); United States v. Fortna, 769 F.2d 243, 250 (5th Cir.


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 1   1985); United States v. Orta, 760 F.2d 887, 891 (8th Cir. 1985); United States v. Motamedi,
 2   767 F.2d 1403, 1406 (9th Cir. 1985). An analysis of these four factors weighs heavily in
 3   favor of Vallejo’s detention given the clear and convincing evidence that he presents a
 4   particular danger to the community as well as the preponderance of evidence that he poses
 5   a serious risk of flight and of obstructing justice.
 6                       1. Vallejo’s Criminal Activity was Extreme and Serious
 7          A grand jury has found probable cause to charge Vallejo with participating in a
 8   conspiracy to forcibly oppose the lawful transfer of presidential power in the United States.
 9   It is difficult to imagine conduct that poses a graver risk to our society than one targeted at
10   undermining the laws and procedures at the heart of our democratic process—and doing
11   so with force. See United States v. Munchel, 991 F.3d 1273, 1283 (D.C. Cir. 2021) (“[T]o
12   order a defendant preventatively detained, a court must identify an articulable threat posed
13   by the defendant to an individual or the community. The threat need not be of physical
14   violence, and may extend to ‘non-physical harms such as corrupting a union.’”) (quoting
15   United States v. King, 849 F.2d 485, 487 n.2 (11th Cir. 1988)). As described in greater
16   detail above and in the indictment, Vallejo volunteered to participate; he drove thousands
17   of miles across the country with firearms, ammunition, and equipment; he participated in
18   planning meetings and chats on encrypted messaging applications; he made clear on the
19   morning of January 6 that he was willing and prepared to do more than “taunt” and engage
20   in a “guerilla war”; he prepared to quickly transport firearms and gear to co-conspirators
21   on the ground who were, at that time, attacking the Capitol; and he continued the mission
22   before the dust had even settled by “probing” the Capitol and conducting “Recon” on
23   January 7. This factor weighs in favor of detention.
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 1                       2. The Weight of the Evidence Against Vallejo is Strong 5
 2          Vallejo’s dangerousness is chronicled in his written and recorded communications;
 3   corroborated by his conduct before, during, and after January 6; buttressed by his
 4   obstruction efforts; and reinforced by the indisputable success of his and his co-
 5   conspirators’ plot where, most alarmingly, dozens of Oath Keepers gathered in the
 6   Washington area on January 6 to participate in an attack on the Capitol featuring two
 7   military-style stacks and an armed QRF that he participated in, which forced the
 8   Certification of a presidential election to be delayed.
 9          Vallejo’s actions and words speak for themselves. His electronic and recorded
10   communications show he was an active participant in the seditious conspiracy, willing and
11   able to penetrate Washington, D.C., with an arsenal of firepower and equipment to arm his
12   fellow co-conspirators to stop the transfer of power. Casting the struggle for control of the
13   White House in existential terms—repeatedly using terms like “WAR” and “guerilla war”
14   to describe the path forward—Vallejo emphasized that he and his co-conspirators may have
15   no choice but to take up arms to stop the next administration from taking power. Then he
16   traveled across the country to the Washington, D.C., metropolitan area, with firearms and
17   ammunition and wheeled multiple large bins of equipment into the QRF hotel, ready to
18   take matters into his own hands. And, on January 6, Vallejo actively sought to join his co-
19   conspirators’ attack on the Capitol and did in fact support it: when his co-conspirators
20   breached the Capitol, pivotal moments in the January 6 attack, they did so knowing they
21   had Vallejo and other QRF teams supporting them just across the river with an arsenal.
22          Vallejo did not stop there. On the night of the attack, Vallejo was not deterred by
23   the law enforcement presence or violence that marred the day, but rather he told his co-
24   conspirators he was ready “to do it again.” Shortly after the Congressional proceedings
25   finally concluded in the early morning hours of January 7, Vallejo was already probing
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28    “This factor goes to the weight of the evidence of dangerousness, not the weight of the evidence
     of the defendant’s guilt.” Stone, 608 F.3d at 948 (citation omitted).

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 1   defenses and conducting reconnaissance around the Capitol to report back to Rhodes and
 2   his co-conspirators. Indeed, Vallejo was prepared for a prolonged attack with a months’
 3   worth of food and was already targeting the next constitutional benchmark of January 20,
 4   Inauguration Day: “We have only [begun] to fight! … After Action Reports’ will be dated
 5   1/21/21.” Vallejo was prepared to use force to stop this country’s presidential transfer.
 6   There is no reasonable basis to believe this defendant would abide by any conditions of
 7   release.
 8          Vallejo displayed a willingness to continue his criminal activity and loyalty to
 9   Rhodes after January 6. Within a week of the attack, Vallejo was already trying to learn
10   next steps and to reconnect with Rhodes in Texas, where Rhodes had begun amassing other
11   co-conspirators and thousands of dollars of firearms and tactical equipment. Vallejo told
12   his commander and the leader of the co-conspirators’ attack on the Capitol that he was on
13   call and at Rhodes’s service if he needed “ANYTHING,” displaying a continued
14   willingness to engage in dangerous, illegal behavior. Meanwhile, Rhodes continued to
15   encourage his followers to forcibly oppose the government—on January 28, for example,
16   Rhodes appeared on the “Infowars” program and told listeners they need to treat the Biden
17   Administration as an “occupying enemy force.” Far from disavowing Rhodes or any
18   intentions to forcefully oppose the United States, Vallejo messaged Rhodes as late as
19   March 2021 agreeing to join a new Signal group chat and confirming to Rhodes that he
20   understood the importance of secure communications.
21          There is overwhelming evidence that Vallejo participated in a plot to oppose by
22   force the execution of the laws of the United States and that he possesses the willingness
23   and capacity to continue to engage in criminal conduct. Under these circumstances, only
24   pretrial detention can protect the community from the danger Vallejo poses.
25                      3. History and Characteristics of Vallejo
26          Vallejo’s history and characteristics animate the conclusions drawn from the facts
27   above. Vallejo, who previously served in the United States Army, used his military training
28   to participate in an attack on our core democratic traditions. Nothing in his post-January 6


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 1   statements or conduct suggest he would refrain from doing it again if he felt his vision of
 2   what is necessary was threatened. In fact, he said so himself on the night of January 6, in
 3   the hopes his co-conspirators would join him through the Inauguration. There is every
 4   reason to credit Vallejo’s own words and deeds and fear that he would plan additional
 5   violence if not detained.
 6          Vallejo’s social media posts up to just this week only accentuate that concern. He
 7   continues to threaten to use firearms against authority when he disagrees with that
 8   authority, recently messaging that he would “DIE first” before accepting any vaccines
 9   related to the ongoing pandemic and “only when I run out of AMMUNITION!” And, as
10   recently as this week, Vallejo continued to operate as if what he and his co-conspirators
11   did was not unlawful or dangerous, calling the Capitol attack a “peaceful protest” and
12   referring to the 2020 Presidential Election as the “real insurrection.” Vallejo’s ongoing
13   willingness and capacity to use firearms on authorities with which he disagrees establishes
14   that no release condition can ensure the safety of the community.
15                      4. Vallejo’s Danger to the Community and Risk of Flight and
16                          Obstruction if Released
17          Finally, Vallejo is a danger to the community and presents a risk of flight and
18   obstruction of justice. He participated in a conspiracy to oppose by force the lawful transfer
19   of presidential power and an attack on the United States Capitol in furtherance of this plot.
20   Moreover, Vallejo supported his co-conspirators’ attack on the Capitol by serving as an
21   armed QRF standing ready at a moment’s notice to ferry an arsenal of firearms into their
22   hands. That Vallejo’s co-conspirators did not activate him on January 6 does not mitigate
23   his dangerousness. Vallejo traveled across the country and staged himself near the
24   congressional proceedings ready to transport firearms and equipment into the nation’s
25   capital. That is what makes him a danger. And there is no evidence that he has renounced
26   violence or that he no longer believes in the necessity of guerilla warfare after January 6
27   (“We’ll be back to 6am to do it again,” and retweeting this month, “The real Insurrection
28   happened in the wee hours of January 4, 2020”). That is what makes him a danger today.


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 1            Similarly, the evidence and seriousness of the charged offenses give Vallejo every
 2   incentive to flee and avoid prosecution.       And inherent in his alleged actions is his
 3   willingness to obstruct formal proceedings that he opposes, including a presidential
 4   election, so there is no reason to believe the defendant will treat his criminal case
 5   differently. His words were deliberate, his deeds were calculated, and his intent was
 6   criminal, dangerous, and obstructive.
 7      IV.       Conclusion
 8            A grand jury has found probable cause to believe that Vallejo participated in a plot
 9   to oppose by force the execution of the laws governing the transfer of presidential power—
10   including an attack on the Congress while it reviewed the election results. In so doing,
11   Vallejo showed a contempt for the laws and Constitution of this country that make it
12   impossible to trust that he would comply with any conditions fashioned by this Court for
13   his release. Vallejo must be detained pending trial to protect the safety of the community,
14   ensure his return to court, and safeguard the integrity of the evidence and proceedings in
15   this case.
16
17   Respectfully submitted this January 19, 2022.
18
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21
22
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                                 CERTIFICATE OF SERVICE
 1
           I hereby certify that on January 19, 2022, I electronically transmitted the attached
 2
     document to the Clerk’s Office using the CM/ECF System for filing a copy to the following
 3
     CM/ECF registrant:
 4
 5   Debbie Jang
     Assistant Federal Public Defender
 6
 7   /s/ Louis Manzo
     U.S. Attorney’s Office
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